                                                                         Case 16-12551-BLS          Doc 2329       Filed 12/23/20     Page 1 of 202



                                                                                                       Claim Register
                                                                                     In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                     Case No. 16-12551


                                                                                                                                             Current General                                  Current 503(b)(9)
                                                                                                                                                             Current Priority Current Secured                    Current Admin    Total Current
                 Creditor Name and Address   Claim No. Claim Date                              Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                              Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                 Amount                                           Amount
10K ADVERTISING
473 1/4 S FAIRFAX AVE
LOS ANGELES, CA 90036-3122                     2484    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
1234 Building, LLC
Law Office of Conde Cox
Conde T. Cox
1001 SW 5th Ave., Suite 1100
Portland, OR 97204                             3166    4/25/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                         $34,162.00                                                                          $34,162.00
1433-39 W Lake Associates, LLC
113 27th Avenue NE
Suite I
Minneapolis, MN 55418                          3049     4/7/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)               $59,586.88                                                                          $59,586.88
1841 Broadway Associates, L.P.
c/o Global Holdings
Attn: Marc Hyman
410 Park Avenue, 20th Floor
New York, NY 10022                             1832    4/10/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                    $0.00                            $0.00                             $0.00            $0.00
1841 Broadway Associates, L.P.
c/o Global Holdings
Attn: Marc Hyman
410 Park Avenue, 20th Floor
New York, NY 10022                             1893    4/10/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)              $345,017.07                       $52,368.75                             $0.00     $397,385.82
24 Seven Staffing, Inc.
41 MADISON AVE FL 37
New York, NY 10010-2257                        888     3/20/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                    $17,052.00           $0.00                                                          $17,052.00
363 Grant Avenue Associates, LLC
David M. McKim
425 So. E Street, Suite B
Santa Rosa, CA 95404                           1705    4/10/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                       $0.00            $0.00
363 Grant Avenue Associates, LLC
Law Offices of David M. McKim
David M. McKim, Esq.
425 So. E Street, Suite B
Santa Rosa, CA 95404                           1700    4/10/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                    $0.00                                                                               $0.00
363 Grant Avenue Associates, LLC, et al.
Law Offices of David M. McKim
David McKim, Esq.
425 So. E St., Ste B
Santa Rosa, CA 95404                           3111    4/18/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                       $0.00            $0.00
363 Grant Avenue Associates, LLC, et al.
Law Offices of David M. McKim
David McKim, Esq.
425 So. E St., Ste B
Santa Rosa, CA 95404                           3438    3/12/2019    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                  $14,077.21       $14,077.21
3S Global Business Solutions
7923 Nita Avenue
Canoga Park, CA 91304                           44     12/5/2016     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                    $31,080.00           $0.00                             $0.00                        $31,080.00
8th Street Produce Owner LLC
Jeffrey A. Goldberger
450 Park Avenue, 4th Floor
New York, NY 10022                             340      2/8/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                          $9,936.07                                                                           $9,936.07
AAI Litigation Trust
c/o Klehr Harrison Harvey Branzburg LLP
Attn: Richard M. Beck, Esquire
919 Market Street, Suite 1000
Wilmington, DE 19801                           1740    4/11/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                     $0.00                                              $0.00




                                                                                                          Page 1 of 202
                                                                             Case 16-12551-BLS          Doc 2329       Filed 12/23/20    Page 2 of 202



                                                                                                           Claim Register
                                                                                         In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                         Case No. 16-12551


                                                                                                                                                 Current General                                  Current 503(b)(9)
                                                                                                                                                                 Current Priority Current Secured                    Current Admin    Total Current
                Creditor Name and Address   Claim No. Claim Date                                   Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                                  Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                     Amount                                           Amount
AAI Litigation Trust
c/o Klehr Harrison Harvey Branzburg LLP
Attn: Richard M. Beck, Esquire
919 Market Street, Suite 1000
Wilmington, DE 19801                          1741    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                               $0.00                                              $0.00
AAI Litigation Trust
c/o Klehr Harrison Harvey Branzburg LLP
Attn: Richard M. Beck, Esquire
919 Market Street, Suite 1000
Wilmington, DE 19801                          1747    4/11/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                                                 $0.00                                              $0.00
AAI Litigation Trust
c/o Klehr Harrison Harvey Branzburg LLP
Attn: Richard M. Beck, Esquire
919 Market Street, Suite 1000
Wilmington, DE 19801                          1756    4/11/2017           APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)                                                       $0.00                                              $0.00
AAI Litigation Trust
c/o Klehr Harrison Harvey Branzburg LLP
Attn: Richard M. Beck, Esquire
919 Market Street, Suite 1000
Wilmington, DE 19801                          1783    4/11/2017              APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                                                           $0.00                                              $0.00
AAI Litigation Trust
c/o Klehr Harrison Harvey Branzburg LLP
Attn: Richard M. Beck, Esquire
919 Market Street, Suite 1000
Wilmington, DE 19801                          1960    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                               $0.00                                              $0.00
AAI Litigation Trust
c/o Klehr Harrison Harvey Branzburg LLP
Attn: Richard M. Beck, Esquire
919 Market Street, Suite 1000
Wilmington, DE 19801                          3052    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                          $0.00                                              $0.00
AAI Pentwater Fund Public Limited Company
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 Davis St.
Evanston, IL 60201                            2103    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
AAI Pentwater Fund Public Limited Company
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 Davis St.
Evanston, IL 60201                            2311    4/11/2017           APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)                      $0.00                  $218,727,784.00                             $0.00 $218,727,784.00
AAI Pentwater Fund Public Limited Company
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 Davis St.
Evanston, IL 60201                            2331    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                         $0.00                  $218,727,784.00                             $0.00 $218,727,784.00
AAI Pentwater Fund Public Limited Company
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 Davis St.
Evanston, IL 60201                            2413    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
AAI Pentwater Fund Public Limited Company
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 Davis St.
Evanston, IL 60201                            2435    4/11/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                $0.00                  $218,727,784.00                             $0.00 $218,727,784.00
AAI Pentwater Fund Public Limited Company
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 Davis St.
Evanston, IL 60201                            2467    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                  $218,727,784.00                             $0.00 $218,727,784.00

                                                                                                              Page 2 of 202
                                                                             Case 16-12551-BLS          Doc 2329       Filed 12/23/20     Page 3 of 202



                                                                                                           Claim Register
                                                                                         In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                         Case No. 16-12551


                                                                                                                                                 Current General                                  Current 503(b)(9)
                                                                                                                                                                 Current Priority Current Secured                    Current Admin    Total Current
                Creditor Name and Address   Claim No. Claim Date                                   Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                                  Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                     Amount                                           Amount
AAI Pentwater Fund Public Limited Company
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 Davis St.
Evanston, IL 60201                            2558    4/11/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                       $0.00            $0.00
AAI Pentwater Fund Public Limited Company
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 Davis St.
Evanston, IL 60201                            2573    4/11/2017              APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                          $0.00                   $218,727,784.00                            $0.00 $218,727,784.00
AAI Pentwater Fund Public Limited Company
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 Davis St.
Evanston, IL 60201                            2601    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
AAI Pentwater Fund Public Limited Company
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 Davis St.
Evanston, IL 60201                            2620    4/11/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                                                                                   $0.00            $0.00
AAI Pentwater Fund Public Limited Company
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 Davis St.
Evanston, IL 60201                            2651    4/11/2017           APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)                                                                                         $0.00            $0.00
AAI Pentwater Fund Public Limited Company
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 Davis St.
Evanston, IL 60201                            2681    4/11/2017              APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                                                                                             $0.00            $0.00
AAI Pentwater Fund Public Limited Company
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 Davis St.
Evanston, IL 60201                            2683    4/11/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                    $0.00                   $218,727,784.00                            $0.00 $218,727,784.00
AAI Pentwater Fund Public Limited Company
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 Davis St.
Evanston, IL 60201                            2838    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                              $0.00            $0.00
Abdali, Selli
1225 Kresson Road
Cherry Hill, NJ 08003                         1242     4/3/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                             $56.00                                                                             $56.00
Abdali, Selli
1225 Kresson Road
Cherry Hill, NJ 08003                         1246     4/3/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                             $56.00                                                                             $56.00
Aboytes, Imelda
953 E. 22nd St
Los Angeles, CA 90011                         1775    4/10/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Aboytes, Imelda
953 E. 22nd St
Los Angeles, CA 90011                         1824    4/10/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Abrego, Maria Morena
16110 S Menlo Ave Apt. #3
Gardena, CA 90247                             2259    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Abrego, Maria Morena
16110 S Menlo Ave, Apt. #3
Gardena, CA 90247                             2441    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00




                                                                                                              Page 3 of 202
                                                                               Case 16-12551-BLS          Doc 2329       Filed 12/23/20     Page 4 of 202



                                                                                                             Claim Register
                                                                                           In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                           Case No. 16-12551


                                                                                                                                                   Current General                                  Current 503(b)(9)
                                                                                                                                                                   Current Priority Current Secured                    Current Admin    Total Current
                Creditor Name and Address     Claim No. Claim Date                                   Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                                    Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                       Amount                                           Amount
Accountemps
Attn:Karen Lima
Robert Half
PO Box 5024
San Ramon, CA 94583                             431     2/15/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                    $27,591.91                                                                          $27,591.91
ACE American Insurance Company
c/o Duane Morris LLP
Attn: Wendy M. Simkulak, Esq.
30 S. 17th Street
Philadelphia, PA 19103                          1493     4/7/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                         $25,000.00                            $0.00                             $0.00       $25,000.00
ACE American Insurance Company
c/o Duane Morris LLP
Attn: Wendy M. Simkulak, Esq.
30 S. 17th Street
Philadelphia, PA 19103                          1600     4/7/2017           APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)                      $0.00                            $0.00                             $0.00            $0.00
ACE American Insurance Company
c/o Duane Morris LLP
Attn: Wendy M. Simkulak, Esq.
30 S. 17th Street
Philadelphia, PA 19103                          1617     4/7/2017              APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                          $0.00                            $0.00                             $0.00            $0.00
ACE American Insurance Company
c/o Duane Morris LLP
Attn: Wendy M. Simkulak, Esq.
30 S. 17th Street
Philadelphia, PA 19103                          1622     4/7/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                         $0.00                            $0.00                             $0.00            $0.00
ACE American Insurance Company
c/o Duane Morris LLP
Attn: Wendy M. Simkulak, Esq.
30 S. 17th Street
Philadelphia, PA 19103                          1625     4/7/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                $0.00                            $0.00                             $0.00            $0.00
ACE American Insurance Company
c/o Duane Morris LLP
Attn: Wendy M. Simkulak, Esq.
30 S. 17th Street
Philadelphia, PA 19103                          1632     4/7/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                    $0.00                            $0.00                             $0.00            $0.00
ACE Property and Casualty Insurance Company
c/o Duane Morris LLP
Attn: Wendy M. Simkulak, Esq.
30 S. 17th Street
Philadelphia, PA 19103                          1571     4/7/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                $0.00                            $0.00                             $0.00            $0.00
ACE Property and Casualty Insurance Company
c/o Duane Morris LLP
Attn: Wendy M. Simkulak, Esq.
30 S. 17th Street
Philadelphia, PA 19103                          1616     4/7/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                    $0.00                            $0.00                             $0.00            $0.00
ACE Property and Casualty Insurance Company
c/o Duane Morris LLP
Attn: Wendy M. Simkulak, Esq.
30 S. 17th Street
Philadelphia, PA 19103                          1620     4/7/2017           APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)                      $0.00                            $0.00                             $0.00            $0.00
ACE Property and Casualty Insurance Company
c/o Duane Morris LLP
Attn: Wendy M. Simkulak, Esq.
30 S. 17th Street
Philadelphia, PA 19103                          1624     4/7/2017              APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                          $0.00                            $0.00                             $0.00            $0.00
ACE Property and Casualty Insurance Company
c/o Duane Morris LLP
Attn: Wendy M. Simkulak, Esq.
30 S. 17th Street
Philadelphia, PA 19103                          1627     4/7/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                         $0.00                            $0.00                             $0.00            $0.00

                                                                                                                Page 4 of 202
                                                                         Case 16-12551-BLS         Doc 2329     Filed 12/23/20      Page 5 of 202



                                                                                                      Claim Register
                                                                                    In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                    Case No. 16-12551


                                                                                                                                            Current General                                  Current 503(b)(9)
                                                                                                                                                            Current Priority Current Secured                    Current Admin    Total Current
                Creditor Name and Address     Claim No. Claim Date                            Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                             Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                Amount                                           Amount
ACE Property and Casualty Insurance Company
c/o Duane Morris LLP
Attn: Wendy M. Simkulak, Esq.
30 S. 17th Street
Philadelphia, PA 19103                          1637     4/7/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                            $0.00                             $0.00            $0.00
ACEVEDO VALDOVINOS, MARIA D
2414 E. 3RD ST.
LOS ANGELES, CA 90033                           3152    4/24/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Acevedo, Maria
2414 E 3rd St
Los Angeles, CA 90033                           3144    4/24/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Acosta, Gloria M.
2881 Camulos Pl # 3
Los Angeles, CA 90023                           1817    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Acosta, Gloria Mena
2881 Camulos Pl. #3
Los Angeles, CA 90023                           1777    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Adams & Sons Transportation, Inc.
P.O. Box 1057
La Mirada, CA 90637                              1      11/17/2016   APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                   $43,961.25                                                                          $43,961.25
Adeli, Cyrus
1540 Picardae Ct
Powell, OH 43065                                1166    3/31/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                           $100.00                                                            $100.00
Adobe Systems, Inc
3900 Adobe Way #2149
Lehi, UT 84043                                  455     2/21/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                  $112,333.20                                                                        $112,333.20
ADP LLC
1851 N. Resler
El Paso, TX 79912                               821     3/13/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                        $35,133.69                                                                          $35,133.69
ADT Security Services Inc.
3190 South Vaughn Way
Aurora, CO 80014                                1721    4/11/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                         $2,344.99                                                                           $2,344.99
Advokatfirman Delphi KB
FAO: Nina Persson
Mäster Samuelsgatan 17
PO Box 1432
Stockholm SE-111 84
Sweden                                          837     3/20/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                         $4,196.18                                                                           $4,196.18
Aguilera, Maria J.
2131 W. Court St. Apt. 2
Los Angeles, CA 90026                           2655    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Aguilera, Maria J.
2131 W. Court St. Apt. 2
Los Angeles, CA 90026                           2772    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Aguiriano, Noemi
670 E 37th St
Los Angeles, CA 90011                           2993    4/17/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Aguiriano, Noemi
670 E 37th St
Los Angeles, CA 90011                           2996    4/17/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Agustin, Mateo
1114 W 18th St #3
Los Angeles, CA 90015                           671      3/9/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                         $1,098.16                                                                           $1,098.16
Ahmadi, Brian
PO Box 11611
Costa Mesa, CA 92627                            328      2/7/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $51.84                                                                             $51.84
Aiello-Sugiyama, Marlene
2414 1st Ave #413
Seattle, WA 98121                               549     2/28/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $44.90                                                                             $44.90


                                                                                                       Page 5 of 202
                                                                             Case 16-12551-BLS          Doc 2329       Filed 12/23/20     Page 6 of 202



                                                                                                           Claim Register
                                                                                         In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                         Case No. 16-12551


                                                                                                                                                 Current General                                  Current 503(b)(9)
                                                                                                                                                                 Current Priority Current Secured                    Current Admin    Total Current
                Creditor Name and Address   Claim No. Claim Date                                   Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                                  Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                     Amount                                           Amount
AIG Property Casualty Inc.
Attn: Kevin Larner
175 Water Street, 15th Floor
New York, NY 10038                            1749    4/10/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                     $27,000,000.00                            $0.00                                     $27,000,000.00
AIG Property Casualty Inc.
Attn: Kevin Larner
175 Water Street, 15th Floor
New York, NY 10038                            1761    4/10/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                         $0.00                            $0.00                                              $0.00
AIG Property Casualty Inc.
Attn: Kevin Larner
175 Water Street, 15th Floor
New York, NY 10038                            1774    4/10/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                $0.00                            $0.00                                              $0.00
AIG Property Casualty Inc.
Attn: Kevin Larner
175 Water Street, 15th Floor
New York, NY 10038                            1778    4/10/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)           $27,000,000.00                            $0.00                                     $27,000,000.00
AIG Property Casualty Inc.
Attn: Kevin Larner
175 Water Street, 15th Floor
New York, NY 10038                            1786    4/10/2017              APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                          $0.00                            $0.00                                              $0.00
AIG Property Casualty Inc.
Attn: Kevin Larner
175 Water Street, 15th Floor
New York, NY 10038                            1788    4/10/2017           APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)                      $0.00                            $0.00                                              $0.00
AIG Property Casualty Inc.
Attn: Kevin Larner
175 Water Street, 15th Floor
New York, NY 10038                            1792    4/10/2017           APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)                                                                                         $0.00            $0.00
AIG Property Casualty Inc.
Attn: Kevin Larner
175 Water Street, 15th Floor
New York, NY 10038                            1795    4/10/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
AIG Property Casualty Inc.
Attn: Kevin Larner
175 Water Street, 15th Floor
New York, NY 10038                            1798    4/10/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                          $0.00                             $0.00            $0.00
AIG Property Casualty Inc.
Attn: Kevin Larner
175 Water Street, 15th Floor
New York, NY 10038                            1823    4/10/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                       $0.00            $0.00
AIG Property Casualty Inc.
Attn: Kevin Larner
175 Water Street, 15th Floor
New York, NY 10038                            1838    4/10/2017              APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                                                                                             $0.00            $0.00
AIG Property Casualty Inc.
Attn: Kevin Larner
175 Water Street, 15th Floor
New York, NY 10038                            1874    4/10/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                                                                                   $0.00            $0.00
Ajtun Chua, Edgar Benjamin
826 Ditman Ave.
Los Angeles, CA 90023                         3059    4/17/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Ajtun Chun, Edgar Benjamin
826 Ditman Ave
Los Angeles, CA 90023                         3061    4/17/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
AJTUN, FABELITO
1990 S BUNDY DR STE 620
LOS ANGELES, CA 90025-5690                    1402     4/6/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                         $0.00                                                                               $0.00
Ajtun, Gloria
937 S. Vancouver Ave.
Los Angeles, CA 90022                         1623     4/7/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00

                                                                                                              Page 6 of 202
                                                                                            Case 16-12551-BLS          Doc 2329       Filed 12/23/20     Page 7 of 202



                                                                                                                          Claim Register
                                                                                                        In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                                        Case No. 16-12551


                                                                                                                                                                Current General                                  Current 503(b)(9)
                                                                                                                                                                                Current Priority Current Secured                    Current Admin    Total Current
                 Creditor Name and Address                      Claim No. Claim Date                              Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                                                 Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                                    Amount                                           Amount
Ajtun, Gloria
937 S. Vancouver Ave.
Los Angeles, CA 90022                                             1651     4/7/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Ake, Jose C
1365 Dacotah St Apt#4
Los Angeles, CA 90023                                             1717    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
AKTER, MAKSUDA
C/O KEITH A. FINK & ASSOCIATES
11500 OLYMPIC BLVD., SUITE 316
LOS ANGELES, CA 90064                                             1419     4/6/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
AKTER, MAKSUDA
C/O KEITH A. FINK & ASSOCIATES
1990 S BUNDY DR STE 620
LOS ANGELES, CA 90025-5690                                        1430     4/6/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                         $0.00                                                                               $0.00
AKTER, MAKSUDA
C/O KEITH A. FINK & ASSOCIATES
1990 S BUNDY DR STE 620
LOS ANGELES, CA 90025-5690                                        1435     4/6/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                    $0.00                                                                               $0.00
ALAMEDA COUNTY TAX COLLECTOR
1221 OAK STREET
OAKLAND, CA 94612                                                 275     1/31/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                  $570.26                                                            $570.26
Alameda Square Owner LLC (as successor in interest to Alameda
Produce Market LLC)
Jeffrey A. Goldberger
450 Park Avenue, 4th Floor
New York, NY 10022                                                3327    6/28/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                      $2,464,132.06                                                                       $2,464,132.06
ALBANY INTERNATIONAL ITALIA SRL
C/O ALBANY INTERNATIONAL CORP
ATTN JOSEPH M GAUG
PO BOX 1907
ALBANY, NY 12201-1907                                             976     3/22/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                          $5,859.00                                                                           $5,859.00
Albiani, Matthew
106 Bedford St 3A
New York, NY 10014                                                302      2/6/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $46.00                                                                             $46.00
Alexander, Lauren Ashley
604 San Julio Rd
Solana Beach, CA 92075                                            3060    4/18/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                  $100.00                                                                            $100.00
Alfaro, Maria
1167 3/4 E. 42nd St.
Los Angeles, CA 90011                                             668      3/8/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
Alfonso, Christian
c/o Cummings & Franck PC
Attn: Lee Franck
1025 West 190th Street, Suite 200
Gardena, CA 90248                                                 488     2/22/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                         $0.00                                                                               $0.00
Alfonso, Christian
c/o Cummings & Franck PC
Attn: Lee Franck
1025 West 190th Street, Suite 200
Gardena, CA 90248                                                 491     2/22/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
Alford, LaQuita
16821 Gilchrist St
Detroit, MI 48235                                                 998     3/24/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $50.00                                                                             $50.00
Ali, Rose
13961 Oxnard St #31
Van Nuys, CA 91401                                                629      3/6/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                   $45.47                                                                             $45.47
Ali, Sara
1820B 11th Ave.
Seattle, WA 98122                                                 782     3/13/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                   $27.68                                                                             $27.68


                                                                                                                             Page 7 of 202
                                                                                    Case 16-12551-BLS          Doc 2329       Filed 12/23/20     Page 8 of 202



                                                                                                                  Claim Register
                                                                                                In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                                Case No. 16-12551


                                                                                                                                                        Current General                                  Current 503(b)(9)
                                                                                                                                                                        Current Priority Current Secured                    Current Admin    Total Current
               Creditor Name and Address                Claim No. Claim Date                              Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                                         Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                            Amount                                           Amount
All American Waste LLC
15 Mullen Rd
Enfield, CT 06082                                          22     11/21/2016         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $837.54                                                                            $837.54
ALLAN SEBANC AND 363 GRANT AVENUE ASSOCIATES, LLC, ET
AL.
C/O DAVID M MCKIM
425 SOUTH E ST STE B
SANTA ROSA, CA 95404                                      3089    4/18/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)              $354,458.90                                                                        $354,458.90
Allen-Tummon, Laura
9219 NUGENT TRL
WEST PALM BCH, FL 33411-6325                              574      3/1/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                            $233.20                                                            $233.20
Allison, Lillian
3724 N. Lawndale Ave.
Chicago, IL 60618                                         1183     4/1/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $39.48                                                                             $39.48
Ally Financial
PO Box 130424
Roseville, MN 55113-0004                                  3219     5/2/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                    $0.00                                                                               $0.00
Almi, Sarah
1423 E 46TH ST
BROOKLYN, NY 11234                                        3181    4/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $42.17                                                                             $42.17
Aloisi Jr., Joseph
27567 Pamplico Dr.
Valencia, CA 91354                                        187     1/24/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $50.00                                                                             $50.00
ALONSO, MIGUEL
2315 S. FLOWER ST.
#304
LOS ANGELES, CA 90007                                     1052    3/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                              $0.00                                                               $0.00
ALONSO, MIGUEL
2315 S. FLOWER ST.
#304
LOS ANGELES, CA 90007                                     1086    3/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
Alonzo, Marcos
1411 E Vernon Ave
Los Angeles, CA 90011                                     3019    4/17/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Alonzo, Marcos
1411 E Vernon Ave
Los Angeles, CA 90011                                     3021    4/17/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Alsaeed, Hussain
5226 S Priest Rd, Room 324
Tempe, AZ 85283                                           2406    4/13/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $40.00                                                                             $40.00
Alspaugh, John F.
11678 Picturesque Dr
Studio City, CA 91604                                     1291     4/4/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $97.43                                                                             $97.43
ALTA OFFICE SERVICES
20425 S SUSANA RD
LONG BEACH, CA 90810-1136                                 1096    3/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                          $2,644.82                                                              $0.00        $2,644.82
Altman, Perry
1347 Stanley Blvd
Birmingham, MI 48009                                      406     2/14/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $12.00                                                                             $12.00
Altomare, Claudia
1101 Walnut St. Unit 1701
Kansas City, MO 64106                                     959     3/21/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                            $150.27                                                            $150.27
Alton, Penny
439 Chestnut Street
San Francisco, CA 94133                                   3122    4/21/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $104.40                                                                            $104.40
Alvarez, Helen
6848 1/2 Laurel Canyon Blvd.
North Hollywood, CA 91605                                 1333     4/5/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00




                                                                                                                     Page 8 of 202
                                                                                      Case 16-12551-BLS          Doc 2329       Filed 12/23/20     Page 9 of 202



                                                                                                                    Claim Register
                                                                                                  In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                                  Case No. 16-12551


                                                                                                                                                          Current General                                  Current 503(b)(9)
                                                                                                                                                                          Current Priority Current Secured                    Current Admin    Total Current
                 Creditor Name and Address                Claim No. Claim Date                              Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                                           Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                              Amount                                           Amount
Alvarez, Helen
6848 1/2 Laurel Canyon Blvd.
North Hollywood, CA 91605                                   1352     4/5/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Alvarez, Juana
5121 E 60th St Apt C
Maywood, CA 90270                                           1387     4/6/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                              $0.00                                                               $0.00
Alvarez, Juana
5121 E 60th St. Apt C
Maywood, CA 90270                                           1438     4/6/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
ALVAREZ, JUANA
6021 PROSPECT AVE
MAYWOOD, CA 90270                                           1609     4/7/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
Alvarez, Juana
6021 Prospect Ave.
Maywood, CA 90270                                           1525     4/7/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                               $0.00                                              $0.00
Alvidrez, Julia
553 Grand St. Apt 1R
Brooklyn, NY 11211                                          483     2/22/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $38.50                                                                             $38.50
Amador, Maria
4415 S Gramercy Pl
Los Angeles, CA 90062                                       1730    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Amador, Maria
4415 S Gramercy Pl
Los Angeles, CA 90062                                       1866    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
America Modern, Inc.
16316 Downey Ave
Paramount, CA 90723                                         661      3/8/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                    $45,699.98                                          $4,679.69           $0.00       $50,379.67
America Modern, Inc.
16316 Downey Ave
Paramount, CA 90723-5500                                    659      3/8/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
American Airlines, Inc.
Donald E Broadfield, Jr., Director & Sr. Attorney
P.O. Box 619616
MD 5675
DFW Airport, TX 75261                                       798     3/15/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                       $240.02                                                                            $240.02
American Alternative Insurance Corporation
Roanoke
1475 E Woodfield Rd # 500
Schaumburg, IL 60173                                         97     12/19/2016         APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
American Apparel (Carnaby) Limited (in Liquidation)
c/o KPMG LLP
Attn: Luke Wiseman and Richard Beard
15 Canada Square
London E14 5GL
United Kingdom                                              912     3/22/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
American Apparel Australia Pty Limited (In Liquidation)
Attn: Matthew Abraham
GPO Box 9986
Sydney, NSW 2001
Australia                                                   1921    4/10/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)              $679,431.73                                                                        $679,431.73
American Apparel Canada Retail Inc.
c/o KPMG Inc. as Interim Receiver
Attn: Carl Adjami
Suite 1500, 600 de Maisonneuve Blvd. West
Montréal, QC H3A 0A3
Canada                                                      1555     4/7/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                $10,565,982.29                                                                      $10,565,982.29




                                                                                                                       Page 9 of 202
                                                                                     Case 16-12551-BLS           Doc 2329      Filed 12/23/20      Page 10 of 202



                                                                                                                    Claim Register
                                                                                                  In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                                  Case No. 16-12551


                                                                                                                                                          Current General                                  Current 503(b)(9)
                                                                                                                                                                          Current Priority Current Secured                    Current Admin    Total Current
                Creditor Name and Address                 Claim No. Claim Date                              Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                                           Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                              Amount                                           Amount
American Apparel Deuschland GMBH (Dr. von der Fecht as
German Insolvency Administrator)
von der Fecht LLP
Rechtsanwalte Steuerberater
Kaiserswerther Strasse 253
Dusseldorf 40474
Germany                                                     1416     4/6/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                 $8,203,081.15                                                                       $8,203,081.15
American Apparel Ireland Limited (in liquidation)
c/o KPMG
1 Stokes Place
St. Stephen's Green
Dublin 2
Ireland                                                     3421    11/19/2018         APP Winddown, LLC (f/k/a American Apparel, LLC)                        $837,575.88                                                                        $837,575.88
American Apparel Japan Yugen Kaisha Bankruptcy Trustee:
Shinnosuke Fukuoka
c/o LPC Nishimura & Asahi Law Firm
Otemon Tower, 1-1-2 Otemachi
Chiyoda-ku, Tokyo 100-8124
Japan                                                       1860    4/11/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                    $0.00                                                                               $0.00
American Commercial Equities, LLC
Levy, Small & Lallas
Tom Lallas and Mark D. Hurwitz
815 Moraga Drive
Los Angeles, CA 90049                                       3293    5/26/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
American Commercial Equities, LLC
Levy, Small & Lallas
Tom Lallas and Mark D. Hurwitz
815 Moraga Drive
Los Angeles, CA 90049                                       3294    5/26/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)               $19,800.00                                                            $500.00       $20,300.00
American Electric Power
Attn: Bankruptcy
1 AEP Way
Hurricane, WV 25526                                          84     12/20/2016   APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                $1,220.82                                                                           $1,220.82
AMERICAN LIGHTING
6861 NANCY RIDGE DR STE C
SAN DIEGO, CA 92121-3214                                    694      3/9/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                    $36,316.92                                                                          $36,316.92
AMERICAN SUPPLY COMPANY
1621 E 27TH STREET
LOS ANGELES, CA 90011                                       117      1/3/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                    $33,823.52                                        $18,788.16                        $52,611.68
Amirkiai, Farah
1215 Arthur Ct.
Los Aitos, CA 94024                                         598      3/3/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                              $65.00                                            $65.00
Anaya's Cutting LLC
Jeff Katofsky, Esq.
4558 Sherman Oaks Ave
Sherman Oaks, CA 91403                                      139     1/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                    $87,794.00                                                                          $87,794.00
Andari Fashion, Inc.
Steven T. Gubner
Brutzkus Gubner
21650 Oxnard St Ste 500
Woodland Hills, CA 91367                                    1843    4/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                        $230,404.60                                                                        $230,404.60
Anderson, Barbara Crockett
134 POWERS STREET
APT 1C
BROOKLYN, NY 11211                                          1868    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $43.51                                                                             $43.51
Anderson, Iyana
1844 Springfield Ave
Maplewood, NJ 07040                                         1184     4/1/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                   $26.00                                                                             $26.00




                                                                                                                      Page 10 of 202
                                                                       Case 16-12551-BLS           Doc 2329      Filed 12/23/20      Page 11 of 202



                                                                                                      Claim Register
                                                                                    In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                    Case No. 16-12551


                                                                                                                                            Current General                                  Current 503(b)(9)
                                                                                                                                                            Current Priority Current Secured                    Current Admin    Total Current
                Creditor Name and Address   Claim No. Claim Date                              Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                             Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                Amount                                           Amount
Anderson, Whitney
11812 San Vicente Blvd, Floor 4
Los Angeles, CA 90049                         3382    11/24/2017   APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                   $50.00                                                                             $50.00
Andrade, Micelena
409 1/2 E 62 St.
Los Angeles, CA 90003                         2006    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Andrade, Micelena
409 1/2 End 62 St
Los Angeles, CA 90003                         2005    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Andrade, Perfecta
918 W. 52nd St
Los Angeles, CA 90037                         2803    4/12/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
Andrade, Perfecta
918 W. 52nd St
Los Angeles, CA 90037                         2877    4/12/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
Andres, Angelica
1670 W. 2nd St.
Los Angeles, CA 90026                         1827    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Andres, Maria
233 S. Union Pl. #1
Los Angeles, CA 90026                         1902    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Andres, Maria
233 S. Union Pl. #1
Los Angeles, CA 90026                         2070    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Andres, Mercedes
233 Union Pl # 13
Los Angeles, CA 90026                         2026    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Andres, Mercedes
233 Union Pl. # 13
Los Angeles, CA 90026                         1863    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Angioletti, Mike
1075 Dyer Place
Laguna Beach, CA 92651                        246     1/31/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $147.70                                                                            $147.70
ANNAPOLIS MALL OWNER LLC
C/O LECLAIRRYAN, PC
ATTN: NICLAS A. FERLAND, ESQ
545 LONG WHARF DRIVE, 9TH FLOOR
NEW HAVEN, CT 06511                           1535     4/7/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)              $138,117.84                                                                        $138,117.84
Anne Arundel County, Maryland
Anne Arundel County Finance Office
PO Box 2700, MS 1103
Annapolis, MD 21404                           2905    4/14/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                           $7,235.04                                          $7,235.04
Another Publishing Ltd
3rd Floor, 2 Arundel Street
London WC2R 3DA
United Kingdom                                531     2/27/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                     $5,979.88                                             $0.00                         $5,979.88
Antar, Anniessa
4428 Garrison Lane
Edina, MN 55424                               3340    7/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
Anyakwo, Joebundus
706 E GREEN ACRES DR
Hobbs, NM 88240-4518                          3078    4/18/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                $0.00                             $0.00
Anyakwo, Joebundus
706 E GREEN ACRES DR
Hobbs, NM 88240-4518                          3110    4/18/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
Apikian, Abraham
1470 Atchison St
Pasadena, CA 91104                            412     2/14/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $28.34                                                                             $28.34




                                                                                                        Page 11 of 202
                                                                       Case 16-12551-BLS         Doc 2329      Filed 12/23/20     Page 12 of 202



                                                                                                     Claim Register
                                                                                   In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                   Case No. 16-12551


                                                                                                                                           Current General                                  Current 503(b)(9)
                                                                                                                                                           Current Priority Current Secured                    Current Admin    Total Current
                 Creditor Name and Address   Claim No. Claim Date                            Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                            Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                               Amount                                           Amount
APISource, Inc.
4471 Nicole Dr
Lanham, MD 20706                                53     12/6/2016         APP Winddown, LLC (f/k/a American Apparel, LLC)                        $19,703.89                                                                          $19,703.89
Aportela, Micaela
13920 1/2 S. Vermont. Ave
Gardena, CA 90247                              1790    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Aportela, Micaela
13920 1/2 S. Vermont. Ave
Gardena, CA 90247                              1853    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Aquilina, Gianna
3815 N Wilton Ave apt #3
Chicago, IL 60613                              866     3/20/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                               $50.00          $50.00
Araniva, Rosa Emilia
646 N. Westmoreland Ave #4
Los Angeles, CA 90004                          2424    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Araniva, Rosa Emilia
646 N. Westmoreland Ave #4
Los Angeles, CA 90004                          2613    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Aravind, Shruthi
964 S 48th St
Omaha, NE 68106                                204     1/24/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                         $1,000.00                                                                           $1,000.00
Arch Indemnity Insurance Company
Attn: Francine Petrosino, Legal Assistant
Harborside 3, 210 Hudson Street, Suite 300
Jersey City, NJ 07311                          810     3/15/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                      $4,700,000.00                             $0.00    $4,700,000.00
Arch Insurance Company
Attn: Francine Petrosino, Legal Assistant
Harborside 3, 210 Hudson Street Suite 300
Jersey City, NJ 07311-1107                     809     3/15/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                      $4,700,000.00                             $0.00    $4,700,000.00
Arcos Ballina, Guadalupe
510 E 23rd St # 7
Los Angeles, CA 90011                          2904    4/14/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                $0.00            $0.00
Arevalo, Marina Esperanza
1522 W. 60th St.
Los Angeles, CA 90047                          2855    4/13/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Argueta, Reina
928 South Burlington Ave Apt # 102
Los Angeles, CA 90006                          1816    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Argueta, Reina
928 Sur Burlington Ave
Apt # 102
Los Angeles, CA 90006                          1757    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
ARIAS, AURELIO
213 W. 56TH ST.
LOS ANGELES, CA 90037                          1036    3/27/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                $0.00            $0.00
ARIAS, AURELIO
213 W. 56TH ST.
LOS ANGELES, CA 90037                          1040    3/27/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00           $0.00                                                               $0.00
Armengol, Sonia
Wharehouse Distribution Picking
Americal Apparel
16400 Trojan Way
La Mirada, CA 90638                            1720     4/8/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                             $0.00                                                               $0.00
Asada, Elaine
3149 Roberts Ave #b
Culver City, CA 90232                          1266     4/4/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                       $50.00                                                                             $50.00
Ashena, Afrooz
16838 Magnolia Blvd
Encino, CA 91436                               2319    4/12/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                               $50.00          $50.00


                                                                                                      Page 12 of 202
                                                                                     Case 16-12551-BLS           Doc 2329      Filed 12/23/20      Page 13 of 202



                                                                                                                    Claim Register
                                                                                                  In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                                  Case No. 16-12551


                                                                                                                                                          Current General                                  Current 503(b)(9)
                                                                                                                                                                          Current Priority Current Secured                    Current Admin    Total Current
                  Creditor Name and Address               Claim No. Claim Date                              Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                                           Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                              Amount                                           Amount
Aston Models, Inc.
332 S. Beverly Dr. # 100
Beverly Hills, CA 90212                                     200     1/24/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                     $3,600.00       $1,800.00                                                           $5,400.00
AT&T Corp
c/o Karen A. Cavagnaro; Lead Paralegal
AT&T Services, Inc.
One AT&T Way, Room 3A104
Bedminster, NJ 07921                                        842     3/17/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)               $88,879.08                                                                          $88,879.08
ATJUN, FABELITO
C/O KEITH A. FINK & ASSOCIATES
11500 OLYMPIC BLVD., SUITE 316
LOS ANGELES, CA 90064                                       1374     4/6/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
ATJUN, FABELITO
C/O KEITH A. FINK & ASSOCIATES
1990 S BUNDY DR STE 620
LOS ANGELES, CA 90025-5690                                  1432     4/6/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)              $150,000.00                                                                        $150,000.00
Axis Capital, Inc. (n/k/a Amur Equipment Finance, Inc.)
308 N Locust St
Grand Island, NE 68801                                      169     1/23/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                            $0.00                                              $0.00
Axis Capital, Inc. (n/k/a Amur Equipment Finance, Inc.)
308 N Locust St
Grand Island, NE 68801                                      172     1/23/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                            $0.00                                              $0.00
Axis Capital, Inc. (n/k/a Amur Equipment Finance, Inc.)
308 N Locust St
Grand Island, NE 68801                                      173     1/23/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
Axis Capital, Inc. (n/k/a Amur Equipment Finance, Inc.)
308 N Locust St
Grand Island, NE 68801                                      174     1/23/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                            $0.00                                              $0.00
Axis Capital, Inc. (n/k/a Amur Equipment Finance, Inc.)
308 N Locust St
Grand Island, NE 68801                                      181     1/23/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                            $0.00                                              $0.00
Axis Capital, Inc. (n/k/a Amur Equipment Finance, Inc.)
308 N Locust St
Grand Island, NE 68801                                      182     1/23/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                            $0.00                                              $0.00
Axis Capital, Inc. (n/k/a Amur Equipment Finance, Inc.)
308 N Locust St
Grand Island, NE 68801                                      347      2/3/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                          $7,710.99                          $150.38                                          $7,861.37
Axis Capital, Inc. (n/k/a Amur Equipment Finance, Inc.)
308 N Locust St
Grand Island, NE 68801                                      350      2/3/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                          $8,495.71                          $120.30                                          $8,616.01
Axis Capital, Inc. (n/k/a Amur Equipment Finance, Inc.)
308 N Locust St
Grand Island, NE 68801                                      351      2/3/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                          $3,321.61                          $120.30                                          $3,441.91
Axis Capital, Inc. (n/k/a Amur Equipment Finance, Inc.)
308 N Locust St
Grand Island, NE 68801                                      352      2/3/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                          $9,540.67                          $120.30                                          $9,660.97
Axis Capital, Inc. (n/k/a Amur Equipment Finance, Inc.)
308 N Locust St
Grand Island, NE 68801                                      355      2/9/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                         $25,822.43                        $1,052.63                                         $26,875.06
Axis Capital, Inc. (n/k/a Amur Equipment Finance, Inc.)
308 N Locust St
Grand Island, NE 68801                                      356      2/9/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                         $30,535.55                          $436.09                                         $30,971.64
Ayala, Maria E
5534 SUPER BOWL DR
LAS VEGAS, NV 89110-5634                                    1855    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Ayala, Maria E
5534 SUPER BOWL DR
LAS VEGAS, NV 89110-5634                                    2098    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00




                                                                                                                      Page 13 of 202
                                                                      Case 16-12551-BLS           Doc 2329      Filed 12/23/20      Page 14 of 202



                                                                                                     Claim Register
                                                                                   In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                   Case No. 16-12551


                                                                                                                                           Current General                                  Current 503(b)(9)
                                                                                                                                                           Current Priority Current Secured                    Current Admin    Total Current
               Creditor Name and Address   Claim No. Claim Date                              Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                            Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                               Amount                                           Amount
Ayala, Maria Ercilia
200 W. 101 St
Los Angeles, CA 90003                        1992    4/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                              $0.00                                                               $0.00
Ayala, Maria Ercilia
200 W. 101st St
Los Angeles, CA 90003                        2191    4/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
Ayala, Rosalva Ramirez
469 Ezra St.
Los Angeles, CA 90063                        2957    4/14/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Aylward, Kimberly
1060 Maria Lane
Louisville, CO 80027                         3373    11/6/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $39.50                                                                             $39.50
Azboy, Hanna Melissa
2111 Westheimer Rd #2305
Houston, TX 77098                            1579    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                        $84.83                                                                             $84.83
Badgley, Corinne
2250 Bay Street #315
San Francisco, CA 94123                      627      3/6/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                   $16.53                                                                             $16.53
Badri, Seyedeh
12000 Goshen Ave
Apt. # 102
Los Angeles, CA 90049                        3015    4/17/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                         $0.00                                                                               $0.00
Bae, Jinyoung
4333 Gilbert Ave #211
Dallas, TX 75219                             1107    3/29/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                   $45.00                                                                             $45.00
Bahrami, Kavan
6917 N Greenwich Ave
Portland, OR 97217                           427     2/15/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $28.00                                                                             $28.00
Bair, Brooke
2516 Poinsettia Avenue
Manhattan Beach, CA 90266                    508     2/24/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $6.56                                                                               $6.56
BAKER & MCKENZIE LLP
ATTN: ERIN E. BRODERICK
300 E RANDOLPH ST STE 5000
CHICAGO, IL 60601-5015                       2171    4/11/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                $3,982.30                                                                           $3,982.30
Baker, Lauren
133 E 15th St, Apt 3D
New York, NY 10003                           3417     8/6/2018          APP Winddown, LLC (f/k/a American Apparel, LLC)                                             $44.10                                                             $44.10
BALBOA BLDG., LLC
C/O GRIFFITH & THORNBURGH , LLP
ATTN JOHN C. ECK
8 E FIGUEROA ST STE 300
SANTA BARBARA, CA 93101-2762                 989     3/23/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                    $0.00                                                                               $0.00
Balestrieri, Katherine
1530 Locust St, 4B
Philadelphia, PA 19102                       3376    11/14/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                             $90.00                                                                             $90.00
Ballardo, Maria
8214 Howe St
Paramount , CA 90723                         3008    4/17/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                       $0.00            $0.00
Ballardo, Maria
8214 Howe St
Paramount, CA 90723                          3009    4/17/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Ballina, Guadalupe Arcos
510 E 23rd St #7
Los Angeles, CA 90011                        2919    4/14/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                              $0.00                                                               $0.00
Baltimore Gas and Electric Co
PO Box 1475
Baltimore, MD 21201                           57     12/8/2016          APP Winddown, LLC (f/k/a American Apparel, LLC)                          $1,650.59                                                                           $1,650.59




                                                                                                       Page 14 of 202
                                                                       Case 16-12551-BLS           Doc 2329      Filed 12/23/20      Page 15 of 202



                                                                                                      Claim Register
                                                                                    In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                    Case No. 16-12551


                                                                                                                                            Current General                                  Current 503(b)(9)
                                                                                                                                                            Current Priority Current Secured                    Current Admin    Total Current
                Creditor Name and Address   Claim No. Claim Date                              Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                             Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                Amount                                           Amount
Baltimore Gas and Electric Co
PO Box 1475
Baltimore, MD 21201                            58     12/6/2016          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $779.83                                                                            $779.83
Baltimore Gas and Electric Co
PO Box 1475
Baltimore, MD 21201                            59     12/6/2016          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $849.72                                                                            $849.72
Banos, Maria Lidia
7024 Bonsallo Ave
Los Angeles, CA 90044                         3022    4/17/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Banos, Maria Lidia
7024 Bonsallo Ave.
Los Angeles, CA 90044                         3040    4/17/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Banuelos, Alma
2129 Vallejo St
Los Angeles, CA 90031                         2184    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                         $0.00                                                                               $0.00
Banuelos, Alma
2129 Vallejo St
Los Angeles, CA 90031                         2503    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Banuelos, Celeste
2701 Randolph st #438
Huntington Park, CA 90255                     3054    4/12/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                             $89.00                                                             $89.00
Barahona, Adela
7982 Clearfield Ave.
Panorama City, CA 91402                       2279    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Barandiaran, Ashley
1834 Clove St
San Diego, CA 92106                           506     2/24/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $46.44                                                                             $46.44
Barbuti, Mariella
103 W 77th St.
Apt. 3C
New York, NY 10024                            1068    3/28/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                $42.00          $42.00
Barcenas, Cirenia
7314 Whitsett Ave
Los Angeles, CA 90001                         2353    4/12/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Barcenas, Cirenia
7314 Whitsett Ave
Los Angeles, CA 90001                         2355    4/12/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Barczak, Mary
2423 Lake Place
Minneapolis, MN 55405                         593      3/3/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $42.00                                                                             $42.00
Barker, Dina
4025 Enfield
Skokie, IL 60076                              239     1/30/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $27.47                                                                             $27.47
Barker, Kristin
50 Lefferts Ave, 4H
Brooklyn, NY 11225                            304      2/6/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $45.00                                                                             $45.00
Barnett, Devon
1634 S 21St Street
Philadelphia, PA 19145                        942     3/23/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                      $35.00          $35.00
Barnhorst, Nicholas
1991 BROADWAY APT 15A
NEW YORK, NY 10023-5827                       569      3/1/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $100.00                                                                            $100.00
Baron, Alexandra
1758 N. Humboldt Blvd, Unit 2
Chicago, IL 60647                             3160    4/24/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
Baross, Emily
7847 Canyon Lake Circle
Orlando, FL 32835                             1059    3/28/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $88.40                                                                             $88.40




                                                                                                        Page 15 of 202
                                                                        Case 16-12551-BLS           Doc 2329      Filed 12/23/20      Page 16 of 202



                                                                                                       Claim Register
                                                                                     In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                     Case No. 16-12551


                                                                                                                                             Current General                                  Current 503(b)(9)
                                                                                                                                                             Current Priority Current Secured                    Current Admin    Total Current
                 Creditor Name and Address   Claim No. Claim Date                              Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                              Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                 Amount                                           Amount
Barragan Rojas, Jesus Roberto
1606 New Jersey St
Los Angeles, CA 90033                          1380     4/7/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                          $5,200.00                                                                           $5,200.00
Barrera, Juventina
25865 ViaTejon Ave
Moreno Valley, CA 92551                        1978    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Barreto, Norma
447 East 27th St
Los Angeles, CA 90011                          2438    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Barreto, Norma
447 East 27th St
Los Angeles, CA 90011                          2635    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Barrett, Randi
515 West End Ave
Apt 12C
New York, NY 10024                             658      3/8/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $116.00                                                                            $116.00
Barron, Ramon
8214 Howe St
Paramount, CA 90723                            3000    4/17/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Barron, Ramon
8214 Howe Street
Paramount, CA 90723                            3010    4/17/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Barry, Shawn
3011 4th St. #A
Santa Monica, CA 90405                         527     2/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $55.96                                                                             $55.96
Bartolotta, Nicole
7 Vik Drive
Warwick, NY 10990                              1058    3/27/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $30.00          $30.00
BARTOLOTTA, NICOLE
7 VIK DRIVE
WARWICK , NY 10990                             1034    3/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $30.00                                                                             $30.00
Barzell, Dustin
436 Union Ave. 2R
Brooklyn, NY 11211                             579      3/2/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                   $90.00                                                                             $90.00
Bashi, Denise
4819 Elmhurst Ave.
Royal Oak, MI 48073                            3287    5/24/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                   $61.48                                                                             $61.48
Bassey, Inyang
921 Washington Avenue
Apt. 3 L
Brooklyn, NY 11225                             824     3/16/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $8.95                                                                               $8.95
Baychester Shopping Center, Inc.
Mark J. Romeo
Law Offices of Mark J. Romeo
235 Montgomery Street, Suite 400
San Francisco, CA 94104                        3145    4/24/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)              $236,688.66                       $18,583.66                                       $255,272.32
Bayer, Jonah
354 Onderdonk Ave, Apt 2B
Ridgewood, NY 11385                            767     3/13/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $97.00                                                                             $97.00
Belenkov, Stephanie
1158 Fifth Avenue, 16C
New York, NY 10029                             1956    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $70.00                                                                             $70.00
BellSouth Telecommunications, Inc
c/o AT&T Services, Inc Karen A. Cavagnaro
One AT&T Way, Room 3A104
Bedminster, NJ 07921                           664      3/9/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                          $2,988.52                                                                           $2,988.52
Beltran, Blanca
1365 Dacotah St Apt. # 4
Los Angeles, CA 90023                          1591    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00


                                                                                                         Page 16 of 202
                                                                     Case 16-12551-BLS           Doc 2329      Filed 12/23/20      Page 17 of 202



                                                                                                    Claim Register
                                                                                  In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                  Case No. 16-12551


                                                                                                                                          Current General                                  Current 503(b)(9)
                                                                                                                                                          Current Priority Current Secured                    Current Admin    Total Current
              Creditor Name and Address   Claim No. Claim Date                              Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                           Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                              Amount                                           Amount
Beltran, Blanca
1365 Dacotah St Apt. # 4
Los Angeles, CA 90023                       2774    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Beltran, Blanca L.
1365 Dacotah St # 4
Los Angeles, CA 90023                       2767    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Beltran, Maria
569 S Hillview Ave
Los Angeles, CA 90022                       3028    4/17/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00            $0.00                                              $0.00
Beltran, Maria
569 S Hillview Ave
Los Angeles, CA 90022                       3038    4/17/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Benau, Tessa
179 Park Pl. Apt. 8
Brooklyn, NY 11238                          270     1/30/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $50.22                                                                             $50.22
Benitez, Maria
17609 E Newburgh St
Azusa, CA 91702-5636                        2334    4/12/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                              $0.00                                                               $0.00
Benitez, Maria
17609 E Newburgh St
Azusa, CA 91702-5636                        2336    4/12/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
Benjamin, Jazmyn
1420 Madison Ave
Columbus, OH 43205                          3397    12/20/2017   APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                   $78.00                                                                             $78.00
Bennhoff, Brian
25 Whiffle Tree Lane
New Canaan, CT 06840                        3161    4/25/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                        $70.00                                                                             $70.00
BENNY'S PALLETS
ATTN: BENJAMIN MARTINEZ
1611 E 23RD ST
LOS ANGELES, CA 90011                       160     1/18/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                    $15,487.50                                                                          $15,487.50
Bent, Kimberly
150 South Ocean Ave Apt. 1K
Freeport, NY 11520                          393     2/13/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                             $88.93                                                             $88.93
Bernal, Norma
8132 Commercial Pl
South Gate, CA 90280                        3073    4/18/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Bernal, Norma
8132 Commercial Pl
South Gate, CA 90280                        3077    4/18/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Bernal, Richard R
5776 Rostrata Ave Apt 4
Buena Park, CA 90621-1856                   1260     4/4/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
BEXAR COUNTY
LINEBARGER GOGGAN BLAIR & SAMPSON, LLP
711 NAVARRO STREET, STE 300
SAN ANTONIO, TX 78205                        19     11/23/2016   APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                     $0.00                                              $0.00
Bexar County
Linebarger Goggan Blair & Sampson, LLP
Don Stecker
711 Navarro, Suite 300
San Antonio, TX 78205                       392     2/13/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                       $0.00            $0.00
Bexar County
Linebarger Goggan Blair & Sampson, LLP
Don Stecker
711 Navarro, Suite 300
San Antonio, TX 78205                       3375    11/7/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                       $0.00            $0.00




                                                                                                      Page 17 of 202
                                                                       Case 16-12551-BLS           Doc 2329      Filed 12/23/20      Page 18 of 202



                                                                                                      Claim Register
                                                                                    In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                    Case No. 16-12551


                                                                                                                                            Current General                                  Current 503(b)(9)
                                                                                                                                                            Current Priority Current Secured                    Current Admin    Total Current
                Creditor Name and Address   Claim No. Claim Date                              Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                             Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                Amount                                           Amount
Bexar Transportation
Ronald J. Johnson
111 Soledad, Suite 1350
San Antonio, TX 78205                         1372     4/6/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                     $7,890.00                                                                           $7,890.00
Bianchi, Janina
7668 SW 160 Ave
Miami, FL 33193                               1099    3/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $193.50                                                                            $193.50
Biesack, John
3018 N. Hackett Ave.
Milwaukee, WI 53211                           730     3/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $196.47                                                                            $196.47
Bik, Cho
420 W. Riggin St.
Monterey Park, CA 91754                       1527     4/7/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Billet, Moshe
752 W END AVE APT 14C
NEW YORK, NY 10025-6234                       1284     4/4/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                   $20.00                                                             $20.00
Billet, Moshe
752 West End Ave, 21D
New York, NY 10025                            1262     4/4/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                             $20.00                                                             $20.00
Billet, Moshe
752 West End Ave, 21D
New York, NY 10025                            1269     4/4/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $20.00                                                             $20.00
Bilokur, Lida
916 East Aloha, Unit B
Seattle, WA 98102                             787     3/13/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $158.78                                                                            $158.78
Bischoff, Ashlee
114 Dardanelli Ln. #40
Los Gatos, CA 95032                           1250     4/4/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $44.83                                                                             $44.83
Blackwell Partners, LLC, Series A
c/o Coliseum Capital Management, LLC
Attn: Adam Gray
105 Rowayton Ave.
Rowayton, CT 06853                            2282    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                   $218,727,784.00                            $0.00 $218,727,784.00
Blackwell Partners, LLC, Series A
c/o Coliseum Capital Management, LLC
Attn: Adam Gray
105 Rowayton Ave.
Rowayton, CT 06853                            2293    4/11/2017         APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                          $0.00                   $218,727,784.00                            $0.00 $218,727,784.00
Blackwell Partners, LLC, Series A
c/o Coliseum Capital Management, LLC
Attn: Adam Gray
105 Rowayton Ave.
Rowayton, CT 06853                            2307    4/11/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                    $0.00                   $218,727,784.00                            $0.00 $218,727,784.00
Blackwell Partners, LLC, Series A
c/o Coliseum Capital Management, LLC
Attn: Adam Gray
105 Rowayton Ave.
Rowayton, CT 06853                            2370    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                              $0.00            $0.00
Blackwell Partners, LLC, Series A
c/o Coliseum Capital Management, LLC
Attn: Adam Gray
105 Rowayton Ave.
Rowayton, CT 06853                            2393    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                         $0.00                   $218,727,784.00                            $0.00 $218,727,784.00
Blackwell Partners, LLC, Series A
c/o Coliseum Capital Management, LLC
Attn: Adam Gray
105 Rowayton Ave.
Rowayton, CT 06853                            2402    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00




                                                                                                        Page 18 of 202
                                                                             Case 16-12551-BLS          Doc 2329      Filed 12/23/20      Page 19 of 202



                                                                                                           Claim Register
                                                                                         In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                         Case No. 16-12551


                                                                                                                                                 Current General                                  Current 503(b)(9)
                                                                                                                                                                 Current Priority Current Secured                    Current Admin    Total Current
                Creditor Name and Address   Claim No. Claim Date                                   Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                                  Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                     Amount                                           Amount
Blackwell Partners, LLC, Series A
c/o Coliseum Capital Management, LLC
Attn: Adam Gray
105 Rowayton Ave.
Rowayton, CT 06853                            2456    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
Blackwell Partners, LLC, Series A
c/o Coliseum Capital Management, LLC
Attn: Adam Gray
105 Rowayton Ave.
Rowayton, CT 06853                            2524    4/11/2017           APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)                      $0.00                   $218,727,784.00                            $0.00 $218,727,784.00
Blackwell Partners, LLC, Series A
c/o Coliseum Capital Management, LLC
Attn: Adam Gray
105 Rowayton Ave.
Rowayton, CT 06853                            2574    4/11/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                $0.00                   $218,727,784.00                            $0.00 $218,727,784.00
Blackwell Partners, LLC, Series A
c/o Coliseum Capital Management, LLC
Attn: Adam Gray
105 Rowayton Ave.
Rowayton, CT 06853                            2576    4/11/2017              APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                                                                                             $0.00            $0.00
Blackwell Partners, LLC, Series A
c/o Coliseum Capital Management, LLC
Attn: Adam Gray
105 Rowayton Ave.
Rowayton, CT 06853                            2590    4/11/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                       $0.00            $0.00
Blackwell Partners, LLC, Series A
c/o Coliseum Capital Management, LLC
Attn: Adam Gray
105 Rowayton Ave.
Rowayton, CT 06853                            2668    4/11/2017           APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)                                                                                         $0.00            $0.00
Blackwell Partners, LLC, Series A
c/o Coliseum Capital Management, LLC
Attn: Adam Gray
105 Rowayton Ave.
Rowayton, CT 06853                            2671    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
Blackwell Partners, LLC, Series A
c/o Coliseum Capital Management, LLC
Attn: Adam Gray
105 Rowayton Ave.
Rowayton, CT 06853                            2697    4/11/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                                                                                   $0.00            $0.00
Blaine, Jennifer
709 S. 17th Street
Philadelphia, PA 19146                        2856    4/14/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                             $32.00                                                                             $32.00
Blanca Quintana, Maria
1301 W Court St. #108
Los Angeles, CA 90026                         2950    4/14/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                              $0.00                                                               $0.00
Blanco, Dinora
6363 Middleton St.
Huntington Park, CA 90255                     1364     4/6/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
Blanco, Dinora
6363 Middleton St.
Huntington Park, CA 90255                     1396     4/6/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
BNB TRIM
1511 West 36th Place
Los Angeles, CA 90018                         259     1/30/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                     $5,937.75                                                                           $5,937.75
Boakye, Lorraine
5609 Elmer St
Unit 303
Pittsburgh, PA 15232                          1138    3/30/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                             $50.00                                                                             $50.00


                                                                                                             Page 19 of 202
                                                                        Case 16-12551-BLS           Doc 2329      Filed 12/23/20      Page 20 of 202



                                                                                                       Claim Register
                                                                                     In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                     Case No. 16-12551


                                                                                                                                             Current General                                  Current 503(b)(9)
                                                                                                                                                             Current Priority Current Secured                    Current Admin    Total Current
                 Creditor Name and Address   Claim No. Claim Date                              Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                              Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                 Amount                                           Amount
Bogert, Laura
104 Vicksburg St.
San Francisco, CA 94114                        446     2/21/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $76.13                                                                             $76.13
BOLSTER, LINDSAY SHEA
2138 S INDIANA AVE #2109
CHICAGO, IL 60616                              339      2/8/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $87.00                                                                             $87.00
BOLSTER, LINDSAY SHEA
2138 S INDIANA AVE #2109
CHICAGO, IL 60616                              968     3/24/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $87.00                                                                             $87.00
Bolster, Lindsay Shea
2138 S. Indiana Ave #2109
Chicago, IL 60616                              1000    3/24/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                $87.00          $87.00
Bonilla, Blanca L
1131 West 110 St
Los Angeles, CA 90044                          2199    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Bonilla, Blanca L
1131 West 110 St
Los Angeles, CA 90044                          2705    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Boquin, Reynalda
1350 West 4th St Apt #201
Los Angeles, CA 90017                          1971    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Boquin, Reynalda
1350 West 4th St Apt #201
Los Angeles, CA 90017                          2022    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Borrayo, Maria
1333 2nd Ave Apt 8
Los Angeles, CA 90019                          2749    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Bosak, Ed
Edward Bosak
8600 Boulevard East
Apartment 4H
North Bergen, NJ 07047                         3076    4/18/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $100.00                                                                            $100.00
Boulder County Treasurer's Office
c/o Paul Weissmann, Treasurer
PO Box 471
Boulder, CO 80306                              2707    4/13/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                $9,175.26                                                           $9,175.26
Boulouque, Clemence
31 Jane Street
Apartment 10C
New York, NY 10014                             1803    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $28.00                                                                             $28.00
Bradfield, Yarisbeth
4201 Massachusetts Ave. NW
Apt. #4074
Washington, DC 20016                           667      3/8/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $33.92                                                                             $33.92
Brailsford, Brooke
10989 Bluffside Dr. Apt # 3203
Studio City, CA 91604                          428     2/15/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                               $32.00                           $32.00
Brauntuch, Lauren
185 E. 85th St.
Apt 32B
New York, NY 10028                             245     1/31/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $7.43                                                                               $7.43
Bravo de Cortez, Irene
8154 Cypress Ave
South Gate, CA 90280                           2200    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Bravo de Cortez, Irene
8154 Cypress Ave
South Gate, CA 90280                           2730    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Bravo, Jose G.
236 S Bonnie Brae Ap. #214
Los Angeles, CA 90057                          2054    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00

                                                                                                         Page 20 of 202
                                                                        Case 16-12551-BLS           Doc 2329      Filed 12/23/20      Page 21 of 202



                                                                                                       Claim Register
                                                                                     In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                     Case No. 16-12551


                                                                                                                                             Current General                                  Current 503(b)(9)
                                                                                                                                                             Current Priority Current Secured                    Current Admin    Total Current
                 Creditor Name and Address   Claim No. Claim Date                              Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                              Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                 Amount                                           Amount
Bravo, Jose G.
236 S Bonnie Brae Ap. #214
Los Angeles, CA 90057                          2119    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Bremus, E.
199 Michigan Avenue
Paterson, NJ 07503                             543     2/27/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                    $1.00                                                                               $1.00
Brenes, Grisvia
23841 SW 108 Ave
Homestead, FL 33032                            2321    4/12/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $74.90                                                                             $74.90
Bretan, Raina
200 E. 71st St Apt 8L
New York, NY 10021                             679      3/9/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $43.00                                                                             $43.00
Briceno, Maria
16209 Cornuta Ave
Bellflower, CA 90706                           2111    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Briceno, Maria
16209 Cornuta Ave
Bellflower, CA 90706                           2144    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
BRINK'S INCORPORATED
FILE NO 52005
LOS ANGELES, CA 90074-2005                     1898    4/11/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                $9,514.49                                                                           $9,514.49
Brito, Maria
2 Seaman Ave. Apt. 1H
New York, NY 10034                             709      3/9/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $78.00                                                                             $78.00
Brizuela Romero, Nuria Elizabeth
721 1/2 S DOWNEY RD
Los Angeles, CA 90023-1908                     2320    4/13/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Brizuela Romero, Nuria Elizabeth
721 1/2 S DOWNEY RD
Los Angeles, CA 90023-1908                     2431    4/13/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Broder Bros., Co dba alpabroder
ATTN: General Counsel
6 Neshaminy Interplex, 6th Floor
Trevose, PA 19053                              1646    4/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                        $220,000.00                                                              $0.00     $220,000.00
Brooks Industries
PO Box 9111
Calabasas, CA 91372-9111                       775     3/13/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                          $2,880.00                                                                           $2,880.00
Brown, Justin
4416 Navin Field Lane
Troy, MI 48085                                 3225     5/5/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $108.12                                                                            $108.12
Brown, Justin
4416 Navin Field Lane
Troy, MI 48085                                 3237     5/9/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                       $108.12                                                                            $108.12
Brown, Justin
4416 Navin Field Lane
Troy, MI 48085                                 3316    6/16/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $108.12                                                                            $108.12
BRUZZESE, LARA
1201 ADAMS STREET
APT. 302
HOBOKEN, NJ 07030                              3336    7/17/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $30.00                                                                             $30.00
Budget Truck
Avis Budget Group, Inc
300 Centre Pointe Drive
Virginia Beach, VA 23462                       3271    5/19/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
Buishas, Brianne
412 Verbena Ct.
Naperville, IL 60565                           404     2/14/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $63.95                                                                             $63.95
Bumbaugh, Meghan
105 Leonard Steet, 5E
Brooklyn, NY 11206                             738     3/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $32.00                                                                             $32.00

                                                                                                         Page 21 of 202
                                                                                 Case 16-12551-BLS           Doc 2329      Filed 12/23/20      Page 22 of 202



                                                                                                                Claim Register
                                                                                              In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                              Case No. 16-12551


                                                                                                                                                      Current General                                  Current 503(b)(9)
                                                                                                                                                                      Current Priority Current Secured                    Current Admin    Total Current
                 Creditor Name and Address            Claim No. Claim Date                              Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                                       Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                          Amount                                           Amount
Burger, Susan
16276 Deer Trail Court
San Diego, CA 92127                                     3383    11/26/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                             $50.00                                                                             $50.00
BURLINGTON POLICE DEPARTMENT
1 NORTH AVE
BURLINGTON, VT 05401-2946                               693      3/9/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                          $2,306.00           $0.00                                                           $2,306.00
Burns, Katherine
2700 Canton St. Apt 304
Dallas, TX 75226                                        655      3/8/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                        $83.35                                                                             $83.35
Burton, Saba
PO Box 14721
Oakland, CA 94614                                       563      3/1/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                  $157.15                                                                            $157.15
Bushnell, Gena
685 E 43RD ST APT C
Los Angeles, CA 90011-6076                              3328    6/30/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $39.01                                                                             $39.01
Byrd-Locey, Haley Kristin
240 W Auburn Rd
Rochester Hills, MI 48307                               1171     4/3/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                       $100.00                                                                            $100.00
C.H. Robinson Worldwide, Inc.
14701 Charlson Road
Eden Prairie, MN 55347                                  870     3/20/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                    $43,987.95                                                                          $43,987.95
CA INP
13404 La Jolla Cir. #201H
La Mirada, CA 90638                                      28     11/28/2016    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                    $74,750.28                                                                          $74,750.28
CA INP
13404 La Jolla Cir. #201H
La Mirada, CA 90638                                      30     11/28/2016        APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                      $7,665.84                                                                           $7,665.84
Caballero, Teresa
170 North Ave. 25
Los Angeles, CA 90031                                   1865    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Cabezas, Digna
858 E 51st St
Los Angeles, CA 90011                                   1390     4/6/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Cabezas, Digna
858 E 51st St
Los Angeles, CA 90011                                   1394     4/6/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
CABRERA-RIOS, CLAUDIO
963 1/2 S. SOTO ST
LOS ANGELES, CA 90023                                   952     3/20/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
Cabrera-Rios, Claudio
963 1/2 S. Soto St.
Los Angeles, CA 90023                                   944     3/20/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
Caen Rfid Srl
Via Vetraia 11
Viareggio (LU) 55049
Italy                                                   1111    3/28/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                  $895.00                                                                            $895.00
Califame of Los Angeles
20934 S. Santa Fe Ave
Carson, CA 90810                                        2209    4/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                         $17,107.20                                                                          $17,107.20
California Department of Tax and Fee Administration
(functional successor to Board of Equalization 7
Special Ops, MIC:55
PO Box 942879
Sacramento, CA 94279-0055                               3363    10/6/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                    $0.00                                                               $0.00
California Department of Tax and Fee Administration
(functional successor to Board of Equalization 7
Special Ops, MIC:55
PO Box 942879
Sacramento, CA 94279-0055                               3364    10/6/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                         $31,209.52                                                          $31,209.52


                                                                                                                  Page 22 of 202
                                                                                  Case 16-12551-BLS         Doc 2329      Filed 12/23/20      Page 23 of 202



                                                                                                                Claim Register
                                                                                              In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                              Case No. 16-12551


                                                                                                                                                      Current General                                  Current 503(b)(9)
                                                                                                                                                                      Current Priority Current Secured                    Current Admin    Total Current
             Creditor Name and Address           Claim No. Claim Date                                   Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                                       Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                          Amount                                           Amount
CALIFORNIA MANUFACTURING TECHNOLOGY CONSULTING
690 KNOX ST STE 200
TORRANCE, CA 90502-1323                            949     3/21/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                $0.00                                                                               $0.00
Calles, Jose Arnulfo
6656 Rosecrans Ave
SPC-S46
Paramount, CA 90723                                1825    4/10/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Calles, Jose Arnulfo
6656 Rosecrans Ave
SPC-S46
Paramount, CA 90723                                1871    4/10/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Camara, Amber
136 TRACE DR
Pittsboro, NC 27312-9504                           3301     6/2/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                             $36.33                                                                             $36.33
Campos, Amalia
5293 S. Broadway Ave
Apt # 4
Los Angeles, CA 90037                              2998    4/17/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Campos, Amalia
5293 S. Broadway Ave
Apt # 4
Los Angeles, CA 90037                              3065    4/17/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Campos, Maria E
6051 Miles Ave
Huntington Park, CA 90255                          2622    4/13/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Campos, Maria E
6051 Miles Ave
Huntington Park, CA 90255                          2637    4/13/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Canastuj, Samuel D.
222 E 88 PL
Los Angeles, CA 90003                              2131    4/10/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Canastuj, Samuel D.
222 E 88 PL
Los Angeles, CA 90003                              2213    4/10/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Caniz, Rodolfo
1180 W. 29th St. # 305
Los Angeles, CA 90007                              1962    4/10/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Caniz, Rodolfo
1180 W. 29th St. # 305
Los Angeles, CA 90007                              1964    4/10/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Cano, Guadalupe
136 N. Maple Ave.
Montebello, CA 90640                               1454     4/7/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Cano, Guadalupe
136 N. Maple Ave.
Montebello, CA 90640                               1508     4/7/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                         $0.00           $0.00                                                               $0.00
Cano, Maria
1010 W 23 St
San Pedro, CA 90731                                2931    4/14/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Cano, Maria
1010 W 23 St
San Pedro, CA 90731                                2948    4/14/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Canon, Lian
13138 Magnolia Blvd
Sherman Oaks, CA 91423                             378     2/13/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                             $31.00                                                                             $31.00
Cantiello, Laura
23 Arden Road
East Rockaway, NY 11518                            753     3/13/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                             $39.21                                                                             $39.21




                                                                                                                 Page 23 of 202
                                                                    Case 16-12551-BLS         Doc 2329      Filed 12/23/20     Page 24 of 202



                                                                                                  Claim Register
                                                                                In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                Case No. 16-12551


                                                                                                                                        Current General                                  Current 503(b)(9)
                                                                                                                                                        Current Priority Current Secured                    Current Admin    Total Current
              Creditor Name and Address   Claim No. Claim Date                            Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                         Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                            Amount                                           Amount
Cantiello, Laura
23 Arden Road
East Rockaway, NY 11518                     835     3/17/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $39.21                                                                             $39.21
Cardona, Reina E.
1408 W 11th St #13
Los Angeles, CA 90015                       2995    4/17/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                             $0.00                                                               $0.00
Cardona, Reina E.
1408 W 11th St #13
Los Angeles, CA 90015                       3062    4/18/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                        $0.00                                                                               $0.00
Cardona, Reina E.
1408 W 11th St #13
Los Angeles, CA 90015                       3210     5/1/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Cardona, Reina E.
1408 W 11th St #13
Los Angeles, CA 90015                       3217     5/1/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Career Group, Inc.
Harry Levenson
10100 Santa Monica Blvd.
Ste. 900
Los Angeles, CA 90067                       727     3/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                   $67,337.63                                                                          $67,337.63
Career Group, Inc.
Harry Levenson
10100 Santa Monica Blvd.
Ste. 900
Los Angeles, CA 90067                       3439    7/24/2019    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                   $67,337.63                                                                          $67,337.63
Carey, Jacqueline H.
141 Nevins St. #11
Brooklyn, NY 11217                          191     1/26/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $200.00                                                                            $200.00
Carlotti, Nicole
415 Argyle Road, 2V
Brooklyn, NY 11218                          1150    3/31/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $34.00                                                                             $34.00
CARRANZA, IRMA
2309 VALLEY ST #101
LOS ANGELES, CA 90057                       1793    4/10/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                $0.00            $0.00
CARRANZA, IRMA
2309 VALLEY ST #101
LOS ANGELES, CA 90057                       1822    4/10/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                             $0.00                                                               $0.00
CARRANZA, NORMA
LAW OFFICES OD RAMIN R. YOUNESSI
A PROFFESSIONAL LAW CORPORATION
3435 WILSHIRE BLVD., STE. 2200
LOS ANGELES, CA 90010                       1304     4/5/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                                               $0.00
Carrasco, Anya
647 W 207 St Apt 1A
New York, NY 10034                          3393    12/14/2017        APP Winddown, LLC (f/k/a American Apparel, LLC)                            $60.00                                                                             $60.00
Carter, Ben
1759 Filbert Street
San Francisco, CA 94123                     3251    5/11/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $36.98                                                                             $36.98
Carter, Bryn
1121 Mohawki St
Los Angeles, CA 90026                       205     1/24/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $77.39                                                                             $77.39
Carter, Catherine
1030 Don Diego Ave
Santa Fe, NM 87505                          763     3/13/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $27.07                                                                             $27.07
Casas de Garcia, Anita
1349 E 43rd PL
Los Angeles, CA 90011                       2685    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Casas de Garcia, Anita
1349 E 43rd PL
Los Angeles, CA 90011                       2787    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00

                                                                                                   Page 24 of 202
                                                                       Case 16-12551-BLS         Doc 2329      Filed 12/23/20     Page 25 of 202



                                                                                                     Claim Register
                                                                                   In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                   Case No. 16-12551


                                                                                                                                           Current General                                  Current 503(b)(9)
                                                                                                                                                           Current Priority Current Secured                    Current Admin    Total Current
                 Creditor Name and Address   Claim No. Claim Date                            Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                            Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                               Amount                                           Amount
CASELLA WASTE SERVICES
PO BOX 1372
WILLISTON, VT 05495-1372                       960     3/21/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $52.59                                                                             $52.59
Casey, Julie
2435 Oak Street
Santa Monica, CA 90405                         298      2/6/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $35.04                                                                             $35.04
Casillas, Graciela
523 Eastmont Ave. #14
Los Angeles, CA 90022                          2755    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Casillas, Graciela
523 Eastmont Ave. #14
Los Angeles, CA 90022                          2801    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Casillas, Luisa O.
919 Hollins St
Los Angeles, CA 90023                          3074    4/18/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Casillas, Luisa O.
919 Hollins St
Los Angeles, CA 90023                          3084    4/18/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Casper, Shari
311 West 24th Street, Apt 20F
New York, NY 10011                             2014    4/10/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                             $85.00           $85.00                          $170.00
Castaneda, Ana Maria
2261 E. 108th St
Los Angeles, CA 90059                          2322    4/12/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                $0.00            $0.00
Castaneda, Ana Maria
2261 E. 108th St
Los Angeles, CA 90059                          2388    4/12/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Castaneda, Sandra J.
1312 W. 61st
Los Angeles, CA 90044                          2992    4/17/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Castaneda, Sandra J.
1312 W. 61st
Los Angeles, CA 90044                          2997    4/17/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Castillo, Blanca
4265 S. Main St.
Los Angeles, CA 90037                          1602    4/10/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                $0.00            $0.00
Castillo, Blanca
4265 S. Main St.
Los Angeles, CA 90037                          1604    4/10/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                             $0.00                                                               $0.00
Castillo, Blanca Delia
2001 Berkeley Ave
Los Angeles, CA 90026                          2910    4/14/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Castillo, Blanca Delia
2001 Berkeley Ave
Los Angeles, CA 90026                          2922    4/14/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                        $0.00                                                                               $0.00
Castillo, Desiree L.
23 Waverly Place, Apt 2W
New York, NY 10003                             560     2/27/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $77.00                                                                             $77.00
Castillo, Jamileth
1346 E. 41st Place
Los Angeles, CA 90011                          1770    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Castillo, Jamileth
1346 E. 41st Place
Los Angeles, CA 90011                          2117    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Castillo, Jose V.
429 Sur Loma Dr.
Los Angeles, CA 90017                          2695    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Castillo, Jose V.
429 Sur Loma Dr.
Los Angeles, CA 90017                          2559    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00

                                                                                                      Page 25 of 202
                                                                      Case 16-12551-BLS         Doc 2329      Filed 12/23/20     Page 26 of 202



                                                                                                    Claim Register
                                                                                  In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                  Case No. 16-12551


                                                                                                                                          Current General                                  Current 503(b)(9)
                                                                                                                                                          Current Priority Current Secured                    Current Admin    Total Current
                Creditor Name and Address   Claim No. Claim Date                            Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                           Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                              Amount                                           Amount
Castillo, Maria
5845 Cecilia St., #A
Bell Gardens, CA 90201                        2504    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Castillo, Maria
5845 Cecilia St., #A
Bell Gardens, CA 90201                        2578    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Castillo, Maria
429 Sur Loma Dr.
Los Angeles, CA 90017                         2591    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Castillo, Maria
429 Sur Loma DR.
Los Angeles, CA 90017                         2723    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Castillo, Maria Eleazar
415 S. Loma Dr #1
Los Angeles, CA 90017                         1814    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Castillo, Maria Eleazar
415 S. Loma Dr #1
Los Angeles, CA 90017                         1917    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Castro, Amalia
6019 Middleton St.
Huntington Park, CA 90255                     2480    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Castro, Amalia
6019 Middleton St.
Huntington Park, CA 90255                     2612    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                        $0.00           $0.00                                                               $0.00
Castro, Gustavo
4039 1/2 Morgan Ave
Los Angeles, CA 90011                         2086    4/11/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                             $0.00                                                               $0.00
Castro, Gustavo
4039 1/2 Morgan Ave.
Los Angeles, CA 90011                         2105    4/11/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                $0.00            $0.00
Castro, Jerry
4039 1/2 Morgan Ave
Los Angeles, CA 90011                         2255    4/11/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                             $0.00                                                               $0.00
Castro, Jerry
4039 1/2 Morgan Ave.
Los Angeles, CA 90011                         2238    4/11/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                $0.00            $0.00
Castro, Maria D
10621 Lou Dillon Ave
Los Angeles, CA 90002                         2516    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Castro, Maria D.
10621 Lou Dillon Ave.
Los Angeles, CA 90002                         2660    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Catarino, Maria Esperanza Juan
1138 E 40 Pl
Los Angeles, CA 90011                         3142    4/24/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Catarino, Maria Esperanza Juan
1138 E. 40 Pl.
Los Angeles, CA 90011                         3141    4/24/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Catarino, Paula J
1200 E 45th St
Los Angeles, CA 90011                         2095    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Cativo, Lourdes
9708 S. Central Ave #B
Los Angeles, CA 90002                         1161     4/3/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Cativo, Lourdes
9708 S. Central Ave #B
Los Angeles, CA 90002                         1367     4/6/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Cativo, Lourdes
9708 S. Central Ave #B
Los Angeles, CA 90002                         1409     4/6/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00

                                                                                                     Page 26 of 202
                                                                               Case 16-12551-BLS         Doc 2329      Filed 12/23/20     Page 27 of 202



                                                                                                             Claim Register
                                                                                           In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                           Case No. 16-12551


                                                                                                                                                   Current General                                  Current 503(b)(9)
                                                                                                                                                                   Current Priority Current Secured                    Current Admin    Total Current
                Creditor Name and Address            Claim No. Claim Date                            Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                                    Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                       Amount                                           Amount
Cayetano, Irene
1652 S. Hobart Blvd
Los Angeles, CA 90006                                  2715    4/13/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                        $0.00                                                                               $0.00
Cayetano, Irene
1652 S. Hobart Blvd
Los Angeles, CA 90006                                  2857    4/13/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Cayre, Daniel
534 Hudson Street, 3D
New York, NY 10014                                     420     2/14/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $263.09                                                                            $263.09
Cazares, Ocotlan
680 1/2 E 53rd St
Los Angeles, CA 90011                                  1348     4/6/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Cazares, Ocotlan
680 1/2 E 53rd St
Los Angeles, CA 90011                                  1349     4/6/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
CDW, LLC
ATTN: RONELLE ERICKSON
200 N. MILWAUKEE AVE
VERNON HILLS, IL 60061                                 113     12/22/2016        APP Winddown, LLC (f/k/a American Apparel, LLC)                         $2,361.77                                                                           $2,361.77
Cebreros, Francisco J.
9151 Chapman Ave. Apt. 27
Garden Grove, CA 92841                                 751     3/10/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                $0.00            $0.00
Celestin, Kelli
148 Villere Dr.
Destrehan, LA 70047                                    585      3/2/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $74.12                                                                             $74.12
Cen, Winnie
520 Solano Ave.
Los Angeles, CA 90012                                  1694     4/9/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                             $0.00                                                               $0.00
Centeno, Reina
703 W 79th St #2
Los Angeles, CA 90044                                  2815    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Centeno, Reina
703 W 79th St #2
Los Angeles, CA 90044                                  2829    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Central Occupational Medicine Providers-Ontario
P.O. Box 2948
Riverside, CA 92516                                    2488    4/11/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                                               $0.00
Central Telephone Company - Nevada dba CenturyLink
Centurylink Communications, LLC. - Bankruptcy
931 14th St
Denver, CO 80202-2994                                  3366    10/17/2017        APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                $0.00            $0.00
Central Telephone Company-Nevada dba CenturyLink
Centurylink Communications, LLC. - Bankruptcy
1801 California ST RM 900
Denver, CO 80202                                       109     12/28/2016        APP Winddown, LLC (f/k/a American Apparel, LLC)                            $45.53                                                                             $45.53
CenturyLink Communications, LLC (f/k/a Qwest
Communications Company, LLC)
Bankruptcy
931 14th Street Suite 900
Denver, CO 80202                                       3368    10/17/2017        APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                $0.00            $0.00
CenturyLink Communications, LLC (f/k/a Qwest
Communications Company, LLC)
CenturyLink Communications, LLC -Bankruptcy
931 14th St
Denver, CO 80202-2994                                  108     12/28/2016        APP Winddown, LLC (f/k/a American Apparel, LLC)                         $2,463.48                                                                           $2,463.48
Cerna, Estelfina G.
818 S. Berendo St. Apt 207
Los Angeles, CA 90005                                  1830    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                        $0.00                                                              $0.00            $0.00




                                                                                                              Page 27 of 202
                                                                      Case 16-12551-BLS         Doc 2329      Filed 12/23/20     Page 28 of 202



                                                                                                    Claim Register
                                                                                  In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                  Case No. 16-12551


                                                                                                                                          Current General                                  Current 503(b)(9)
                                                                                                                                                          Current Priority Current Secured                    Current Admin    Total Current
                Creditor Name and Address   Claim No. Claim Date                            Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                           Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                              Amount                                           Amount
Cerna, Estelfina G.
818 S. Berendo St. Apt 207
Los Angeles, CA 90005                         1836    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Ceva Logistics
Attn: Katherine Moore-Devoe
15350 Vickery Drive
Houston, TX 77032                             484     2/22/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                    $4,259.93                       $50,000.00                                         $54,259.93
Cha, Serena
1549 San Carlos Ave Apt #26
San Carlos, CA 94070                          460     2/21/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $94.61                                                                             $94.61
Chacon, Gloria B
1375 W. 20th St Apt #3
Los Angeles, CA 90007                         2122    4/10/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                             $0.00                                                               $0.00
Chacon, Gloria Betty
1375 W. 20th St. #3
Los Angeles, CA 90007                         2015    4/10/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                $0.00            $0.00
CHAMPET, JUANA
749 1/2 S. WOODS AV
LOS ANGELES, CA 90022                         2760    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
CHAMPET, JUANA
749 1/2 S. WOODS AV
LOS ANGELES, CA 90022                         2770    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Chan, Ellen
Ellen Chan
72-23 Juno Street
Forest Hills, NY 11375                        265     1/30/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $36.00                                                                             $36.00
Chan, Jessica
682 28th Ave
San Francisco, CA 94121                       996     3/24/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $40.00                                                                             $40.00
Chan, Kevin
609 Abbot Ave.
San Gabriel, CA 91776                         242     1/30/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $47.96                                                                             $47.96
CHANDLER, WILLIAM DAVID
212 SOMERSET DR
RAEFORD, NC 28376                             772     3/13/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                                               $0.00
Chandler, William David
212 Somerset Dr.
Raeford, NC 28376                             777     3/13/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                $0.00            $0.00
CHANG, QI PING
3216 N EASTERN AVE
LOS ANGELES, CA 90032                         1117    3/29/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                $0.00            $0.00
CHANG, QI PING
3216 N EASTERN AVE
LOS ANGELES, CA 90032                         1120    3/29/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                                               $0.00
CHANG, QI PING
3216 N EASTERN AVE
LOS ANGELES, CA 90032                         1456     4/7/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                        $0.00                                                                               $0.00
Chang, Qi Ping
3216 N Eastern Ave
Los Angeles, CA 90032                         1554     4/7/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
ChannelAdvisor Corporation
Maria Flanagan
3025 Carrington Mill Boulevard
Suite 500
Morrisville, NC 27560                         2251    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                   $11,903.52                                                                          $11,903.52
Charleston County Revenue Collections
4045 Bridgeview Drive
North Charleston, SC 29405                    353      2/7/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                            $558.31                                           $558.31




                                                                                                     Page 28 of 202
                                                                      Case 16-12551-BLS         Doc 2329      Filed 12/23/20     Page 29 of 202



                                                                                                    Claim Register
                                                                                  In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                  Case No. 16-12551


                                                                                                                                          Current General                                  Current 503(b)(9)
                                                                                                                                                          Current Priority Current Secured                    Current Admin    Total Current
                Creditor Name and Address   Claim No. Claim Date                            Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                           Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                              Amount                                           Amount
CHARLESTON WATER SYSTEM
Commissioners of Public Works
PO BOX B
CHARLESTON, SC 29403                          140      1/5/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $122.59                                                                            $122.59
Chau, Tina Cu V
7544 Garvalia Ave
Rosemead, CA 91770                            1035    3/27/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                $0.00            $0.00
Chau, Tina Cu V
7544 Garvalia Ave
Rosemead, CA 91770                            2965    4/17/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Chau, Tina Cu V
7544 Garvalia Ave
Rosemead, CA 91770                            2982    4/17/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Chavez, Maximo T
417 S Bonnie Brae
Apt #218 3ts
Los Angeles, CA 90057                         1102    3/28/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                             $0.00                                                               $0.00
Chavez, Maximo T
417 S Bonnie Brae
Apt #218 3ts
Los Angeles, CA 90057                         1103    3/28/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                $0.00            $0.00
Chavez, Maximo T
417 S Bonnie Brae
Apt #218 3ts
Los Angeles, CA 90057                         2897    4/12/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                $0.00            $0.00
Chavez, Maximo T
417 S Bonnie Brae
Apt #218 3ts
Los Angeles, CA 90057                         2898    4/12/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                                               $0.00
Chen, Al Juan
238 South Avenue 18 Apt. B
Los Angeles, CA 90031                         1025    3/27/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Chen, Al Juan
238 South Avenue 18 Apt. B
Los Angeles, CA 90031                         1074    3/27/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Chen, Jenny
3211 Darwin Ave
Los Angeles, CA 90031                         1581    4/10/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                $0.00            $0.00
Chen, Jian Ai
1511 S 2nd St
Alhambra, CA 91801                            3117    4/20/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Chen, Jian Al
1511 S 2nd St.
Alhambra, CA 91801                            867     3/20/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                             $0.00                                                               $0.00
Chen, Jian Al
1511 S 2nd St.
Alhambra, CA 91801                            3124    4/20/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Chen, Jinzhu
1805 S. Stoneman Ave
Alhambra, CA 91801                            1520     4/7/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Chen, Jinzhu
1805 S. Stoneman Ave
Alhambra, CA 91801                            1784     4/7/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Chen, Peitong
1000 Memorial Drive
Cambridge, MA 02138                           281     1/31/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $100.00                                                                            $100.00
Chen, Tina
1010 N Curson Ave #107
West Hollywood, CA 90046                      1164    3/31/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $26.73                                                                             $26.73


                                                                                                     Page 29 of 202
                                                                      Case 16-12551-BLS           Doc 2329      Filed 12/23/20      Page 30 of 202



                                                                                                     Claim Register
                                                                                   In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                   Case No. 16-12551


                                                                                                                                           Current General                                  Current 503(b)(9)
                                                                                                                                                           Current Priority Current Secured                    Current Admin    Total Current
               Creditor Name and Address   Claim No. Claim Date                              Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                            Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                               Amount                                           Amount
Chen, Yanping
7300 Dartford Drive Apt 6
Mc Lean, VA 22102                            734     3/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $50.88                                                                             $50.88
Chen, Yue Xing
716 Yale St # 106
Los Angeles, CA 90012                        2116    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Chen, Yue Xing
716 Yale St., # 106
Los Angeles, CA 90012                        2121    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Chen, Yun Xiao
8374 Sierra Bonita Ave.
Rosemead, CA 91770                           858     3/20/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                              $0.00                                                               $0.00
Cherry Hill Center, LLC
Jeffrey Kurtzman, Esquire
401 S. 2nd Street, Suite 200
Philadelphia, PA 19147                        11     11/21/2016         APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
Cherry Hill Center, LLC
Jeffrey Kurtzman, Esquire
401 S. 2nd Street, Suite 200
Philadelphia, PA 19147                       2958    4/14/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                        $356,094.87           $0.00                                                        $356,094.87
Cheung, Wan
927 S. Charlotte Ave
Apt A
San Gabriel, CA 91776                        1274     4/4/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
Cheung, Wan
927 S. Charlotte Ave
Apt A
San Gabriel, CA 91776                        1294     4/4/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
CHICAS, JOSE
4300 Raynol St.
Los Angeles, CA 90032                        742     3/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Chicas, Jose
4300 Raynol Street
Los Angeles, CA 90032                        731     3/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
CHICTOPIA LLC
5 3RD ST STE 422
SAN FRANCISCO, CA 94103-3225                 1013    3/24/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
Chmait, Diana
26595 Maside
Mission Viejo, CA 92692                      1443     4/7/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                $49.68          $49.68
Cho, Bik
420 W. Riggin St.
Monterey Park, CA 91754                      1580     4/7/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Choi, Eunsuk
1275 15th Street Apt 5F
Fort Lee, NJ 07024                           448     2/21/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                   $73.00                                                                             $73.00
Choong, Brandon
53-17 202nd St.
Oakland Gardens, NY 11364                    370     2/13/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $46.00                                                                             $46.00
Choong, Brandon
53-17 202nd St.
Oakland Gardens, NY 11364                    1159    3/31/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $46.00                                                                             $46.00
Choong, Brandon
53-17 202nd St.
Oakland Gardens, NY 11364                    1178    3/31/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                $46.00          $46.00
Choong, Yilih
217-12 47th Ave
Bayside, NY 11361                            1704    4/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $38.00                                                                             $38.00




                                                                                                       Page 30 of 202
                                                                            Case 16-12551-BLS          Doc 2329      Filed 12/23/20      Page 31 of 202



                                                                                                          Claim Register
                                                                                        In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                        Case No. 16-12551


                                                                                                                                                Current General                                  Current 503(b)(9)
                                                                                                                                                                Current Priority Current Secured                    Current Admin    Total Current
               Creditor Name and Address   Claim No. Claim Date                                   Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                                 Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                    Amount                                           Amount
Chopra, Rishi
4405 Prairie Willow Ct.
Concord, CA 94521                            380     2/13/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
Chopra, Rishi
4405 Prairie Willow Ct.
Concord, CA 94521                            1172     4/1/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                            $791.99                                                                            $791.99
Chopra, Rishi
4405 Prairie Willow Ct.
Concord, CA 94521                            1548     4/1/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
Chou, Emily
1306 Armacost Ave. #7
Los Angeles, CA 90025                        934     3/23/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                             $50.00                                                                             $50.00
Chou, Shih-an
1926 W Burnside st. #1115
Portland, OR 97209                           846     3/20/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                    $8.00                                                                               $8.00
Chow, Janet
409 Hibben Magie Rd.
Princeton, NJ 08540                          897     3/21/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                              $8.50                                                                               $8.50
Chow, Joanna
625 West 57th Street
Apt. 2502
New York, NY 10002                           3308     6/7/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                               $104.16         $104.16
Chrome River Technologies, Inc.
5757 Wilshire Blvd. Suite 270
Los Angeles, CA 90036                         71     12/15/2016         APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                     $3,225.00                                                                           $3,225.00
Chu, Hai
717 W Mission Rd.
Alhambra, CA 91801                           965     3/21/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
Chu, Hai
717 W Mission Rd.
Alhambra, CA 91801                           967     3/21/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
Chu, Jackson
230 Ashland Pl. 7d
Brooklyn, NY 11217                           900     3/21/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                  $100.00                                                                            $100.00
Chu, Sally
5638 Golden West Ave
Temple City, CA 91780                        502     2/24/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                             $63.60                                                                             $63.60
Chubb Custom Insurance Company
c/o Duane Morris LLP
Attn: Wendy M. Simkulak, Esq.
30 S. 17th Street
Philadelphia, PA 19103                       1611     4/7/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                            $0.00                             $0.00            $0.00
Chubb Custom Insurance Company
c/o Duane Morris LLP
Attn: Wendy M. Simkulak, Esq.
30 S. 17th Street
Philadelphia, PA 19103                       1649     4/7/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                         $0.00                            $0.00                             $0.00            $0.00
Chubb Custom Insurance Company
c/o Duane Morris LLP
Attn: Wendy M. Simkulak, Esq.
30 S. 17th Street
Philadelphia, PA 19103                       1681     4/7/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                $0.00                            $0.00                             $0.00            $0.00
Chubb Custom Insurance Company
c/o Duane Morris LLP
Attn: Wendy M. Simkulak, Esq.
30 S. 17th Street
Philadelphia, PA 19103                       1683     4/7/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                    $0.00                            $0.00                             $0.00            $0.00




                                                                                                            Page 31 of 202
                                                                          Case 16-12551-BLS           Doc 2329      Filed 12/23/20      Page 32 of 202



                                                                                                         Claim Register
                                                                                       In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                       Case No. 16-12551


                                                                                                                                               Current General                                  Current 503(b)(9)
                                                                                                                                                               Current Priority Current Secured                    Current Admin    Total Current
                 Creditor Name and Address     Claim No. Claim Date                              Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                                Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                   Amount                                           Amount
Chubb Custom Insurance Company
c/o Duane Morris LLP
Attn: Wendy M. Simkulak, Esq.
30 S. 17th Street
Philadelphia, PA 19103                           1685     4/7/2017         APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                          $0.00                            $0.00                             $0.00            $0.00
Chubb Custom Insurance Company
c/o Duane Morris LLP
Attn: Wendy M. Simkulak, Esq.
30 S. 17th Street
Philadelphia, PA 19103                           1716     4/7/2017      APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)                      $0.00                            $0.00                             $0.00            $0.00
Chun Li Ng, Moon
11255 Frankmont Ct
El Monte, CA 91732                               2162    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Chun, Juan
1262 S. Kern Ave
Los Angeles, CA 90022                            3139    4/24/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Chun, Juan
1262 S. Kern Ave
Los Angeles, CA 90022                            3157    4/24/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Chun, Juana
1262 S. Kern Ave
Los Angeles, CA 90022                            3155    4/24/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Chun, Juana
1262 S. Kern Ave
Los Angeles, CA 90022                            3159    4/24/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Cicalese, Denise
5 Green Ct
Cranford, NJ 07016                               930     3/23/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $50.00                                                                             $50.00
Cinco, Marta
1299 E Green St Apt 205
Pasadena, CA 91106                               1848    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Cinco, Marta A.
1559 1/2 S. Harvard Blvd
Los Angeles, CA 90006                            1750    4/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
Cioffi, Leslie
21 Stearns St
Cambridge, MA 02138                              3151    4/24/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                   $34.00                                                                             $34.00
Cirillo, Elena
2 Shady Tree Lane
Colts Neck, NJ 07722                             1160     4/1/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $35.00                                                                             $35.00
Cirminiello, Janet
2050 Alta Meadows Lane #2112
Delray Beach, FL 33444                           1153    3/31/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $28.00                                                                             $28.00
City & County of San Francisco Tax Collector
P.O. Box 7027
San Francisco, CA 94120                          3230     5/8/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                          $7,210.15      $26,063.36            $0.00                                         $33,273.51
City & County of San Francisco Tax Collector
P.O. Box 7027
San Francisco, CA 94120                          3235     5/8/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                         $11,176.44                                                          $11,176.44
City and County of Denver/Treasury
Attn: Jennifer Maldonado, Bankruptcy Analyst
201 W. Colfax Ave., Department 1001
Denver, CO 80202                                 1226     4/3/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                          $4,695.00        $4,695.00                                          $9,390.00
City of Austin
PO Box 2267
Austin, TX 78768-2267                            1263     4/4/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                $1,947.30                                                                           $1,947.30
City of Boston
Treasury Dept., Bankruptcy Unit
1 CITY HALL SQUARE, SUITE 500
Boston, MA 02201                                 272     1/31/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                              $0.00                                                               $0.00

                                                                                                           Page 32 of 202
                                                                            Case 16-12551-BLS          Doc 2329      Filed 12/23/20      Page 33 of 202



                                                                                                          Claim Register
                                                                                        In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                        Case No. 16-12551


                                                                                                                                                Current General                                  Current 503(b)(9)
                                                                                                                                                                Current Priority Current Secured                    Current Admin    Total Current
               Creditor Name and Address   Claim No. Claim Date                                   Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                                 Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                    Amount                                           Amount
CITY OF BOSTON
TREASURY DEPT., BANKRUPTCY UNIT
CITY HALL ROOM M-5
ONE CITY HALL SQUARE
BOSTON, MA 02201                             249     1/31/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                          $2,397.47                                                           $2,397.47
CITY OF BOSTON
TREASURY DEPT., BANKRUPTCY UNIT
CITY HALL ROOM M-5
ONE CITY HALL SQUARE
BOSTON, MA 02201                             273     1/31/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                          $2,691.93                                                                           $2,691.93
CITY OF BOSTON
TREASURY DEPT., BANKRUPTCY UNIT
CITY HALL ROOM M-5, ONE CITY HALL SQUARE
BOSTON, MA 02201                             283     1/31/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                          $3,153.79                                                           $3,153.79
City of Garden Grove
11222 Acacia Pkwy
Garden Grove, CA 92840                       1664    4/10/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)          $109,950.85                                                                        $109,950.85
City of Garden Grove
11222 Acacia Pkwy
Garden Grove, CA 92840                       1676    4/10/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)              $326.67                                                                            $326.67
City of Garden Grove
11222 Acacia Pkwy
Garden Grove, CA 92840                       1679    4/10/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)              $802.10                                                                            $802.10
City of Garden Grove
11222 Acacia Pkwy
Garden Grove, CA 92840                       1689    4/10/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)              $259.99                                                                            $259.99
City of Garden Grove
11222 Acacia Pkwy
Garden Grove, CA 92840                       1706    4/10/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)              $112.21                                                                            $112.21
City of Garden Grove
11222 Acacia Pkwy
Garden Grove, CA 92840                       1708    4/10/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                $4.11                                                                               $4.11
City of Garden Grove
11222 Acacia Pkwy
Garden Grove, CA 92840                       1854    4/10/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)               $75.08                                                                             $75.08
City of Los Angeles, Office of Finance
Attorney's Office
Attn: Wendy Loo
200 N Main Street
Ste 920
Los Angeles, CA 90012                        3254     5/4/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                         $0.00           $0.00                                                               $0.00
City of Los Angeles, Office of Finance
Attorney's Office
Attn: Wendy Loo
200 N Main Street
Ste 920
Los Angeles, CA 90012                        3369    10/13/2017         APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                    $13,510.27      $50,125.11                                                          $63,635.38
CITY OF MADISON TREASURER
PO BOX 2999
MADISON, WI 53701                            3218     5/1/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                $7,304.50        $7,304.50                                         $14,609.00
City of Manhattan Beach
Steve Charelian
1400 Highland Avenue
Manhattan Beach, CA 90266                    973     3/21/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                          $5,320.03                                                              $0.00        $5,320.03
City of Milwaukee
Office of the City Treasurer
200 East Wells Street, Room 103
Milwaukee, WI 53202                           90     12/20/2016        APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                     $0.00                                              $0.00




                                                                                                            Page 33 of 202
                                                                                  Case 16-12551-BLS           Doc 2329      Filed 12/23/20      Page 34 of 202



                                                                                                                 Claim Register
                                                                                               In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                               Case No. 16-12551


                                                                                                                                                       Current General                                  Current 503(b)(9)
                                                                                                                                                                       Current Priority Current Secured                    Current Admin    Total Current
                 Creditor Name and Address             Claim No. Claim Date                              Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                                        Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                           Amount                                           Amount
City of New Haven Collector of Taxes
165 Church St
New Haven, CT 06510                                      1134    3/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                          $3,269.11                                                                           $3,269.11
CITY OF NORWALK
TAX COLLECTOR
PO BOX 5530
SOUTH NORWALK, CT 06856                                  3032    4/17/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                $1,547.02                                                           $1,547.02
CITY OF NORWALK
TAX COLLECTOR
PO BOX 5530
SOUTH NORWALK, CT 06856                                  3118    4/17/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                              $0.00                                                               $0.00
City of Philadelphia/School District of Philadelphia
Megan N. Harper
1401 JFK Blvd, 5th Floor
Philadelphia, PA 19102                                   112     12/30/2016   APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                    $0.00           $0.00                                                               $0.00
City of Portland
City Attorney's Office
1221 SW Fourth Ave., Rm. 430
Portland, OR 97204                                       1453     4/7/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $10.00         $200.00                                                            $210.00
CITY OF RANCHO CUCAMONGA - MUNICIPAL UTILITY
PO BOX 4499
RANCHO CUCAMONGA, CA 91729-4499                          901     3/20/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                          $1,452.69                                                                           $1,452.69
City of Seattle
Attn: Carmela Paul
FAS/License & Tax Administration
PO Box 34214
Seattle, WA 98124-4214                                   811     3/15/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                $2,455.88                                                           $2,455.88
CLAIM DOCKETED IN ERROR
                                                         114     12/27/2016         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                                  $0.00
CLAIM DOCKETED IN ERROR
                                                         152     1/18/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                                  $0.00
CLAIM DOCKETED IN ERROR
                                                         282     2/22/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                                  $0.00
CLAIM DOCKETED IN ERROR
                                                         481     2/22/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                                  $0.00
CLAIM DOCKETED IN ERROR
                                                         678      3/9/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                                  $0.00
CLAIM DOCKETED IN ERROR
                                                         986      3/6/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                                  $0.00
CLAIM DOCKETED IN ERROR
                                                         1421     4/6/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                                  $0.00
CLAIM DOCKETED IN ERROR
                                                         2099    4/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                                  $0.00
CLAIM DOCKETED IN ERROR
                                                         2520    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                                  $0.00
CLAIM DOCKETED IN ERROR
                                                         2522    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                                  $0.00
CLAIM DOCKETED IN ERROR
                                                         2529    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                                  $0.00
CLAIM DOCKETED IN ERROR
                                                         2530    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                                  $0.00
CLAIM DOCKETED IN ERROR
                                                         2538    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                                  $0.00
CLAIM DOCKETED IN ERROR
                                                         2579    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                                  $0.00
CLAIM DOCKETED IN ERROR
                                                         2648    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                                  $0.00
CLAIM DOCKETED IN ERROR
                                                         2863    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                                  $0.00


                                                                                                                   Page 34 of 202
                                                                        Case 16-12551-BLS           Doc 2329      Filed 12/23/20      Page 35 of 202



                                                                                                       Claim Register
                                                                                     In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                     Case No. 16-12551


                                                                                                                                             Current General                                  Current 503(b)(9)
                                                                                                                                                             Current Priority Current Secured                    Current Admin    Total Current
                 Creditor Name and Address   Claim No. Claim Date                              Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                              Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                 Amount                                           Amount
CLAIM DOCKETED IN ERROR
                                               3207     5/1/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                                  $0.00
Clark, Ann
PO Box 20787
Oklahoma City, OK 73156                        1265     4/4/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                   $41.33                                                                             $41.33
Clark, Brian
516 W. 47th St 54G
New York, NY 10036                             556     2/28/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $65.00                                                                             $65.00
Cleveland Heights Water Department
40 Severance Circle
Cleveland Hts, OH 44118                        1042    3/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $77.80                                                              $0.00          $77.80
CLEVELAND HTS. WATER DEPT.
PO Box 630291
Cincinnati, OH 45263-0291                      1054    3/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
Cleveland Hts. Water Department
Attn: President or General Counsel
40 Severance Cir
Cleveland Heights, OH 44118                    1033    3/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
Cleveland Hts. Water Department
Attn: President or General Counsel
40 Severance Cir
Cleveland Heights, OH 44118                    1046    3/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                          $1,175.87                                                              $0.00        $1,175.87
Cleveland Hts. Water Dept.
40 Severance Circle
Cleveland, OH 44118                            3325    6/26/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $21.18                                                                             $21.18
Clinton, Alexa Chu
618 Walnut Street #406
San Carlos, CA 94070                           487     2/22/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $164.81                                                                            $164.81
Clover Visual Communications, LLC
Horwitz + Armstrong, APC
14 Orchard, Suite 200
Lake Forest, CA 92630                          159     1/18/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                    $12,664.59                                                                          $12,664.59
CLS Facilities Management Services, Inc.
8061 Tyler Blvd.
Mentor, OH 44060                               1707    4/10/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)               $38,481.67                                                                          $38,481.67
CMC DIGITAL MEDIA INC
SUCCESSOR IN INTEREST TO
CALIFORNIA MARKER COPIES, INC
3170 SLAUSON AVENUE
VERNON, CA 90058                               882     3/20/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                         $0.00                                                                               $0.00
Coffina, Cara
375 Lincoln Pl #3i
Brooklyn, NY 11238                             512     2/27/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                   $13.14                                                                             $13.14
Cohen, Sandra
29 Southern Slope Drive
Millburn, NJ 07041                             1090    3/29/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $46.76                                                                             $46.76
Cohen, Sharon
2347 Kerwood Avenue #203
Los Angeles, CA 90064                          2260    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                               $50.00                           $50.00
Cohen, Simcha
15910 71st Ave Apt. 6J
Fresh Meadows, NY 11365                        226     1/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $53.96                                                                             $53.96
Colaizzi, Beatrice
1185 Hardscrabble Road
Chappaqua, NY 10514                            1566    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                        $26.44                                                                             $26.44
Colchado, Yolanda
6616 Gifford Ave A
Bell, CA 90201                                 1476     4/7/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00




                                                                                                         Page 35 of 202
                                                                             Case 16-12551-BLS          Doc 2329      Filed 12/23/20      Page 36 of 202



                                                                                                           Claim Register
                                                                                         In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                         Case No. 16-12551


                                                                                                                                                 Current General                                  Current 503(b)(9)
                                                                                                                                                                 Current Priority Current Secured                    Current Admin    Total Current
                Creditor Name and Address   Claim No. Claim Date                                   Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                                  Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                     Amount                                           Amount
Colchado, Yolanda
6616 Gifford Ave A
Bell, CA 90201                                1597     4/7/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Colindres, Maria
144 South Bonnie Brae St Apt# 2
Los Angeles, CA 90057                         2699    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Colindres, Maria
144 South Bonnie Brae St Apt# 2
Los Angeles, CA 90057                         2892    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Coliseum Capital Partners II, L.P.
c/o Coliseum Capital Management, LLC
Attn: Adam Gray
105 Rowayton Ave.
Rowayton, CT 06853                            2266    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                              $0.00            $0.00
Coliseum Capital Partners II, L.P.
c/o Coliseum Capital Management, LLC
Attn: Adam Gray
105 Rowayton Ave.
Rowayton, CT 06853                            2430    4/11/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                       $0.00            $0.00
Coliseum Capital Partners II, L.P.
c/o Coliseum Capital Management, LLC
Attn: Adam Gray
105 Rowayton Ave.
Rowayton, CT 06853                            2447    4/11/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                $0.00                   $218,727,784.00                            $0.00 $218,727,784.00
Coliseum Capital Partners II, L.P.
c/o Coliseum Capital Management, LLC
Attn: Adam Gray
105 Rowayton Ave.
Rowayton, CT 06853                            2448    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
Coliseum Capital Partners II, L.P.
c/o Coliseum Capital Management, LLC
Attn: Adam Gray
105 Rowayton Ave.
Rowayton, CT 06853                            2449    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Coliseum Capital Partners II, L.P.
c/o Coliseum Capital Management, LLC
Attn: Adam Gray
105 Rowayton Ave.
Rowayton, CT 06853                            2466    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                   $218,727,784.00                            $0.00 $218,727,784.00
Coliseum Capital Partners II, L.P.
c/o Coliseum Capital Management, LLC
Attn: Adam Gray
105 Rowayton Ave.
Rowayton, CT 06853                            2537    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                         $0.00                   $218,727,784.00                            $0.00 $218,727,784.00
Coliseum Capital Partners II, L.P.
c/o Coliseum Capital Management, LLC
Attn: Adam Gray
105 Rowayton Ave.
Rowayton, CT 06853                            2545    4/11/2017           APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)                      $0.00                   $218,727,784.00                            $0.00 $218,727,784.00
Coliseum Capital Partners II, L.P.
c/o Coliseum Capital Management, LLC
Attn: Adam Gray
105 Rowayton Ave.
Rowayton, CT 06853                            2583    4/11/2017              APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                          $0.00                   $218,727,784.00                            $0.00 $218,727,784.00
Coliseum Capital Partners II, L.P.
c/o Coliseum Capital Management, LLC
Attn: Adam Gray
105 Rowayton Ave.
Rowayton, CT 06853                            2584    4/11/2017              APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                                                                                             $0.00            $0.00


                                                                                                             Page 36 of 202
                                                                             Case 16-12551-BLS          Doc 2329      Filed 12/23/20      Page 37 of 202



                                                                                                           Claim Register
                                                                                         In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                         Case No. 16-12551


                                                                                                                                                 Current General                                  Current 503(b)(9)
                                                                                                                                                                 Current Priority Current Secured                    Current Admin    Total Current
                Creditor Name and Address   Claim No. Claim Date                                   Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                                  Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                     Amount                                           Amount
Coliseum Capital Partners II, L.P.
c/o Coliseum Capital Management, LLC
Attn: Adam Gray
105 Rowayton Ave.
Rowayton, CT 06853                            2589    4/11/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                    $0.00                  $218,727,784.00                             $0.00 $218,727,784.00
Coliseum Capital Partners II, L.P.
c/o Coliseum Capital Management, LLC
Attn: Adam Gray
105 Rowayton Ave.
Rowayton, CT 06853                            2598    4/11/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                                                                                   $0.00            $0.00
Coliseum Capital Partners II, L.P.
c/o Coliseum Capital Management, LLC
Attn: Adam Gray
105 Rowayton Ave.
Rowayton, CT 06853                            2670    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
Coliseum Capital Partners II, L.P.
c/o Coliseum Capital Management, LLC
Attn: Adam Gray
105 Rowayton Ave.
Rowayton, CT 06853                            2680    4/11/2017           APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)                                                                                         $0.00            $0.00
Coliseum Capital Partners, L.P.
c/o Coliseum Capital Management, LLC
Attn: Adam Gray
105 Rowayton Ave.
Rowayton, CT 06853                            2284    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
Coliseum Capital Partners, L.P.
c/o Coliseum Capital Management, LLC
Attn: Adam Gray
105 Rowayton Ave.
Rowayton, CT 06853                            2352    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                         $0.00                  $218,727,784.00                             $0.00 $218,727,784.00
Coliseum Capital Partners, L.P.
c/o Coliseum Capital Management, LLC
Attn: Adam Gray
105 Rowayton Ave.
Rowayton, CT 06853                            2442    4/11/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                $0.00                  $218,727,784.00                             $0.00 $218,727,784.00
Coliseum Capital Partners, L.P.
c/o Coliseum Capital Management, LLC
Attn: Adam Gray
105 Rowayton Ave.
Rowayton, CT 06853                            2451    4/11/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                                                                                   $0.00            $0.00
Coliseum Capital Partners, L.P.
c/o Coliseum Capital Management, LLC
Attn: Adam Gray
105 Rowayton Ave.
Rowayton, CT 06853                            2459    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                              $0.00            $0.00
Coliseum Capital Partners, L.P.
c/o Coliseum Capital Management, LLC
Attn: Adam Gray
105 Rowayton Ave.
Rowayton, CT 06853                            2498    4/11/2017           APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)                      $0.00                  $218,727,784.00                             $0.00 $218,727,784.00
Coliseum Capital Partners, L.P.
c/o Coliseum Capital Management, LLC
Attn: Adam Gray
105 Rowayton Ave.
Rowayton, CT 06853                            2539    4/11/2017           APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)                                                                                         $0.00            $0.00
Coliseum Capital Partners, L.P.
c/o Coliseum Capital Management, LLC
Attn: Adam Gray
105 Rowayton Ave.
Rowayton, CT 06853                            2628    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                  $218,727,784.00                             $0.00 $218,727,784.00

                                                                                                             Page 37 of 202
                                                                        Case 16-12551-BLS           Doc 2329      Filed 12/23/20      Page 38 of 202



                                                                                                       Claim Register
                                                                                     In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                     Case No. 16-12551


                                                                                                                                             Current General                                  Current 503(b)(9)
                                                                                                                                                             Current Priority Current Secured                    Current Admin    Total Current
                Creditor Name and Address    Claim No. Claim Date                              Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                              Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                 Amount                                           Amount
Coliseum Capital Partners, L.P.
c/o Coliseum Capital Management, LLC
Attn: Adam Gray
105 Rowayton Ave.
Rowayton, CT 06853                             2632    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
Coliseum Capital Partners, L.P.
c/o Coliseum Capital Management, LLC
Attn: Adam Gray
105 Rowayton Ave.
Rowayton, CT 06853                             2645    4/11/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                    $0.00                   $218,727,784.00                            $0.00 $218,727,784.00
Coliseum Capital Partners, L.P.
c/o Coliseum Capital Management, LLC
Attn: Adam Gray
105 Rowayton Ave.
Rowayton, CT 06853                             2653    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Coliseum Capital Partners, L.P.
c/o Coliseum Capital Management, LLC
Attn: Adam Gray
105 Rowayton Ave.
Rowayton, CT 06853                             2664    4/11/2017         APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                                                                                             $0.00            $0.00
Coliseum Capital Partners, L.P.
c/o Coliseum Capital Management, LLC
Attn: Adam Gray
105 Rowayton Ave.
Rowayton, CT 06853                             2669    4/11/2017         APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                          $0.00                   $218,727,784.00                            $0.00 $218,727,784.00
Coliseum Capital Partners, L.P.
c/o Coliseum Capital Management, LLC
Attn: Adam Gray
105 Rowayton Ave.
Rowayton, CT 06853                             2674    4/11/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                       $0.00            $0.00
Collins, Deborah
176 E. 77th St.
New York, NY 10075                             220     1/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $44.00                                                                             $44.00
Collins, Deborah
176 E. 77th St.
New York, NY 10075                             1050    3/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $44.00                                                                             $44.00
COLLINS, ERIN
31 LONG ISLAND VIEW RD
MILFORD, CT 06460                              1495     4/9/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                     $1,250.00                                                              $0.00        $1,250.00
Colvin, Mason Leirer
5817 Rockhill Road
Kansas City, MO 64110                          997     3/24/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $12.26                                                                             $12.26
Commonwealth Edison Co
1919 Swift Dr.
Oakbrook Terrace, IL 60523                     1289     4/4/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                       $0.00            $0.00
Commonwealth Edison Company
ComEd Bankruptcy Department
3 Lincoln Centre
Oakbrook Terrace, IL 60181                      98     12/21/2016         APP Winddown, LLC (f/k/a American Apparel, LLC)                          $1,581.77                                                                           $1,581.77
Con, Yolanda
1242 1/2 West Manchester Ave.
Los Angeles, CA 90044                          2942    4/14/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Con, Yolanda
1242 1/2 West Manchester Ave.
Los Angeles, CA 90044                          2959    4/14/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Connecticut Department of Revenue Services
Collections Unit - Bankruptcy Team
450 Columbus Blvd., Ste. 1
Hartford, CT 06103-1837                        2718    4/12/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)               $17,353.94           $0.00                                                          $17,353.94


                                                                                                         Page 38 of 202
                                                                           Case 16-12551-BLS         Doc 2329      Filed 12/23/20      Page 39 of 202



                                                                                                         Claim Register
                                                                                       In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                       Case No. 16-12551


                                                                                                                                               Current General                                  Current 503(b)(9)
                                                                                                                                                               Current Priority Current Secured                    Current Admin    Total Current
              Creditor Name and Address   Claim No. Claim Date                                   Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                                Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                   Amount                                           Amount
Consumer Energy Company
Attn: Legal Dept.
One Energy Plaza
Jackson, MI 49201                            26     11/28/2016              APP Winddown, LLC (f/k/a American Apparel, LLC)                            $400.04                                                                            $400.04
Consumers Energy Company
One Energy Plaza
Jackson, MI 49201                           3311    6/14/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
Continental Business Credit
Angie Lee
Levinson Arshonsky & Kurtz LLP
15303 Ventura Blvd Suite 1650
Sherman Oaks, CA 91403                      1955    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Continental Business Credit
Angie Lee
Levinson Arshonsky & Kurtz LLP
15303 Venture Blvd. Suite 1650
Sherman Oaks, CA 91403                      1989    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                   $324,227.27                                                                        $324,227.27
Continental Chemical
1000 E South St.
Anaheim, CA 92805                           2150    4/10/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)            $6,410.30                                                              $0.00        $6,410.30
CONTINENTAL CHEMICAL & SANITAR
1000 E SOUTH ST
ANAHEIM, CA 92805-5348                      2037    4/10/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
Contreras, Juan C.
1623 E 23 St.
Los Angeles, CA 90011                       1831    4/10/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Contreras, Juan C.
1623 E. 23 St
Los Angeles, CA 90011                       1813    4/10/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Contreras, Maria Eugenia
1507 W. 66th St.
Los Angeles, CA 90047                       2216    4/10/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                              $0.00                                                               $0.00
Contreras, Maria Eugenia
1507 W. 66th St.
Los Angeles, CA 90047                       2226    4/10/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
Cook, Kelly
972 N. Madison St.
Arlington, VA 22205                         323      2/7/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                             $48.04                                                                             $48.04
Corado, Dominga
3911 S. Budlong Ave
Los Angeles, CA 90037                       1375     4/6/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Corado, Dominga
3911 S. Budlong Ave
Los Angeles, CA 90037                       1417     4/6/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Cordenas, Consuelo Silva
7625 Maie Ave
Los Angeles, CA 90001                       2900    4/14/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Cordenas, Consuelo Silva
7625 Maie Ave
Los Angeles, CA 90001                       3037    4/14/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                              $0.00                                                               $0.00
Cordon, Edwin A.
14811 Friar St. Apt # 1
Van Nuys, CA 91411                          2080    4/10/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Cordon, Edwin A.
14811 Friar St. Apt #1
Van Nuys, CA 91411                          1951    4/10/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Cordova, Vilma
1723 James M Wood Blvd
Apt # 309
Los Angeles, CA 90015                       1672     4/7/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00

                                                                                                          Page 39 of 202
                                                                      Case 16-12551-BLS         Doc 2329      Filed 12/23/20     Page 40 of 202



                                                                                                    Claim Register
                                                                                  In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                  Case No. 16-12551


                                                                                                                                          Current General                                  Current 503(b)(9)
                                                                                                                                                          Current Priority Current Secured                    Current Admin    Total Current
                Creditor Name and Address   Claim No. Claim Date                            Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                           Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                              Amount                                           Amount
Cordova, Vilma
1723 James M Wood Blvd
Apt # 309
Los Angeles, CA 90015                         1782     4/7/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Core Supply
1816 Railroad St.
Corona, CA 92880                              1144    3/29/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                   $15,794.12                                                              $0.00       $15,794.12
Cornejo, Lorena
1622 Mohawk St
Los Angeles, CA 90026                         3245     5/9/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Cornejo, Lorena
1622 Mohawk St
Los Angeles, CA 90026                         3248     5/9/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Corning, Luke
Pentwater Capital Management LP
614 Davis St.
Evanston, IL 60201                            2329    4/11/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                              $0.00            $0.00
Corning, Luke
Pentwater Capital Management LP
614 Davis St.
Evanston, IL 60201                            2381    4/11/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                $0.00            $0.00
Corpeño Vasquez, Yecenia G.
6351 Ranchito Ave # 204
Van Nuys, CA 91401                            1669    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Corpeño Vasquez, Yecenia Guadalupe
6351 Ranchito Ave # 204
Van Nuys, CA 91401                            1828    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Corporation Service Company
251 Little Falls
Wilmington, DE 19808                          279     1/31/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                                               $0.00
Corporation Service Company
251 Little Falls
Wilmington, DE 19808                          3380    11/16/2017        APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                                               $0.00
Corral, Erika
12726 Magnolia Ave
Chino, CA 91710                               853     3/20/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $62.64                                                                             $62.64
Cortes, Faviola
717 E. 48 St
Los Angeles, CA 90011                         1985    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Cortes, Faviola
717 E. 48 St
Los Angeles, CA 90011                         2160    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Cortes, Francisca
839 E. 32nd St.
Los Angeles, CA 90011                         1764    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Cortes, Francisca
839 E. 32nd St.
Los Angeles, CA 90011                         2114    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Cortes, Janet Kristy
1731 SW 74th Avenue Road
Miami, FL 33155                               177     1/23/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $50.00                                                                             $50.00
Cortes, Julieta
674 E 52nd Pl
Los Angeles, CA 90011                         2250    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Cortes, Julieta
674 E 52nd Pl
Los Angeles, CA 90011                         2495    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Cortes, Raquel G
1274 E. 49th St.
Los Angeles, CA 90011                         2178    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00

                                                                                                     Page 40 of 202
                                                                                                   Case 16-12551-BLS          Doc 2329      Filed 12/23/20      Page 41 of 202



                                                                                                                                 Claim Register
                                                                                                               In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                                               Case No. 16-12551


                                                                                                                                                                       Current General                                  Current 503(b)(9)
                                                                                                                                                                                       Current Priority Current Secured                    Current Admin    Total Current
                  Creditor Name and Address                       Claim No. Claim Date                                   Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                                                        Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                                           Amount                                           Amount
Cortes, Raquel G
1274 E 49th St
Los Angeles, CA 90011                                               2176    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Cortez, Christie
2211 Buttonwood Avenue
Pembroke Pines, FL 33026                                            286      2/3/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                               $25.00                           $25.00
Cortez, Reina
139 3/4 N. Reno Sreet
Los Angeles, CA 90026                                               3107    4/19/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Cortez, Reina M
139 3/4 N. Reno St.
Los Angeles, CA 90026                                               3112    4/19/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                              $0.00                                                               $0.00
Cortez, Sulma Liseth
4252 Dalton Ave
Los Angeles, CA 90062                                               1599    4/10/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Cortez, Sulma Liseth
4252 Dalton Ave
Los Angeles, CA 90062                                               1639    4/10/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
CorVel Enterprise Comp. Inc.
Morgan, Lewis & Bockius LLP
Richard W. Esterkin
300 South Grand Avenue, 22nd Floor
Suite 2200
Los Angeles, CA 90071                                               3338    7/17/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                        $260,406.25                                                                        $260,406.25
Corvino, Meghan
2354 N ELSTON CT # 3F
Chicago, IL 60614-7107                                              316      2/6/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                            $213.04                                                                            $213.04
Coudray, Andrea Lynette
306 San Carlos Ave.
Redwood City, CA 94061                                              313      2/6/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                             $94.00                                                                             $94.00
Coughlin, Hillary
240 E 82nd St Apt 16F
New York, NY 10028                                                  1256     4/4/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                   $55.00                                                                             $55.00
Country Club Plaza JV LLC
Andrew S. Conway, Attorney for Claimant
200 East Long Lake Road, Suite 300
Bloomfield Hills, MI 48304                                          1248     4/3/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00

Country Club Plaza JV LLC, a Delaware limited liability company
Andrew S. Conway
200 East Long Lake Road
Suite 300
Bloomfield Hills, MI 48304                                          1247     4/3/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)              $142,207.69                                                                        $142,207.69
County of Orange Treasurer-Tax Collector
Shari L. Freidenrich
P.O. Box 4515
Santa Ana, CA 92702-4515                                            2735    4/12/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
County of San Bernardino
Office of the Tax Collector
268 West Hospitality Lane, 1st Floor
San Bernardino, CA 92415                                            166     1/19/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                          $4,474.30            $0.00                                          $4,474.30
County of Santa Clara Dept of Tax and Collections
70 W Hedding St
6th Floor, East Wing
San Jose , CA 95110                                                 3437    2/14/2019               APP Winddown, LLC (f/k/a American Apparel, LLC)                                          $5,000.00                                                           $5,000.00
County Sanitation District No. 2 of Los Angeles County
Anni Safarloo, Esq.
Lewis Brisbois Bisgaard & Smith, LLP
633 West 5th Street, #4000
Los Angeles, CA 90071                                               3261    5/15/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)           $64,016.63                                                                          $64,016.63

                                                                                                                                   Page 41 of 202
                                                                                            Case 16-12551-BLS           Doc 2329      Filed 12/23/20      Page 42 of 202



                                                                                                                           Claim Register
                                                                                                         In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                                         Case No. 16-12551


                                                                                                                                                                 Current General                                  Current 503(b)(9)
                                                                                                                                                                                 Current Priority Current Secured                    Current Admin    Total Current
                  Creditor Name and Address                      Claim No. Claim Date                              Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                                                  Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                                     Amount                                           Amount
Coutroulis, Niko
24 Hoffman Street
Maplewood, NJ 07040                                                3395    12/19/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                             $38.00                                                                             $38.00
COX, VICTORIA R
5735 SW 187 PL
ALOHA, OR 97078                                                    1280     4/4/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
COX, VICTORIA R
5735 SW 187 PL
ALOHA, OR 97078                                                    1286     4/4/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
Coxaj, Maria
140 E. 89th St.
Los Angeles, CA 90003                                              2257    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Coxaj, Maria
140 E. 89th St.
Los Angeles, CA 90003                                              2261    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Coxaj, Ricardo
140 E. 89th St.
Los Angeles, CA 90003                                              2301    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Coxaj, Ricardo
140 E. 89th St.
Los Angeles, CA 90003                                              2339    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Coyote, Bernardina
4209 Eugene St
Los Angeles, CA 90063                                              2031    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Coyote, Bernardina
4209 Eugene St
Los Angeles, CA 90063                                              2148    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
CPI CARD GROUP - CANADA
460 APPLEWOOD CRESCENT
CONCORD, ON L4K 4Z3
CANADA                                                             1464     4/7/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                     $8,943.67                                                                           $8,943.67
CPS Energy
Bankruptcy Section
145 Navarro, Mail Drop 110909
San Antonio, TX 78205                                              1214     4/3/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                  $786.74                                                                            $786.74
CPT GROUP INC.
50 CORPORATE PARK
IRVINE, CA 92606-5105                                              3282    5/23/2017         APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                          $0.00                                                                               $0.00
Crawley, Antionette
3749 4th Ave
San Diego, CA 92103                                                2075    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                          $128.80         $128.80
CRG Financial (As Assignee of Premiere Packaging Industries
Inc)
CRG Financial LLC
100 Union Avenue
Cresskill, NJ 07626                                                1903    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                        $3,063.04                        $3,063.04
CRG Financial LLC (As Assignee of Great White Printing, Inc.)
100 Union Avenue
Cresskill, NJ 07626                                                2232    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                        $2,572.53                        $2,572.53

CRG Financial LLC (As Assignee of Marina Graphic Center, Inc.)
100 Union Avenue
Cresskill, NJ 07626                                                2239    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                     $1,322.19                                        $29,129.65                        $30,451.84
CRG Financial LLC (As Assignee of Neva Nude, LLC)
100 Union Avenue
Cresskill, NJ 07626                                                1996    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                      $29,675.00                        $29,675.00
CRG Financial LLC (As Assignee of Orange County Industrial)
100 Union Avenue
Cresskill, NJ 07626                                                1945    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                      $11,521.24                        $11,521.24


                                                                                                                             Page 42 of 202
                                                                                            Case 16-12551-BLS           Doc 2329      Filed 12/23/20      Page 43 of 202



                                                                                                                           Claim Register
                                                                                                         In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                                         Case No. 16-12551


                                                                                                                                                                 Current General                                  Current 503(b)(9)
                                                                                                                                                                                 Current Priority Current Secured                    Current Admin    Total Current
                  Creditor Name and Address                      Claim No. Claim Date                              Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                                                  Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                                     Amount                                           Amount
CRG Financial LLC (As Assignee of Tageos Sasu)
100 Union Avenue
Cresskill, NJ 07626                                                1972    4/10/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                       $0.00            $0.00
CRG Financial LLC (As Assignee of Tageos Sasu)
100 Union Avenue
Cresskill, NJ 07626                                                1974    4/10/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                 $33,746.59                        $33,746.59
CRG Financial LLC (As Assignee of Tagtime, Inc.)
100 Union Avenue
Cresskill, NJ 07626                                                1958    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                        $2,481.28                        $2,481.28

CRG Financial LLC (As Assignee of United Fabricare Supply Inc)
100 Union Avenue
Cresskill, NJ 07626                                                2818    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                      $12,320.00                        $12,320.00
CRG Financial LLC (As Assignee of YK Textile Inc.)
100 Union Avenue
Cresskill, NJ 07626                                                1940    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                     $129,360.00                      $129,360.00

CRG Financial LLC as Transferee of Marina Graphic Center, Inc
Attn: Robert Axenrod
100 Union Ave
Cresskill, NJ 07626                                                 4      11/18/2016         APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                             $0.00                             $0.00
CRG Financial LLC as Transferee of Neva Nude, LLC
Attn: Robert Axenrod
100 Union Avenue
Cresskill, NJ 07626                                                 23     11/25/2016         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                $0.00                             $0.00
CRG Financial LLC as Transferee of RL US Group Inc
Attn: Robert Axenrod
100 Union Ave
Cresskill, NJ 07626                                                 8      11/21/2016    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                         $0.00           $0.00            $0.00       $37,800.00            $0.00       $37,800.00
Crotty, Anne Marie
457 31st Street
Hermosa Beach, CA 90254                                            1462     4/7/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $24.53                                                                             $24.53
CROWE SR, GARY V
2603 HOLLYWOOD BLVD
CLARKSVILLE, IN 47129                                              652      3/8/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                             $0.00                             $0.00
Cruz, Andres
511 S. Union Ave # 105
Los Angeles, CA 90017                                              1576     4/7/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Cruz, Andres
511 S. Union Ave # 105
Los Angeles, CA 90017                                              1644     4/7/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Cruz, Angela
7121 Newell St Apt. #2
Huntington Park, CA 90255                                          2572    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Cruz, Angela
7121 Newell St Apt. #2
Huntington Park, CA 90255                                          2778    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                         $0.00           $0.00                                                               $0.00
Cruz, Enrique Olmedo
1133 Mohawk St. Apt. #4
Los Angeles, CA 90026                                              1885    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Cruz, Enrique Olmedo
1133 Mohawk St. Apt. #4
Los Angeles, CA 90026                                              2110     4/8/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Cruz, Irma Florita
5001 McKinley Ave
Los Angeles, CA 90011                                              2911    4/14/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
CRUZ, IRMA FLORITA
5001 MCKINLEY AVE
LOS ANGELES, CA 90011                                              2913    4/14/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00


                                                                                                                             Page 43 of 202
                                                                       Case 16-12551-BLS           Doc 2329      Filed 12/23/20      Page 44 of 202



                                                                                                      Claim Register
                                                                                    In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                    Case No. 16-12551


                                                                                                                                            Current General                                  Current 503(b)(9)
                                                                                                                                                            Current Priority Current Secured                    Current Admin    Total Current
                Creditor Name and Address   Claim No. Claim Date                              Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                             Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                Amount                                           Amount
CRUZ, JAMIE
400 SEAHORSE DR
VALLEJO, CA 94591-7131                        962     3/21/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                         $0.00                                                                               $0.00
Cruz, Roberta
1133 Mohawk Street Apt. #4
Los Angeles, CA 90026                         1835    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Cruz, Roberta
1133 Mohawk Street Apt. #4
Los Angeles, CA 90026                         1840    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Cruz, Rosa
329 E. 97th St
Los Angeles, CA 90003                         2357    4/12/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Cruz, Rosa
329 E. 97th St
Los Angeles, CA 90003                         2359    4/12/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
CT Corporation
CT Corporation System
PO Box 4349
Carol Stream, IL 60197                        955     3/21/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                          $1,281.00                                                                           $1,281.00
Cu V Chau, Tina
7544 Garvalia Ave
Rosemead, CA 91770                            1029    3/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
Cuevas, Maria
8633 State St.
Apt. D
South Gate, CA 90280                          3079    4/18/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Cuevas, Maria Eugenia
1647 1/2 E 92 St.
Los Angeles, CA 90002                         1936    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Cuevas, Maria Eugenia
1647 1/2 E. 92 St.
Los Angeles, CA 90002                         1920    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Cuevas, Maria T.
8633 State St
Apt D
South Gate, CA 90280                          3085    4/18/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Cummins, Kathleen
5 Studer Rd
Clinton, NJ 08809                             327      2/7/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                               $75.00                           $75.00
Cunningham, Eleanor
11 Linden Place #3
Brookline, MA 02445                           610      3/3/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $128.00                                                                            $128.00
Curalate, Inc.
Attn: AR
2401 Walnut St. Suite 502
Philadelphia, PA 19103                        553     2/28/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                    $11,831.45                                                                          $11,831.45
Custom Tint Solutions by Custom Sounds
7320 N. Mopac, Suite #404
Austin, TX 78727                              132      1/9/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $249.43                                          $3,023.40                        $3,272.83
Cuttaia, Alexandra
5031 Fair Ave #449
North Hollywood, CA 91601                     3267    5/16/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                   $50.00                                                                             $50.00
CyberSurance, Inc.
Attn: Richard Petersen, Esq.
2015 Montrose Ave
Montrose, CA 91020                            1067    3/28/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                     $8,750.00                                                                           $8,750.00
Dae Shin U.S.A. Inc
610 N. Gilbert St.
Fullerton, CA 92833                           704      3/9/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                        $163,399.77                                                              $0.00     $163,399.77


                                                                                                        Page 44 of 202
                                                                              Case 16-12551-BLS         Doc 2329      Filed 12/23/20     Page 45 of 202



                                                                                                            Claim Register
                                                                                          In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                          Case No. 16-12551


                                                                                                                                                  Current General                                  Current 503(b)(9)
                                                                                                                                                                  Current Priority Current Secured                    Current Admin    Total Current
                Creditor Name and Address           Claim No. Claim Date                            Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                                   Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                      Amount                                           Amount
Daeshin U.S.A.
610 N. Gilbert Street
Fullerton, CA 92833                                   681      3/9/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                                               $0.00
Dahl, Teresa
6535 Commodore Sloat Dr
Los Angeles, CA 90048                                 417     2/14/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $80.48                                                                             $80.48
Dahl, Teresa
6535 Commodore Sloat Dr
Los Angeles, CA 90048                                 1305     4/5/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $80.48                                                                             $80.48
DALEZMAN, ARIANA
706 STELTON ST
TEANECK, NJ 07666                                     262     1/31/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $30.00                                                                             $30.00
Dallas County
Elizabeth Weller
Laurie A Spindler
Linebarger Goggan Blair & Sampson, LLP
2777 N. Stemmons Frwy Ste 1000
Dallas, TX 75207                                       32     11/28/2016        APP Winddown, LLC (f/k/a American Apparel, LLC)                                                              $0.00                                              $0.00
Dallas County
Elizabeth Weller
Laurie A Spindler
Linebarger Goggan Blair & Sampson, LLP
2777 N. Stemmons Frwy Ste 1000
Dallas, TX 75207                                       37     11/29/2016        APP Winddown, LLC (f/k/a American Apparel, LLC)                                                              $0.00                                              $0.00
Dallas County
Elizabeth Weller
Laurie A Spindler
Linebarger Goggan Blair & Sampson, LLP
2777 N. Stemmons Frwy Ste 1000
Dallas, TX 75207                                      118      1/4/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                $0.00            $0.00
Dallas County
Elizabeth Weller
Laurie A Spindler
Linebarger Goggan Blair & Sampson, LLP
2777 N. Stemmons Frwy Ste 1000
Dallas, TX 75207                                      421     2/14/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                $0.00            $0.00
DALLAS COUNTY
LINEBARGER GOGGAN BLAIR & SAMPSON, LLP
ELIZABETH WELLER
LAURIE A SPINDLER
2777 N. STEMMONS FRWY STE 1000
DALLAS, TX 75207                                      3377    11/10/2017        APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                $0.00            $0.00
Dalton, Tracey
8289 Golden Ave
Lemon Grove, CA 91945                                 232     1/31/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $84.05                                                                             $84.05
Daniel Bobbe
Cut Pak Co., LLC
365 Cloverleaf Dr., Ste. C
Baldwin Park, CA 91706                                150     1/17/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                                               $0.00
Daniel Bobbe
Cut Pak Co., LLC
365 Cloverleaf Dr., Ste. C
Baldwin Park, CA 91706                                632      3/6/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                   $14,668.26                                                                          $14,668.26
Danielle Alves De Moraes - Vendor Account: 109233
Rua Dr Cezario Motta Jr, 476
San Paulo, SP 01221-020
Brazil                                                179     1/23/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                      $400.00                                                                            $400.00
Daniels, Geneva
P.O. Box 788
Bronx, NY 10453                                       222     1/27/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $87.00                                                                             $87.00

                                                                                                             Page 45 of 202
                                                                      Case 16-12551-BLS         Doc 2329      Filed 12/23/20     Page 46 of 202



                                                                                                    Claim Register
                                                                                  In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                  Case No. 16-12551


                                                                                                                                          Current General                                  Current 503(b)(9)
                                                                                                                                                          Current Priority Current Secured                    Current Admin    Total Current
                Creditor Name and Address   Claim No. Claim Date                            Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                           Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                              Amount                                           Amount
Daniels, Geneva
P.O. Box 788
Bronx, NY 10453                               3204     5/1/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $87.00                                                                             $87.00
Dank, Justin
894 Melvin Drive
North Bellmore, NY 11710                      3132    4/21/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $42.00                                                                             $42.00
DARA INC.
3216 S. Broadway
Los Angeles, CA 90007                         121      1/5/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                        $25,497.36                                                                          $25,497.36
Darting, April
209 Manor Drive Unit A
New Lenox, IL 60451                           3283    5/23/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                               $60.00          $60.00
Dave, Bhairav
4919 Paseo Padre Pkwy
Fremont, CA 94555                             3390    12/1/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $120.00                                                                            $120.00
Davis, Donna
731 Bay Tree Lane
El Cerrito, CA 94530                          299      2/6/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $26.16                                                                             $26.16
Davis, Rachel
1506 S Sherbourne Drive
Los Angeles, CA 90035                         2139    4/12/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                       $20.00                                                                             $20.00
de Borbon, Alejandro
8052 1/2 Rosecrans Ave
Paramount, CA 90723                           2923    4/14/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                                               $0.00
De Borbon, Alejandro
8052 1/2 Rosecrans Ave
Paramount, CA 90723                           2955    4/14/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                $0.00            $0.00
de Bord, Elizabeth
328 Frederick Street
San Francisco, CA 94117                       3266    5/19/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                               $28.28          $28.28
de Gonzalez, Micaela M.
7641 Saint Clair Ave.
N. Hollywood, CA 91605                        2081    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
De J Mora, Maria
2719 Saturn Av. #7
Huntington Park, CA 90255                     3136    4/24/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
De La Luz Ibarra, Maria
8920 Cypress Ave., Apt L
South Gate, CA 90280                          2142    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
De Leon Alonzo, Miguel
431 S. Berendo St. # 204
Los Angeles, CA 90020                         3341    7/26/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
De Leon Alonzo, Miguel
431 S. Berendo St. #204
Los Angeles, CA 90020                         3342    7/26/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
De Oca, Dalila Montes
4815 1/2 South Vermont Avenue Apt #3
Los Angeles, CA 90037                         2592    4/13/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
De Oca, Dalila Montes
4815 1/2 South Vermont Avenue Apt #3
Los Angeles, CA 90037                         3086    4/18/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
De Puente, Bertha
6234 Woodward Ave.
Bell, CA 90201                                1494     4/9/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
De Puente, Bertha
6234 Woodward Ave.
Bell, CA 90201                                1496     4/9/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
De Ruiz, Vilma Salguero
2888 Francis Ave.
Los Angeles, CA 90005                         2835    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00

                                                                                                     Page 46 of 202
                                                                       Case 16-12551-BLS           Doc 2329      Filed 12/23/20      Page 47 of 202



                                                                                                      Claim Register
                                                                                    In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                    Case No. 16-12551


                                                                                                                                            Current General                                  Current 503(b)(9)
                                                                                                                                                            Current Priority Current Secured                    Current Admin    Total Current
                Creditor Name and Address   Claim No. Claim Date                              Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                             Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                Amount                                           Amount
de Sousa, Jaime
207 Winn Street
Woburn, MA 01801                              3386    11/27/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
DE TOMAS ROJAS, MARIA
1210 S GUNLOCK AVE
COMPTON, CA 90220-4432                        1239     4/3/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                              $0.00            $0.00                                              $0.00
Dea, Sui Bing
6559 N. Muscatel Ave.
San Gabriel, CA 91775                         2039    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Dea, Sui Bing
6559 N. Muscatel Ave.
San Gabriel, CA 91775                         2205    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Deans, Maisy
5607 Lincoln Street
Bethesda, MD 20817                            969     3/24/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $29.68                                                                             $29.68
Deasy, Brendan
534 W 7th Ave
West Homestead, PA 15120                      906     3/22/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $150.00                                                                            $150.00
DeCesare, Danielle
205 Bedell Street
West Babylon, NY 11704                        1193     4/3/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $64.87                                                                             $64.87
Dee, Carol
805 Aalapapa Drive
Kailua, HI 96734                              885     3/20/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                  $113.09                                                                            $113.09
Deeboonchai, Waratchaya
13019 NW 28th Court
Vancouver, WA 98685                           251      2/1/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $90.00                                                                             $90.00
DeHority, Emily
4 Whipple Road
South Hamilton, MA 01982                      1729    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $32.00                                                                             $32.00
Deighton, Jody
5434 Mt. Helena Ave.
Los Angeles, CA 90041                         337      2/8/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $41.42                                                                             $41.42
Dej Mora, Maria
2719 Saturn Ave #7
Huntington Park, CA 90255                     3146    4/24/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Del Socorro Reyes, Martha
3480 Cudahy St., #N
Huntington Park, CA 90255                     2899    4/14/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Del Socorro Reyes, Martha
3480 Cudahy St., #N
Huntington Park, CA 90255                     2954    4/14/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Delgado, Graciela
1038 W. 21st St.
Los Angeles, CA 90007                         2754    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Delgado, Graciela
1038 W. 21st St.
Los Angeles, CA 90007                         2757    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
DelleCare, Kerilynn
40 Koch Blvd.
Staten Island, NY 10312                       334      2/7/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $109.00                                                                            $109.00
DeLorenzo, Stacey
50 E Ridgewood Ave STE A
Ridgewood, NJ 07450-3881                      807     3/16/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                $32.00          $32.00
Denik LLC
696 West 1725 North
Logan, UT 84321                                5      11/21/2016         APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
Denik LLC
696 West 1725 North
Logan, UT 84321                               3318    6/19/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00

                                                                                                        Page 47 of 202
                                                                                   Case 16-12551-BLS           Doc 2329      Filed 12/23/20      Page 48 of 202



                                                                                                                  Claim Register
                                                                                                In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                                Case No. 16-12551


                                                                                                                                                        Current General                                  Current 503(b)(9)
                                                                                                                                                                        Current Priority Current Secured                    Current Admin    Total Current
                 Creditor Name and Address              Claim No. Claim Date                              Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                                         Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                            Amount                                           Amount
Denny, Julia
88 Leonard St #204
New York, NY 10013                                        1732    4/11/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                   $38.00                                                                             $38.00
Department of Taxation
Department of Taxation State of Hawaii
Attn: Bankruptcy Unit
P O Box 259
Honolulu, HI 96809                                        271     1/30/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                    $0.00                                                               $0.00
Department of Taxation State of Hawaii
Attn: Bankruptcy Unit
PO Box 259
Honolulu, HI 96809                                        3387    11/27/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                             $81.32                                                             $81.32
Department of the Treasury - Internal Revenue Service
P.O. Box 7346
Philadelphia, PA 19101-7346                                63     12/13/2016         APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00           $0.00                                                               $0.00
Department of the Treasury - Internal Revenue Service
P.O. Box 7346
Philadelphia, PA 19101-7346                               3280    5/22/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                    $0.00                                                                               $0.00
Department of the Treasury - Internal Revenue Service
P.O. Box 7346
Philadelphia, PA 19101-7346                               3310    6/12/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00           $0.00                                                               $0.00
Department of the Treasury - Internal Revenue Service
P.O. Box 7346
Philadelphia, PA 19101-7346                               3335    7/14/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                          $1,633.47       $5,499.28                                                           $7,132.75
Department of the Treasury - Internal Revenue Service
PO Box 7346
Philadelphia, PA 19101-7346                                65     12/13/2016   APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                    $0.00                                                               $0.00
Der Sarkissian, Alina
2111 Allegre Cir
Apt 208
Naperville, IL 60563-2660                                 2474    4/12/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                               $200.00         $200.00
Derazey, Florence
4200 Scotland St # 534
Houston, TX 77007                                         3272    5/19/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $40.92          $40.92
Develasquez, Ana C
1515 Wilshire Blvd #522
Los Angeles, CA 90017                                     1393     4/6/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Develasquez, Ana C
1515 Wilshire Blvd. #522
Los Angeles, CA 90017                                     1366     4/6/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Diaz Luna, Marta Lilian
2580 N. Soto St. #205
Los Angeles, CA 90032                                     1900    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Diaz Luna, Marta Lilian
2580 N. Soto St. #205
Los Angeles, CA 90032                                     2011    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Diaz, Maximina Cruz
1049 S. Ditman Ave
Los Angeles, CA 90023                                     2990    4/17/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Diaz, Maximina Cruz
1049 S. Ditman Ave
Los Angeles, CA 90023                                     2994    4/17/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Diaz, Rosa
881 E 41St App 3
Los Angeles, CA 90011                                     2410    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
Diaz, Rosa E.
881 E 41th St
Los Angeles, CA 90011                                     2731    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00




                                                                                                                    Page 48 of 202
                                                                       Case 16-12551-BLS           Doc 2329      Filed 12/23/20      Page 49 of 202



                                                                                                      Claim Register
                                                                                    In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                    Case No. 16-12551


                                                                                                                                            Current General                                  Current 503(b)(9)
                                                                                                                                                            Current Priority Current Secured                    Current Admin    Total Current
                Creditor Name and Address   Claim No. Claim Date                              Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                             Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                Amount                                           Amount
Diederich, Kathleen
3088 N Windsor Ct
Westlake, OH 44145                            896     3/21/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                $0.00                             $0.00
Diego, Maria
8915 Avalon Blvd
Los Angeles, CA 90003                         1734    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Diego, Maria
8915 Avalon Blvd
Los Angeles, CA 90003                         1796    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Diez, Claudia P
200 W 57th St Suite 1310
New York, NY 10019                            503     2/24/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                          $120.00         $120.00
Diggs, Renee
6729 Darkwood Court
District Heights, MD 20747                    935     3/23/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                               $554.00         $554.00
Diggs, Renee
6729 Darkwood Court
District Heights, MD 20747                    447     2/21/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $5.54                                                                               $5.54
Dimuel, Jasmine
1204 Hardford Town Drive
Abingdon, MD 21009                            276      2/2/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $86.92                                                                             $86.92
DiSalvo, Daniela
24-33 160th St
Whitestone, NY 11357                          230     1/31/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $33.48                                                                             $33.48
Distler, Kristen
184 Christopher Columbus Drive
Apt. 2
Jersey City, NJ 07302                         3167    4/26/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                        $48.00                                                                             $48.00
DiVincenzo, David
6 Parsonage Hill Rd
Haverhill, MA 01832                           2165    4/12/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $46.75                                                                             $46.75
DJ Laundering, Inc.
710 W. 58th St
Los Angeles, CA 90037                         1043    3/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $140.00                                                                            $140.00
DJG Properties, LLC
5508 E. Britton Drive
Long Beach, CA 90815                           13     11/22/2016   APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)               $23,910.15                                                                          $23,910.15
Dolinar-Hikawa, Courtney
437 New York Ave NW Apt Y28
Washington, DC 20001                          229     1/30/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $89.89                                                                             $89.89
Dominguez, Laura
22603 Coriander Dr.
Katy, TX 77450                                863     3/20/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                $85.41          $85.41
Dominguez, Laura
22603 Coriander Dr.
Katy, TX 77450                                218     1/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $85.41                                                                             $85.41
Dominguez, Laura
22603 Coriander Dr.
Katy, TX 77450                                862     3/20/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $85.41                                                                             $85.41
Dominguez, Mireya
115 Woodland Circle
North Aurora, IL 60542                        3149    4/24/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                        $35.00                                                                             $35.00
Dondiego, Brenda
1120 E. 60th St.
Los Angeles, CA 90001                         2921    4/14/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Dondiego, Brenda
1120 E. 60th St.
Los Angeles, CA 90001                         2953    4/14/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00




                                                                                                        Page 49 of 202
                                                                             Case 16-12551-BLS          Doc 2329      Filed 12/23/20      Page 50 of 202



                                                                                                           Claim Register
                                                                                         In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                         Case No. 16-12551


                                                                                                                                                 Current General                                  Current 503(b)(9)
                                                                                                                                                                 Current Priority Current Secured                    Current Admin    Total Current
                Creditor Name and Address   Claim No. Claim Date                                   Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                                  Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                     Amount                                           Amount
Doonan, Elizabeth
5415 Maple Canyon Ave
Columbus, OH 43229                            557     2/28/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                        $25.00                                                                             $25.00
Doyle, Erica
16 Applewood Court
Metuchen, NJ 08840                            300      2/6/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                             $63.37                                                             $63.37
Dray, Erika
675 Bard Ave
Staten Island, NY 10310                       212     1/26/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                             $30.00                                                                             $30.00
DT MODEL MANAGEMENT
883 WESTBOURNE DR
WEST HOLLYWOOD, CA 90069-4601                 2949    4/14/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                            $300.00           $0.00                             $0.00                          $300.00
DTA Agency LLC
883 Westbourne Dr.
West Hollywood, CA 90069                      2929    4/14/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                       $300.00                                                              $0.00         $300.00
DTE Energy
One Energy Plaza, 735 WCB
Detroit, MI 48226                              36     11/28/2016              APP Winddown, LLC (f/k/a American Apparel, LLC)                          $1,850.71                                                                           $1,850.71
DUES SABATES S.L
DEUX SOULIERS
C. SANT SALVADOR 114
BARCELONA 08024
SPAIN                                         830     3/17/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
Duesenberg Investment Company, LLC
c/o McGarrigle, Kenney & Zampiello, APC
9600 Topanga Canyon Blvd., Suite 200
Chatsworth, CA 91311                          1858    4/11/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                $9,474.05                                                              $0.00        $9,474.05
Duffy, Darleen
2631 Catherine Rd.
Altadena, CA 91001                            933     3/23/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                             $47.42                                                                             $47.42
Dugopolski, Jacob
191 Ashland Place, Apt 2
Brooklyn, NY 11217                            938     3/21/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                             $50.00                                                                             $50.00
Duke Energy Carolinas
Lynn Colombo
550 S Tryon Street, DEC45A
Charlotte, NC 28202                           2137    4/10/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                            $492.87                                                                            $492.87
Duke Energy Ohio
Lynn M Colombo
550 S Tryon Street, DEC45A
Charlotte, NC 28202                           2118    4/10/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                            $736.47                                                                            $736.47
Dumas, Piedad A
807 E 101st St
Los Angeles, CA 90002                         1545     4/7/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Dumas, Piedad A
807 E 101st St
Los Angeles, CA 90002                         1648     4/7/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Duong, Victoria
14884 Stonehedge Lane
Westminster, CA 92683                         396     2/14/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                             $93.43                                                                             $93.43
Duong, Victoria
14884 Stonehedge Lane
Westminster, CA 92683                         2078    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                $93.43          $93.43
Duong, Victoria
14884 Stonehedge Lane
Westminster, CA 92683                         2283    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                             $93.43                                                                             $93.43
DURABLE SUPPLY COMPANY
240 GREAT CIRCLE RD, STE 334
NASHVILLE, TN 37228                           1540     4/7/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                $0.00                                                                               $0.00


                                                                                                             Page 50 of 202
                                                                              Case 16-12551-BLS          Doc 2329      Filed 12/23/20      Page 51 of 202



                                                                                                            Claim Register
                                                                                          In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                          Case No. 16-12551


                                                                                                                                                  Current General                                  Current 503(b)(9)
                                                                                                                                                                  Current Priority Current Secured                    Current Admin    Total Current
                 Creditor Name and Address   Claim No. Claim Date                                   Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                                   Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                      Amount                                           Amount
Duran, Rosa Pineda
739 Garland Ave. Apt # 112
Los Angeles, CA 90017                          3179    4/26/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
Duran, Rosa Pineda
739 Garland Ave. Apt # 112
Los Angeles, CA 90017                          3180    4/26/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
DYECHEM SUPPLIES
14733 1/2 GARFIELD AVE
PARAMOUNT, CA 90723-3412                       880     3/20/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
DYECHEM SUPPLIES
14733 1/3 GARFIELD AVE
PARAMOUNT, CA 90723                            879     3/20/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                         $66,009.56                                                                          $66,009.56
Dyechem Supplies
14733-1/2 Garfield Avenue
Paramount, CA 90723                            891     3/20/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
DYEWORLD, INC
5801 S 2ND ST
VERNON, CA 90058-3403                          843     3/17/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                         $32,746.03                                                                          $32,746.03
E & C Fashion, Inc.
Joon M. Khang, Esq.
4000 Barranca Parkway, Suite 250
Irvine, CA 92604                                49     12/5/2016               APP Winddown, LLC (f/k/a American Apparel, LLC)                      $1,338,569.52                                        $45,000.00                     $1,383,569.52
E & M MECHANICAL, INC
41 COMMERCE AVE STE 1
SOUTH BURLINGTON, VT 05403-5833                2991    4/17/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                    $0.00                                                                               $0.00
East 13th Avenue Partners, LLC
Bradley S. Copeland
Arnold Gallagher P.C.
800 Willamette Street, Suite 800
Eugene, OR 97401                               3185    4/27/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)               $88,331.16                                                                          $88,331.16
Easton, Gina
874 Oak St
Costa Mesa, CA 92627                           1301     4/5/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                              $20.00           $20.00                           $40.00
Eastwood, Theresa A.
8014 Masefield Ct.
West Hills, CA 91304                           190     1/25/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                             $52.32                                                                             $52.32
Echavarria, Guillermo
4203 San Vincente St
Compton, CA 90221                              1965    4/10/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Echavarria, Guillermo
4203 San Vincente St
Compton, CA 90221                              2077    4/10/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Edicom, Corp.
1 Whitehall St., 14th Floor
New York, NY 10004                              88     12/20/2016              APP Winddown, LLC (f/k/a American Apparel, LLC)                            $485.84                                                                            $485.84
Edouard, Eileen
388 Bridge Street
Apartment 15B
Brooklyn, NY 11201                             1427     4/6/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                      $50.00          $50.00
EHK Printing Solutions
2020 - B Huntington Ln.
Redondo Beach, CA 90278                        161     1/18/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                     $1,724.76                                                                           $1,724.76
Ehrlich, Avi
1057 Valencia St
San Francisco, CA 94110                        497     2/23/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                             $35.34                                                                             $35.34
Empire Pipe Cleaning & Equipment, Inc.
1788 N. Neville Street
Orange, CA 92865                               729     3/10/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)              $780.00                                                                            $780.00




                                                                                                              Page 51 of 202
                                                                       Case 16-12551-BLS           Doc 2329      Filed 12/23/20      Page 52 of 202



                                                                                                      Claim Register
                                                                                    In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                    Case No. 16-12551


                                                                                                                                            Current General                                  Current 503(b)(9)
                                                                                                                                                            Current Priority Current Secured                    Current Admin    Total Current
                Creditor Name and Address   Claim No. Claim Date                              Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                             Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                Amount                                           Amount
Epner, Margaret
606 Leonard Street, Apt #2
Brooklyn, NY 11222                            376     2/13/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $43.00                                                                             $43.00
Epner, Margaret
606 Leonard Street
Apt. #2
Brooklyn, NY 11222                            614      3/5/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $43.00                                                                             $43.00
ESCOBEDO LUGO, MARIA G.
338 N. SAVANNAH ST
LOS ANGELES, CA 90033                         2870    4/12/2017      APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)                                                                                         $0.00            $0.00
ESCOBEDO LUGO, MARIA G.
338 N. SAVANNAH ST
LOS ANGELES, CA 90033                         2988    4/17/2017      APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)                                                                                         $0.00            $0.00
ESCOBEDO, MARIA
338 N. SAVANNAH ST
LOS ANGELES, CA 90033                         2869    4/12/2017      APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)                                      $0.00                                                               $0.00
ESCOBEDO, MARIA
338 N. SAVANNAH ST
LOS ANGELES, CA 90033                         2980    4/17/2017      APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)                                      $0.00                                                               $0.00
Esperanza Arevalo, Marina
1522 W. 60th St.
Los Angeles, CA 90047                         2853    4/13/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Espinoza, Rosaura
1918 1/2 W 35th St
Los Angeles, CA 90018                         1759    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Espinoza, Rosaura
1918 1/2 W 35th St
Los Angeles, CA 90018                         2067    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Esposito, Ilaria
1 Harborside Pl #451
Jersey City, NJ 07311                         3372    10/31/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
Estevez, Veronica
3828 Maple Ave.
Los Angeles, CA 90011                         2978    4/17/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Estevez, Veronica
3828 Maple Ave.
Los Angeles, CA 90011                         2987    4/17/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
EUSTAQUIO, REINA
5753 W OHIO AVE
LAKEWOOD, CO 80226-4769                       869     3/20/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
Eustaquio, Ruben
5753 West Ohio Ave
Lakewood, CO 80226                            875     3/20/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
Express Employment
600 Hampshire Road Suite #201
Thousand Oaks, CA 91361                        27     11/28/2016    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                    $15,000.00                                                                          $15,000.00
FABIAN, MARIBEL
C/O KEITH A. FINK & ASSOCIATES
1990 S BUNDY DR STE 620
LOS ANGELES, CA 90025-5690                    1386     4/6/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
FABIAN, MARIBEL
C/O KEITH A. FINK & ASSOCIATES
1990 S BUNDY DR STE 620
LOS ANGELES, CA 90025-5690                    1434     4/6/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                         $0.00                                                                               $0.00
FABIAN, MARIBEL
C/O KEITH A. FINK & ASSOCIATES
1990 S BUNDY DR STE 620
LOS ANGELES, CA 90025-5690                    1439     4/6/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                    $0.00                                                                               $0.00




                                                                                                        Page 52 of 202
                                                                        Case 16-12551-BLS           Doc 2329      Filed 12/23/20      Page 53 of 202



                                                                                                       Claim Register
                                                                                     In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                     Case No. 16-12551


                                                                                                                                             Current General                                  Current 503(b)(9)
                                                                                                                                                             Current Priority Current Secured                    Current Admin    Total Current
                 Creditor Name and Address   Claim No. Claim Date                              Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                              Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                 Amount                                           Amount
Fabianski, Katherine
6321 Overlook Dr
Kunkletown, PA 18058                           2935    4/14/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                     $100.00         $100.00
Fabianski, Katherine
6321 Overlook Dr
Kunkletown, PA 18058                           2936    4/14/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                  $100.00                                                                            $100.00
Fabritex, Inc.
Derrick Talerico
Bosley Till Neue & Talerico LLP
12121 Wilshire Blvd., Suite 1120
Los Angeles, CA 90025                          1877    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                        $208,139.96                                        $21,623.54                      $229,763.50
Facility Nexus, Inc.
222 S. Main Street, Suite 1910
SALT LAKE CITY, UT 84101                        52     12/6/2016    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)               $14,151.38                                             $0.00                        $14,151.38
Fairbrother, James Robert
34 Harness Lane
Levittown, NY 11756                            472     2/22/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $48.00                                                                             $48.00
Fairfield, Mary
3108 Linwood
Unit #18
Royal Oak, MI 48073                            314      2/6/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                             $75.00                            $75.00                          $150.00
Fairfield, Mary
3108 Linwood
Unit #18
Royal Oak, MI 48073                            2941    4/14/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                $75.00          $75.00
Fairfield, Mary
3108 Linwood
Unit #18
Royal Oak, MI 48073                            2944    4/14/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $75.00                                                                             $75.00
FAIRPOINT COMMUNICATIONS
521 EAST MOREHEAD ST
CHARLOTTE, NC 28202                            3148    4/24/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
Falconer, Shanice
601 Park Place APT 3B
Brooklyn, NY 11238                             1168     4/1/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                   $20.00                                                                             $20.00
Fang, Li Hua
2206 N. Eastern Ave
Los Angeles, CA 90032                          2741    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Fang, Li Hua
2206 N. Eastern Ave
Los Angeles, CA 90032                          2834    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
Fang, Wan
8541 Shea Pl
Rosemead, CA 91770                             2092    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Fang, Wan Juan
8541 Shea Pl
Rosemead, CA 91770                             2309    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Fang, Zhu Yue
P.O. Box. 1093
Monterey Park, CA 91754                        1808    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Fang, Zhu Yue
P.O. Box 1093
Monterey Park, CA 91754                        1857    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Farag, Yasmine
2501 W. Cortland
Chicago, IL 60647                              995     3/24/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                $76.00          $76.00
Farmer, Taylor
2051 Wittington Pl. #2161
Farmers Branch, TX 75234                       3351    8/14/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                $50.00          $50.00


                                                                                                         Page 53 of 202
                                                                                      Case 16-12551-BLS          Doc 2329      Filed 12/23/20      Page 54 of 202



                                                                                                                    Claim Register
                                                                                                  In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                                  Case No. 16-12551


                                                                                                                                                          Current General                                  Current 503(b)(9)
                                                                                                                                                                          Current Priority Current Secured                    Current Admin    Total Current
                 Creditor Name and Address           Claim No. Claim Date                                   Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                                           Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                              Amount                                           Amount
Farnsworth, Marci
6320 E. Montecito Ave.
Scottsdale, AZ 85251                                   419     2/14/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                             $45.30                                                                             $45.30
Fasnap Corporation
Attn: Jason Grooms
3500 Reedy Drive
Elkhart, IN 46514                                      2865    4/14/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
FAULKNER, CHRISTINE
5314 FRANKLIN AVENUE
UNIT 12
LOS ANGELES, CA 90027                                  1804    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                          $2,380.95                                                                           $2,380.95
FDB Acquisition LLC
c/o Salon Realty
316 East 89th Street
New York , NY 10128                                    209     1/25/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)               $38,875.00                                                                          $38,875.00
Federal Insurance Company
c/o Duane Morris LLP
Attn: Wendy M. Simkulak, Esq.
30 S. 17th Street
Philadelphia, PA 19103                                 1538     4/7/2017           APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)                      $0.00                            $0.00                             $0.00            $0.00
Federal Insurance Company
c/o Duane Morris LLP
Attn: Wendy M. Simkulak, Esq.
30 S. 17th Street
Philadelphia, PA 19103                                 1621     4/7/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                         $0.00                            $0.00                             $0.00            $0.00
Federal Insurance Company
c/o Duane Morris LLP
Attn: Wendy M. Simkulak, Esq.
30 S. 17th Street
Philadelphia, PA 19103                                 1654     4/7/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                            $0.00                             $0.00            $0.00
Federal Insurance Company
c/o Duane Morris LLP
Attn: Wendy M. Simkulak, Esq.
30 S. 17th Street
Philadelphia, PA 19103                                 1656     4/7/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                    $0.00                            $0.00                             $0.00            $0.00
Federal Insurance Company
c/o Duane Morris LLP
Attn: Wendy M. Simkulak, Esq.
30 S. 17th Street
Philadelphia, PA 19103                                 1657     4/7/2017              APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                          $0.00                            $0.00                             $0.00            $0.00
Federal Insurance Company
c/o Duane Morris LLP
Attn: Wendy M. Simkulak, Esq.
30 S. 17th Street
Philadelphia, PA 19103                                 1680     4/7/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                $0.00                            $0.00                             $0.00            $0.00
FedEx Corporate Services Inc.
as Assignee of FedEx Express/Ground/Freight/Office
3965 Airways Blvd, Module G, 3rd Floor
Memphis, TN 38116-5017                                 3184    4/26/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
FedEx Trade Networks Transport & Brokerage Inc.
Mike Mambretti
170 Cooper Ave.
Suite 110
Tonawanda, NY 14150                                     92     12/23/2016              APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
FedEx Trade Networks Transport & Brokerage Inc.
Mike Mambretti
170 Cooper Ave.
Suite 110
Tonawanda, NY 14150                                    381     2/13/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                    $59,951.67                                                                          $59,951.67


                                                                                                                      Page 54 of 202
                                                                        Case 16-12551-BLS           Doc 2329      Filed 12/23/20      Page 55 of 202



                                                                                                       Claim Register
                                                                                     In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                     Case No. 16-12551


                                                                                                                                             Current General                                  Current 503(b)(9)
                                                                                                                                                             Current Priority Current Secured                    Current Admin    Total Current
                 Creditor Name and Address   Claim No. Claim Date                              Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                              Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                 Amount                                           Amount
Fellman, Brynne
1 W CENTURY DR UNIT 22A
LOS ANGELES, CA 90067-3409                     1327     4/5/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $128.12                                                                            $128.12
FENG, LAN
4350 SHELTER CREEK LN
SAN BRUNO, CA 94066-3819                       1077    3/28/2017         APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                          $0.00                                                                               $0.00
FENG, LAN
4350 SHELTER CREEK LN
SAN BRUNO, CA 94066-3819                       1100    3/28/2017         APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                                                                                             $0.00            $0.00
Feng, Yanji
2301 Humbolt St. #222
Los Angeles, CA 90031                          817     3/16/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                              $0.00                                                               $0.00
FENKER, DEBORAH
221 WEST 22nd ST. APT A4
NEW YORK, NY 10011                             210     1/25/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $67.00                                                                             $67.00
Ferrara, Laura
52 White Street Apartment 2
New York, NY 10013                             760     3/13/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                  $545.50                                                                            $545.50
Ferreira, Aline Botelho Fonseca
R Avanhandava, 103 AP12B
Bela Vista, Sao Paulo, SP 01306-001
Brazil                                         175     1/23/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                       $400.00                                                                            $400.00
Ferrufino, Rosa Elida
1243 W. 24th St. Apt. 101
Los Angeles, CA 90007                          2164    4/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                              $0.00                                                               $0.00
Ferrufino, Rosa Elida
1243 W. 24th St. Apt. 101
Los Angeles, CA 90007                          2211    4/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
Fimiani, Cristy
1501 Cocoanut Rd
Boca Raton, FL 33432                           401     2/14/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $44.52                                                                             $44.52
Fincher, Nancy
7136 Helsem Bend Cir
Dallas, TX 75230                               157     1/18/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $20.00                                                                             $20.00
Finkel, Revital
938 French Street NW
Washington, DC 20001                           3354    8/15/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                      $70.00          $70.00
Fisher, Allyson
701 W. Red Bank Ave, #M8
W. Deptford, NJ 08096                          367     2/13/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $80.00                                                                             $80.00
Fisher, Anne E.
24209 Friar Street
Woodland Hills, CA 91367                       2506    4/13/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                         $0.00                                                                               $0.00
Fisher, Anne Elizabeth
24209 Friar Street
Woodland Hills, CA 91367                       2479    4/13/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
Fisher, Rachel L
5746 N KENMORE AVE APT 414
CHICAGO, IL 60660-4536                         612      3/4/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $50.00                                                                             $50.00
Fishkin, Jamie
49 Arleigh Road
Great Neck, NY 11021                           1020    3/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $20.86                                                                             $20.86
FITI USA, INC.
3470 WILSHIRE BLVD
STE 915
LOS ANGELES, CA 90010-3909                     1768    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                          $7,620.25                                                                           $7,620.25
Fitzpatrick, Stephen
355 8th Avenue, Apt 14D
New York, NY 10001                             1128    3/30/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                   $30.99                                                                             $30.99


                                                                                                         Page 55 of 202
                                                                      Case 16-12551-BLS           Doc 2329      Filed 12/23/20      Page 56 of 202



                                                                                                     Claim Register
                                                                                   In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                   Case No. 16-12551


                                                                                                                                           Current General                                  Current 503(b)(9)
                                                                                                                                                           Current Priority Current Secured                    Current Admin    Total Current
               Creditor Name and Address   Claim No. Claim Date                              Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                            Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                               Amount                                           Amount
Flesch, Donna
937 Schroll Dr
Forsyth, IL 62535                            3227     5/9/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
Flesch, Donna
937 Schroll Dr
Forsyth, IL 62535                            3253     5/9/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                               $188.11         $188.11
Fletes, Sofia P
8635 Juniper St #8635
Los Angeles, CA 90002                        1805    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Fletes, Sofia P
8635 Juniper St #8635
Los Angeles, CA 90002                        1834    4/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
Flintfox Consulting Group Inc
Attn: Jeffrey Hayward
5 Omega Street, Rosedale
Auckland 0632
New Zealand                                  591      3/2/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                   $438,182.22                                                                        $438,182.22
Floradale Mfg, Inc.
10880 Thienes Avenue
South El Monte, CA 91733                      86     12/20/2016    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                   $418,509.05                                                                        $418,509.05
Flores, Dora
2256 E 107th St
Los Angeles, CA 90002                        961     3/21/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
Flores, Jose S.
535 N. Alexandria Ave #102
Los Angeles, CA 90004                        2065    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                             $0.00                             $0.00
Flores, Jose S.
535 N. Alexandria Ave #102
Los Angeles, CA 90004                        2149    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Flores, Librada
2228 Eastlake Ave
Los Angeles, CA 90031                        2382    4/12/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Flores, Librada
2228 Eastlake Ave
Los Angeles, CA 90031                        2450    4/12/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Flores, Simon
6140 Marbrisa Ave
Huntington Park, CA 90255                    2360    4/12/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
Flores, Simon
6140 Marbrisa Ave
Huntington Park, CA 90255                    2362    4/12/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
Flug, Cana
1407 NE Brazee St.
Portland, OR 97212                           3306     6/8/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
Focus Investments Ltd
1605 BELLAIRE ST
STE 585
DENVER, CO 80222-4383                        1201     4/3/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                    $0.00                                                                               $0.00
FOCUS INVESTMENTS LTD
C/O THE LAW OFFICES OF THEODORE W. BRIN
1805 BELLAIRE ST
STE 585
DENVER, CO 80222-4383                        1084    3/28/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                    $0.00                                                                               $0.00
Foelske, Sarah
8599 Wonderland
Los Angeles, CA 90046                        170     1/23/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $137.34                                                                            $137.34
Ford, Petra
3804 N Damen Ave, Apt 1
Chicago, IL 60618                            3189     5/2/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                        $47.00                                                                             $47.00


                                                                                                       Page 56 of 202
                                                                      Case 16-12551-BLS         Doc 2329       Filed 12/23/20    Page 57 of 202



                                                                                                    Claim Register
                                                                                  In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                  Case No. 16-12551


                                                                                                                                          Current General                                  Current 503(b)(9)
                                                                                                                                                          Current Priority Current Secured                    Current Admin    Total Current
                Creditor Name and Address   Claim No. Claim Date                            Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                           Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                              Amount                                           Amount
Franchise Tax Board
Bankruptcy Section MS A340
PO Box 2952
Sacramento, CA 95812-2952                     119      1/5/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                                               $0.00
FRANCISCO, JUAN
1200 E 45TH ST
LOS ANGELES, CA 90011                         2083    4/11/2017       APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                                          $0.00                                                               $0.00
Francisco, Julio A.
PO Box 32588
Los Angeles, CA 90032                         3004    4/17/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                             $0.00                                                               $0.00
Francisco, Julio A.
PO Box 32588
Los Angeles, CA 90032                         3012    4/17/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                $0.00            $0.00
Francisco, Miriam
858 E. 87th St
Los Angeles, CA 90002                         2487    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Francisco, Miriam
858 E. 87th St
Los Angeles, CA 90002                         2500    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Franco American Textiles
1051 Monterey Pass Rd.
Monterey Park, CA 91754                        87     12/21/2016   APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                    $3,360.00                                                                           $3,360.00
Franco, Ana
1911 W 2nd St Apt # 28
Los Angeles, CA 90057                         2033    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Franco, Ana
1911 W 2nd St Apt # 28
Los Angeles, CA 90057                         2113    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Frayre, Gloria
11817 Duncan Ave
Lynwood, CA 90262                             2392    4/11/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                $0.00            $0.00
Frayre, Gloria
11817 Duncan Ave
Lynwood, CA 90262                             2784    4/11/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                             $0.00                                                               $0.00
Freightsaver
7755 Center Ave #1050
Huntington Beach, CA 92647                    105     12/28/2016   APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                    $2,103.27                                                                           $2,103.27
Freire, Diana
216 Summit Road
Mount Laurel, NJ 08054                        921     3/23/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $28.00                                                                             $28.00
Fricke, Claire
226 E 6th St #4D
New York, NY 10003                            1733    4/10/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                             $41.00                                            $41.00
Friedlander, Helene
174 Stephensburg Rd
Port Murray, NJ 07865                         578      3/2/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $25.00                                                                             $25.00
Friedman, Diane
6677 Paseo Del Norte
Unit D
Carlsbad, CA 92011                            1060    3/28/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $58.39                                                                             $58.39
Frizzell, Stacey
3266 Mandeville Canyon Rd
Los Angeles, CA 90049                         1271     4/4/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $109.50                                                                            $109.50
Frontier Communications
19 John St
Middletown, NY 10940                          1129    3/29/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                         $4,480.67                                                                           $4,480.67
Fu, Gui Ying
822 New Depot St. #306
Los Angeles, CA 90012                         1337     4/6/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00


                                                                                                     Page 57 of 202
                                                                           Case 16-12551-BLS         Doc 2329      Filed 12/23/20     Page 58 of 202



                                                                                                         Claim Register
                                                                                       In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                       Case No. 16-12551


                                                                                                                                               Current General                                  Current 503(b)(9)
                                                                                                                                                               Current Priority Current Secured                    Current Admin    Total Current
                 Creditor Name and Address       Claim No. Claim Date                            Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                                Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                   Amount                                           Amount
Fudge, William
6104 Little Joe Ct NW
Albuquerque, NM 87120                              292      2/3/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $43.13                                                                             $43.13
Fuentes, Alvaro
6420 Hood Ave Apt C
Huntington Park, CA 90255                          1207     4/3/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Fuentes, Alvaro
6420 Hood Ave Apt C
Huntington Park, CA 90255                          1228     4/3/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Fuentes, Ana M
1365 W 38th St
Los Angeles, CA 90062                              3277    5/22/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Fuentes, Ana M.
1365 W 38th St
Los Angeles, CA 90062                              3276    5/22/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Fuentes, Delmis
2011 W 41 Dr.
Los Angeles, CA 90062                              2914    4/14/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Fuentes, Delmis
2011 W 41 Dr.
Los Angeles, CA 90062                              2916    4/14/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Fuentes, Elvira
2225 S Harvard Bld # G
Los Angeles, CA 90018                              2507    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Fuentes, Elvira M
2225 S Harvard Blvd Apt G.
Los Angeles, CA 90018                              2512    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Fuentes, Milagro
2011 W 41st. Dr.
Los Angeles, CA 90062                              2908    4/14/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Fuentes, Milagro
2011 W 41st. Dr.
Los Angeles, CA 90062                              2918    4/14/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
FULTON COUNTY TAX COMMISSIONER
141 PRYOR ST STE 1113
ATLANTA, GA 30303                                  630      3/7/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                        $16,792.85                                                          $16,792.85
Fung, Lai Fan
124 S. Marengo Ave. #1
Alhambra, CA 91801                                 1658    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Fung, Lai Fan
124 S. Marengo Ave. #1
Alhambra, CA 91801                                 1879    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Furie, Lori
9151 Hazen Dr.
Beverly Hills, CA 90210                            1663    4/10/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                              $776.16         $776.16
Furumizo, Julie
13443 Carnaby Street
Cerritos, CA 90703                                 660      3/8/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                             $4.62          $50.00                                                             $54.62
G&H Textiles
1988 Camfield Avenue
Commerce, CA 90040                                  60     12/9/2016    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                  $284,405.97                                                                        $284,405.97
G.H.,A Minor Child (Michelle Horwitch, Parent)
Michelle Horwitch
233 South Carmelina Ave
Los Angeles, CA 90049                              207     1/24/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $77.20                                                                             $77.20
Gala, Anish
24525 Paseo de Toronto
Yorba Linda, CA 92887                              408     2/14/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $16.31                                                                             $16.31




                                                                                                          Page 58 of 202
                                                                       Case 16-12551-BLS           Doc 2329      Filed 12/23/20      Page 59 of 202



                                                                                                      Claim Register
                                                                                    In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                    Case No. 16-12551


                                                                                                                                            Current General                                  Current 503(b)(9)
                                                                                                                                                            Current Priority Current Secured                    Current Admin    Total Current
                Creditor Name and Address   Claim No. Claim Date                              Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                             Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                Amount                                           Amount
Galapo, Grace
1069 East 9th street
Brooklyn, NY 11230                            581      3/2/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                   $37.02                                                                             $37.02
Galdamez Portillo, Alba
1000 S. Central Av
Compton, CA 90220                             1618     4/7/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Galdamez Portillo, Alba
1000 S. Central Av
Compton, CA 90220                             1653     4/7/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
GALEANA, JESUS
1179 1/2 E 51 ST.
LOS ANGELES, CA 90011                         1449     4/7/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Galeas, Karla
6649 Darwell Ave
Bell Garden, CA 96201                         2133    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Galeas, Karla
6649 Darwell Ave
Bell Gardens, CA 90201                        2112    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Galeno, Maricela
1315 James M Wood
Apt #301
Los Angeles, CA 90015                         1906    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Galeno, Maricela
1315 James M Wood
Apt #301
Los Angeles, CA 90015                         2208    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Galka, Katrina
Arizona Opera
Artistic Department
1636 N. Central Ave.
Phoenix, AZ 85004                             1209     4/3/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $58.00                                                                             $58.00
Gallagher, Kristen
4701 Greenpoint Ave. #111
Sunnyside, NY 11104                           534     2/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $156.00                                                                            $156.00
Gallegos, Elizabeth
PO Box 49364
Los Angeles, CA 90049                         1057    3/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $72.54                                                                             $72.54
Gallehewage, Geethanjalee
10416 Oxnard St
North Hollywood, CA 91606                     2553    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                              $0.00                                                               $0.00
Gallehewage, Geethanjalee
8040 Chimineas Avenue
Reseda, CA 91335                              2528    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
GAMERO, DORA
1601 E 47TH ST APT 1
LOS ANGELES, CA 90011-4347                    3268    5/19/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
GAMERO, DORA
1601 E 47TH ST APT 1
LOS ANGELES, CA 90011-4347                    3269    5/19/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
Gammage, Claudia
150 E 93 St #2C
New York, NY 10128                            176     1/23/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $97.50                                                                             $97.50
Gammage, Edward
1404 E. 87Pl
Los Angeles, CA 90002                         925     3/21/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                              $0.00                                                               $0.00
Garcia Violeta, Maria Elena
930 S. Bonnie Brae # 232
Los Angeles, CA 90006                         1478     4/7/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00




                                                                                                        Page 59 of 202
                                                                       Case 16-12551-BLS         Doc 2329      Filed 12/23/20     Page 60 of 202



                                                                                                     Claim Register
                                                                                   In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                   Case No. 16-12551


                                                                                                                                           Current General                                  Current 503(b)(9)
                                                                                                                                                           Current Priority Current Secured                    Current Admin    Total Current
                 Creditor Name and Address   Claim No. Claim Date                            Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                            Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                               Amount                                           Amount
Garcia, Celia
7011 Bear Ave.
Bell, CA 90201                                 1539     4/6/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Garcia, Celia
7011 Bear Ave.
Bell, CA 90201                                 1541     4/6/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
GARCIA, FRANCISCA L
1723 JAMES M. WOOD BL
APT 216
LOS ANGELES, CA 90015                          1850    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
GARCIA, FRANCISCA L
1723 JAMES M. WOOD BL
APT 216
LOS ANGELES, CA 90015                          1927    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Garcia, Gonzalo
5419 Buchanan St
Los Angeles, CA 90042-2445                     914     3/20/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                             $0.00                                                               $0.00
Garcia, Jose R
4503 Clara St
SP #6
Cudahy, CA 90201                               1529     4/7/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                             $0.00            $0.00                                              $0.00
Garcia, Jose Roberto
4503 Clara St. SP. #6
Cudahy, CA 90201                               1544     4/7/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                $0.00            $0.00
Garcia, Maria Luisa
5204 King Ave
Maywood, CA 90270                              3234     5/8/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Garcia, Maria Luisa
5204 King Ave
Maywood, CA 90270                              3242     5/8/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Garcia, Obdulia Juarez
7439 Ciro St
Downey, CA 90240                               1800    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Garcia, Obdulia Juarez
7439 Ciro St
Downey, CA 90240                               1806    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Garcia, Petra
1140 E. 68th St
Los Angeles, CA 90001                          1975    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Garcia, Petra
1140 E. 68th St
Los Angeles, CA 90001                          2035    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Garcia, Petra
3714 1/2 E. Cesar E. Chavez Av
Los Angeles, CA 90063                          2055    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Garcia, Petra
3714 1/2 E. Cesar E. Chavez Av
Los Angeles, CA 90063                          2102    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
GARCIA, ROSA
539 ESTUDILLO AVE
LOS ANGELES, CA 90063                          1886    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
GARCIA, ROSA
539 ESTUDILLO AVE
LOS ANGELES, CA 90063                          2063    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Garcia, Rosa
906 W. 60th Street
Los Angeles, CA 90044                          1606    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Garcia, Rosa
906 W. 60th Street
Los Angeles, CA 90044                          1726    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00

                                                                                                      Page 60 of 202
                                                                                     Case 16-12551-BLS           Doc 2329      Filed 12/23/20      Page 61 of 202



                                                                                                                    Claim Register
                                                                                                  In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                                  Case No. 16-12551


                                                                                                                                                          Current General                                  Current 503(b)(9)
                                                                                                                                                                          Current Priority Current Secured                    Current Admin    Total Current
                Creditor Name and Address                 Claim No. Claim Date                              Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                                           Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                              Amount                                           Amount
Garcia, Sandra
1030 1/2 E Martin Luther King Blvd
Los Angeles, CA 90011                                       2405    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Garcia, Sandra
1030 1/2 E Martin Luther King Blvd
Los Angeles, CA 90011                                       2769    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Garcia, Santos Gladys
1933 Mozart Street
Los Angeles, CA 90031                                       2287    4/12/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Garcia, Santos Gladys
1933 Mozart Street
Los Angeles, CA 90031                                       2289    4/12/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                         $0.00                                                                               $0.00
GARCIA, ZOILA
706 W 50TH ST
LOS ANGELES, CA 90037                                       3017    4/17/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
GARCIA, ZOILA
706 W 50TH ST
LOS ANGELES, CA 90037                                       3042    4/17/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
GARDEN CITY GROUP, LLC
ATTN: ANGELA FERRANTE
1985 MARCUS AVENUE, SUITE 200
LAKE SUCCESS, NY 11042-2029                                 740     3/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                   $483,676.09                                                                        $483,676.09
Garuccio, Meaghan
820 N. Raymond Ave, Apt 25
Pasadena, CA 91103                                          1139    3/31/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                     $32.70                           $32.70
Gary Wong, Trustee and Sabina Wong, Trustee and Richard
Wong, Trustee
Gary Wong, Trustee
10450 Rock Creek Drive
San Diego, CA 92131                                          35     11/28/2016   APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                $7,868.00                                                                           $7,868.00
Garza Industries Inc.
1870 N Glassell St
Orange, CA 92865                                             85     12/20/2016    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                     $1,501.50                                                                           $1,501.50
Gaspar, Anita
716 S. Harvard Blvd # 124
Los Angeles, CA 90005                                       2636    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Gaspar, Anita
716 S. Harvard Blvd # 124
Los Angeles, CA 90005                                       2710    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Gaspar, Candelaria
2219 1/2 S. Central Ave
Los Angeles, CA 90011                                       1586    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Gaspar, Candelaria
2219 1/2 S. Central Ave
Los Angeles, CA 90011                                       1811    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Gee, Lydia
300 Crockett St.
Apt 105
Austin, TX 78704                                            636      3/7/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $67.12                                                                             $67.12
Gee, Yem F
837 1/4 Cleveland St.
Los Angeles, CA 90012                                       1610    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Gee, Yem F
837 1/4 Cleveland St.
Los Angeles, CA 90012                                       1665    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
GEE, YEM F.
837 1/4 Cleveland St.
Los Angeles, CA 90012                                       856     3/20/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                              $0.00                                                               $0.00




                                                                                                                      Page 61 of 202
                                                                            Case 16-12551-BLS           Doc 2329      Filed 12/23/20      Page 62 of 202



                                                                                                           Claim Register
                                                                                         In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                         Case No. 16-12551


                                                                                                                                                 Current General                                  Current 503(b)(9)
                                                                                                                                                                 Current Priority Current Secured                    Current Admin    Total Current
                Creditor Name and Address        Claim No. Claim Date                              Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                                  Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                     Amount                                           Amount
Geissinger, Laura
2086 NW Kearney St. Apt 3
Portland, OR 97209                                 426     2/15/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $58.00                                                                             $58.00
George Wyner Realty Brattle Street, LLC
Joseph S.U. Bodoff
Rubin and Rudman LLP
53 State St Lbby 1
Boston, MA 02109-3208                              3183    4/26/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                $4,481.37                                                              $0.00        $4,481.37
George Wyner Realty Brattle Street, LLC
Rubin and Rudman LLP,
Joseph S.U. Bodoff, Esq.
53 State St Lbby 1
Boston, MA 02109-3208                              3171    4/26/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)              $466,288.94                                                                        $466,288.94
Georgia Natural Gas
P.O. Box 105445
Atlanta, GA 30348                                  1258     4/4/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $190.30                                                                            $190.30
Getty, Alexander P.
2125 Broderick St
San Francisco, CA 94115                            510     2/24/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $118.01                                                                            $118.01
GGFB, LLC (DBA: Golden Green)
900 E 29th St
Los Angeles, CA 90011                              804     3/15/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                   $158,984.54                                           $663.00                      $159,647.54
GGP ALA MOANA L.L.C.
C/O GGP LIMITED PARTNERSHIP
110 NORTH WACKER DRIVE
CHICAGO, IL 60606                                  1157    3/31/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                       $0.00            $0.00
GGP ALA MOANA L.L.C.
C/O GGP LIMITED PARTNERSHIP
110 NORTH WACKER DRIVE
CHICAGO, IL 60606                                  1192    3/31/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)              $433,362.74                                                                        $433,362.74
GGP ALA MOANA L.L.C.
C/O GGP LIMITED PARTNERSHIP
110 NORTH WACKER DRIVE
CHICAGO, IL 60606                                  1196    3/31/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                $1,319.44                                                                           $1,319.44
Gianino, Laura
155 Newel St.
APT 3A
Brooklyn, NY 11222                                 1131    3/30/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                        $71.00                                                                             $71.00
Gibson, Steffanie
8317 Slate Harbor Circle
Las Vegas, NV 89128                                263     1/31/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $96.13                                                                             $96.13
Gieske, Ronit
12246 Montana Ave.
#104
Los Angeles, CA 90049                              872     3/20/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                $0.00                             $0.00
Gieske, Ronit
12046 Montana Ave. #104
Los Angeles, CA 90049                              189     1/25/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                              $200.00                          $200.00
Gieske, Ronit
12046 Montana Ave. #104
Los Angeles, CA 90049                              876     3/20/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                               $200.00         $200.00
Gildan Activewear SRL
c/o Gildan Activewear Inc.
Attn: Lindsay Matthews
600 de Maisonnelive Boulevard West, 33rd Floor
Montreal, Quebec H3A 3J2                           2364    4/11/2017      APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)                                                                                         $0.00            $0.00




                                                                                                             Page 62 of 202
                                                                                 Case 16-12551-BLS          Doc 2329      Filed 12/23/20      Page 63 of 202



                                                                                                               Claim Register
                                                                                             In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                             Case No. 16-12551


                                                                                                                                                     Current General                                  Current 503(b)(9)
                                                                                                                                                                     Current Priority Current Secured                    Current Admin    Total Current
                Creditor Name and Address       Claim No. Claim Date                                   Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                                      Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                         Amount                                           Amount
Gildan Activewear SRL
c/o Gildan Activewear Inc.
Attn: Lindsay Matthews
600 de Maisonneuve Boulevard West, 33 Floor
Montreal, QC H3A 3I2
Canada                                            2366    4/11/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                       $0.00            $0.00
Gildan Activewear SRL
c/o Gildan Activewear Inc.
Attn: Lindsay Matthews
600 de Maisonneuve Boulevard West, 33rd Floor
Montreal , QC H3A 3J2
Canada                                            2361    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
Gildan Activewear SRL
c/o Gildan Activewear Inc.
Attn: Lindsay Matthews
600 de Maisonneuve Boulevard West, 33rd Floor
Montreal, QC H3A 3J2
Canada                                            2276    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Gildan Activewear SRL
C/O Gildan Activewear Inc.
Attn: Lindsay Matthews
600 de Maisonneuvre Boulevard West
33rd Floor
Montreal, QC H3A 3J2
Canada                                            2513    4/11/2017              APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                                                                                             $0.00            $0.00
Gildan Activewear SRL
c/o Gilden Activewear Inc.
Attn: Lindsay Matthews
600 de Maisonneuve Boulevard West, 33rd Floor
Montreal, QC H3A 312
Canada                                            2351    4/11/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                                                                                   $0.00            $0.00
Girard, Adrienne
25 Ave at Port Imperial #1015
West New York, NJ 07093                           449     2/21/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                             $20.00                                                                             $20.00
Gisis, Jacob
4601 Saloma Ave.
Sherman Oaks, CA 91403                            3153    4/24/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                             $41.42                                                                             $41.42
Glascott 929 W Belmont FLP
Keil Larson attorney
35 East Wacker Drive Suite 650
Chicago, IL 60601                                 980     3/22/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                  $13,901.22       $13,901.22
Glascott 929 W Belmont FLP
Keil M Larson, attorney
35 East Wacker Drive Suite 650
Chicago, IL 60601                                 919     3/22/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)               $31,449.82                                                                          $31,449.82
Glascott 929 W. Belmont FLP
d/b/a North River Properties
Glascott & Associates
2156 N. Halstead
Chicago, IL 60614                                  74     12/15/2016              APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
Glasser, Kristen
147 Manhattan Ave
Jersey City, NJ 07307                             741     3/10/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                     $100.00         $100.00
GLAZEK, DAVID
767 FIFTH AVENUE, 12TH FLOOR
NEW YORK, NY 10153                                2771    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                            $0.00                                              $0.00




                                                                                                                 Page 63 of 202
                                                                             Case 16-12551-BLS          Doc 2329      Filed 12/23/20      Page 64 of 202



                                                                                                           Claim Register
                                                                                         In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                         Case No. 16-12551


                                                                                                                                                 Current General                                  Current 503(b)(9)
                                                                                                                                                                 Current Priority Current Secured                    Current Admin    Total Current
                Creditor Name and Address   Claim No. Claim Date                                   Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                                  Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                     Amount                                           Amount
Global Opportunities Offshore, Ltd.
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St.
New York, NY 10282                            2156    4/11/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                    $0.00                  $218,727,784.00                             $0.00 $218,727,784.00
Global Opportunities Offshore, Ltd.
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St.
New York, NY 10282                            2332    4/11/2017           APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)                                                                                         $0.00            $0.00
Global Opportunities Offshore, Ltd.
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St.
New York, NY 10282                            2380    4/11/2017              APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                          $0.00                  $218,727,784.00                             $0.00 $218,727,784.00
Global Opportunities Offshore, Ltd.
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St.
New York, NY 10282                            2427    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                  $218,727,784.00                             $0.00 $218,727,784.00
Global Opportunities Offshore, Ltd.
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St.
New York, NY 10282                            2458    4/11/2017           APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)                      $0.00                  $218,727,784.00                             $0.00 $218,727,784.00
Global Opportunities Offshore, Ltd.
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St.
New York, NY 10282                            2549    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Global Opportunities Offshore, Ltd.
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St.
New York, NY 10282                            2556    4/11/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                                                                                   $0.00            $0.00
Global Opportunities Offshore, Ltd.
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St.
New York, NY 10282                            2561    4/11/2017              APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                                                                                             $0.00            $0.00
Global Opportunities Offshore, Ltd.
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St.
New York, NY 10282                            2562    4/11/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                       $0.00            $0.00
Global Opportunities Offshore, Ltd.
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St.
New York, NY 10282                            2577    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                         $0.00                  $218,727,784.00                             $0.00 $218,727,784.00
Global Opportunities Offshore, Ltd.
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St.
New York, NY 10282                            2595    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
Global Opportunities Offshore, Ltd.
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St.
New York, NY 10282                            2615    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00

                                                                                                             Page 64 of 202
                                                                             Case 16-12551-BLS          Doc 2329      Filed 12/23/20      Page 65 of 202



                                                                                                           Claim Register
                                                                                         In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                         Case No. 16-12551


                                                                                                                                                 Current General                                  Current 503(b)(9)
                                                                                                                                                                 Current Priority Current Secured                    Current Admin    Total Current
                Creditor Name and Address   Claim No. Claim Date                                   Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                                  Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                     Amount                                           Amount
Global Opportunities Offshore, Ltd.
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St.
New York, NY 10282                            2656    4/11/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                $0.00                  $218,727,784.00                             $0.00 $218,727,784.00
Global Opportunities Offshore, Ltd.
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St.
New York, NY 10282                            2678    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
Global Opportunities Offshore, Ltd.
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St.
New York, NY 10282                            2789    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                              $0.00            $0.00
Global Opportunities, LLC
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St. 3rd Fl
New York, NY 10282                            2051    4/11/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                                                                                   $0.00            $0.00
Global Opportunities, LLC
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St. 3rd Fl
New York, NY 10282                            2138    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                  $218,727,784.00                             $0.00 $218,727,784.00
Global Opportunities, LLC
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St. 3rd Fl
New York, NY 10282                            2291    4/11/2017           APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)                      $0.00                  $218,727,784.00                             $0.00 $218,727,784.00
Global Opportunities, LLC
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St. 3rd Fl
New York, NY 10282                            2372    4/11/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                $0.00                  $218,727,784.00                             $0.00 $218,727,784.00
Global Opportunities, LLC
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St. 3rd Fl
New York, NY 10282                            2454    4/11/2017              APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                          $0.00                  $218,727,784.00                             $0.00 $218,727,784.00
Global Opportunities, LLC
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St. 3rd Fl
New York, NY 10282                            2489    4/11/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                    $0.00                  $218,727,784.00                             $0.00 $218,727,784.00
Global Opportunities, LLC
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St. 3rd Fl
New York, NY 10282                            2517    4/11/2017           APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)                                                                                         $0.00            $0.00
Global Opportunities, LLC
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St. 3rd Fl
New York, NY 10282                            2521    4/11/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                       $0.00            $0.00
Global Opportunities, LLC
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St. 3rd Fl
New York, NY 10282                            2534    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                         $0.00                  $218,727,784.00                             $0.00 $218,727,784.00

                                                                                                             Page 65 of 202
                                                                                            Case 16-12551-BLS          Doc 2329      Filed 12/23/20      Page 66 of 202



                                                                                                                          Claim Register
                                                                                                        In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                                        Case No. 16-12551


                                                                                                                                                                Current General                                  Current 503(b)(9)
                                                                                                                                                                                Current Priority Current Secured                    Current Admin    Total Current
                 Creditor Name and Address                 Claim No. Claim Date                                   Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                                                 Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                                    Amount                                           Amount
Global Opportunities, LLC
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St. 3rd Fl
New York, NY 10282                                           2548    4/11/2017              APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                                                                                             $0.00            $0.00
Global Opportunities, LLC
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St. 3rd Fl
New York, NY 10282                                           2617    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                              $0.00            $0.00
Global Opportunities, LLC
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St. 3rd Fl
New York, NY 10282                                           2647    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Global Opportunities, LLC
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St. 3rd Fl
New York, NY 10282                                           2661    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
Global Opportunities, LLC
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St. 3rd Fl
New York, NY 10282                                           2666    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
Goettl, Jennifer
550 E Weddell Drive #4205
Sunnyvale, CA 94089                                          3385    11/24/2017         APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                        $21.85                                                                             $21.85
Goldberg, Ellyn
586 Oder Avenue
Staten Island, NY 10304                                      3302     6/3/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                             $28.43                                                                             $28.43
Goldberg, Ellyn
586 Oder Avenue
Staten Island, NY 10304                                      3303     6/3/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                $28.43          $28.43
Goldberg, Robert
348 West 11th St., Apt. 4B
New York, NY 10014                                           1760    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                             $84.63                                                                             $84.63
Golden, Jacqueline
2 Ridgeview Circle
Armonk, NY 10504                                             1071    3/29/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                   $56.36                                                                             $56.36
Goldman Sachs Global Multi-Sector Credit Portfolio (Lux)
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St.
New York, NY 10282                                           2193    4/11/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                    $0.00                  $218,727,784.00                             $0.00 $218,727,784.00
Goldman Sachs Global Multi-Sector Credit Portfolio (Lux)
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St.
New York, NY 10282                                           2280    4/11/2017              APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                          $0.00                  $218,727,784.00                             $0.00 $218,727,784.00
Goldman Sachs Global Multi-Sector Credit Portfolio (Lux)
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St.
New York, NY 10282                                           2300    4/11/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                                                                                   $0.00            $0.00
Goldman Sachs Global Multi-Sector Credit Portfolio (Lux)
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St.
New York, NY 10282                                           2313    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                         $0.00                  $218,727,784.00                             $0.00 $218,727,784.00

                                                                                                                            Page 66 of 202
                                                                                            Case 16-12551-BLS          Doc 2329      Filed 12/23/20      Page 67 of 202



                                                                                                                          Claim Register
                                                                                                        In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                                        Case No. 16-12551


                                                                                                                                                                Current General                                  Current 503(b)(9)
                                                                                                                                                                                Current Priority Current Secured                    Current Admin    Total Current
                 Creditor Name and Address                 Claim No. Claim Date                                   Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                                                 Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                                    Amount                                           Amount
Goldman Sachs Global Multi-Sector Credit Portfolio (Lux)
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St.
New York, NY 10282                                           2327    4/11/2017           APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)                      $0.00                  $218,727,784.00                             $0.00 $218,727,784.00
Goldman Sachs Global Multi-Sector Credit Portfolio (Lux)
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St.
New York, NY 10282                                           2470    4/11/2017              APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                                                                                             $0.00            $0.00
Goldman Sachs Global Multi-Sector Credit Portfolio (Lux)
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St.
New York, NY 10282                                           2471    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Goldman Sachs Global Multi-Sector Credit Portfolio (Lux)
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St.
New York, NY 10282                                           2547    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                  $218,727,784.00                             $0.00 $218,727,784.00
Goldman Sachs Global Multi-Sector Credit Portfolio (Lux)
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St.
New York, NY 10282                                           2566    4/11/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                $0.00                  $218,727,784.00                             $0.00 $218,727,784.00
Goldman Sachs Global Multi-Sector Credit Portfolio (Lux)
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St.
New York, NY 10282                                           2588    4/11/2017           APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)                                                                                         $0.00            $0.00
Goldman Sachs Global Multi-Sector Credit Portfolio (Lux)
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St.
New York, NY 10282                                           2611    4/11/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                       $0.00            $0.00
Goldman Sachs Global Multi-Sector Credit Portfolio (Lux)
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St.
New York, NY 10282                                           2639    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
Goldman Sachs High Yield Floating Rate Fund
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St.
New York, NY 10282                                           2141    4/11/2017              APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                                                                                             $0.00            $0.00
Goldman Sachs High Yield Floating Rate Fund
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St.
New York, NY 10282                                           2245    4/11/2017           APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)                                                                                         $0.00            $0.00
Goldman Sachs High Yield Floating Rate Fund
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St.
New York, NY 10282                                           2374    4/11/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                    $0.00                  $218,727,784.00                             $0.00 $218,727,784.00
Goldman Sachs High Yield Floating Rate Fund
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St.
New York, NY 10282                                           2409    4/11/2017           APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)                      $0.00                  $218,727,784.00                             $0.00 $218,727,784.00

                                                                                                                            Page 67 of 202
                                                                                          Case 16-12551-BLS          Doc 2329      Filed 12/23/20      Page 68 of 202



                                                                                                                        Claim Register
                                                                                                      In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                                      Case No. 16-12551


                                                                                                                                                              Current General                                  Current 503(b)(9)
                                                                                                                                                                              Current Priority Current Secured                    Current Admin    Total Current
                 Creditor Name and Address               Claim No. Claim Date                                   Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                                               Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                                  Amount                                           Amount
Goldman Sachs High Yield Floating Rate Fund
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St.
New York, NY 10282                                         2455    4/11/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                                                                                   $0.00            $0.00
Goldman Sachs High Yield Floating Rate Fund
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St.
New York, NY 10282                                         2541    4/11/2017              APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                          $0.00                  $218,727,784.00                             $0.00 $218,727,784.00
Goldman Sachs High Yield Floating Rate Fund
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St.
New York, NY 10282                                         2570    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Goldman Sachs High Yield Floating Rate Fund
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St.
New York, NY 10282                                         2599    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                         $0.00                  $218,727,784.00                             $0.00 $218,727,784.00
Goldman Sachs High Yield Floating Rate Fund
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St.
New York, NY 10282                                         2600    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                  $218,727,784.00                             $0.00 $218,727,784.00
Goldman Sachs High Yield Floating Rate Fund
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St.
New York, NY 10282                                         2606    4/11/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                $0.00                  $218,727,784.00                             $0.00 $218,727,784.00
Goldman Sachs High Yield Floating Rate Fund
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St.
New York, NY 10282                                         2673    4/11/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                       $0.00            $0.00
Goldman Sachs High Yield Floating Rate Fund
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St.
New York, NY 10282                                         2675    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
Goldman Sachs High Yield Floating Rate Portfolio (Lux)
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St.
New York, NY 10282                                         2278    4/11/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                $0.00                  $218,727,784.00                             $0.00 $218,727,784.00
Goldman Sachs High Yield Floating Rate Portfolio (Lux)
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St.
New York, NY 10282                                         2326    4/11/2017           APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)                      $0.00                  $218,727,784.00                             $0.00 $218,727,784.00
Goldman Sachs High Yield Floating Rate Portfolio (Lux)
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St.
New York, NY 10282                                         2368    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Goldman Sachs High Yield Floating Rate Portfolio (Lux)
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St.
New York, NY 10282                                         2414    4/11/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                                                                                   $0.00            $0.00

                                                                                                                          Page 68 of 202
                                                                                    Case 16-12551-BLS           Doc 2329      Filed 12/23/20      Page 69 of 202



                                                                                                                   Claim Register
                                                                                                 In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                                 Case No. 16-12551


                                                                                                                                                         Current General                                  Current 503(b)(9)
                                                                                                                                                                         Current Priority Current Secured                    Current Admin    Total Current
                 Creditor Name and Address               Claim No. Claim Date                              Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                                          Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                             Amount                                           Amount
Goldman Sachs High Yield Floating Rate Portfolio (Lux)
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St.
New York, NY 10282                                         2421    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                         $0.00                  $218,727,784.00                             $0.00 $218,727,784.00
Goldman Sachs High Yield Floating Rate Portfolio (Lux)
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St.
New York, NY 10282                                         2525    4/11/2017      APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)                                                                                         $0.00            $0.00
Goldman Sachs High Yield Floating Rate Portfolio (Lux)
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St.
New York, NY 10282                                         2555    4/11/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                    $0.00                  $218,727,784.00                             $0.00 $218,727,784.00
Goldman Sachs High Yield Floating Rate Portfolio (Lux)
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St.
New York, NY 10282                                         2568    4/11/2017         APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                                                                                             $0.00            $0.00
Goldman Sachs High Yield Floating Rate Portfolio (Lux)
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St.
New York, NY 10282                                         2571    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
Goldman Sachs High Yield Floating Rate Portfolio (Lux)
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St.
New York, NY 10282                                         2575    4/11/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                       $0.00            $0.00
Goldman Sachs High Yield Floating Rate Portfolio (Lux)
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St.
New York, NY 10282                                         2580    4/11/2017         APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                          $0.00                  $218,727,784.00                             $0.00 $218,727,784.00
Goldman Sachs High Yield Floating Rate Portfolio (Lux)
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St.
New York, NY 10282                                         2642    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                  $218,727,784.00                             $0.00 $218,727,784.00
Goldman Sachs Lux Investment Funds
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St.
New York, NY 10282                                         2432    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                              $0.00            $0.00
Goldman Sachs Lux Investment Funds
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St.
New York, NY 10282                                         2663    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
Goldman Sachs Trust
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St.
New York, NY 10282                                         2457    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                              $0.00            $0.00
Goldman Sachs Trust
c/o Goldman Sachs Asset Management, L.P.
Attn: Jean Joseph
200 West St.
New York, NY 10282                                         2473    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00

                                                                                                                     Page 69 of 202
                                                                        Case 16-12551-BLS         Doc 2329      Filed 12/23/20     Page 70 of 202



                                                                                                      Claim Register
                                                                                    In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                    Case No. 16-12551


                                                                                                                                            Current General                                  Current 503(b)(9)
                                                                                                                                                            Current Priority Current Secured                    Current Admin    Total Current
                  Creditor Name and Address   Claim No. Claim Date                            Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                             Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                Amount                                           Amount
Golovashkina, Anastasia
2150 Oxford St. #14
Berkeley, CA 94704                              3389    11/30/2017   APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                      $150.00                                                                            $150.00
Gomez Tuch, Julio E.
1330 W 11th St.
Apt #15
Los Angeles, CA 90015                           2429    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Gomez Tuch, Julio E.
1330 W 11th St.
Apt #15
Los Angeles, CA 90015                           2739    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Gomez, Arely E
C/O Solov and Teitell, APC
1625 W. Olympic Blvd., Suite 802
Los Angeles, CA 90015                           945     3/20/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                        $0.00                                                                               $0.00
Gomez, Erick F.
1817 W. M.L. King Jr. Blvd Apt. #3
Los Angeles, CA 90062                           1901    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Gomez, Erick F.
1817 W. M.L. King Jr. Blvd Apt. #3
Los Angeles, CA 90062                           1993    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
GOMEZ, GRACIELA
1414 East 48th Place
Los Angeles, CA 90011                           793     3/14/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                             $0.00                                                               $0.00
Gomez, Juana
1526 E Kettering St
Lancaster, CA 93535                             2159    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Gomez, Juana
1526 E Kettering St
Lancaster, CA 93535                             2408    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Gomez, Lara
4315 Nenana Dr
Houston, TX 77035                               597      3/3/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $21.65                                                                             $21.65
Gomez, Maria E
1657 W. 37th Place
Los Angeles, CA 90018                           3081    4/18/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Gomez, Maria E.
1657 W. 37th Place
Los Angeles, CA 90018                           3080    4/18/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Gomez, Miguel
611 E Jenner St
Lancaster, CA 93535                             2082    4/11/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                              $0.00            $0.00
Gomez, Miguel
611 E Jenner St
Lancaster, CA 93535                             3053    4/11/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                $0.00            $0.00
Gomez, Nazario
5112 S. Central Ave.
Los Angeles, CA 90011                           1801    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Gomez, Nazario
5112 S. Central Ave.
Los Angeles, CA 90011                           2227    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Gomez, Rafael
6202 Passaic St
Huntington Park, CA 90255                       820     3/16/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                        $0.00           $0.00                                                               $0.00
Gonzalez Del Toro, Jorge Mario
5262 S. Los Toros Ave.
Pico Rivera, CA 90660                           1670     4/7/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                $0.00            $0.00
Gonzalez Del Toro, Jorge Mario
5262 S. Los Toros Ave.
Pico Rivera, CA 90660                           1847     4/7/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                $0.00            $0.00

                                                                                                       Page 70 of 202
                                                                        Case 16-12551-BLS           Doc 2329      Filed 12/23/20      Page 71 of 202



                                                                                                       Claim Register
                                                                                     In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                     Case No. 16-12551


                                                                                                                                             Current General                                  Current 503(b)(9)
                                                                                                                                                             Current Priority Current Secured                    Current Admin    Total Current
                 Creditor Name and Address   Claim No. Claim Date                              Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                              Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                 Amount                                           Amount
Gonzalez, Aimee
67-10 108th St
Apt. 3G
Forest Hills, NY 11375                         1702    4/10/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                  $180.00                                                                            $180.00
Gonzalez, Catalina Ventura
10971 S. Main St
Los Angeles, CA 90061                          1483     4/7/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Gonzalez, Ignacio Rufino
500 S. Lake St # 207
Los Angeles, CA 90057                          2501    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Gonzalez, Ignacio Rufino
500 S. Lake St #207
Los Angeles, CA 90057                          2820    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Gonzalez, Jorge
4200 BELL AVE
BELL, CA 90201-2428                            1015    3/26/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
Gonzalez, Jorge
5262 Los Toros Avenue
Pico Rivera, CA 90660                          1562     4/7/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
Gonzalez, Jose F.
7641 Saint Clair Ave.
N. Hollywood, CA 91605                         2220    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Gonzalez, Jose F.
7641 Saint Clair Ave.
N. Hollywood, CA 91605                         2229    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Gonzalez, Maria
1615 W. Adams Blvd
Los Angeles, CA 90007                          3024    4/17/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Gonzalez, Maria
1615 W. Adams Blvd
Los Angeles, CA 90007                          3029    4/17/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Gonzalez, Miguel
10502 Western Ave
Apt A
Downey, CA 90241                               3134    4/24/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Gonzalez, Miguel
10502 Western Ave
Apt A
Downey, CA 90241                               3135    4/24/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Gonzalez, Vanessa
4318 Melbourne Ave.
Los Angeles, CA 90027                          605      3/3/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $25.56                                                                             $25.56
Google Inc
c/o White & Williams LLP
7 Times Square Suite 2900
New York, NY 10036-6524                        1145    3/29/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                        $116,913.68                                                                        $116,913.68
Google Inc.
c/o White and Williams LLP
Attn: Amy E. Vulpio, Esq.
1650 Market St. Fl. 18
Philadelphia, PA 19103                         2253    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
Gordon, Sara
607 Garden Street
Hoboken, NJ 07030                              490     2/23/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $36.00                                                                             $36.00
Gorsuch, Nicole
1932 Monon St
Los Angeles, CA 90027                          451     2/21/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $57.00                                                                             $57.00
Gracia, Gonzalo
5419 Buchanan St
Los Angeles, CA 90042                          953     3/20/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00

                                                                                                         Page 71 of 202
                                                                      Case 16-12551-BLS           Doc 2329      Filed 12/23/20      Page 72 of 202



                                                                                                     Claim Register
                                                                                   In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                   Case No. 16-12551


                                                                                                                                           Current General                                  Current 503(b)(9)
                                                                                                                                                           Current Priority Current Secured                    Current Admin    Total Current
               Creditor Name and Address   Claim No. Claim Date                              Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                            Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                               Amount                                           Amount
Granados, Ana Miriam
6021 Prospect Ave.
Maywood, CA 90270                            1994    4/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00           $0.00                                                               $0.00
Granados, Ana Miriam
6021 Prospect Ave.
Maywood, CA 90270                            2016    4/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
Granik, David
8400 De Longpre Ave.
#313
West Hollywood, CA 90069                     3236     5/9/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $100.00                                                                            $100.00
Gratianne, Carolina
2690 Great Highway Apt.103
San Francisco, CA 94116                      3143    4/24/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $150.00                                                                            $150.00
Gravina, David
4367 Dawes St
San Diego, CA 92109                          786     3/14/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $25.00                                                                             $25.00
Gray, Adam
Coliseum Capital Management, LLC
105 Rowayton Ave.
Rowayton, CT 06853                           2330    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                          $2,757.32                                                              $0.00        $2,757.32
Gray, Adam
Coliseum Capital Management, LLC
105 Rowayton Ave.
Rowayton, CT 06853                           2369    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
Gray, Camille
PO Box 6376
Metairie, LA 70009                           3445    10/13/2019         APP Winddown, LLC (f/k/a American Apparel, LLC)                             $50.00                                                                             $50.00
Green Valley - Ross Partnership
William A. Van Roo, Esquire
13863 Quartergorse Drive
Grass Valley, CA 95949                       359      2/9/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)              $204,357.12                                                                        $204,357.12
Greenberg, Sharon
245 East 58th St
Apt #20 A
New York, NY 10022                           2836    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                $25.00          $25.00
Greener, Kristen
222 W. Rittenhouse Sq.
Unit 401
Philadelphia, PA 19103                       3333    7/13/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                        Unliquidated                                            $0.00                             $0.00
Grosvenor, Addison
426 W. Briar Pl. Apt 4B
Chicago, IL 60657                            1039    3/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                $74.97          $74.97
Grosvenor, Addison
426 W. Briar Pl. Apt 4B
Chicago, IL 60657                            303      2/6/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $74.97                                                                             $74.97
Grosvenor, Addison
426 W. Briar Pl. Apt 4B
Chicago, IL 60657                            1038    3/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $74.97                                                                             $74.97
GTL ROBERTSON PROPERTIES, LLC
9663 SANTA MONICA BLVD., SUITE 1265
BEVERLY HILLS, CA 90210-4304                 1626     4/7/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)              $520,978.78                                                                        $520,978.78
Guadarrama, Mana
4110 South Wall Street
Los Angeles, CA 90011                        3250     5/9/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Guan Woo, Mei Ling
412 Elmgate St.
Monterey Park, CA 91754                      902     3/20/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                              $0.00                                                               $0.00
Guan, Guiliu
3436 Alice St.
Los Angeles, CA 90065                        1398     4/6/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                              $0.00                                                               $0.00

                                                                                                       Page 72 of 202
                                                                       Case 16-12551-BLS           Doc 2329      Filed 12/23/20      Page 73 of 202



                                                                                                      Claim Register
                                                                                    In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                    Case No. 16-12551


                                                                                                                                            Current General                                  Current 503(b)(9)
                                                                                                                                                            Current Priority Current Secured                    Current Admin    Total Current
                Creditor Name and Address   Claim No. Claim Date                              Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                             Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                Amount                                           Amount
Guan, Guiliu
3436 Alice St.
Los Angeles, CA 90065                         1407     4/6/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
GUAN, QINGWEN
1700 W COLEGROVE AVE
MONTEBELLO, CA 90640                          1780     4/9/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
GUAN, QINGWEN
1700 W COLEGROVE AVE
MONTEBELLO, CA 90640                          1789     4/9/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Guan, Xiu Li
3716 Gibson Rd.
El Monte, CA 91731                            956     3/21/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                              $0.00                                                               $0.00
Guan, Xiu Li
3716 Gibson Rd.
El Monte, CA 91731                            1392     4/6/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Guan, Xiu Li
3716 Gibson Rd.
El Monte, CA 91731                            1429     4/6/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Gudino, Rosa
748 E 42nd St #4
Los Angeles, CA 90011                         3099    4/19/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
Gudino, Rosa
748 E 42nd St #4
Los Angeles, CA 90011                         3109    4/19/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Guerrero, Roberto D
11902 Highdale St
Norwalk, CA 90650-6528                        2335    4/12/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Guerrero, Roberto D
11902 Highdale St
Norwalk, CA 90650-6528                        2737    4/12/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Guevara, Fausto Sandoval
309 E 65th St.
Los Angeles, CA 90003                         2943    4/14/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                              $0.00                                                               $0.00
Guevara, Fausto Sandoval
309 E. 65th St.
Los Angeles, CA 90003                         2952    4/14/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
Guevara, Guadalupe
1454 W. 51 ST. Place
Los Angeles, CA 90062                         2106    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Guevara, Guadalupe
1454 W. 51 ST. Place
Los Angeles, CA 90062                         2215    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Guirguis, Kayla
12505 SW North Dakota St Apt 1313
Tigard, OR 97223                              3378    11/13/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                             $50.00                                                                             $50.00
Gunshor, Emily
273 Berry St.
Brooklyn, NY 11249                            400     2/14/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $73.00                                                                             $73.00
Gunshor, Emily
273 Berry Street
Brooklyn, NY 11249                            994     3/24/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                   $73.00                                                                             $73.00
Gunter, Kenneth Marshall
605 W 141St #43
New York, NY 10031                            805     3/15/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $108.00                          $108.00                                           $216.00
Gupta, Anshu
523 Broadway E Apt 659
Seattle, WA 98102                             285      2/3/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $100.82                                                                            $100.82
Gutierrez, Guillermo
672 45th Street
Oakland, CA 94609                             342      2/8/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $47.97                                                                             $47.97

                                                                                                        Page 73 of 202
                                                                       Case 16-12551-BLS           Doc 2329      Filed 12/23/20      Page 74 of 202



                                                                                                      Claim Register
                                                                                    In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                    Case No. 16-12551


                                                                                                                                            Current General                                  Current 503(b)(9)
                                                                                                                                                            Current Priority Current Secured                    Current Admin    Total Current
                Creditor Name and Address   Claim No. Claim Date                              Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                             Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                Amount                                           Amount
Guy, Kara
31-64 36th st., Apt. 1R
Astoria, NY 11106                             296      2/6/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                               $38.00                           $38.00
Guzman, Hilda
478 W. 47th St # 2
Los Angeles, CA 90037                         3006    4/17/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Guzman, Hilda
478 W. 47th St # 2
Los Angeles, CA 90037                         3007    4/17/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
H & J, Trading
Dale J. Park, Esq.
3333 Wilshire Blvd., # 320
Los Angeles, CA 90010                         158     1/18/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                    $61,314.00                                          $2,352.00                       $63,666.00
Ha, Muoi
4501 Peck Rd Apt 57
El Monte, CA 91732-1942                       2717    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Ha, Muoi
4501 Peck Rd., Apt. 57
El Monte, CA 91732-1942                       2884    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Hackett, Joffery
815 E Via Wanda Building 9
Long Beach, CA 90805                          3425     1/1/2019          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
Haddad, Manal F
21901 Gresham St
West Hills, CA 91304                          186     1/24/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                              $100.00                          $100.00
Hall, Debra
12019 SW Sylvania Ct
Portland, OR 97219                            1941    4/11/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                   $50.00          $50.00                                                            $100.00
Hall, Veronica
1834 Kofman Parkway
Alameda, CA 94502                             387     2/13/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $50.00                                                                             $50.00
Hall, Veronica
1834 Kofman Parkway
Alameda, CA 94502                             1915    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                             $50.00                                                             $50.00
Haltrecht, Karen
209 Copa de Oro Rd.
Los Angeles, CA 90077                         522     2/26/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                $58.86          $58.86
Ham, Phoi
3435 Arroyo Seco Ave.
Los Angeles, CA 90065                         2093    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Ham, Phoi
3435 Arroyo Seco Ave.
Los Angeles, CA 90065                         2237    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Hamilton, John
261 Evergreen Ave #4F
Brooklyn, NY 11221                            583      3/2/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $203.10                                                                            $203.10
Hamsher, Meredith
720 Presidio Avenue Apt 104
San Francisco, CA 94115                       595      3/3/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $48.00                                                                             $48.00
Han, Amy
4913 Glickman Ave
Temple City, CA 91780                         1360     4/6/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Han, Amy
4913 Glickman Ave
Temple City, CA 91780                         1426     4/6/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Han, Tong
4816 San Pablo Dam Rd Apt 15
El Sobrante, CA 94803                         341      2/8/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $40.12                                                                             $40.12




                                                                                                        Page 74 of 202
                                                                               Case 16-12551-BLS           Doc 2329      Filed 12/23/20      Page 75 of 202



                                                                                                              Claim Register
                                                                                            In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                            Case No. 16-12551


                                                                                                                                                    Current General                                  Current 503(b)(9)
                                                                                                                                                                    Current Priority Current Secured                    Current Admin    Total Current
                 Creditor Name and Address          Claim No. Claim Date                              Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                                     Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                        Amount                                           Amount
Han, Tong
4816 San Pablo Dam Rd Apt 15
El Sobrante, CA 94803                                 732     3/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $40.12                                                                             $40.12
HAN, TONG
4816 SAN PABLO DAM RD
APT 15
EL SOBRANTE, CA 94803                                 749     3/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                $40.12          $40.12
Handegaard, Matthew
6405 Hampshire Place
Golden Valley, MN 55427                               513     2/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
Hang, Annie
4650 Cogswell Rd
El Monte, CA 91732                                    2483    4/13/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $77.49                                                                             $77.49
Hanjin Intermodal America DBA: Hanjin Express
Attn: Sun Kim
1111 E. Watson Center Rd Unit A
Carson, CA 90745                                      592      3/2/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                    $15,325.15                                                                          $15,325.15
Hanjin Intermodal America Inc DBA: Hanjin Express
1111 E. Watson Center Rd Unit A
Carson, CA 90745                                       16     11/22/2016    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                         $0.00                                                                               $0.00
Haq, Sara
907 East Street
Carlisle , MA 01741                                   3371    10/31/2017   APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                    $0.00                                                                               $0.00
Harder, Megan
2495 Lombard St
San Francisco, CA 94123                               3228     5/9/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $56.55                                                                             $56.55
Hardy, Kathryn
200 Ashington Circle
Lake Bluff, IL 60044                                  268     1/31/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $25.00                                                                             $25.00
Hardy, Kathryn
200 Ashington Circle
Lake Bluff, IL 60044                                  1047    3/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $25.00                                                                             $25.00
Hardy, Kathryn
200 Ashington Circle
Lake Bluff, IL 60044                                  1088    3/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                $25.00          $25.00
Harford, Shania
593 Barbey St.
Brooklyn, NY 11203                                    3412    3/23/2018    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                   $58.00                                                                             $58.00
Harouni, Jessica
356 22nd Street
Santa Monica, CA 90402                                594      3/3/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $15.26                                                                             $15.26
Harris County, Et Al
John P. Dillman
Linebarger Goggan Blair & Sampson, LLP
PO Box 3064
Houston, TX 77253-3064                                 18     11/21/2016         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                               $0.00                                              $0.00
Harris County, et al.
John P. Dillman
Tara L. Grundemeier
Linebarger Goggan Blair & Sampson LLP
PO Box 3064
Houston, TX 77253-3064                                382     2/13/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
Harris County, Et Al.
Linebarger Goggan Blair & Sampson, LLP
John P. Dillman
PO Box 3064
Houston, TX 77253-3064                                3379    11/13/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
Harris, Randi Brookman
70 Washington Street #11A
Brooklyn, NY 11201                                    839     3/20/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $38.20                                                                             $38.20

                                                                                                                Page 75 of 202
                                                                        Case 16-12551-BLS           Doc 2329      Filed 12/23/20      Page 76 of 202



                                                                                                       Claim Register
                                                                                     In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                     Case No. 16-12551


                                                                                                                                             Current General                                  Current 503(b)(9)
                                                                                                                                                             Current Priority Current Secured                    Current Admin    Total Current
                 Creditor Name and Address   Claim No. Claim Date                              Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                              Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                 Amount                                           Amount
Harsono, Michelle
5936 SE Francis St
Portland, OR 97206                             551     2/28/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $26.00                                                                             $26.00
Harter, Stephanie
3140 N Sheffield Ave. #414
Chicago, IL 60657                              1320     4/5/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $59.00                                                                             $59.00
Hartford Fire Insurance Company
Bankruptcy Unit, NP-3, Hartford Plaza
Hartford, CT 06115                             106     12/28/2016         APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
Hartford Fire Insurance Company
Bankruptcy Unit, NP-3, Hartford Plaza
Hartford, CT 06115                             115     12/27/2016         APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
Harwood, Joyce
3627 Buena Park Drive
Studio City, CA 91604                          3264    5/15/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                               $152.06         $152.06
Hauser, Charlotte
341 Hancock Street
Brooklyn, NY 11216                             644      3/7/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                  $112.80                                                                            $112.80
Hawaiian Electric Company
PO Box 2750
Honolulu, HI 96840                             653      3/7/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                $2,723.89                                                                           $2,723.89
HE, XIAOQIAN
16033 75TH AVE, 2FL
FRESH MEADOWS, NY 11366                        3349    8/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
Healy, Toni
417 Beach 131st Street
Rockaway Park, NY 11694                        308      2/6/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $100.00                                                                            $100.00
Heifetz, Ariana Shirin Abadian
20 Hilliard Street
Cambridge, MA 02138                            453     2/21/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $69.00                                                                             $69.00
Heilman, David H.
611 Jersey Ave., Apt. 1
Jersey City, NJ 07302                          3413    3/21/2018          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $60.00                                                                             $60.00
Heinzen, Eva
326 Saint Johns Place
Apartment C4
Brooklyn, NY 11238                             1142    3/30/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                   $15.00                                                                             $15.00
Hendizadeh, Azam
1626 South Holt Ave.
Los Angeles, CA 90035                          1436     4/7/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                $36.99          $36.99
Hendizadeh, Azam
1626 South Holt Ave.
Los Angeles, CA 90035                          1450     4/7/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                $74.31          $74.31
Henley, Kasey
327 FOREST GROVE DR
RICHARDSON, TX 75080-1937                      604      3/5/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                  $106.09                                                                            $106.09
Herd, Kimberlee
423 Conestoga Road
St. Davids, PA 19087                           2975    4/17/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $52.00                                                                             $52.00
Herenstein, Andrew
Monarch Alternative Capital LP
535 Madison Ave.
New York, NY 10022                             2328    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
Herenstein, Andrew
Monarch Alternative Capital LP
535 Madison Ave.
New York, NY 10022                             2365    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                              $0.00            $0.00
Hernandez Padilla, Francisco
232 1/2 W. 59th Place
Los Angeles, CA 90003                          2375    4/12/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00

                                                                                                         Page 76 of 202
                                                                       Case 16-12551-BLS         Doc 2329      Filed 12/23/20     Page 77 of 202



                                                                                                     Claim Register
                                                                                   In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                   Case No. 16-12551


                                                                                                                                           Current General                                  Current 503(b)(9)
                                                                                                                                                           Current Priority Current Secured                    Current Admin    Total Current
                 Creditor Name and Address   Claim No. Claim Date                            Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                            Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                               Amount                                           Amount
Hernandez Padilla, Francisco
232 1/2 W. 59th Place
Los Angeles, CA 90003                          2691    4/12/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
HERNANDEZ, ARNULFO
1029 E. 29TH ST.
LOS ANGELES, CA 90011                          796     3/13/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
HERNANDEZ, ARNULFO
1029 E. 29TH ST.
LOS ANGELES, CA 90011                          803     3/13/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Hernandez, Elsy
1000 S Central Ave
Compton, CA 90220                              1551     4/7/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Hernandez, Elsy
1000 S Central Ave
Compton, CA 90220                              1635     4/7/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Hernandez, Ivania
969 N Mariposa Ave.
Apt. #8
Los Angeles, CA 90029                          2638    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Hernandez, Ivania Alissett
1045 Browning Blvd
Los Angeles, CA 90037                          2896    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Hernandez, Ivania Alissett
1045 Browning Blvd.
Los Angeles, CA 90037                          2893    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Hernandez, Jesus Florentino Galvez
1037 E. 54th St.
Los Angeles, CA 90011                          1528     4/7/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Hernandez, Jesus Florentino Galvez
1037 E. 54th St.
Los Angeles, CA 90011                          1558     4/7/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Hernandez, Julio Ramos
3474 E. First St #150
Los Angeles, CA 90063                          3100    4/19/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Hernandez, Katherine Olivia
475 S.W. 18 Ter
Miami, FL 33129                                566     2/27/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                       $79.18                                                                             $79.18
HERNANDEZ, MARIA G.
758 E 75TH ST
LOS ANGELES, CA 90001                          3066    4/18/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Hernandez, Maria Gloria
758 E 75
Los Angeles, CA 90001                          3067    4/18/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Hernandez, Nelly
838 E. 95th St
Los Angeles, CA 90002                          1746    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Hernandez, Nelly
838 E. 95th St
Los Angeles, CA 90002                          2196    4/10/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                             $0.00                                                               $0.00
Hernandez, Rosa
9619 ARLETA AVE
ARLETA, CA 91331-4649                          1910    4/10/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                $0.00            $0.00
Hernandez, Rosa
9619 ARLETA AVE
ARLETA, CA 91331-4649                          2097    4/10/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                             $0.00                                                               $0.00
Hernandez, Rosa Margarita
726 N. St Andrews Pl
Los Angeles, CA 90038                          2775    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00




                                                                                                      Page 77 of 202
                                                                       Case 16-12551-BLS         Doc 2329      Filed 12/23/20     Page 78 of 202



                                                                                                     Claim Register
                                                                                   In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                   Case No. 16-12551


                                                                                                                                           Current General                                  Current 503(b)(9)
                                                                                                                                                           Current Priority Current Secured                    Current Admin    Total Current
                 Creditor Name and Address   Claim No. Claim Date                            Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                            Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                               Amount                                           Amount
Hernandez, Rosa Marsarita
726 N. St Andrews Pl
Los Angeles, CA 90038                          2817    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Hernandez, Salvadora
1515 N San Fernando Rd #149
Los Angeles, CA 90065                          1470     4/7/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Hernandez, Salvadora
1515 N San Fernando Rd #149
Los Angeles, CA 90065                          1524     4/7/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Hernandez, Santos
1515 22nd St #4
Los Angeles, CA 90011                          1479     4/7/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                             $0.00                                                               $0.00
Hernandez, Santos
1515 22nd St #4
Los Angeles, CA 90011                          1568     4/7/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                $0.00            $0.00
Hernandez, Veronica Landa
723 E 105 St
Los Angeles, CA 90002                          2236    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Hernandez, Veronica Landa
723 E 105th St.
Los Angeles, CA 90002                          2230    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Hernandez, Yolanda
259 N. Union Ave #105
Los Angeles, CA 90026                          2753    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Hernandez, Yolanda
259 N. Union Ave #105
Los Angeles, CA 90026                          2788    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
High Performance Chemical Co.
14733 1/2 Garfield Ave
Paramount, CA 90723-3412                       903     3/20/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                         $6,104.00                                                                           $6,104.00
Hill, Katherine
1541 Jones Drive
Ann Arbor, MI 48105                            1123    3/30/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $33.37                                                                             $33.37
Hinh, Dinh
142 E. Emerson Ave. #A
Monterey Park, CA 91755                        927     3/22/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                             $0.00                                                               $0.00
Hinke, Chris
22 Godfrey Lane
Huntington, NY 11743                           600      3/3/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $60.00                                                                             $60.00
Hinojosa, Maria De La Luz
14202 LAS VECINAS DR
LA PUENTE, CA 91746-2608                       3105    4/19/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Hisey, Brad
1210 N Gardner St
West Hollywood, CA 90046                       528     2/27/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $28.00                                                                             $28.00
Hitex Dyeing & Finishing Inc.
355 Vineland Ave.
City of Industry , CA 91746-2321               728     3/10/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                                               $0.00
HITEX Dyeing & Finishing, Inc.
Derrick Talerico
Bosley Till Neue & Talerico LLP
12121 Wilshire Blvd., Suite 1120
Los Angeles, CA 90025                          1947    4/11/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                $0.00            $0.00
HITEX Dyeing & Finishing, Inc.
Derrick Talerico
Bosley Till Neue & Talerico LLP
12121 Wilshire Blvd., Suite 1120
Los Angeles, CA 90025                          2249    4/11/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                       $156,666.31                                             $0.00                      $156,666.31




                                                                                                      Page 78 of 202
                                                                       Case 16-12551-BLS           Doc 2329      Filed 12/23/20      Page 79 of 202



                                                                                                      Claim Register
                                                                                    In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                    Case No. 16-12551


                                                                                                                                            Current General                                  Current 503(b)(9)
                                                                                                                                                            Current Priority Current Secured                    Current Admin    Total Current
                Creditor Name and Address   Claim No. Claim Date                              Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                             Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                Amount                                           Amount
Ho, Baoy
18B Elizabeth Street
New Brunswick, NJ 08901                       1373     4/7/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $80.00                                                                             $80.00
Ho, Baoy
18B Elizabeth Street
New Brunswick, NJ 08901                       305      2/6/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $80.00                                                                             $80.00
Ho, Johnson
39-40 Greenpoint Ave #2D
Queens, NY 11104                              479     2/22/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $40.00                                                                             $40.00
Ho, Kin Nhoc
2106 North Indiana Ave.
Los Angeles, CA 90032                         1155    3/31/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                              $0.00                                                               $0.00
Hodovsky, Devon
1702 Stewart Pl
Nashville, TN 37203                           185     1/24/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                             $85.41                                                             $85.41
Holaday, Allison
43B Church Street
Westborough, MA 01581                         3344    7/31/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                   $30.00                                                                             $30.00
Holland, Chloe
4141 SW 40th Pl
Portland, OR 97221                            414     2/14/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $23.93                                                                             $23.93
Hollowed, Madolyn
4728 89th Ave. SE
Mercer Island, WA 98040                       475     2/22/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $27.97                                                                             $27.97
Holstad, James
3955 SE Madison St.
Apt. 1
Portland, OR 97214                            3172    4/26/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                   $43.00                                                                             $43.00
Holt, Robert
55 Grattan St
San Francisco, CA 94117                       196     1/24/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $23.93                                                                             $23.93
Hopkinson, Lauren
596 Washington Ave, Apartment 2B
Brooklyn, NY 11238                            1199     4/3/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $40.00                                                                             $40.00
Hor, Selene
1659 Mohawk St. #11
Los Angeles, CA 90026                         3005    4/17/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                         $0.00                                                                               $0.00
Hor, Selene
1659 Mohawk St. #11
Los Angeles, CA 90026                         3018    4/17/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Hosta, Donny
4344 West 211th St.
Fairview Park, OH 44126                       1711    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $50.00                                                                             $50.00
Hosta, Donny
4344 West 211th St.
Fairview Park, OH 44126                       1713    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $50.00                                                                             $50.00
Hosta, Donny
4344 West 211th St.
Fairview Park, OH 44126                       1715    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $50.00                                                                             $50.00
Hosta, Donny
4344 West 211th St.
Fairview Park, OH 44126                       1693    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $50.00                                                                             $50.00
Hosta, Donny
4344 West 211th St.
Fairview Park, OH 44126                       1697    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $50.00                                                                             $50.00
Hosta, Donny
4344 West 211th St.
Fairview Park, OH 44126                       1709    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $50.00                                                                             $50.00




                                                                                                        Page 79 of 202
                                                                     Case 16-12551-BLS           Doc 2329      Filed 12/23/20      Page 80 of 202



                                                                                                    Claim Register
                                                                                  In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                  Case No. 16-12551


                                                                                                                                          Current General                                  Current 503(b)(9)
                                                                                                                                                          Current Priority Current Secured                    Current Admin    Total Current
              Creditor Name and Address   Claim No. Claim Date                              Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                           Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                              Amount                                           Amount
Houston Press, LP
2603 La Branch
Houston, TX 77004                           1895    4/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                          $7,500.00                                                              $0.00        $7,500.00
Howe, Jennifer
642 SE 27th Ave
Portland, OR 97214                          628      3/6/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                   $25.00                                                                             $25.00
Hu, Ting
80 Dekalb Ave, 11N
Brooklyn, NY 11201                          2928    4/14/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $38.00                                                                             $38.00
Hu, Xiu Mei
832 S. 4th St. Apt# 11
Alhambra, CA 91801                          1243     4/3/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                              $0.00                                                               $0.00
Huang, Dong Mei
1514 S. 7th St
Alhambra, CA 91803                          1484    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Huang, Dong Mei
1514 S. 7th St
Alhambra, CA 91803                          1531    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Huang, Rui Xian
1202 S 9th St
Alhambra, CA 91801                          3058    4/18/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Huang, Rui Xian
1202 S. 9th St
Alhambra, CA 91801                          3101    4/18/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Huang, Ruiai
3231 PROSPECT AVE
ROSEMEAD, CA 91770-2262                     2363    4/12/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Huang, Ruiai
3231 PROSPECT AVE
ROSEMEAD, CA 91770-2262                     2367    4/12/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Huang, Xiu Zhu
3033 N. Main St
Los Angeles, CA 90031                       1472     4/7/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
Huang, Xu Zhu
3033 N Main St
Los Angeles, CA 90031                       1595     4/7/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                              $0.00                                                               $0.00
Huang, Yanqian
978 Yale St # 3
Los Angeles, CA 90012                       2023    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Huang, Yanqian
978 Yale St # 3
Los Angeles, CA 90012                       2174    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Huang, Yin Run
3837 Clark Ave.
El Monte, CA 91731                          1311     4/5/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Huang, Yin Run
3837 Clark Ave.
El Monte, CA 91731                          1322     4/5/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Huang, Yu Xia
821 N Stoneman Ave # B
Alhambra, CA 91801                          1677    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Huang, Yu Xia
821 N Stoneman Ave # B
Alhambra, CA 91801                          2302    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Huang, Yu Xia
821 N Stoneman Ave # B
Alhambra, CA 91801                          2340    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Huangly, Wang Fang
410 Evanwood Ave
La Puente, CA 91744                         2742    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00

                                                                                                      Page 80 of 202
                                                                                Case 16-12551-BLS          Doc 2329      Filed 12/23/20      Page 81 of 202



                                                                                                              Claim Register
                                                                                            In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                            Case No. 16-12551


                                                                                                                                                    Current General                                  Current 503(b)(9)
                                                                                                                                                                    Current Priority Current Secured                    Current Admin    Total Current
                 Creditor Name and Address     Claim No. Claim Date                                   Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                                     Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                        Amount                                           Amount
Huangly, Wang Fang
410 Evanwood Ave
La Puente, CA 91744                              2747    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
Hudepohl, Vanessa Deborah
R Frei Caneca, 313
Sao Paulo, SP 01307-001
Brazil                                           194     1/23/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                       $400.00                                                                            $400.00
Hudson 6922 Hollywood LLC
Brett D. Fallon
500 Delaware Ave., Suite 1500
P.O. Box 1347
Wilmington, DE 19801                             3298    5/30/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                        $477,859.09                                                                        $477,859.09
Hudson 6922 Hollywood LLC
Brett D. Fallon
500 Delaware Ave., Suite 1500
P.O. Box 1347
Wilmington, DE 19801                             3299    5/30/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)              $477,859.09                                                                        $477,859.09
Hudson 6922 Hollywood LLC
Brett D. Fallon
500 Delaware Ave., Suite 1500, P.O. Box 1347
Wilmington, DE 19801                             2493    4/11/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                    $0.00                            $0.00                                              $0.00
Hudson 6922 Hollywood LLC
Morris James LLP
Brett D. Fallon
500 Delaware Avenue, Suite 1500
Wilmington, DE 19801                             2286    4/11/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                       $0.00            $0.00
Hudson, Madelyn
8017 N Wabash Ave
Portland, OR 97217                               3388    11/29/2017   APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                $0.00                                                                               $0.00
Huerth, Kimberly
2112 8TH ST NW Apt 801
Washington, DC 20001-8213                        525     2/27/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                             $61.97                                                                             $61.97
Huffman Hosiery Mills, Inc.
PO Box 186
Granite Falls, NC 28630                          1767    4/10/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                         $64,665.26                                          $4,482.28                       $69,147.54
Huffman Hosiery Mills, Inc.
PO Box 186
Granite Falls, NC 28630                          1931    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                             $0.00                             $0.00
Huffman Hosiery Mills, Inc.
PO Box 186
Granite Falls, NC 28630                          2262    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                             $0.00                             $0.00
Hughes, George S
1725 Freeman Ave
Apt# 5
Long Beach, CA 90804                             1363     4/6/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                              $0.00                                                               $0.00
HULSE, RAMEY
625 OAKLEY DRIVE
NASHVILLE, TN 37220                              1181     4/2/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                             $45.00                                                             $45.00
Human Rights Campaign
Robert Falk, General Counsel
1640 Rhode Island Avenue NW
Washington, DC 20007                              91     12/22/2016         APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                    $18,000.00                                                                          $18,000.00
Hutchins, Jeni
315 N. 12th St
Apt. 818
Philadelphia, PA 19107                           1490     4/7/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                             $82.00                                                                             $82.00
Hutchins, Theresa
1601 Acadia Harbor Place
Brandon, FL 33511                                143     1/13/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                            $121.37                                                                            $121.37


                                                                                                                Page 81 of 202
                                                                            Case 16-12551-BLS           Doc 2329      Filed 12/23/20      Page 82 of 202



                                                                                                           Claim Register
                                                                                         In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                         Case No. 16-12551


                                                                                                                                                 Current General                                  Current 503(b)(9)
                                                                                                                                                                 Current Priority Current Secured                    Current Admin    Total Current
                  Creditor Name and Address      Claim No. Claim Date                              Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                                  Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                     Amount                                           Amount
Hutchins, Theresa
1601 Acadia Harbor Place
Brandon, FL 33511                                  149     1/17/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                        $121.37                                           $121.37
Hutchins, Theresa E.
2821 Samara Dr
Tampa, FL 33618-4024                               144     1/13/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                  $121.37                                                                            $121.37
Hutchins, Theresa E.
2821 Samara Dr
Tampa, FL 33618-4024                               1273     4/4/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                               $121.37         $121.37
Hutchins, Theresa E.
2821 Samara Dr
Tampa, FL 33618-4024                               1297     4/4/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $121.37                                                                            $121.37
Huynh, An
324 E 6th Street #5
New York, NY 10003                                 1881    4/11/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                   $41.14                                                                             $41.14
Huysman, Stephen
33 Baldwin Blvd.
Bayville, NY 11709                                 3411    3/15/2018          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $50.00                                                                             $50.00
Hwang, Suyeon
162 N State St., Room 1020
Chicago, IL 60601                                  774     3/13/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $97.02                                                                             $97.02
Hy, Cindy S
3545 1/2 El Sereno Avenue
Los Angeles, CA 90032                              1687     4/8/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
HYDEN YOO, INC.
110 E 9TH ST STE B485
LOS ANGELES, CA 90079-3485                         1293     4/4/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                    $63,071.95                                                              $0.00       $63,071.95
HYDEN YOO, INC.
110 E 9TH ST STE B485
LOS ANGELES, CA 90079-3485                         1298     4/4/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
I&L Weiss, LLC
c/o Jaspan Schlesinger LLP
300 Garden City Plaza
5th Floor
Garden City, NY 11530                              3255     5/8/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)            $1,010,074.40           $0.00                                         $15,895.18    $1,025,969.58
I&L Weiss, LLC
Jeff Schwartz
JJaspan Schlesinger LLP
300 Garden City Plaza
Garden City, NY 11530                              3222     5/4/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                       $0.00            $0.00
Ieong, Sio
5813 Rowland Ave
Temple City, CA 91780                              1480     4/7/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Ieong, Sio Peng
5813 Rowland Ave.
Temple City, CA 91780                              1567     4/7/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
IL Dept of Revenue
IL Dept of Revenue Bankruptcy Section
PO Box 19035
Springfield, IL 62794-9035                         3246     5/9/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                    $0.00           $0.00                                                               $0.00
IL Dept of Revenue Bankruptcy Section
PO Box 19035
Springfield, IL 62794-9035                         3420    11/13/2018   APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                  $23,903.82       $23,903.82
Illinois Department of Employment Security
33 South State Street - Bankruptcy Unit - 10th
Chicago, IL 60603                                  3418    8/21/2018    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                    $0.00           $0.00                                                               $0.00
IM, JIHYUN
777 E 31ST STREET APT 2D
BROOKLYN, NY 11210                                 1113    3/28/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $210.19                                                                            $210.19


                                                                                                             Page 82 of 202
                                                                                Case 16-12551-BLS          Doc 2329      Filed 12/23/20      Page 83 of 202



                                                                                                              Claim Register
                                                                                            In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                            Case No. 16-12551


                                                                                                                                                    Current General                                  Current 503(b)(9)
                                                                                                                                                                    Current Priority Current Secured                    Current Admin    Total Current
                Creditor Name and Address      Claim No. Claim Date                                   Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                                     Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                        Amount                                           Amount
Indemnity Insurance Company of North America
c/o Duane Morris LLP
Attn: Wendy M. Simkulak, Esq.
30 S. 17th Street
Philadelphia, PA 19103                           1565     4/7/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                $0.00                            $0.00                             $0.00            $0.00
Indemnity Insurance Company of North America
c/o Duane Morris LLP
Attn: Wendy M. Simkulak, Esq.
30 S. 17th Street
Philadelphia, PA 19103                           1574     4/7/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                            $0.00                             $0.00            $0.00
Indemnity Insurance Company of North America
c/o Duane Morris LLP
Attn: Wendy M. Simkulak, Esq.
30 S. 17th Street
Philadelphia, PA 19103                           1594     4/7/2017           APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)                      $0.00                            $0.00                             $0.00            $0.00
Indemnity Insurance Company of North America
c/o Duane Morris LLP
Attn: Wendy M. Simkulak, Esq.
30 S. 17th Street
Philadelphia, PA 19103                           1596     4/7/2017              APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                          $0.00                            $0.00                             $0.00            $0.00
Indemnity Insurance Company of North America
c/o Duane Morris LLP
Attn: Wendy M. Simkulak, Esq.
30 S. 17th Street
Philadelphia, PA 19103                           1612     4/7/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                    $0.00                            $0.00                             $0.00            $0.00
Indemnity Insurance Company of North America
c/o Duane Morris LLP
Attn: Wendy M. Simkulak, Esq.
30 S. 17th Street
Philadelphia, PA 19103                           1640     4/7/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                         $0.00                            $0.00                             $0.00            $0.00
INGENICO INC.
3025 WINDWARD PLAZA, SUITE 600
ALPHARETTA, GA 30005                             1769    4/10/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                    $0.00                                                                               $0.00
Ink Technology West Inc.
12238 Hawkins Street
Santa Fe Springs, CA 90670                       1098    3/27/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                    $33,034.34                                                                          $33,034.34
Innovative Computing Systems, Inc
Christie Franklin
3101 Bee Caves Rd, Ste 305
Austin, TX 78746                                 2040    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                         $28,105.50                                                                          $28,105.50
Inocencio, Lisandra
5108 Elderhall Avenue
Lakewood, CA 90712                               1122    3/29/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                             $88.29                                                                             $88.29
Iraheta, Blanca
124 S. Berendo
Los Angeles, CA 90004                            3211     5/2/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
Iraheta, Blanca
124 S. Berendo
Los Angeles, CA 90004                            3215     5/2/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
Iraheta, Miriam Y.
6524 Mary Ellen Av.
Van Nuys, CA 91401                               1937    4/10/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Iraheta, Miriam Y.
6524 Mary Ellen Av.
Van Nuys, CA 91401                               1981    4/10/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Irvin, Karlene
75-25 153rd Street, Apt.351
Flushing, NY 11367                               3339    7/21/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $25.00          $25.00




                                                                                                                Page 83 of 202
                                                                     Case 16-12551-BLS         Doc 2329      Filed 12/23/20     Page 84 of 202



                                                                                                   Claim Register
                                                                                 In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                 Case No. 16-12551


                                                                                                                                         Current General                                  Current 503(b)(9)
                                                                                                                                                         Current Priority Current Secured                    Current Admin    Total Current
               Creditor Name and Address   Claim No. Claim Date                            Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                          Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                             Amount                                           Amount
ISAAC, SHANTELL
930 M ST. NW APT. 114
WASHINGTON, DC 20001                         248     1/31/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $27.50                                                                             $27.50
Iscaya, Jose
427 E 82nd St Apt# 1
Los Angeles, CA 90003                        2796    4/13/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                        $0.00                                                                               $0.00
Isidoro-Martinon, Nemesio
1029 E. 28 St. Apt E.
Los Angeles, CA 90011                        1969    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Isidoro-Martinon, Nemesio
1029 E. 28 St. Apt E.
Los Angeles, CA 90011                        2002    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Islas, Aurora
5209 Glen Ellen Pl #7
Los Angeles, CA 90042                        1818    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Islas, Aurora
5209 Glen Ellen Pl #7
Los Angeles, CA 90042                        1826    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
ITALO LEATHER, INC.
146 W 21ST ST
LOS ANGELES, CA 90007-1402                   1101    3/27/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                                               $0.00
Itchop, German
932 Fraser Ave Apt. # 16
Los Angeles, CA 90022                        2813    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Itkis, Khana
503 Eastern Parkway Apt 2
Brooklyn, NY 11216                           225     1/27/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $72.00                                                                             $72.00
Ixchop, German
932 Fraser Ave - Apt 16
Los Angeles, CA 90022                        2752    4/11/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                $0.00            $0.00
Ixcoy De Morataya, Luisa E
1142 S. Ditman Ave
Los Angeles, CA 90023                        1500    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Ixcoy De Morataya, Luisa E
1142 S. Ditman Ave
Los Angeles, CA 90023                        1501    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
J Knits, Inc.
7300 Somerset Blvd.
Paramount, CA 90723                          280      2/2/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                   $10,434.59                                                                          $10,434.59
J&L SEWING MACHINES
4001 S BROADWAY PL
LOS ANGELES, CA 90037                        137     1/11/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                                               $0.00
J&L SEWING MACHINES
4001 S BROADWAY PL
LOS ANGELES, CA 90037                        673      3/9/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                   $37,251.85                                        $15,552.88                        $52,804.73
J., Rosa Castillo
3269 Saturn Ave # B
Huntington Park, CA 90255                    2505    4/12/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
J., Rosa Castillo
3269 Saturn Ave # B
Huntington Park, CA 90255                    2873    4/12/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Jackson County Collector
Attn: Bankruptcy
415 E.12th St. Suite 100
Kansas City, MO 64106                        486     2/22/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                         $3,650.71                                                           $3,650.71
Jackson County Collector
Attn: Bankruptcy
415 E.12th St. Suite 100
Kansas City, MO 64106                        495     2/22/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                             $0.00                                                               $0.00


                                                                                                    Page 84 of 202
                                                                      Case 16-12551-BLS         Doc 2329       Filed 12/23/20    Page 85 of 202



                                                                                                    Claim Register
                                                                                  In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                  Case No. 16-12551


                                                                                                                                          Current General                                  Current 503(b)(9)
                                                                                                                                                          Current Priority Current Secured                    Current Admin    Total Current
                Creditor Name and Address   Claim No. Claim Date                            Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                           Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                              Amount                                           Amount
Jackson County Collector
Attn: Bankruptcy
415 E.12th St. Suite 100
Kansas City, MO 64106                         580     2/22/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                             $0.00                                                               $0.00
Jackson, Sarah L.
410 State St. #45
Brooklyn, NY 11217                            385     2/13/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $40.60                                                                             $40.60
Jacob, Mackenzie Paige
Bayle Jacob
1050 Harrison Street
Hollywood, FL 33019-1625                      1534    3/31/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                       $55.00                                                                             $55.00
Jacobs, Kerry
987 Estes Way
Louisville, CO 80027                          223     1/27/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $63.13                                                                             $63.13
Jaimes, Sandra Villa
2513 W. Fulcrum Pl.
Anaheim, CA 92804                             3031    4/17/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                        $0.00                                                                               $0.00
Jaimes, Sandra Villa
2513 W. Fulcrum Pl.
Anaheim, CA 92804                             3043    4/17/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Jalawan, Hanna
2395 Ternberry Ct
Tustin, CA 92782                              167     1/23/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $250.00           $0.00                                                            $250.00
Jalisco's Apparel Inc
Jeff Katofsky, Esq.
4558 Sherman Oaks Ave
Sherman Oaks, CA 91403                        134     1/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                   $27,174.82                                                                          $27,174.82
Jandres, Celida
1119 E. 61st St
Los Angeles, CA 90001                         1829    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Jandres, Celida
1119 E. 61st Street
Los Angeles, CA 90001                         1731    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Jandres, Celida
1119 East 61st Street
Los Angeles, CA 90001                         939     3/21/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                $0.00            $0.00
Jandres, Celida
1119 East 61st Street
Los Angeles, CA 90001                         975     3/21/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                                               $0.00
Janosko, Michael
1738 Haight St Apt 402
San Francisco, CA 94117                       3384    11/27/2017   APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                        $0.00                                                                               $0.00
JARAMILLO, JOSE
1342 E 70TH ST APT C
LOS ANGELES, CA 90001                         2756    4/11/2017       APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                                                                                             $0.00            $0.00
JARAMILLO, JOSE
1342 E 70TH ST APT C
LOS ANGELES, CA 90001                         2819    4/11/2017       APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                                          $0.00                                                               $0.00
Javeri, Stuti
425 East 58th Street 18E
New York, NY 10022                            822     3/16/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                      $130.65                                                                            $130.65
Javier, Chris
8490 Golden Fern Ave
Las Vegas, NV 89178                           916     3/23/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                       $11.35                                                                             $11.35
Jenner, Sarah
832 Willow Ave, Apt 2E
Hoboken, NJ 07030                             1388     4/7/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $14.00                                                                             $14.00
Jenner, Sarah
832 Willow Ave., Apt. 2E
Hoboken, NJ 07030                             438     2/16/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $178.00                                                                            $178.00

                                                                                                     Page 85 of 202
                                                                       Case 16-12551-BLS         Doc 2329      Filed 12/23/20     Page 86 of 202



                                                                                                     Claim Register
                                                                                   In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                   Case No. 16-12551


                                                                                                                                           Current General                                  Current 503(b)(9)
                                                                                                                                                           Current Priority Current Secured                    Current Admin    Total Current
                 Creditor Name and Address   Claim No. Claim Date                            Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                            Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                               Amount                                           Amount
Jeratheannard, Nicha
4106 W. Irving Park Apt 3A
Chicago, IL 60641                              746     3/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                          $85.33          $85.33
Jeratheannard, Nicha
4106 W. Irving Park, Apt. 3A
Chicago, IL 60641                              480     2/22/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $85.33                                                                             $85.33
Jeratheannard, Nicha
4106 W. Irving Park, Apt. 3A
Chicago, IL 60641                              747     3/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                       $85.33                                                                             $85.33
JIA, XIE PING
1743 GARLAND ST
POMONA, CA 91766                               957     3/22/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                             $0.00                                                               $0.00
Jiang, Liuchang
445 1/2 Solano Ave
Los Angeles , CA 90012                         1926    4/11/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                $0.00            $0.00
Jiang, Liuchang
445 1/2 Solano Ave
Los Angeles, CA 90012                          1967    4/11/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                $0.00            $0.00
Jiang, Qi Hong
431 Solano Ave. 2A
Los Angeles, CA 90012                          1222     4/3/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                                               $0.00
Jiang, Qi Hong
431 Solano Ave. 2A
Los Angeles, CA 90012                          1241     4/3/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                $0.00            $0.00
Jiang, Yingui
1002 S Atlantic Blvd. Apt. 5
Alhambra, CA 91803                             1710    4/11/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                                               $0.00
Jimenez, Alonso
950 1/2 S. Catalina St
Los Angeles, CA 90006                          695      3/9/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                $0.00            $0.00
Jimenez, Alonso
950 1/2 S. Catalina St
Los Angeles, CA 90006                          716      3/9/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                             $0.00                                                               $0.00
Jimenez, Alonso
950 1/2 S. Catalina St
Los Angeles, CA 90006                          2066    4/10/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                $0.00            $0.00
Jimenez, Alonso
950 1/2 S. Catalina St
Los Angeles, CA 90006                          2124    4/10/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                                               $0.00
Jimenez, Maria G
3914 Live Oak #102
Cudahy, CA 90201                               2043    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Jimenez, Maria G
3914 Live Oak #102
Cudahy, CA 90201                               2231    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Jimenez, Rogelio
248 N Chicago St # 2
Los Angeles, CA 90033                          1942    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Jimenez, Tomas
1633 E 84 ST
Los Angeles, CA 90001                          2004    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Jimenez, Tomas
1633 E 84 St
Los Angeles, CA 90001                          2135    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Jiminez, Rogelio
248 N Chicago St # 2
Los Angeles, CA 90033                          1944    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00




                                                                                                      Page 86 of 202
                                                                       Case 16-12551-BLS           Doc 2329      Filed 12/23/20      Page 87 of 202



                                                                                                      Claim Register
                                                                                    In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                    Case No. 16-12551


                                                                                                                                            Current General                                  Current 503(b)(9)
                                                                                                                                                            Current Priority Current Secured                    Current Admin    Total Current
                Creditor Name and Address   Claim No. Claim Date                              Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                             Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                Amount                                           Amount
JK BioScience, Inc.
Jina Kim
1926 E. Gladwick St.
Rancho Dominguez, CA 90220                     24     11/28/2016    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                     $2,900.00                                             $0.00                         $2,900.00
Johnson, Angela
PO Box 741244
Riverdale, GA 30274                           524     2/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $82.00                                                                             $82.00
Johnson, Kelsey
3301 Kearney ST
Denver , CO 80207-2133                        2618    4/13/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                   $51.66                                                                             $51.66
Johnson, Molly
229 Western Avenue
Covington, KY 41011                           329      2/7/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                        $25.00                                                                             $25.00
Johnson, Samaria
c/o Avalon Management Inc.
9171 Wilshire Blvd #320
Beverly Hills, CA 90210                       1108    3/29/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
Johnson, Samaria
c/o Avalon Management Inc.
9171 Wilshire Blvd #320
Beverly Hills, CA 90210                       1109    3/29/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
Jones Sign
Coface North America Insurance Company
50 Millstone Rd., Bldg. 100, Suite 360
East Windsor, NJ 08520                         82     12/19/2016   APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                $4,766.34                                                                           $4,766.34
JOO, HYE RYONG
16187 FIRESTONE LN
CHINO HILLS, CA 91709                         3352    8/15/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $95.92                                                                             $95.92
JOSHUA WITMYER
513 N. CROSSING DR
COLUMBIA, SC 29229                            606      3/4/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                    $0.00                                                                               $0.00
JP Newbury LLC
PO Box 230090
Boston, MA 02123-0090                         981     3/22/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
JP Newbury LLC
PO Box 230090
Boston, MA 02123-0090                         1135    3/28/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                        $451,525.86                                                                        $451,525.86
JS Apparel, Inc.
1751 E. Del Amo Blvd.
Carson, CA 90746                              806     3/15/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                   $104,422.92                                          $5,274.60                     $109,697.52
Juan Gonzalez, Ricardo
226 Belmont Ave, #6
Los Angeles, CA 90026                         2999    4/17/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Juan Gonzalez, Ricardo
226 Belmont Ave, #6
Los Angeles, CA 90026                         3001    4/17/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Juan, Jesus
1328 East 27th Street
Los Angeles, CA 90011                         1005    3/24/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                         $17,220.00                                                                          $17,220.00
Juan, Jose
521 S Union Dr. #102
LA, CA 90017                                  703      3/9/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
Juan, Jose
521 S. Union Drive Apt. # 102
Los Angeles, CA 90017                         700      3/9/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                              $0.00                                                               $0.00
JUAREZ, JUSTINO
11706 Coldbrook Ave
Apt 5
Downey, CA 90241                              874     3/20/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00           $0.00                                                               $0.00


                                                                                                        Page 87 of 202
                                                                             Case 16-12551-BLS          Doc 2329      Filed 12/23/20     Page 88 of 202



                                                                                                           Claim Register
                                                                                         In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                         Case No. 16-12551


                                                                                                                                                 Current General                                  Current 503(b)(9)
                                                                                                                                                                 Current Priority Current Secured                    Current Admin    Total Current
                Creditor Name and Address   Claim No. Claim Date                                   Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                                  Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                     Amount                                           Amount
Juarez, Justino
6043 1/2 Malabar St.
Huntington Park, CA 90255                     908     3/20/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
Juarez, Justino
6043 1/2 Malabar St.
Huntington Park, CA 90255                     2399    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
Juarez, Justino
6043 1/2 Malabar St.
Huntington Park, CA 90255                     2658    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                              $0.00                                                               $0.00
Juarez, Maria I
358 Douglas St
Los Angeles, CA 90026                         2210    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Juarez, Maria I
358 Douglas St
Los Angeles, CA 90026                         2626    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Juarez, Maximiliana
2833 Francis Ave A.P.T 303
Los Angeles, CA 90005                         2790    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Juarez, Maximiliana
2833 Francis Ave Apt 303
Los Angeles, CA 90005                         2797    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Juong, Li hong
2516 Wetherhead Dr.
Alhambra, CA 91803                            3044    4/14/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
K & P COMPANY
(GOPAT- SAXENA)
4141 E. RIVERDALE AVE
ANAHEIM, CA 92807                              56     12/6/2016               APP Winddown, LLC (f/k/a American Apparel, LLC)                                              $0.00                                                               $0.00
K & P Company
4141 E. Riverdale Ave.
Anaheim, CA 92807                             1115    3/28/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                     $3,000.00                                                              $0.00        $3,000.00
Kadoi, Hisaya
530 W 45th Street Apt 4Q
New York, NY 10036                            1105    3/28/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                             $69.00                                                                             $69.00
Kagan Trim Center
3957 S. Hill St, 2nd Floor
Los Angeles, CA 90037                          89     12/20/2016              APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
Kagan Trim Center
3957 S. Hill St, 2nd Floor
Los Angeles, CA 90037                         637      3/7/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                         $0.00                                                                               $0.00
Kagan Trim Center
3957 S. Hill St, 2nd Floor
Los Angeles, CA 90037                         639      3/7/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                       $836.00                                                              $0.00         $836.00
Kahn, Deborah
2208 Fuchsia Ave
Upland, CA 91784                              429     2/15/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                             $80.44                                                                             $80.44
Kahn, Deborah
2208 Fuchsia Avenue
Upland, CA 91784                              587      3/2/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                             $80.44                                                                             $80.44
Kalinowski, Stephanie
Rushovich Mehtani LLP (Aanand Mehtani)
5900 Wilshire Boulevard, Suite 2600
Los Angeles, CA 90036                         123      1/6/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                $0.00                                                                               $0.00
Kalinowski, Stephanie
Rushovich Mehtani LLP (Aanand Mehtani)
5900 Wilshire Boulevard, Suite 2600
Los Angeles, CA 90036                         124      1/6/2017           APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)                      $0.00                                                                               $0.00




                                                                                                             Page 88 of 202
                                                                       Case 16-12551-BLS           Doc 2329      Filed 12/23/20      Page 89 of 202



                                                                                                      Claim Register
                                                                                    In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                    Case No. 16-12551


                                                                                                                                            Current General                                  Current 503(b)(9)
                                                                                                                                                            Current Priority Current Secured                    Current Admin    Total Current
                Creditor Name and Address   Claim No. Claim Date                              Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                             Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                Amount                                           Amount
Kalinowski, Stephanie
Rushovich Mehtani LLP (Aanand Mehtani)
5900 Wilshire Boulevard, Suite 2600
Los Angeles, CA 90036                         125      1/6/2017         APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                          $0.00                                                                               $0.00
Kalinowski, Stephanie
Rushovich Mehtani LLP (Aanand Mehtani)
5900 Wilshire Boulevard, Suite 2600
Los Angeles, CA 90036                         127      1/6/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                         $0.00                                                                               $0.00
Kalinowski, Stephanie
Rushovich Mehtani LLP (Aanand Mehtani)
5900 Wilshire Boulevard, Suite 2600
Los Angeles, CA 90036                         128      1/6/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
Kalinowski, Stephanie
Rushovich Mehtani LLP (Aanand Mehtani)
5900 Wilshire Boulevard, Suite 2600
Los Angeles, CA 90036                         129      1/6/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                    $0.00                                                                               $0.00
Kalinsky, Elizabeth
541 Howell Ave.
Cincinnati, OH 45220                          523     2/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                              $61.19                                            $61.19
Kantrowitz, Sharon
19 Tor Terrace
New City, NY 10956                            1154    3/31/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $17.00                                                                             $17.00
Kaptownwala, Nafisa
Unit B, Niagara Street
Toronto, ON M5V 1C2
Canada                                         46     12/5/2016          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $929.22           $0.00            $0.00                                           $929.22
KARNIK, MEGHANA
2878 ABRAMS DR
TWINSBURG, OH 44087-3284                      736     3/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
KARNIK, MEGHANA
2878 ABRAMS DR
TWINSBURG, OH 44087-3284                      748     3/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
Katz, Jackie
9540 Sawyer Street
Los Angeles, CA 90035                         920     3/23/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $25.37                                                                             $25.37
Katz, Val
Guggenheim Commercial Real Estate Group
Michael Guggenheim
23215 Commerce Park Dr., Suite 214
Beachwood, OH 44122                           3297    5/30/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)               $41,238.00                                                                          $41,238.00
Kaufman, Ashley
100 West 94th Street
Apt 18B
New York, NY 10025                            1259     4/4/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $522.50                                                                            $522.50
Kaufmann, Erika B.
441 Lagrange Street
West Lafayette, IN 47906                      3270    5/20/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                       $146.40                                                                            $146.40
KC Photo Engraving
712 Arrow Grand Cir
Covina, CA 91722                              800     3/15/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                     $3,506.49                                           $638.74            $0.00        $4,145.23
KC Photo Engraving
712 Arrow Grand Circle
Covina, CA 91722                               21     11/25/2016         APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
KC Photo Engraving
712 Arrow Grand Circle
Covina, CA 91722                              801     3/15/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
Ke, Lizhu
25 Del Perlatto
Irvine, CA 92614                              514     2/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $42.66                                                                             $42.66


                                                                                                        Page 89 of 202
                                                                        Case 16-12551-BLS           Doc 2329      Filed 12/23/20      Page 90 of 202



                                                                                                       Claim Register
                                                                                     In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                     Case No. 16-12551


                                                                                                                                             Current General                                  Current 503(b)(9)
                                                                                                                                                             Current Priority Current Secured                    Current Admin    Total Current
                 Creditor Name and Address   Claim No. Claim Date                              Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                              Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                 Amount                                           Amount
Kelly, Debra
P.O. Box 1176
League City, TX 77574                          203     1/26/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $200.00                                                                            $200.00
Kemnitz Jr, Tom
475 St Marks Ave
Apt 7i
Brooklyn, NY 11238                             1007    3/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $37.22                                                                             $37.22
Kenny, Gary
121 Lake Road
Valley Cottage, NY 10989                       3317    6/19/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $95.00                                                                             $95.00
Keter Environmental Services
Attn: President or General Counsel
4 High Ridge Park #202
Stamford, CT 06905                             974     3/21/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                $6,759.91                                                                           $6,759.91
Keter Environmental Services, Inc.
Attn: R.Breen, Esq
4 High Ridge Park, Suite 202
Stamford, CT 06905                             966     3/21/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
Khoury, Nadia
2300 Pacific Ave #302
San Francisco, CA 94115                        631      3/6/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $84.83                                                                             $84.83
Kiani, Sara
228 Park Street #5
New Haven, CT 06511                            769     3/14/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                        $71.00                                                                             $71.00
Killoch, Alaina
2340 Kenilworth Ave
Los Angeles, CA 90039                          645      3/8/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $70.90                                                                             $70.90
Kim, Eric
17231 Highland Ave Apt 2D
Jamaica, NY 11432                              1021    3/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $74.00                                                                             $74.00
Kim, Eric
17231 Highland Ave Apt 2D
Jamaica, NY 11432                              1198    3/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $74.00                                                                             $74.00
Kim, Hyejee
30 Engle St. APT 24-1
Tenafly, NJ 07670                              1252     4/4/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                        $72.00                                                                             $72.00
Kim, Jennifer
3230 Maple Ave Apt 106
Dallas, TX 75201-1273                          2486    4/13/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                $27.56          $27.56
Kim, Jesse
165 Glenview Dr
San Francisco, CA 94131                        1642    4/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $52.20                                                                             $52.20
Kim, Jijeong
18546 Vallarta Drive
Huntington Beach, CA 92646                     992     3/23/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                       $505.44                                                                            $505.44
Kim, Niko
9361 Lubec St.
Downey, CA 90240                               247     1/31/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $10.46                                                                             $10.46
Kim, Wonjoong
110 E. 9th St.#B784
Los Angeles, CA 90079                           79     12/19/2016    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                     $3,545.96                                           $236.30                         $3,782.26
Kim, Wonjoong
110 E. 9th St.#B784
Los Angeles, CA 90079                          1064    3/28/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
Kim, Yung
1511 Amarone Place
Lutz, FL 33548                                 424     2/15/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
Kim, Yung
1511 Amarone Place
Lutz, FL 33548                                 764     3/13/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $216.87                                                                            $216.87

                                                                                                         Page 90 of 202
                                                                                            Case 16-12551-BLS           Doc 2329      Filed 12/23/20      Page 91 of 202



                                                                                                                           Claim Register
                                                                                                         In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                                         Case No. 16-12551


                                                                                                                                                                 Current General                                  Current 503(b)(9)
                                                                                                                                                                                 Current Priority Current Secured                    Current Admin    Total Current
                  Creditor Name and Address                      Claim No. Claim Date                              Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                                                  Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                                     Amount                                           Amount
Kimura-Heaney, Kimie
266 East Broadway Apt B2008
New York, NY 10002                                                 829     3/16/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                   $55.25                                                                             $55.25
Kinahan, Kimberly
3517 Asbury Street
Dallas, TX 75205                                                   470     2/22/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $97.43                                                                             $97.43
KING COUNTY TREASURY
500 4TH AVE # 600
SEATTLE, WA 98104                                                  861     3/20/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                              $0.00        $4,307.89                                          $4,307.89

King of Prussia Associates, a Pennsylvania general partnership
Simon Property Group, Inc.
225 W. Washington Street
Indianapolis, IN 46204                                             1698    4/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                         $97,138.46                                                              $0.00       $97,138.46
KING, DELORES DENISE
ATTN: THOMAS W KIELTY
4640 ADMIRALTY WAY, STE 500
MARINA DEL REY, CA 90292-6636                                      1722     4/9/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                    $0.00                                                                               $0.00
KING, DELORES DENISE
ATTN: THOMAS W KIETLY
4640 ADMIRALTY WAY, STE 500
MARINA DEL REY, CA 90292-6636                                      1779     4/9/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                         $0.00                                                                               $0.00
Kipnis, Alina
50 Columbus ave
Staten Island, NY 10304                                            1662    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                        $52.00                                                                             $52.00
Kipnis, Alina
50 Columbus Ave
Staten Island, NY 10304                                            1659    4/10/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                   $52.00                                                                             $52.00
Kitakata, Kei
32A Tulare St
Brisbane, CA 94005                                                 284      2/3/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $30.45                                                                             $30.45
Klauber, Katherine Taylor
1355 17TH ST NW APT 916
WASHINGTON, DC 20036-1941                                          507     2/24/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $32.67                                                                             $32.67
Klein Estate, Ltd.
Jackson Walker L.L.P.
Monica S. Blacker
2323 Ross Avenue, Suite 600
Dallas, TX 75201                                                   3296    5/30/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)              $155,311.44                                                                        $155,311.44
Kleinman, Jeanene
846 West 34th Street
Baltimore, MD 21211                                                907     3/23/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                        $71.02                                                                             $71.02
Kleinzweig, Lisa
1685 ROSE AVE
SANTA ROSA, CA 95407-7176                                          555     2/28/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $22.41                                                                             $22.41
Klinsky, Joseph
1558 East 29th St
Brooklyn, NY 11229                                                 892     3/20/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
KNITSOFT, INC.
DBA W&M TEXTILE
5801 S 2ND ST
VERNON, CA 90058-3403                                              831     3/17/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                         $75,113.00                                                                          $75,113.00
Koehler, Cole
4430 PRICE ST APT 106
LOS ANGELES, CA 90027-2726                                         530     2/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $30.00                                                                             $30.00
Koerber, Caitlin
655 Maryland Ave
Apt 3
Pittsburgh, PA 15232                                               1026    3/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $161.25                                                                            $161.25


                                                                                                                             Page 91 of 202
                                                                      Case 16-12551-BLS           Doc 2329      Filed 12/23/20      Page 92 of 202



                                                                                                     Claim Register
                                                                                   In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                   Case No. 16-12551


                                                                                                                                           Current General                                  Current 503(b)(9)
                                                                                                                                                           Current Priority Current Secured                    Current Admin    Total Current
               Creditor Name and Address   Claim No. Claim Date                              Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                            Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                               Amount                                           Amount
Komar Alliance LLC
PO Box 844437
Los Angeles, CA 90084                        2047    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                    $25,116.93                                          $2,400.00                       $27,516.93
Kotora, Dexton Sinclair
80 W Sierra Madre BLVD # 254
Sierra Madre, CA 91024-2434                   40     12/2/2016          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $250.00           $0.00                                                            $250.00
Krasner, Ami
1309 Silver Beach Way
Raleigh, NC 27606                            584      3/2/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $33.84                                                                             $33.84
Krok, Karli
3713 S. Paulina
Chicago, IL 60609                            2932    4/14/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $48.00                                                                             $48.00
Kroner, Carla
15301 Manor Village Lane
Rockville, MD 20853                          519     2/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                              $45.52           $45.52                           $91.04
Krueger, Philip
1340 North Dean Street Apt. 1
Chicago, IL 60622                            366     2/13/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $81.56                                                                             $81.56
Kuan, Kimberly
8 Bettys Lane
Brick, NJ 08723                              1124    3/29/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                   $39.00                                                                             $39.00
Kuan, Sandy
7648 Highcliff St.
Rosemead, CA 91770                           1904    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Kuan, Sandy
7648 Highcliff St.
Rosemead, CA 91770                           3055    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Kuang, Amy W
6051 Temple City Blvd. #B
Temple City, CA 91780                        1652     4/9/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                              $0.00                                                               $0.00
Kumarasamy, Saravanan
1765 El Vista Circle
Arcadia, CA 91006                            254      2/2/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $400.00                                                                            $400.00
Kung, Karen
2402 Virginia St.
Berkeley, CA 94709                           538     2/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $28.34                                                                             $28.34
Kunitzky, Michael
914 James St
Austin, TX 78704                             3406    2/11/2018          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $144.48                                                                            $144.48
Kushner, Cody
78 HALSEY ST APT 1R
Brooklyn, NY 11216-1933                      165     1/20/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $75.00                                                                             $75.00
L.U.F. Associates, LLC
c/o EastBanc, Inc.
3307 M Street NW, Suite 400
Washington, DC 20007                         1820    4/10/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)               $50,384.67                                                         $51,407.41     $101,792.08
L.U.F. Associates, LLC
Gregory T. DuMont
Law Office of Gregory DuMont
PO Box 1222
Annandale, VA 22003                          1661    4/10/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                       $0.00            $0.00
La Cantera Retail Limited Partnership
c/o GGP Limited Partnership
110 North Wacker Drive
Chicago, IL 60606                            1167    3/31/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                     $100.00         $100.00
LA CANTERA RETAIL LIMITED PARTNERSHIP
C/O GGP LIMITED PARTNERSHIP
110 NORTH WACKER DRIVE
CHICAGO, IL 60606                            1185    3/31/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)              $210,689.47                                                                        $210,689.47


                                                                                                       Page 92 of 202
                                                                      Case 16-12551-BLS           Doc 2329      Filed 12/23/20      Page 93 of 202



                                                                                                     Claim Register
                                                                                   In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                   Case No. 16-12551


                                                                                                                                           Current General                                  Current 503(b)(9)
                                                                                                                                                           Current Priority Current Secured                    Current Admin    Total Current
               Creditor Name and Address   Claim No. Claim Date                              Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                            Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                               Amount                                           Amount
LA Supply Co.
13700 E. Rosecrans Ave.
Santa Fe Springs, CA 90670                   588      3/2/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                         $40,040.00                                                                          $40,040.00
Lacey, Kenneth
830 Madison St. Apt 332
Hoboken, NJ 07030                            602      3/3/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $50.00                                                                             $50.00
Laclair, Mya R.
2373 4Th Army Rd
Seaside, CA 93955-8325                       343      2/8/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $50.00                                                                             $50.00
Lai, Yim Ping
3316 Larga Ave
Los Angeles, CA 90039                        1075    3/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
Lai, Yim Ping
3316 Larga Ave
Los Angeles, CA 90039                        2084    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Lai, Yim Ping
3316 Larga Ave
Los Angeles, CA 90039                        2281    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
LaJoie, Sally Ann
1838 SE Lavender Street
Portland, OR 97214                           469     2/22/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $17.00                                                                             $17.00
Lakhani, Sandhya
46 Geraldine Rd
Englewd Clfs, NJ 07632-2305                  1275     4/4/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                      $22.00          $22.00
Lam, Shere Hwe
412 S. 6th St. Apt. A
Alhambra, CA 91801                           1369     4/6/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
Lam, Shere Hwe
412 S. 6th St. Apt. A
Alhambra, CA 91801                           1406     4/6/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
LAMAR CENTRAL OUTDOOR LLC DBA
LAMAR ADVERTISING OF LOS ANGELES (VISTA)
ATTN CREDIT DEPT
PO BOX 66338
BATON ROUGE, LA 70896                        3115    4/19/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
Lamb, Kevin
262 Taaffe Pl, Apt 414
Brooklyn, NY 11205                           492     2/23/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $230.00                                                                            $230.00
Lamberg, Michelle
245 East 24th St. Apt 12A
New York , NY 10010                          198     1/24/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $56.00                                                                             $56.00
Land, Cecilia
145 E. 16th Street 18K
New York, NY 10003                           326      2/7/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $32.00                                                                             $32.00
Land, Cecilia
145 E. 16th Street 18K
New York, NY 10003                           686      3/9/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $32.00                                                                             $32.00
Lane County Tax Collector
125 E. 8th Avenue
Eugene, OR 97401                             2508    4/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                              $0.00            $0.00                                              $0.00
Lane County Tax Collector
125 E. 8th Avenue
Eugene, OR 97401                             2630    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                          $2,073.84        $2,073.84                                          $4,147.68
Lang, Katrisha
1472 Holcomb Place
Placentia, CA 92870                          3356     9/3/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                   $15.00                                                                             $15.00
Langhorn, Brennyn Lark
5 White Birch Ct.
Norwalk, CT 06851                            596      3/3/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                               $35.74                           $35.74


                                                                                                       Page 93 of 202
                                                                                        Case 16-12551-BLS           Doc 2329      Filed 12/23/20      Page 94 of 202



                                                                                                                       Claim Register
                                                                                                     In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                                     Case No. 16-12551


                                                                                                                                                             Current General                                  Current 503(b)(9)
                                                                                                                                                                             Current Priority Current Secured                    Current Admin    Total Current
                  Creditor Name and Address                  Claim No. Claim Date                              Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                                              Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                                 Amount                                           Amount
Lao, Rui Zhu
2123 Gates St
Los Angeles, CA 90031                                          2325    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Lao, Rui Zhu
2123 Gates St.
Los Angeles, CA 90031                                          2120    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Lao, Rui Zhu
2123 Gates St.
Los Angeles, CA 90031                                          2926    4/14/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Lao, Sao Leng
5470 Encinita Ave
Temple City, CA 91780                                          1744    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Lao, Sao Leng
5470 Encinita Ave
Temple City, CA 91780                                          1763    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
LAO, SAO NGAN
5470 ENCINITA AVE
TEMPLE CITY, CA 91780                                          1930    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Lao, Sao Ngan
5470 Encinita Ave
Temple City, CA 91780                                          2146    4/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                              $0.00                                                               $0.00
Lara, Benjamin
5321 S. Broadway
Apt. C
Los Angeles, CA 90037                                          2046    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Lara, Benjamin
5321 S. Broadway
Apt. C
Los Angeles, CA 90037                                          2221    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Large, Daniel
609 E Shore Dr
Ithaca, NY 14850                                               3402    1/27/2018          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $7.57                                                                               $7.57
Las Vegas North Outlets, LLC, a Delaware limited liability
company
Simon Property Group, Inc.
225 W. Washington Street
Indianapolis, IN 46204                                         1737    4/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                         $21,567.63                                                          $21,567.63
Lau, Duong
3819 Baldwin St
Los Angeles, CA 90031                                          2986    4/17/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                         $0.00                                                                               $0.00
Lau, Duong
3819 Baldwin St
Los Angeles, CA 90031                                          2989    4/17/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Lau, Henry
2707 N Bourbon St.
Orange, CA 92865                                               3374    11/5/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                       $116.64                                                                            $116.64
Lau, Louis
9310 Towne Centre Drive Unit 77
San Diego, CA 92121                                            3391    12/7/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                             $116.64                                           $116.64
Lau, Toey
16 West Woodruff Avenue
Arcadia, CA 91007                                              2390    4/10/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                   $43.60                                                                             $43.60
LAURENTI & KRUPP INC
DBA GOODS & SERVICES
37 W 28TH ST 7TH FL
NEW YORK, NY 10001-4203                                        3324    6/26/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
Lavi, Kian
1767 Page St.
APT 1
San Francisco, CA 94117                                        1891    4/11/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                   $40.00                                                                             $40.00

                                                                                                                         Page 94 of 202
                                                                             Case 16-12551-BLS           Doc 2329      Filed 12/23/20      Page 95 of 202



                                                                                                            Claim Register
                                                                                          In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                          Case No. 16-12551


                                                                                                                                                  Current General                                  Current 503(b)(9)
                                                                                                                                                                  Current Priority Current Secured                    Current Admin    Total Current
              Creditor Name and Address           Claim No. Claim Date                              Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                                   Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                      Amount                                           Amount
Lawrence, Cassandra
1959 SW Morrison St. #301
Portland, OR 97205                                  739     3/10/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                   $13.00                                                                             $13.00
Lazard, Beatrix
2625 Baker Street
San Francisco, CA 94123                             1353     4/6/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                               $306.68         $306.68
Lazaro, Jose
1065 1/2 S. Rowan Ave
Los Angeles, CA 90023                               1282     4/4/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Lazaro, Jose
1065 1/2 S. Rowan Ave
Los Angeles, CA 90023                               1299     4/4/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Lazo, Lucila
8418 Omelveny Ave
Sun Valley, CA 91352                                2061    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                              $0.00                                                               $0.00
Lazo, Lucila
8418 Omelveny Ave
Sun Valley, CA 91352                                2242    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Lazo, Lucila
8418 Omelveny Ave
Sun Valley, CA 91352                                2267    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Lazo, Lucila
8418 Omelveny Ave
Sun Valley, CA 91352                                2277    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
lBarra, Maria De La Luz
8920 Cypress Ave. Apt. L
South Gate, CA 90280                                2235    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Le, Chi
3725 S Parton St
Santa Ana, CA 92707                                 375     2/13/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $53.24                                                                             $53.24
LEAMAN, WEI
6700 ABBA LN
WRIGHTSVILLE, PA 17368                              1089    3/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $769.95                                                                            $769.95
LEANDRO BEVILACQUA MARCONDES BONIFACIO - Vendor
Account: 109231
RUA STA ISABEL, 296
AP. 401
SAO PAULO, SP 01221010
BRAZIL                                              193     1/23/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                       $400.00                                                                            $400.00
Lebron, Ana Gladys
11120 S. Osage Ave #7
Inglewood, CA 90304                                 1833    4/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
Lebron, Ana Gladys
11120 S. Osage Ave #7
Inglewood, CA 90304                                 1856    4/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                              $0.00                                                               $0.00
Ledesma, Fabiola
1637 Broadway #3
Brooklyn, NY 11207                                  3262    5/15/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
LEE & KO
JAI HYUNG LEE
HANJIN BUILDING
63 NAMDAEMUN-RO, JUNG-GU
SEOUL 04532
SOUTH KOREA                                         3440     8/6/2019          APP Winddown, LLC (f/k/a American Apparel, LLC)                         $17,000.00                                                                          $17,000.00
Lee Liu, Cui Hua
3005 W. Avenue 38
Los Angeles, CA 90065                               1973    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Lee Liu, Cui Hua
3005 W. Avenue 38
Los Angeles, CA 90065                               1999    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00

                                                                                                              Page 95 of 202
                                                                      Case 16-12551-BLS           Doc 2329      Filed 12/23/20      Page 96 of 202



                                                                                                     Claim Register
                                                                                   In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                   Case No. 16-12551


                                                                                                                                           Current General                                  Current 503(b)(9)
                                                                                                                                                           Current Priority Current Secured                    Current Admin    Total Current
               Creditor Name and Address   Claim No. Claim Date                              Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                            Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                               Amount                                           Amount
Lee, Jeffery
1970 Federal Avenue
Costa Mesa, CA 92627                         301      2/6/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $72.64                                                                             $72.64
Lee, Jeffery
1970 Federal Avenue
Costa Mesa, CA 92627                         886     3/20/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                   $72.64                                                                             $72.64
Lee, Jeffery M.
1970 Federal Ave
Costa Mesa, CA 92627                         871     3/20/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                      $72.64          $72.64
Lee, Joanne
151 Tremont Street Apt 9D
Boston, MA 02111                             1797    4/11/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                   $40.00                                                                             $40.00
Lee, Kerry-Ann
926 Montgomery Street
Brooklyn, NY 11213                           586      3/2/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                              $0.00                                                               $0.00
Lee, Kerry-Ann
926 Montgomery Street
Brooklyn, NY 11213                           590      3/2/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                             $10.00                                                             $10.00
Lee, Maggie
479 16th Ave.
San Francisco, CA 94118                      1118    3/29/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $34.88                                                                             $34.88
Lee, Miu Ngo
2705 W. Avenue 31
Los Angeles, CA 90065                        3036    4/17/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
Lee, Miu Ngo
2705 W. Avenue 31
Los Angeles, CA 90065                        3050    4/17/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                              $0.00                                                               $0.00
Lee, Peggy
345 W El Repitto Dr.
Monterey Park, CA 91754                      1543     4/7/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Lee, Peggy
345 W. El Repetto Dr.
Monterey Park, CA 91754                      1557     4/7/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Lee, Stephen
1418 Via Marguerita
Oceanside, CA 92056                          895     3/21/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                             $39.00                                                             $39.00
Legg, Jeanette
256 S Doheny Dr
Apt 2
Beverly Hills, CA 90211                      623      3/6/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $116.28                                                                            $116.28
LEI, QIU CHAN
2069 SALEROSO DRIVE
ROWLAND HEIGHTS, CA 91748                    2074    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
LEI, QIU CHAN
2069 SALEROSO DRIVE
ROWLAND HEIGHTS, CA 91748                    2140    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                              $0.00                                                               $0.00
Lei, Tommy
124 S Alhambra Ave
Monterey Park, CA 91755                      1499    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                       $475.00                                                              $0.00         $475.00
Leon, Francisco
1159 3/4 E 64th St
Los Angeles, CA 90001                        2240    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Leon, Francisco
1159 3/4 E 64th St
Los Angeles, CA 90001                        2241    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Leon, Mauro
1454 1/2 E. 50th St., Apt B
Los Angeles, CA 90011                        2764    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00




                                                                                                       Page 96 of 202
                                                                       Case 16-12551-BLS         Doc 2329      Filed 12/23/20     Page 97 of 202



                                                                                                     Claim Register
                                                                                   In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                   Case No. 16-12551


                                                                                                                                           Current General                                  Current 503(b)(9)
                                                                                                                                                           Current Priority Current Secured                    Current Admin    Total Current
                 Creditor Name and Address   Claim No. Claim Date                            Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                            Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                               Amount                                           Amount
Leon, Mauro
1454 1/2 E. 50th St., Apt B
Los Angeles, CA 90011                          2824    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Leon, Michelle Anne
1841 Winona Blvd. Apt 4
Los Angeles, CA 90027                          1267     4/4/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $124.26                                                                            $124.26
Leonard, Kimetria
4256 Ensenada Dr.
Woodland Hills, CA 91364                       442     2/17/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $50.00                                                                             $50.00
Leonick, Christopher
482 Joralemon St, Apt A4
Belleville, NJ 07109                           620      3/6/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                              $0.00                                              $0.00
Lesser, Alexandra
1475 E 2nd Ave
New York, NY 10077                             3343    7/26/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $125.00                                                                            $125.00
LEVENTIS, MARIE
2070 PALMER LN
GREEN OAKS, IL 60048                           1292     4/4/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                             $0.00            $0.00                                              $0.00
LEVENTIS, MARIE
2070 PALMER LN
GREEN OAKS, IL 60048                           1296     4/4/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                $0.00            $0.00
LEWIN, MATTHEW
39 SAINT ANDREWS RD
SEVERNA PARK, MD 21146                         1237     4/3/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                                               $0.00
Lewin, Matthew
39 St. Andrews Rd.
Severna Park, MD 21146                         1236     4/3/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                $0.00            $0.00
Lewis, Alison T
589 Flatbush Ave., #2
Brooklyn, NY 11225                             402     2/14/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $58.00                                                                             $58.00
Lewis, April C.
2553 W. Hirsch St
Chicago, IL 60622                              371     2/13/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $26.46                                                                             $26.46
Lewis, Cherie S.
11870 Santa Monica Blvd., Suite 106-366
West Los Angeles, CA 90025                     634      3/6/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $30.00                                                                             $30.00
Lewis, Jessica
1208 S. Charles Street
Baltimore, MD 21230                            868     3/21/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $18.02                                                                             $18.02
Leyden, Jacqueline
180 Broad St. Apt. 1424
Stamford, CT 06901                             797     3/15/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $80.00                                                                             $80.00
Leyva, Cristina Miranda
4238 Van Horne Av
Los Angeles, CA 90032                          1859    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Leyva, Cristina Miranda
4238 Van Horne Av
Los Angeles, CA 90032                          2012    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Leyva, Karen
2819 23rd Ave, Apt 7
Astoria, NY 11105                              3322    6/23/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                                               $0.00
Leyva, Karen
2819 23rd Ave, Apt 7
Astoria, NY 11105                              3323    6/23/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                                               $0.00
LFS Inc.
8204 Allport Ave.
Santa Fe Springs, CA 90670                     103     12/27/2016   APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                   $12,914.82                                                                          $12,914.82
Li Fu Luo
3132 Sullivan Ave
Rosemead, CA 91770                             873     3/20/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                             $0.00                                                               $0.00

                                                                                                      Page 97 of 202
                                                                        Case 16-12551-BLS         Doc 2329      Filed 12/23/20     Page 98 of 202



                                                                                                      Claim Register
                                                                                    In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                    Case No. 16-12551


                                                                                                                                            Current General                                  Current 503(b)(9)
                                                                                                                                                            Current Priority Current Secured                    Current Admin    Total Current
                  Creditor Name and Address   Claim No. Claim Date                            Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                             Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                Amount                                           Amount
Li, Ally
160 Vermont Ave
Staten Island, NY 10305                         505     2/24/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $50.00                                                                             $50.00
Li, Betty
1268 S Adams St
Glendale, CA 91205                              1254     4/4/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                             $0.00                                                               $0.00
Li, Betty
1268 S Adams St
Glendale, CA 91205                              1313     4/5/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Li, Betty
1268 S Adams St
Glendale, CA 91205                              1314     4/5/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Li, Cecilia
58 Stone Hill Drive South
Manhasset, NY 11030                             511     2/27/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $110.00                                                                            $110.00
Li, Gui Ying
16061 Sigman Street
Hacienda Heights, CA 91745                      1550     4/7/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Li, Gui Ying
16061 Sigman Street
Hacienda Heights, CA 91745                      1631     4/7/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Li, Guo Ming
3216 N Eastern Ave
Los Angeles, CA 90032                           1083    3/29/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                $0.00            $0.00
Li, Guo Ming
3216 N Eastern Ave
Los Angeles, CA 90032                           1112    3/29/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                                               $0.00
Li, Guo Ming
3216 N Eastern Ave
Los Angeles, CA 90032                           1514     4/7/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                        $0.00                                                                               $0.00
Li, Guo Ming
3216 N Eastern Ave
Los Angeles, CA 90032                           1518     4/7/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Li, Hui
143 Roselawn Pl
Los Angeles, CA 90042                           899     3/21/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Li, Mei Ling
719 North Hill Place Apt #A
Los Angeles, CA 90012                           2890    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Li, Mei Ling
719 North Hill Place, Apt. #A
Los Angeles, CA 90012                           2891    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Li, Mei Qiong
3118 Manitou Ave
Los Angeles, CA 90031                           2594    4/13/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Li, Mei Qiong
3118 Manitou Ave
Los Angeles, CA 90031                           2596    4/13/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Li, Mei Yue
1619 S. Palm Avenue
Alhambra, CA 91803                              1391     4/7/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                $0.00            $0.00
Li, Oi Wah
2338 Dorris Pl
Los Angeles, CA 90031                           1338     4/5/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Li, Oi Wah
2338 Dorris Pl
Los Angeles, CA 90031                           1356     4/5/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Li, Qi Ai
11403 Elliott Ave #H
El Monte, CA 91732                              2937    4/14/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00

                                                                                                       Page 98 of 202
                                                                       Case 16-12551-BLS         Doc 2329      Filed 12/23/20     Page 99 of 202



                                                                                                     Claim Register
                                                                                   In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                   Case No. 16-12551


                                                                                                                                           Current General                                  Current 503(b)(9)
                                                                                                                                                           Current Priority Current Secured                    Current Admin    Total Current
                 Creditor Name and Address   Claim No. Claim Date                            Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                            Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                               Amount                                           Amount
Li, Qi Ai
11403 Elliott Ave #H
El Monte, CA 91732                             2960    4/14/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Li, Shao
135 Roselawn Pl.
Los Angeles, CA 90042                          915     3/21/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Li, Shi Ru
3118 Manitou Ave
Los Angeles, CA 90031                          2616    4/13/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Li, Shi Ru
3118 Manitou Ave
Los Angeles, CA 90031                          2708    4/13/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Li, Su Ming
705 N. Grand Ave. Apt. #2
Los Angeles, CA 90012                          2298    4/12/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Li, Su Ming
705 N. Grand Ave. Apt. #2
Los Angeles, CA 90012                          2396    4/12/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Li, Xue Qin
2031 Pasadena Ave #5
Los Angeles, CA 90031                          2371    4/12/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Li, Xue Qin
2031 Pasadena Ave #5
Los Angeles, CA 90031                          2378    4/12/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Li, Xueping
2137 McPherson Ave
Los Angeles, CA 90032                          1276     4/4/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Li, Yan Xiao
2322 1/2 Eastlake Ave
Los Angeles, CA 90031                          2168    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Li, Yan Xiao
2322 1/2 Eastlake Ave
Los Angeles, CA 90031                          2452    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Li, Yanxia
115 W. Ave 44
Los Angeles, CA 90065                          964     3/23/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Liang, Chun Yan
760 N. Hill Pl #2
Los Angeles, CA 90012                          2045    4/10/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                             $0.00                                                               $0.00
Liang, Chun Yan
760 N. Hill Pl #2
Los Angeles, CA 90012                          2072    4/10/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                $0.00            $0.00
Liang, Chung Sau
9878 Rio Hondo Pkwy
El Monte, CA 91770                             1519     4/8/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Liang, Chung Sau
9878 Rio Hondo Pkwy
El Monte, CA 91770                             2108     4/8/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Liang, Wei Y
1424 Benito Ave, Apt. B
Alhambra, CA 91803                             1147    3/30/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                             $0.00                                                               $0.00
Liao, Bi Hong
2100 Graylock Ave
Monterey Park, CA 91754                        2510    4/13/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                             $0.00                                                               $0.00
Liao, Bi Hong
2100 Graylock Ave
Monterey Park, CA 91754                        2725    4/13/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                $0.00            $0.00
Liao, Si Mei
3725 Main Ave
Baldwin Park, CA 91706                         1331     4/6/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00

                                                                                                      Page 99 of 202
                                                                        Case 16-12551-BLS          Doc 2329      Filed 12/23/20       Page 100 of 202



                                                                                                       Claim Register
                                                                                     In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                     Case No. 16-12551


                                                                                                                                             Current General                                  Current 503(b)(9)
                                                                                                                                                             Current Priority Current Secured                    Current Admin    Total Current
                 Creditor Name and Address   Claim No. Claim Date                              Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                              Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                 Amount                                           Amount
Liberty Mutual Insurance
Attn: Heather Bollinger/Mail Stop 02S
PO Box 1525
Dover, NH 03821-1525                           2609    4/12/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
Liberty Property L.P.
c/o Blank Rome LLP
Attn: John Lucian, Esq.
130 N. 18 th St
Philadelphia, PA 19103                         1210    3/31/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                    $79,817.00                       $96,543.00                                       $176,360.00
Lieck, Hannah
334 Laramie Dr.
San Antonio, TX 78209                          575      3/1/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $20.98                                                                             $20.98
Lieske, Chloe
532a Henry St. #3F
Brooklyn, NY 11231                             399     2/14/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $52.00                                                                             $52.00
Lin, Jin Yun
1816 W. Commonwealth Ave.
Alhambra, CA 91803                             1982    4/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                              $0.00                                                               $0.00
Lin, Mike
156 Tiffany Ave.
San Francisco, CA 94110                        3126    4/21/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                    $0.00                                                                               $0.00
Linares, Alba M
338 W 84 St
Los Angeles, CA 90003                          2181    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Linares, Alba M
338 W 84th St
Los Angeles, CA 90003                          1913    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Lincoln Centurion Retail, LLC
c/o Rivkin Radler LLP
Attn.: Stuart I. Gordon, Matthew V. Spero
926 RXR Plaza
Uniondale, NY 11556-0926                       1104    3/28/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)            $1,113,932.35                                                                       $1,113,932.35
LINDA MORALES
13514 KEY RIDGE LN
CYPRESS, TX 77429                              2977    4/17/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                    $0.00                                                                               $0.00
Linden, Avie
c/o Hammer Galleries
32 East 67th Street
New York, NY 10065                             532     2/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $74.09                                                                             $74.09
Liou, Heidi
95 Thayer St, Apt E
New York, NY 10040                             3138    4/24/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                        $54.05                                                                             $54.05
List, Jordan
704 North Greenbrier Drive
Orange, CT 06477                               850     3/19/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                   $48.81                                                                             $48.81
Lister, Joshua
7168 Linda Trace
Reynoldsburg, OH 43068                         3119    4/20/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                          $109.05         $109.05
Little Red Robot
200 West 10th Street, Floor 1
New York, NY 10014                             241     1/30/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $541.93                                                                            $541.93
Liu, Bi Si
930 New Depot St Apt# 5
Los Angeles, CA 90012                          1244     4/3/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                              $0.00                                                               $0.00
Liu, Jin Yun
1816 W. Commonwealth Ave.
Alhambra, CA 91803                             1909    4/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
Liu, Li Yun
465 Solano Ave
Los Angeles, CA 90012                          2536    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00

                                                                                                        Page 100 of 202
                                                                     Case 16-12551-BLS         Doc 2329      Filed 12/23/20     Page 101 of 202



                                                                                                    Claim Register
                                                                                  In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                  Case No. 16-12551


                                                                                                                                          Current General                                  Current 503(b)(9)
                                                                                                                                                          Current Priority Current Secured                    Current Admin    Total Current
                Creditor Name and Address   Claim No. Claim Date                            Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                           Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                              Amount                                           Amount
Liu, Li Yun
465 Solano Ave
Los Angeles, CA 90012                         2706    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Liu, Li Yun
465 Solano Avenue
Los Angeles, CA 90012                         1431     4/6/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Liu, Lu Mei
2610 Manitou Ave
Los Angeles, CA 90031                         1724    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Liu, Lu Mei
2610 Manitou Ave
Los Angeles, CA 90031                         1725    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Liu, Youju
1013 N Citrus Ave #A2
Covina, CA 91722                              1990    4/10/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                             $0.00                                                               $0.00
Liu, Yu Ai
3412 Manitou Ave.
Los Angeles, CA 90031                         2481    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Liu, Yu Ai
3412 Manitou Ave
Los Angeles, CA 90031                         2377    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Liu, Yuan
1900 South Eads Street, Apt 831
Arlington, VA 22202                           582      3/2/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $149.11                                                                            $149.11
LIU, YUXIA
2436 Adelia Ave
S. El Monte, CA 91733                         854     3/20/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                             $0.00                                                               $0.00
LIU, YUXIA
2436 Adelia Ave
S. El Monte, CA 91733                         3176    4/26/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Liu, Yuxia
2436 Adelia Ave
S. El Monte, CA 91733                         3175    4/26/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Liwag, Nicholas
6271 San Ricardo Way
Buena Park, CA 90620                          1030    3/27/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                             $0.00                                              $0.00            $0.00
Liz Cutting Service LLC
Jeff Katofsky, Esq.
4558 Sherman Oaks Ave
Sherman Oaks, CA 91403                        133     1/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                   $18,496.20                                                                          $18,496.20
LMA SPC
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 Davis St.
Evanston, IL 60201                            2343    4/11/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                              $0.00            $0.00
LMA SPC
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 Davis St.
Evanston, IL 60201                            2560    4/11/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                $0.00            $0.00
Lo, Bing
2615 Kelburn Ave
Rosemead, CA 91770                            2704    4/11/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                             $0.00                                                               $0.00
Lo, Bing
2615 Kelburn Ave.
Rosemead, CA 91770                            2810    4/11/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                $0.00            $0.00




                                                                                                     Page 101 of 202
                                                                            Case 16-12551-BLS          Doc 2329       Filed 12/23/20      Page 102 of 202



                                                                                                           Claim Register
                                                                                         In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                         Case No. 16-12551


                                                                                                                                                 Current General                                  Current 503(b)(9)
                                                                                                                                                                 Current Priority Current Secured                    Current Admin    Total Current
                Creditor Name and Address   Claim No. Claim Date                                   Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                                  Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                     Amount                                           Amount
LO, KIMBRA
C/O EISENBERG & BAUM LLP
ATTN: ERIC BAUM, ESQ.
24 UNION SQUARE EAST 4TH FL
NEW YORK, NY 10003                            2126    4/11/2017           APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)                      $0.00                                                                               $0.00
LO, KIMBRA
C/O EISENBERG & BAUM LLP
ATTN: ERIC BAUM, ESQ.
24 UNION SQUARE EAST 4TH FL
NEW YORK, NY 10003                            2169    4/11/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                    $0.00                                                                               $0.00
LO, KIMBRA
C/O EISENBERG & BAUM LLP
ATTN: ERIC BAUM, ESQ.
24 UNION SQUARE EAST 4TH FL
NEW YORK, NY 10003                            2347    4/11/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                $0.00                                                                               $0.00
LO, KIMBRA
C/O EISENBERG & BAUM LLP
ATTN: ERIC BAUM, ESQ.
24 UNION SQUARE EAST 4TH FL
NEW YORK, NY 10003                            2349    4/11/2017              APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                          $0.00                                                                               $0.00
LO, KIMBRA
C/O EISENBERG & BAUM LLP
ATTN: ERIC BAUM, ESQ.
24 UNION SQUARE EAST 4TH FL
NEW YORK, NY 10003                            2350    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
LO, KIMBRA
C/O EISENBERG & BAUM LLP
ATTN: ERIC BAUM, ESQ.
24 UNION SQUARE EAST 4TH FL
NEW YORK, NY 10003                            2354    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                         $0.00                                                                               $0.00
Locke, Emily
206 Elm Street
Unit 204697
New Haven, CT 06520                           1019    3/27/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                             $60.23                                                                             $60.23
Loewen, Debra
N319 Highview Rd
Ixonia, WI 53036                              725     3/10/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                            $147.28                                                                            $147.28
Logility, Inc.
Contract Administration
470 East Paces Ferry Road
Atlanta, GA 30305                             1041    3/27/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                    $10,312.50                                                                          $10,312.50
Lonergan, John Guthrie
270 Homewood Road
Los Angeles, CA 90049                         570      3/1/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                        Unliquidated                                                             $0.00            $0.00
Lopez de Najarro, Maria Elena
4101 Oakwood Ave. Apt. 308
Los Angeles, CA 90004                         3011    4/17/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Lopez de Najarro, Maria Elena
4101 Oakwood Ave.
Apt. 308
Los Angeles, CA 90004                         3033    4/17/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Lopez Vasquez, Teresa D.
P.O. Box 15923
Los Angeles, CA 90015                         2151    4/10/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Lopez, Beira
1454 W. 3rd St #302
Los Angeles, CA 90017                         2867    4/14/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Lopez, Beira
1454 W. 3rd St #302
Los Angeles, CA 90017                         2901    4/14/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00

                                                                                                            Page 102 of 202
                                                                      Case 16-12551-BLS         Doc 2329      Filed 12/23/20     Page 103 of 202



                                                                                                     Claim Register
                                                                                   In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                   Case No. 16-12551


                                                                                                                                           Current General                                  Current 503(b)(9)
                                                                                                                                                           Current Priority Current Secured                    Current Admin    Total Current
                 Creditor Name and Address   Claim No. Claim Date                            Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                            Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                               Amount                                           Amount
LOPEZ, BERTILA
619 1/2 W 101 St
LOS ANGELES, CA 90044                          1919    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Lopez, Bertila
619 1/2 W. 101 St.
Los Angeles, CA 90044                          2201    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Lopez, Blanca
1101 W. 56St
Los Angeles, CA 90037                          1488     4/8/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Lopez, Blanca
1101 W. 56St
Los Angeles, CA 90037                          1629     4/8/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
LOPEZ, CAROLINE
730 DEL RIO WAY
KISSIMMEE, FL 34758                            910     3/23/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $20.23                                                                             $20.23
Lopez, Estela
6229 Albany St.
Huntington Park, CA 90255                      2053    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Lopez, Estela
6229 Albany St.
Huntington Park, CA 90255                      2161    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Lopez, Heriberto
6229 Albany St.
Huntington Park, CA 90255                      2179    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Lopez, Heriberto
6229 Albany St.
Huntington Park, CA 90255                      2225    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Lopez, Julio Francisco
711 S. Rampart Blvd. #104
Los Angeles, CA 90057                          2052    4/10/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                             $0.00                                                               $0.00
Lopez, Julio Francisco
711 S. Rampart Blvd. #104
Los Angeles, CA 90057                          2125    4/10/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                $0.00            $0.00
Lopez, Margarita
11333 Sherman Way
Sun Valley, CA 91352                           2203    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Lopez, Margarita
11333 Shermanway Ave.
Sun Valley, CA 91352                           1905    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Lopez, Maria
141 S. Union Place Apt # 1
Los Angeles, CA 90026                          2526    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Lopez, Maria A
3836 S St Andrews Pl
Los Angeles, CA 90062                          2204    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Lopez, Maria A
3836 S St Andrews Pl
Los Angeles, CA 90062                          2198    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Lopez, Obdulia
440 E. 27 St
Apt #20
Los Angeles, CA 90011                          2945    4/14/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                             $0.00                                                               $0.00
Lopez, Obdulia
440 E. 27th St
Apt # 20
Los Angeles, CA 90011                          2951    4/14/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                $0.00            $0.00
Lopez, Omar
241 W 53rd St.
Los Angeles, CA 90037                          1510     4/8/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00


                                                                                                      Page 103 of 202
                                                                                      Case 16-12551-BLS          Doc 2329      Filed 12/23/20       Page 104 of 202



                                                                                                                     Claim Register
                                                                                                   In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                                   Case No. 16-12551


                                                                                                                                                           Current General                                  Current 503(b)(9)
                                                                                                                                                                           Current Priority Current Secured                    Current Admin    Total Current
                 Creditor Name and Address                 Claim No. Claim Date                              Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                                            Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                               Amount                                           Amount
Lopez, Omar
241 W 53rd St.
Los Angeles, CA 90037                                        1517     4/8/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Lopez, Sonia Marleny
7317 Beach St
Los Angeles, CA 90001                                        2273    4/12/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Lopez, Sonia Marleny
7317 Beach St
Los Angeles, CA 90001                                        2275    4/12/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                              $0.00                                                               $0.00
Lopez, Teresa D.
P.O. Box 15923
Los Angeles, CA                                              2059    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Los Angeles County Metropolitan Transportation Authority
c/o Nossaman LLP
Attn: Allan H. Ickowitz, Esq.
777 South Figueroa Street, 34th Floor
Los Angeles, CA 90017                                        3422    11/19/2018    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                    $75,000.00                                                                          $75,000.00
Los Angeles County Treasurer and Tax Collector
PO Box 54110
Los Angeles, CA 90054-0110                                    9      11/21/2016   APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                 $6,699.90                                          $6,699.90
Los Angeles County Treasurer and Tax Collector
PO Box 54110
Los Angeles, CA 90054-0110                                    10     11/21/2016         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                             $514.57                                           $514.57
Los Angeles County Treasurer and Tax Collector
PO Box 54110
Los Angeles, CA 90054-0110                                   3359    9/19/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
Los Angeles County Treasurer and Tax Collector
PO Box 54110
Los Angeles, CA 90054-0110                                   3360    9/19/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Los Angeles County Treasurer and Tax Collector
PO Box 54110
Los Angeles, CA 90054-0110                                   3361    9/19/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                       $0.00            $0.00
Louisiana Department of Revenue
Bankruptcy Section
P O Box 66658
Baton Rouge, LA 70896                                        1341     4/6/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                       $0.00            $0.00
Louisiana Department of Revenue
Bankruptcy Section
P O Box 66658
Baton Rouge, LA 70896                                        3337    7/17/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                       $0.00            $0.00
Louisiana Department of Revenue
P.O. Box 66658
Baton Rouge, LA 70896-6658                                    55     12/6/2016    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                    $0.00           $0.00                                                               $0.00
Louisiana Department of Revenue
P.O. Box 66658
Baton Rouge, LA 70896-6658                                    69     12/13/2016   APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                    $0.00           $0.00                                                               $0.00
Louisiana Department of Revenue
P.O. Box 66658
Baton Rouge, LA 70896-6658                                   464     2/21/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                $1,901.48       $4,843.77                                                           $6,745.25
Louy, Zara
742 23rd Street
Santa Monica, CA 90402                                       445     2/17/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                             $88.31                                                             $88.31
Love, Farah
233 W 83 Street, Apt 4B
New York, NY 10024                                           750     3/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $29.20                                                                             $29.20
Low, Grace
4 Beacon Way 812
Jersey City, NJ 07304                                        290      2/3/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $28.00                                                                             $28.00




                                                                                                                      Page 104 of 202
                                                                    Case 16-12551-BLS         Doc 2329      Filed 12/23/20     Page 105 of 202



                                                                                                   Claim Register
                                                                                 In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                 Case No. 16-12551


                                                                                                                                         Current General                                  Current 503(b)(9)
                                                                                                                                                         Current Priority Current Secured                    Current Admin    Total Current
               Creditor Name and Address   Claim No. Claim Date                            Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                          Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                             Amount                                           Amount
Lowmarkup, Inc.
2640 Walnut Avenue, Unit F
Tustin, CA 92780                              64     12/13/2016   APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                    $3,394.37                                                                           $3,394.37
Lu, Jing
3251 Isabel Ave
Rosemead, CA 91770                           1027    3/27/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                             $0.00                                                               $0.00
Lu, Sally Au
4417 Van Horne Ave
Los Angeles, CA 90032                        2272    4/12/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Lu, Sally Au
4417 Van Horne Ave
Los Angeles, CA 90032                        2324    4/12/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Lucas, Daniel
2720 San Marino St.
Apt # 9A
Los Angeles, CA 90006                        2096    4/11/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                $0.00            $0.00
Lucas, Daniel
2720 San Marino St.
Apt # 9A
Los Angeles, CA 90006                        2420    4/11/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                             $0.00                                                               $0.00
Lucero, Guadalupe
970 Menlo Ave Apt 23
Los Angeles, CA 90006                        1691     4/8/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Luchsinger, Skye
2917 Whalers Cove Circle
Las Vegas, NV 89117                          338      2/8/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $188.91                                                                            $188.91
Luisjuan, Alicia
6016 1/2 Corona Ave
Huntington Park, CA 90255                    1812    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Luisjuan, Alicia
6016 1/2 Corona Ave
Huntington Park, CA 90255                    2042    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Lum, Katherine
7002 JFK Blvd. East #28I
Guttenberg, NJ 07093                         236     1/30/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $312.21                                                                            $312.21
Luo, Bi Xiang
120 Sycamore Park Dr
Los Angeles, CA 90031                        1384     4/6/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Luo, Bi Xiang
120 Sycamore Park Dr
Los Angeles, CA 90031                        1403     4/6/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Luo, Bixiang
120 Sycamore Park Dr
Los Angeles, CA 90031                        877     3/20/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                             $0.00                                                               $0.00
Luo, Liyun
1156 6th Ave, Suite 620
New York, NY 10036                           1063    3/28/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $69.00                                                                             $69.00
Luriano, Eustorgia
PO Box 50744
Los Angeles, CA 90050-0744                   940     3/20/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                $0.00            $0.00
Luu, Linda
1173 Barrington Ct.
San Jose, CA 95121                           1208     4/3/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $28.18                                                                             $28.18
LUU, MAY
7434 HELLMAN AVE
ROSEMEAD, CA 91770                           3120    4/20/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $52.32                                                                             $52.32
LUVIANO, EUSTORGIA
PO BOX 50744
LOS ANGELES, CA 90050-0744                   878     3/20/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                                               $0.00


                                                                                                    Page 105 of 202
                                                                      Case 16-12551-BLS          Doc 2329      Filed 12/23/20       Page 106 of 202



                                                                                                     Claim Register
                                                                                   In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                   Case No. 16-12551


                                                                                                                                           Current General                                  Current 503(b)(9)
                                                                                                                                                           Current Priority Current Secured                    Current Admin    Total Current
               Creditor Name and Address   Claim No. Claim Date                              Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                            Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                               Amount                                           Amount
Ly, Dung Tran
2328 Griffin Avenue
Los Angeles, CA 90031                        2025    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Ly, Dung Tran
2328 Griffin Avenue
Los Angeles, CA 90031                        2129    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Ly, Sam A
573 Lynvue Pl
Pomona, CA 91768                             1474     4/7/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                              $0.00                                                               $0.00
Ly, Sam A
573 Lynvue Pl
Pomona, CA 91768                             1614     4/7/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
Ly, Sanh N
2328 Griffin Ave
Los Angeles, CA 90031                        1735    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Ly, Sanh N
2328 Griffin Ave
Los Angeles, CA 90031                        1851    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Lykes, Esther
53 Clay St. #S207
Brooklyn, NY 11222                           982     3/24/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $20.00                                                                             $20.00
M. de Gonzalez, Micaela
7641 Saint Clair Ave.
N. Hollywood, CA 91605                       2234    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Ma, Li Juan
3458 Arroyo Seco Ave
Los Angeles, CA 90065                        1785    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Ma, Li Juan
3458 Arroyo Seco Ave
Los Angeles, CA 90065                        2147    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Ma, Queen
2520 Johnston Street
Los Angeles, CA 90031                        1781    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Ma, Queen
2520 Johnston Street
Los Angeles, CA 90031                        1928    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
MA, XING ZHEN
1830 DITMAN AVE
LOS ANGELES, CA 90032                        2947    4/14/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Ma, Yongxia
1705 S. 4th St. #B
Alhambra, CA 91803                           2109    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Ma, Yongxia
1705 S. 4th St. #B
Alhambra, CA 91803                           2312    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Mace, Katie
125 Dunnell Road, #203
Maplewood, NJ 07040                          1133    3/30/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
MACH SPEED PROPERTIES, INC.
ATTN: THOMAS POPOV
702 PATTERSON AVE.
AUSTIN, TX 78703                             2288    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                        $200,000.00                                                                        $200,000.00
Machado, Amy
432 S. Norton Ave. #310
Los Angeles, CA 90020                        1381     4/6/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $20.28                                                                             $20.28
Mach-lau, Paulina
4849 Templeton Street
Ventura, CA 93003                            1302     4/5/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                   $19.49                                                                             $19.49




                                                                                                      Page 106 of 202
                                                                       Case 16-12551-BLS          Doc 2329      Filed 12/23/20       Page 107 of 202



                                                                                                      Claim Register
                                                                                    In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                    Case No. 16-12551


                                                                                                                                            Current General                                  Current 503(b)(9)
                                                                                                                                                            Current Priority Current Secured                    Current Admin    Total Current
                Creditor Name and Address   Claim No. Claim Date                              Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                             Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                Amount                                           Amount
Macias, Maria
2819 Glenn Ave
Los Angeles, CA 90023                         2523    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Macias, Maria
2819 Glenn Ave
Los Angeles, CA 90023                         2646    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Maddox, Natalie
12503 Kenobi Ct.
Cerritos, CA 90703                            3423    11/23/2018    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                        $45.00                                                                             $45.00
Made in the USA Foundation
Attn: Joel D. Joseph, Chairman
8677 Villa La Jolla Drive
Suite 320
La Jolla, CA 92037                            163     1/18/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
Made in the USA Foundation
Attn: Joel D. Joseph, Chairman
8677 Villa La Jolla Drive
Suite 320
La Jolla, CA 92037                            164     1/18/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
Made in the USA Foundation
Attn: Joel D. Joseph, Chairman
8677 Villa La Jolla Drive
Suite 320
La Jolla, CA 92037                            215     1/20/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
Made in the USA Foundation
Attn: Joel D. Joseph, Chairman
8677 Villa La Jolla Drive
Suite 320
La Jolla, CA 92037                            690      3/9/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
MADISON GAS & ELECTRIC
PO BOX 1231
MADISON, WI 53701-1231                        851     3/20/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $318.93                                                                            $318.93
MAGALLON, ANA M.
4854 WIOTA STREET
LOS ANGELES, CA 90041                         1281     4/5/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Magana, Grace
3022 N. California Ave.
Chicago, IL 60618-7010                        260     1/30/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $45.99                                                                             $45.99
Mahdavi, Bahman
14 Windsor
Newport Beach, CA 92660                       348      2/9/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                             $28.08                                                             $28.08
Mai, Shirley
3467 1/2 Marmion Wy
Los Angeles, CA 90065                         2915    4/14/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Mai, Shirley
3467 1/2 Marmion Wy
Los Angeles, CA 90065                         2946    4/14/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Mancilla, Marta E.
1509 E. 33rd St
Los Angeles, CA 90011                         1399     4/6/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                         $0.00                                                                               $0.00
Mancilla, Marta E.
1509 E. 33rd St
Los Angeles, CA 90011                         1405     4/6/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Manhattan Associates Realty LLC
c/o Emor Management Inc.
Attn: Eytan Chissick, President
305A West 19th Street
New York, NY 10011                            3288    5/24/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)              $551,092.42                                                                        $551,092.42




                                                                                                       Page 107 of 202
                                                                            Case 16-12551-BLS          Doc 2329       Filed 12/23/20      Page 108 of 202



                                                                                                           Claim Register
                                                                                         In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                         Case No. 16-12551


                                                                                                                                                 Current General                                  Current 503(b)(9)
                                                                                                                                                                 Current Priority Current Secured                    Current Admin    Total Current
                Creditor Name and Address   Claim No. Claim Date                                   Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                                  Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                     Amount                                           Amount
Manzoni, Gloria
436A Marion St Apt #2
Brooklyn, NY 11233                            1204     4/3/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                             $15.00                                                                             $15.00
Map 98 Segregated Portfolio
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 David St.
Evanston, IL 60201                            2295    4/11/2017              APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                          $0.00                  $218,727,784.00                             $0.00 $218,727,784.00
Map 98 Segregated Portfolio
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 David St.
Evanston, IL 60201                            2297    4/11/2017           APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)                      $0.00                  $218,727,784.00                             $0.00 $218,727,784.00
Map 98 Segregated Portfolio
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 David St.
Evanston, IL 60201                            2316    4/11/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                $0.00                  $218,727,784.00                             $0.00 $218,727,784.00
Map 98 Segregated Portfolio
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 David St.
Evanston, IL 60201                            2317    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                  $218,727,784.00                             $0.00 $218,727,784.00
Map 98 Segregated Portfolio
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 David St.
Evanston, IL 60201                            2379    4/11/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                    $0.00                  $218,727,784.00                             $0.00 $218,727,784.00
Map 98 Segregated Portfolio
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 David St.
Evanston, IL 60201                            2518    4/11/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                                                                                   $0.00            $0.00
Map 98 Segregated Portfolio
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 David St.
Evanston, IL 60201                            2519    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                         $0.00                  $218,727,784.00                             $0.00 $218,727,784.00
Map 98 Segregated Portfolio
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 David St.
Evanston, IL 60201                            2550    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
Map 98 Segregated Portfolio
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 David St.
Evanston, IL 60201                            2564    4/11/2017           APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)                                                                                         $0.00            $0.00
Map 98 Segregated Portfolio
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 David St.
Evanston, IL 60201                            2586    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Map 98 Segregated Portfolio
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 David St.
Evanston, IL 60201                            2602    4/11/2017              APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                                                                                             $0.00            $0.00




                                                                                                            Page 108 of 202
                                                                                   Case 16-12551-BLS          Doc 2329      Filed 12/23/20       Page 109 of 202



                                                                                                                  Claim Register
                                                                                                In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                                Case No. 16-12551


                                                                                                                                                        Current General                                  Current 503(b)(9)
                                                                                                                                                                        Current Priority Current Secured                    Current Admin    Total Current
                 Creditor Name and Address              Claim No. Claim Date                              Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                                         Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                            Amount                                           Amount
Map 98 Segregated Portfolio
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 David St.
Evanston, IL 60201                                        2652    4/11/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                       $0.00            $0.00
Marcelo Elidio Esteves Alves - Vendor Account: 109230
Av Sao Luis 192, Apt 817
Sao Paulo, SP 01046-001
Brazil                                                    197     1/23/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                     $1,000.00                                                                           $1,000.00
Marcelo Stockler Llana - Vendor Account: 109229
Rua Capao Da Serra, 51
Sao Paulo, SP 04289-090
Brazil                                                    195     1/23/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                     $1,000.00                                                                           $1,000.00
Mariano, Yolanda
605 Orme Ave.
Los Angeles, CA 90023                                     1316     4/5/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Marietta, Anna
239 Elm Street
South Amboy, NJ 08879                                     3197    4/30/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $42.00                                                                             $42.00
Marina Graphic Center, Inc.
12901 Cerise Ave.
Hawthorne, CA 90250                                        4      11/18/2016         APP Winddown, LLC (f/k/a American Apparel, LLC)                          $1,917.31                                             $0.00                         $1,917.31
Mark & Grant Debease JT Tenants
11 Fieldstone Road
Rye, NY 10580                                             706      3/9/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Marquez, Julian
947 Lotus Circle
San Dimas, CA 91773                                       1303     4/5/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $50.00                                                                             $50.00
Marquez, Olga
10352 Weigand Ave
Los Angeles, CA 90002                                     2044    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Marquez, Olga
10352 Weigand Ave
Los Angeles, CA 90002                                     2090    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Marroquin, Aida Estela
1853 E. Poppy St.
Long Beach, CA 90805                                      1671     4/7/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00            $0.00                                              $0.00
Marroquin, Aida Estela
1853 E. Poppy St.
Long Beach, CA 90805-3105                                 1549     4/7/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Marsh USA Inc.
Attn: Larry Lehan
1166 Avenue of the Americas
New York, NY 10036                                        243     1/30/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $563.00                                                                            $563.00
Marsh USA Inc.
Attn: Larry Lehan
1166 Avenue of the Americas
New York, NY 10036                                        266     1/30/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
Marsh USA Inc.
Attn: Larry Lehan
1166 Avenue of the Americas
New York, NY 10036                                        269     1/30/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                        $205,775.00                                                                        $205,775.00
Marsh USA Inc.
Attn: Larry Lehan
1166 Avenue of the Americas
New York, NY 10036                                        720     3/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                               $990.28         $990.28
Marsh USA Inc.
Attn: Larry Lehan
1166 Avenue of the Americas
New York, NY 10036                                        721     3/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00

                                                                                                                   Page 109 of 202
                                                                      Case 16-12551-BLS         Doc 2329      Filed 12/23/20     Page 110 of 202



                                                                                                     Claim Register
                                                                                   In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                   Case No. 16-12551


                                                                                                                                           Current General                                  Current 503(b)(9)
                                                                                                                                                           Current Priority Current Secured                    Current Admin    Total Current
                 Creditor Name and Address   Claim No. Claim Date                            Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                            Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                               Amount                                           Amount
Marsh USA Inc.
Attn: Larry Lehan
1166 Avenue of the Americas
New York, NY 10036                             726     3/10/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                $0.00            $0.00
Marsh USA Inc.
Attn: Larry Lehan
1166 Avenue of the Americas
New York, NY 10036                             733     3/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                   $86,210.72                                                                          $86,210.72
Marsh USA, Inc.
Attn: Larry Lehan
1166 Avenue of the Americas
New York, NY 10036                             3441    8/13/2019    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                        $0.00                                                                               $0.00
Marshall, Jo-Ann
c/o Seymone Clarke
3402 Estonia Drive
Bowie, MD 20716                                1925    4/11/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $70.24                                                                             $70.24
Martin, Eddilisa
1305 Grayhawk Drive
Mansfield, TX 76063                            819     3/16/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                       $84.44                                                                             $84.44
Martin, Juan Calmo
3003 Leeward Ave, Apt 303
Los Angeles, CA 90005                          3013    4/17/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Martin, Juan Calmo
3003 Leeward Ave, Apt 303
Los Angeles, CA 90005                          3025    4/17/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Martinez de Delgado, Candelaria
965 E 46th St.
Los Angeles, CA 90011                          3027    4/17/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Martinez de Delgado, Candelaria
965 E 46th St.
Los Angeles, CA 90011                          3046    4/17/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Martinez Salazar, Gladis G.
637 E. 95th St
Los Angeles, CA 90002                          2398    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Martinez Salazar, Gladis G.
637 E. 95th St.
Los Angeles, CA 90002                          2407    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Martinez, Araceli
13915 Ruther Ave
Paramount, CA 90723                            2386    4/11/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                             $0.00                                                               $0.00
Martinez, Araceli
13915 Ruther Ave
Paramount, CA 90723                            2614    4/11/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                $0.00            $0.00
Martinez, Bonifacio Miranda
525 s lorena st
Los Angeles, CA 90063                          1807    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Martinez, Filiberto
21922 Arline Ave
Hawaiian Gardens, CA 90716                     2416    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Martinez, Filiberto
21922 Arline Ave
Hawaiian Gardens, CA 90716                     2531    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Martinez, Gabriella
6600 Warner Ave. #96
Huntington Beach, CA 92647                     624      3/6/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $50.00                                                                             $50.00
Martinez, Gloria
1111 E 106th St
Los Angeles, CA 90002                          1428     4/6/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00




                                                                                                      Page 110 of 202
                                                                    Case 16-12551-BLS         Doc 2329      Filed 12/23/20     Page 111 of 202



                                                                                                   Claim Register
                                                                                 In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                 Case No. 16-12551


                                                                                                                                         Current General                                  Current 503(b)(9)
                                                                                                                                                         Current Priority Current Secured                    Current Admin    Total Current
               Creditor Name and Address   Claim No. Claim Date                            Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                          Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                             Amount                                           Amount
Martinez, Gloria
1111 E. 106th Street
Los Angeles, CA 90002                        1361     4/6/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
MARTINEZ, MARIA
559 W. Colden Ave
Los Angeles, CA 90044                        1477     4/7/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Martinez, Maria D.
559 W Colden Ave
Los Angeles, CA 90044                        1570     4/7/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Martinez, Maria M.
657 Belden Ave.
Los Angeles, CA 90022                        2875    4/14/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Martinez, Maria M.
657 Belden Ave.
Los Angeles, CA 90022                        2902    4/14/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Martinez, Mariana
559 W Colden Ave
Los Angeles, CA 90044                        1587     4/7/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
MARTINEZ, MARIANA
559 W COLDEN AVE
LOS ANGELES, CA 90044-5609                   1536     4/7/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Martinez, Marielena
12834 Rancho Drive
Norwalk, CA 90650                            1968    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Martinez, Marielena
12834 Rancho Drive
Norwalk, CA 90650                            2003    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Martinez, Rosa
609 W. Colden Ave.
Los Angeles, CA 90044                        2019    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Martinez, Santos
1024 W 66th Street
Los Angeles, CA 90044                        1460     4/7/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Martinez, Santos
1024 W 66th Street
Los Angeles, CA 90044                        1592     4/7/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
MARTINEZ, VICTOR
600 E 97TH ST APT 200
INGLEWOOD, CA 90301-4394                     650      3/8/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                             $0.00                                                               $0.00
Martinez, Victoria
2580 N. Soto Street, #207
Los Angeles, CA 90032                        1512     4/9/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Martini, Jessica
23-22 30th Rd, 11G
Astoria, NY 11102                            1359     4/6/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $45.36                                                                             $45.36
Martorana, Dana
521 Jefferson St, Apt 5
Hoboken, NJ 07030                            418     2/14/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $42.00                                                                             $42.00
Massachusetts Department of Revenue
436 Dwight Street
Springfield, MA 01103                        1072    3/24/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                $0.00            $0.00
Mateo A, Juan
430 S. Union Ave Apt #106
Los Angeles, CA 90017                        2894    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Mateo Pedro, Candelaria
144 W. Colden Ave
Los Angeles, CA 90003                        1943    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Mateo, Juan A
430 S. Union Ave #106
Los Angeles, CA 90017                        2401    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00

                                                                                                    Page 111 of 202
                                                                       Case 16-12551-BLS          Doc 2329      Filed 12/23/20       Page 112 of 202



                                                                                                      Claim Register
                                                                                    In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                    Case No. 16-12551


                                                                                                                                            Current General                                  Current 503(b)(9)
                                                                                                                                                            Current Priority Current Secured                    Current Admin    Total Current
                Creditor Name and Address   Claim No. Claim Date                              Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                             Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                Amount                                           Amount
Mateo, Marcos Byron
144 W. Colden Ave
Los Angeles, CA 90003                         2700    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Mateo, Marcos Byron
144 W. Colden Ave
Los Angeles, CA 90003                         2886    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Mateo, Maria
1226 W. 98th St Apt 7
Los Angeles, CA 90044                         1354     4/5/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Mateo, Maria
1226 W. 98th St Apt. 7
Los Angeles, CA 90044                         1343     4/5/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
MATEO, PASCUAL
C/O KEITH A. FINK & ASSOCIATES
1990 S BUNDY DR STE 620
LOS ANGELES, CA 90025-5690                    1401     4/6/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                    $0.00                                                                               $0.00
MATEO, PASCUAL
C/O KEITH A. FINK & ASSOCIATES
1990 S BUNDY DR STE 620
LOS ANGELES, CA 90025-5690                    1442     4/6/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                         $0.00                                                                               $0.00
MATEO, PASCUAL
C/O KEITH A. FINK & ASSOCIATES
1990 S BUNDY DR STE 620
LOS ANGELES, CA 90025-5690                    1448     4/6/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
Mateo, Tomas
618 S. Bonnie Brae Street #207
Los Angeles, CA 90057                         780     3/13/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                              $0.00                                                               $0.00
Mateo, Tomas
618 S. Bonnie Brae Street #207
Los Angeles, CA 90057                         791     3/13/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
Mateos, Benjamin
842 Laveta Ter.
Los Angeles, CA 90026                         2024    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                              $0.00                                                               $0.00
Mateos, Benjamin
842 Laveta Ter.
Los Angeles, CA 90026                         2296    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Matlow, Jeff
12026 Goshen Avenue
Apt 1
Los Angeles, CA 90049                         3358    9/17/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $100.00                                                                            $100.00
MATSON, WESLEY
1918 W. NEWPORT AVE.
CHICAGO, IL 60657-1026                        855     3/20/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $17.97                                                                             $17.97
Mattia, Christa
447 East 9th Street
Apt 5
New York, NY 10009                            759     3/13/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $127.00                                                                            $127.00
Maturu, Ameet
396 8th St, Apt 3L
Brooklyn, NY 11215                            474     2/22/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $48.50                                                                             $48.50
MATUSOW, HARRY
497 S EL MOLINO AVE #101
PASADENA, CA 91101-3485                       130      1/9/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                          $5,269.23       $8,000.00                                                          $13,269.23
Mavumkal, Romy
1313 N. Hayworth Ave.
W. Hollywood, CA 90046                        3162    4/25/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $40.00                                                                             $40.00
Mayer, Mia
132 N 155th Street
Shoreline, WA 98133                           440     2/17/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $50.37                                                                             $50.37


                                                                                                       Page 112 of 202
                                                                       Case 16-12551-BLS          Doc 2329      Filed 12/23/20       Page 113 of 202



                                                                                                      Claim Register
                                                                                    In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                    Case No. 16-12551


                                                                                                                                            Current General                                  Current 503(b)(9)
                                                                                                                                                            Current Priority Current Secured                    Current Admin    Total Current
                Creditor Name and Address   Claim No. Claim Date                              Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                             Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                Amount                                           Amount
Mayer, Mia
2467 East Ave
Columbus, OH 43202-2913                       3201     5/1/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $50.37                                                                             $50.37
Mayer, Mia
2467 East ave
Columbus, OH 43202-2913                       3202     5/1/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                $50.37          $50.37
Mayor and City Council of Baltimore
200 Holiday Street Room #1 Bankruptcy
Baltimore, MD 21202                           3231     5/2/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                     $0.00                                              $0.00
Mayor and City Council of Baltimore
200 Holiday Street Room #1 Bankruptcy
Baltimore, MD 21202                           3331    6/30/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                               $0.00                                              $0.00
Mayor and City Council of Baltimore
200 Holiday Street Room #1 Bankruptcy
Baltimore, MD 21202                           3428    9/11/2018    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                 $2,805.77                                          $2,805.77
Mazariegos, Jackeline
1666 W 2nd St Apt #8
Los Angeles, CA 90026                         2762    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
Mazariegos, Jackeline
1666 W 2nd St Apt #8
Los Angeles, CA 90026                         2889    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                              $0.00                                                               $0.00
McBirney, Blair
1419 25th Street
Apt A
Santa Monica, CA 90404                        1213     4/3/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                   $50.00                                                                             $50.00
McCoy-Meshey, Jennifer
479 W 146th St Apt 21
New York, NY 10031                            1152    3/31/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $40.00                                                                             $40.00
McCutcheon, Marin
27 Westminster Ave, Apt 206
Venice, CA 90291                              2925    4/14/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $70.85                                                                             $70.85
McEown, Jessica
5930 County Road 21
Utopia, ON L0M 1T0
Canada                                        1634    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                     $1,010.00                                                                           $1,010.00
McKnight, Lucy
2/28 Blinco Street
Fremantle, Western Australia 6160
Australia                                     537     2/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $232.00                                                                            $232.00
McLaughlin, Jonathan
1837 OXFORD ST
ERIE, PA 16505-4609                           389     2/13/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $50.00                                                                             $50.00
McLeod, Ramona
119-46 238th Street
Cambria Heights, NY 11411                     3229    5/10/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                   $65.47                                                                             $65.47
MCP Holdings Master LP
c/o Monarch Alternative Capital LP
Attn: Andrew Herenstein
535 Madison Ave.
New York, NY 10022                            2130    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
MCP Holdings Master LP
c/o Monarch Alternative Capital LP
Attn: Andrew Herenstein
535 Madison Ave.
New York, NY 10022                            2509    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                              $0.00            $0.00
McPherson, Lane
13921 Teagen Lane
Yukon, OK 73099                               374     2/13/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $50.00                                                                             $50.00




                                                                                                       Page 113 of 202
                                                                            Case 16-12551-BLS          Doc 2329       Filed 12/23/20      Page 114 of 202



                                                                                                           Claim Register
                                                                                         In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                         Case No. 16-12551


                                                                                                                                                 Current General                                  Current 503(b)(9)
                                                                                                                                                                 Current Priority Current Secured                    Current Admin    Total Current
                Creditor Name and Address   Claim No. Claim Date                                   Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                                  Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                     Amount                                           Amount
McPherson, Lane
13921 Teagen Lane
Yukon, OK 73099                               1219     4/3/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                             $50.00                                                                             $50.00
McPherson, Lane
13921 Teagen Lane
Yukon, OK 73099                               1238     4/3/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                $50.00          $50.00
ME CHAR HANDBAGS
36 W 9TH ST.
APT. 2
NEW YORK, NY 10011-8979                       1437     4/6/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                    $0.00                                                                               $0.00
ME CHAR HANDBAGS
36 W 9TH ST.
APT. 2
NEW YORK, NY 10011-8979                       1447     4/6/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                $0.00                                                                               $0.00
ME CHAR HANDBAGS
36 W 9TH ST.
APT. 2
NEW YORK, NY 10011-8979                       1465     4/6/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
ME CHAR HANDBAGS
36 W 9TH ST.
APT. 2
NEW YORK, NY 10011-8979                       2186    4/10/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                         $0.00                                                                               $0.00
Mecklenburg County Tax Collector
PO Box 31637
Charlotte, NC 28231                           3056    4/17/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                  $371.75       $6,222.77                                                           $6,594.52
Mecoli, Maria
8712 Via Ancho Rd.
Boca Raton, FL 33433                          264     1/31/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                          $66.48                           $66.48
Medel, Barbara
220 E 88th Pl
Los Angeles, CA 90003                         2644    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
MEDICINE CHEST SERVICES
3303 HARBOR BLVD STE J3
COSTA MESA, CA 92626-1524                     825     3/16/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
MEDICINE CHEST SERVICES
3303 HARBOR BLVD STE J3
COSTA MESA, CA 92626-1524                     827     3/16/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                     $3,141.10                                          $1,174.80                        $4,315.90
Medina, Gloria L.
5635 Monte Vista St.
Apt 103
Los Angeles, CA 90042                         3158    4/24/2017           APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)                                                                                         $0.00            $0.00
Medina, Gloria Laura
5635 Monte Vista St., Apt 103
Los Angeles, CA 90042                         3140    4/24/2017           APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)                                      $0.00                                                               $0.00
Medina, Mario
3304 Morgan Ave
Los Angeles, CA 90011                         608      3/3/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                         $75,000.00                                             $0.00                        $75,000.00
Medina, Yolanda
10860 Jackson Ave.
Lynwood, CA 90262                             1511     4/7/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Medina, Yolanda
10860 Jackson Ave.
Lynwood, CA 90262                             1532     4/7/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Medoza, Rosa
1300 N. Hicks Ave.
Los Angeles, CA 90063                         828     3/16/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                              $0.00                                                               $0.00
Mei, Hu Xiu
832 S 4th St. #11
Alhambra, CA 91801                            1584     4/7/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                              $0.00                                                               $0.00


                                                                                                            Page 114 of 202
                                                                       Case 16-12551-BLS          Doc 2329      Filed 12/23/20       Page 115 of 202



                                                                                                      Claim Register
                                                                                    In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                    Case No. 16-12551


                                                                                                                                            Current General                                  Current 503(b)(9)
                                                                                                                                                            Current Priority Current Secured                    Current Admin    Total Current
                Creditor Name and Address   Claim No. Claim Date                              Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                             Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                Amount                                           Amount
Melendez, Marta
7214 1/2 Marbrisa Ave
Huntington Park, CA 90255                     2348    4/12/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Melendez, Marta
7214 1/2 Marbrisa Ave
Huntington Park, CA 90255                     2743    4/12/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Melendez, Rosa
3838 S. Harvard Boulevard
Los Angeles, CA 90062                         2970    4/17/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Melendez, Rosa
3838 S. Harvard Boulevard
Los Angeles, CA 90062                         2972    4/17/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Melgar, Alicia
1301 W Court St.
Apt. 207
Los Angeles, CA 90026                         1861    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Melgar, Alicia
1301 W Court St.
Apt. 207
Los Angeles, CA 90026                         2107    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Memecan, Zeynep
555 W 23rd St. Apt N7N
New York, NY 10011                            2258    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $60.00                                                                             $60.00
Memmo, Donna
5075 Donovan DR
Alexandria, VA 22304-7758                     478     2/22/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $30.68                                                                             $30.68
MEMPHIS LIGHT, GAS & WATER
POB 430
MEMPHIS, TN 38101                             2494    4/10/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                  $764.83                                                                            $764.83
Mendelsohn, Inga
3985 Sunswept Dr
Studio City, CA 91604                         255      2/2/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $25.00                                                                             $25.00
Mendelsohn, Inga
3985 Sunswept Dr
Studio City, CA 91604                         909     3/20/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                      $20.00          $20.00
Mendelsohn, Inga
3985 Sunswept Dr.
Studio City, CA 91604                         905     3/20/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                   $20.00                                                                             $20.00
Mendez, Diosis
4118 W. Rosewood Ave. Apt # 106
Los Angeles, CA 90004                         1894    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Mendez, Diosis
4118 W. Rosewood Ave. Apt # 106
Los Angeles, CA 90004                         1995    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Mendez, LaToya
1271 Sadler DR
San Marcos, TX 78666-7972                     3350    8/14/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $28.15                                                                             $28.15
Mendez, Maria
PO Box 101
Maywood, CA 90270                             2163    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Mendez, Maria
PO Box 101
Maywood, CA 90270                             2219    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Mendoza , Rosa
1300 N Hicks Ave.
Los Angeles, CA 90063                         2143    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Mendoza, Rosa
1300 N Hicks Av.
Los Angeles, CA 90063                         1229     4/3/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00


                                                                                                       Page 115 of 202
                                                                       Case 16-12551-BLS          Doc 2329      Filed 12/23/20       Page 116 of 202



                                                                                                      Claim Register
                                                                                    In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                    Case No. 16-12551


                                                                                                                                            Current General                                  Current 503(b)(9)
                                                                                                                                                            Current Priority Current Secured                    Current Admin    Total Current
               Creditor Name and Address    Claim No. Claim Date                              Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                             Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                Amount                                           Amount
Mendoza, Rosa
1300 N Hicks Av.
Los Angeles, CA 90063                         2132    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Menjivar, Roxana
639 S. Commonwealth Av.
Apt. 507
Los Angeles, CA 90005                         2903    4/14/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Menjivar, Roxana
639 S. Commonwealth Av.
Apt. 507
Los Angeles, CA 90005                         2906    4/14/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Menshouse, Leslye
139 Gregory Place
West Palm Beach, FL 33405                     306      2/6/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $68.00                                                                             $68.00
Mentado Negrete, Teresa
332 82nd St Apt 3
Los Angeles, CA 90003                         1794    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Mentado Negrete, Teresa
332 82nd St Apt 3
Los Angeles, CA 90003                         2089    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Merlos, Santos Isabel
374 Patton Street
Los Angeles, CA 90026                         1979    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Merrill Corporation
One Merrill Circle
Saint Paul, MN 55108                          948     3/21/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
Metlox, LLC
c/o Tolkin Group
51 West Dayton Street, Suite 200
Pasadena, CA 91105                            617      3/6/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                        $215,948.00                                                                        $215,948.00
Metropolitan Mechanical Contractors, Inc.
124 W 60th Street
New York, NY 10023                             3      11/18/2016    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                    $51,106.52                                                                          $51,106.52
Metropolitan Mechanical Contractors, Inc.
124 W 60th Street
New York, NY 10023                             45     12/5/2016          APP Winddown, LLC (f/k/a American Apparel, LLC)                          $2,683.76                                                                           $2,683.76
Mezey, Gail
1516 Cardiff Rd
Columbus, OH 43221                            2443    4/13/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                   $51.60                                                                             $51.60
MIAMI DADE WATER AND SEWER DEPARTMENT
ATTN COLLECTION BRANCH/BANKRUPTCY UNIT
PO Box 330316
MIAMI , FL 33233-0316                         844     3/17/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                  $628.75                                                                            $628.75
MIAMI NEW TIMES LLC
PO BOX 011591
MIAMI, FL 33101-1591                          1546     4/7/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                    $0.00                                                                               $0.00
Miami New Times, LLC
PO Box 011591
Miami, FL 33101                               1255     4/4/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                    $0.00                                                                               $0.00
MIAMI-DADE COUNTY TAX COLLECTOR
200 NW 2ND AVENUE
SUITE #430
MIAMI, FL 33128                               3048    4/17/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                               $0.00                                              $0.00
Miami-Dade County Tax Collector
200 NW 2nd Avenue
Suite #430
Miami, FL 33128                               3408    2/21/2018          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                          $16,042.40                                         $16,042.40
MICELI, GRACE
94 CENTRAL AVE APT 2L
BROOKLYN, NY 11206-6305                        50     12/6/2016     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                     $1,189.36                                                                           $1,189.36

                                                                                                       Page 116 of 202
                                                                                           Case 16-12551-BLS          Doc 2329      Filed 12/23/20       Page 117 of 202



                                                                                                                          Claim Register
                                                                                                        In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                                        Case No. 16-12551


                                                                                                                                                                Current General                                  Current 503(b)(9)
                                                                                                                                                                                Current Priority Current Secured                    Current Admin    Total Current
                 Creditor Name and Address                      Claim No. Claim Date                              Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                                                 Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                                    Amount                                           Amount
Michigan Department of Treasury
3030 W. Grand Blvd-Cadillac Place, Ste 10-200
Detroit, MI 48202                                                 397     2/13/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                    $0.00           $0.00                                                               $0.00

Microsoft Corporation and Microsoft Licensing, its subsidiary
c/o Joseph E. Shickich, Jr.
Riddell Williams P.S.
1001 4th Ave. Suite 4500
Seattle, WA 98154                                                 1660    4/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
Microsoft Corporation, Microsoft Online, and Microsoft
Licensing
Fox Rothschild LLP
Joseph E. Shickich, Jr.
1001 4th Ave, Suite 4500
Seattle, WA 98154                                                 1743    4/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
Microsoft Corporation, Microsoft Online, and Microsoft
Licensing
Fox Rothschild LLP
Joseph E. Shickich, Jr.
1001 4th Ave, Suite 4500
Seattle, WA 98154                                                 3348     8/3/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                 $1,224,229.74                                                                       $1,224,229.74
Migel, Edon M
5215 Union Dr. #102
Los Angeles, CA 90017                                             743      3/9/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
Miguel, Edin M
521 S. Union Dr. #102
Los Angeles, CA 90017                                             697      3/9/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                              $0.00                                                               $0.00
Miguel, Edin M
521 S. Union Dr. #102
Los Angeles, CA 90017                                             1585     4/7/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Miguel, Edin Marcus
521 S Union Dr #102
Los Angeles, CA 90017                                             1561     4/7/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Miguel, Maria
521 S. Union Dr. Apt. # 102
Los Angeles, CA 90017                                             698      3/9/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
Miguel, Maria
521 S. Union Dr. Apt. # 102
Los Angeles, CA 90017                                             705      3/9/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                              $0.00                                                               $0.00
Mikolajczyk, Albert
719 Reef Rd
Lockport, IL 60441                                                335      2/7/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                   $65.40                                                                             $65.40
Millan, Maria
6053 Springvale Dr.
Los Angeles, CA 90042                                             883     3/20/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
Millan, Maria
6053 Springvale Dr.
Los Angeles, CA 90042                                             884     3/20/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
Mills, Matthew
145 Park Place Ste. 6A
Brooklyn, NY 11217                                                3150    4/24/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $116.00                                                                            $116.00
Mills, Sharolyne
2710 Clear Creek Road #207
Killeen, TX 76549                                                 3195    4/28/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $98.00                                                                             $98.00
Mills, Sharolyne
2710 Clear Creek Road #207
Killeen, TX 76549                                                 3196    4/29/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $98.00                                                                             $98.00
Miranda, Aurelia Medina
321 N Cummings St
Los Angeles, CA 90033                                             2607    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00

                                                                                                                           Page 117 of 202
                                                                        Case 16-12551-BLS          Doc 2329      Filed 12/23/20       Page 118 of 202



                                                                                                       Claim Register
                                                                                     In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                     Case No. 16-12551


                                                                                                                                             Current General                                  Current 503(b)(9)
                                                                                                                                                             Current Priority Current Secured                    Current Admin    Total Current
                 Creditor Name and Address   Claim No. Claim Date                              Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                              Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                 Amount                                           Amount
Miranda, Aurelia Medina
321 N Cummings St
Los Angeles, CA 90033                          2887    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Miranda, Bonifacio
525 S Lorena St
Los Angeles, CA 90063                          1841    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Miranda, Cantalicia
714 W Vernon Ave
Los Angeles, CA 90037                          1745    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Miranda, Cantalicia
714 W Vernon Ave
Los Angeles, CA 90037                          1872    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Miranda, Cantalicia
714 W Vernon Ave
Los Angeles, CA 90037                          2100    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Miranda, Cantalicia
714 W Vernon Ave
Los Angeles, CA 90037                          2185    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Miranda, Elva
3260 Hope St
Huntington Park, CA 90255                      3082    4/18/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Miranda, Elva
3260 Hope St
Huntington Park, CA 90255                      3083    4/18/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Mirek, Lori
8 Betty Lane
Atherton, CA 94027                             221     1/27/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $82.65                                                             $82.65
Missouri Department of Revenue
PO Box 475
Jefferson City, MO 65105                        80     12/15/2016   APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                    $0.00           $0.00                                                               $0.00
Missouri Department of Revenue
PO Box 475
Jefferson City, MO 65105                        81     12/15/2016   APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                 $7,113.80                                          $7,113.80
Missouri Department of Revenue
PO Box 475
Jefferson City, MO 65105                       463     2/21/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                    $0.00           $0.00                                                               $0.00
Mitchell Silberberg & Knupp, LLP
c/o Richard B. Sheldon, Esq.
11377 W. Olympic Blvd.
Los Angeles, CA 90064                           95     12/23/2016         APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
Mitchell Silberberg & Knupp, LLP
c/o Richard B. Sheldon, Esq.
11377 W. Olympic Blvd.
Los Angeles, CA 90064                          120     12/29/2016         APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
Mitchell, Anna
2409 Highway 85 South
Fayetteville, GA 30215                         333      2/7/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $36.72                                                                             $36.72
Mitchell, Anna
2409 Hwy 85 South
Fayetteville, GA 30215                         833     3/17/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                      $36.72          $36.72
Mitchell, Anna
2409 Hwy 85 South
Fayetteville, GA 30215                         838     3/17/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                   $36.72                                                                             $36.72
Mitchell, Dijon C
555 E27th Street, Apt 22
Paterson, NJ 07514                             1130    3/30/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                        $34.00                                                                             $34.00
Moac Mall Holdings, LLC
Attn: Kathleen J. Allen
60 East Broadway
Bloomington, MN 55425                          3165    4/25/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)              $387,298.72                                                                        $387,298.72

                                                                                                        Page 118 of 202
                                                                           Case 16-12551-BLS          Doc 2329      Filed 12/23/20       Page 119 of 202



                                                                                                          Claim Register
                                                                                        In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                        Case No. 16-12551


                                                                                                                                                Current General                                  Current 503(b)(9)
                                                                                                                                                                Current Priority Current Secured                    Current Admin    Total Current
                 Creditor Name and Address      Claim No. Claim Date                              Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                                 Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                    Amount                                           Amount
Mode Public Relations LLC
547 Broadway, 2nd Fl
New York, NY 10002                                151     1/17/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                         $0.00                                                                               $0.00
MODE PUBLIC RELATIONS LLC
547 BROADWAY, 2ND FL
NEW YORK, NY 10002                                154     1/17/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                    $0.00                                                                               $0.00
Mode Public Relations LLC
547 Broadway, 2nd Fl
New York, NY 10002                                155     1/17/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
Moiso, Shelby L.
20 Via Palacio
San Clemente, CA 92673                            403     2/13/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                              $123.12                          $123.12
Mokhtarzadeh, Mathew
340 S ELM DR
APT 101
BEVERLY HILLS, CA 90212-4623                      3257    5/12/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                   $50.00                                                                             $50.00
MOLINA RENDERO, ANA G
845 W 55TH ST APT #3
LOS ANGELES, CA 90037                             1870    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
MOLINA RENDERO, ANA G
845 W 55TH ST APT #3
LOS ANGELES, CA 90037                             1892    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Molina, Anita
2035 Echo Park Ave
Los Angeles, CA 90026                             3259    5/15/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Molina, Anita
2035 Echo Park Ave
Los Angeles, CA 90026                             3260    5/15/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Mollinedo, Maria Eugenia
1130 E 101 St.
Los Angeles, CA 90002                             1408     4/6/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Mollring, Brooke
15 Malicoat Court
Oakley, CA 94561                                  227     1/30/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $56.16                                                                             $56.16
MON, SARA
10965 ROEBLING AVE
LOS ANGELES, CA 90024                             365     2/13/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $52.20                                                                             $52.20
Monarch Alternative Solutions Master Fund Ltd
c/o Monarch Alternative Capital LP
Attn: Andrew Herenstein
535 Madison Ave.
New York, NY 10022                                2475    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
Monarch Alternative Solutions Master Fund Ltd
c/o Monarch Alternative Capital LP
Attn: Andrew Herenstein
535 Madison Ave.
New York, NY 10022                                2795    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                              $0.00            $0.00
Monarch Capital Master Partners II LP
c/o Monarch Alternative Capital LP
Attn: Andrew Herenstein
535 Madison Ave.
New York, NY 10022                                2248    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
Monarch Capital Master Partners II LP
c/o Monarch Alternative Capital LP
Attn: Andrew Herenstein
535 Madison Ave.
New York, NY 10022                                2662    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                              $0.00            $0.00




                                                                                                           Page 119 of 202
                                                                       Case 16-12551-BLS          Doc 2329       Filed 12/23/20      Page 120 of 202



                                                                                                      Claim Register
                                                                                    In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                    Case No. 16-12551


                                                                                                                                            Current General                                  Current 503(b)(9)
                                                                                                                                                            Current Priority Current Secured                    Current Admin    Total Current
                Creditor Name and Address   Claim No. Claim Date                              Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                             Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                Amount                                           Amount
Monarch Capital Master Partners III LP
c/o Monarch Alternative Capital LP
Attn: Andrew Herenstein
535 Madison Ave.
New York, NY 10022                            2462    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
Monarch Capital Master Partners III LP
c/o Monarch Alternative Capital LP
Attn: Andrew Herenstein
535 Madison Ave.
New York, NY 10022                            2702    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                              $0.00            $0.00
Monarch Debt Recovery Master Fund Ltd
c/o Monarch Alternative Capital LP
Attn: Andrew Herenstein
535 Madison Ave.
New York, NY 10022                            2285    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
Monarch Debt Recovery Master Fund Ltd
c/o Monarch Alternative Capital LP
Attn: Andrew Herenstein
535 Madison Ave.
New York, NY 10022                            2728    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                              $0.00            $0.00
Monarch Master Funding Ltd.
c/o Monarch Alternative Capital LP
Attn: Andrew Herenstein
535 Madison Ave.
New York, NY 10022                            2271    4/11/2017      APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)                      $0.00                  $218,727,784.00                             $0.00 $218,727,784.00
Monarch Master Funding Ltd.
c/o Monarch Alternative Capital LP
Attn: Andrew Herenstein
535 Madison Ave.
New York, NY 10022                            2290    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Monarch Master Funding Ltd.
c/o Monarch Alternative Capital LP
Attn: Andrew Herenstein
535 Madison Ave.
New York, NY 10022                            2310    4/11/2017         APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                          $0.00                  $218,727,784.00                             $0.00 $218,727,784.00
Monarch Master Funding Ltd.
c/o Monarch Alternative Capital LP
Attn: Andrew Herenstein
535 Madison Ave.
New York, NY 10022                            2333    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                         $0.00                  $218,727,784.00                             $0.00 $218,727,784.00
Monarch Master Funding Ltd.
c/o Monarch Alternative Capital LP
Attn: Andrew Herenstein
535 Madison Ave.
New York, NY 10022                            2337    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
Monarch Master Funding Ltd.
c/o Monarch Alternative Capital LP
Attn: Andrew Herenstein
535 Madison Ave.
New York, NY 10022                            2341    4/11/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                    $0.00                  $218,727,784.00                             $0.00 $218,727,784.00
Monarch Master Funding Ltd.
c/o Monarch Alternative Capital LP
Attn: Andrew Herenstein
535 Madison Ave.
New York, NY 10022                            2376    4/11/2017      APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)                                                                                         $0.00            $0.00
Monarch Master Funding Ltd.
c/o Monarch Alternative Capital LP
Attn: Andrew Herenstein
535 Madison Ave.
New York, NY 10022                            2411    4/11/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                       $0.00            $0.00

                                                                                                       Page 120 of 202
                                                                             Case 16-12551-BLS         Doc 2329       Filed 12/23/20     Page 121 of 202



                                                                                                            Claim Register
                                                                                          In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                          Case No. 16-12551


                                                                                                                                                  Current General                                  Current 503(b)(9)
                                                                                                                                                                  Current Priority Current Secured                    Current Admin    Total Current
                 Creditor Name and Address   Claim No. Claim Date                                   Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                                   Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                      Amount                                           Amount
Monarch Master Funding Ltd.
c/o Monarch Alternative Capital LP
Attn: Andrew Herenstein
535 Madison Ave.
New York, NY 10022                             2436    4/11/2017              APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                                                                                             $0.00            $0.00
Monarch Master Funding Ltd.
c/o Monarch Alternative Capital LP
Attn: Andrew Herenstein
535 Madison Ave.
New York, NY 10022                             2465    4/11/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                                                                                   $0.00            $0.00
Monarch Master Funding Ltd.
c/o Monarch Alternative Capital LP
Attn: Andrew Herenstein
535 Madison Ave.
New York, NY 10022                             2734    4/11/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                $0.00                   $218,727,784.00                            $0.00 $218,727,784.00
Monarch Master Funding Ltd.
c/o Monarch Alternative Capital LP
Attn: Andrew Herenstein
535 Madison Ave.
New York, NY 10022                             2872    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                   $218,727,784.00                            $0.00 $218,727,784.00
Mondragon, Lorena M
7118 Seville Ave #B
Huntington Park, CA 90255                      1852    4/10/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Mondragon, Lorena M
7118 Seville Ave #B
Huntington Park, CA 90255                      2017    4/10/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Monjaras, Sandra
16122 Parkside Ln Apt # E
Huntington Beach, CA 92647                     1633    4/10/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
Monjaras, Sandra
16122 Parkside Ln Apt # E
Huntington Beach, CA 92647                     1742    4/10/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Monroy, Blanca E
2849 San Marino St Apt. 203
Los Angeles, CA 90006                          1326     4/5/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                              $0.00                                                               $0.00
Monroy, Blanca E
2849 San Marino St Apt. 203
Los Angeles, CA 90006                          1334     4/5/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
Montalvo, Jian
917 W. Duarte Rd. #8.
Arcadia, CA 91007                              3212     5/2/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                             $87.20                                                                             $87.20
Montaque, Natasha
135 Pitt St Apt-317
New York, NY 10002                             452     2/21/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                            $124.90                                                                            $124.90
Montenegro, Carlos
6036 Fayette St. #6
Los Angeles, CA 90042                          2030    4/10/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Montenegro, Carlos
6036 Fayette St. #6
Los Angeles, CA 90042                          2195    4/10/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Monterrubio, Teresa
915 S. Westlake Ave. # Apt 29
Los Angeles, CA 90006                          2154    4/10/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Monterrubio, Teresa
915 S. Westlake Ave. # Apt 29
Los Angeles, CA 90006                          2218    4/10/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Montes de Oca, Dalila
4815 1/2 S. Vermont Ave #3
Los Angeles, CA 90037                          3047    4/13/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00


                                                                                                             Page 121 of 202
                                                                            Case 16-12551-BLS          Doc 2329       Filed 12/23/20      Page 122 of 202



                                                                                                           Claim Register
                                                                                         In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                         Case No. 16-12551


                                                                                                                                                 Current General                                  Current 503(b)(9)
                                                                                                                                                                 Current Priority Current Secured                    Current Admin    Total Current
                Creditor Name and Address   Claim No. Claim Date                                   Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                                  Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                     Amount                                           Amount
Montes de Oca, Dalila
4815 1/2 S. Vermont Ave
Apt #3
Los Angeles, CA 90037                         3091    4/18/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
Montes, Esperanza
3715 Wall St
Los Angeles, CA 90011                         1939    4/10/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
Montes, Esperanza
3715 Wall St
Los Angeles, CA 90011                         2076    4/10/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00           $0.00                                                               $0.00
Montgomery County, MD
Office of County Attorney for Mont Co MD
(EOB) 101 Monroe Street, 3rd Flr
Rockville, MD 20850                            62     12/12/2016        APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)               $18,779.67      $20,692.54                                                          $39,472.21
Montgomery Mall Owner LLC
c/o LeClairRyan, PC
ATTN: Niclas A. Ferland, Esq.
545 Long Wharf Drive, 9th floor
New Haven, CT 06511                           1686     4/7/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)              $173,800.96                                                                        $173,800.96
Montoni, Joseph
4140 7th Street, NW
Washington, DC 20011                          287      2/3/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                             $29.61                                                                             $29.61
Moodie, Ellen
15 E Franklin Ave #420
Minneapolis, MN 55404                         1162     4/1/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                   $80.00                                                                             $80.00
Mooney, Laura
508 Octavia St. Apt. 4
San Francisco, CA 94102                       792     3/14/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                            $200.00                                                                            $200.00
Moore, Ishakia
86-84 208th street Apt. 3g
Queens Village, NY 11427                      1308     4/5/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                             $99.00                                                                             $99.00
Morales, Dinora
6036 Fayette ST. #6
Los Angeles , CA 90042                        2062    4/10/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Morales, Dinora
6036 Fayette St. # 6
Los Angeles, CA 90042                         2101    4/10/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Morales, Edith
7800 S Figueroa St.
Apt. #104
Los Angeles, CA 90003                         2967    4/17/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Morales, Edith
7800 S Figueroa St.
Apt. #104
Los Angeles, CA 90003                         2984    4/17/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
MORALES, IRENE
C/O EISENBERG & BAUM LLP
ATTN: ERIC BAUM, ESQ.
24 UNION SQUARE EAST 4TH FL
NEW YORK, NY 10003                            2172    4/11/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                $0.00                                                                               $0.00
MORALES, IRENE
C/O EISENBERG & BAUM LLP
ATTN: ERIC BAUM, ESQ.
24 UNION SQUARE EAST 4TH FL
NEW YORK, NY 10003                            2344    4/11/2017           APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)                      $0.00                                                                               $0.00
MORALES, IRENE
C/O EISENBERG & BAUM LLP
ATTN: ERIC BAUM, ESQ.
24 UNION SQUARE EAST 4TH FL
NEW YORK, NY 10003                            2345    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00

                                                                                                            Page 122 of 202
                                                                        Case 16-12551-BLS          Doc 2329      Filed 12/23/20       Page 123 of 202



                                                                                                       Claim Register
                                                                                     In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                     Case No. 16-12551


                                                                                                                                             Current General                                  Current 503(b)(9)
                                                                                                                                                             Current Priority Current Secured                    Current Admin    Total Current
                 Creditor Name and Address   Claim No. Claim Date                              Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                              Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                 Amount                                           Amount
MORALES, IRENE
C/O EISENBERG & BAUM LLP
ATTN: ERIC BAUM, ESQ.
24 UNION SQUARE EAST 4TH FL
NEW YORK, NY 10003                             2373    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                         $0.00                                                                               $0.00
MORALES, IRENE
C/O EISENBERG & BAUM LLP
ATTN: ERIC BAUM, ESQ.
24 UNION SQUARE EAST 4TH FL
NEW YORK, NY 10003                             2463    4/11/2017         APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                          $0.00                                                                               $0.00
MORALES, IRENE
C/O EISENBERG & BAUM LLP
ATTN: ERIC BAUM, ESQ.
24 UNION SQUARE EAST 4TH FL
NEW YORK, NY 10003                             2464    4/11/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                    $0.00                                                                               $0.00
Morales, Matilde
627 E Martin Luther King Jr. Blv
Los Angeles, CA 90011                          1752    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Morales, Matilde
627 E Martin Luther King Jr. Blv
Los Angeles, CA 90011                          1980    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Morales, Rocio
6043 1/2 Malabar St
Huntington Park, CA 90255                      3068    4/18/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
Morales, Rocio
6043 1/2 Malabar St
Huntington Park, CA 90255                      3071    4/18/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                              $0.00                                                               $0.00
Morales, Rodolfo
c/o Reisner & King LLP
14724 Ventura Blvd., Suite 1210
Sherman Oaks, CA 91403                         638      3/7/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                              $0.00                                                               $0.00
Morales, Willy Sontay
c/o Keith A. Fink & Associates
1990 S BUNDY DR STE 620
Los Angeles, CA 90025-5690                     202     1/24/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
Moran, Aurora
2319 Ocean View Ave. Apt # 5
Los Angeles, CA 90057                          2703    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Moran, Aurora
2319 Ocean View Ave. Apt # 5
Los Angeles, CA 90057                          2779    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Moran, Elsa
150 West Vernon Ave
Los Angeles, CA 90037                          1762    4/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                              $0.00                                                               $0.00
Moran, Elsa
150 West Vernon Ave
Los Angeles, CA 90037                          2233    4/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
Moreno, Ernesto
3815 Randolph St
Apt # A
Huntington Park, CA 90255                      1321     4/5/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Moreno, Ernesto
3815 Randolph St
Apt # A
Huntington Park, CA 90255                      1332     4/5/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Morenoff, Deana
4 Howland Avenue
Beacon, NY 12508                               931     3/22/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $96.00                                                                             $96.00




                                                                                                        Page 123 of 202
                                                                       Case 16-12551-BLS          Doc 2329      Filed 12/23/20       Page 124 of 202



                                                                                                      Claim Register
                                                                                    In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                    Case No. 16-12551


                                                                                                                                            Current General                                  Current 503(b)(9)
                                                                                                                                                            Current Priority Current Secured                    Current Admin    Total Current
                Creditor Name and Address   Claim No. Claim Date                              Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                             Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                Amount                                           Amount
Mori Kwong, Hang Lin
11915 Wild Flax Ln
Moreno Valley, CA 92557                       2383    4/12/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Mori Kwong, Hang Lin
11915 Wild Flax Ln
Moreno Valley, CA 92557                       2387    4/12/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Moriarty McLaughlin, Fiona
2200 Colorado Ave #721
Santa Monica, CA 90404                        456     2/21/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $50.00                                                                             $50.00
MORTMAN, FREDERICK R
1580 E 29TH ST 3RD FL
BROOKLYN, NY 11229                            3200     5/1/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
Mortman, Frederick R
2079 Yarmouth D
Boca Raton, FL 33434                          3198     5/1/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
Morvan, Marie-Yan
575 3rd Street Apt 5E
Brooklyn, NY 11215                            618      3/6/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $37.50                                                                             $37.50
Moscosa, Linda
1355 W. Court St. Apt #606
Los Angeles, CA 90026                         1819    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Moscosa, Linda
1355 W. Court St. Apt #606
Los Angeles, CA 90026                         2068    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
MOSES, PAMELA
804 HOLLY ST
MEMPHIS, TN 38112                             3057    4/18/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
Moses, Pamela
804 Holly St
Memphis, TN 38112                             3075    4/18/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
Moses, Pamela
P.O. Box 80564
Memphis, TN 38108                             107     12/28/2016         APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
Moses, Pamela
PO Box 80564
MEMPHIS, TN 38108                             3064    4/18/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
Mostowski, Stephanie
918 N Larrabee St
Unit A
Chicago, IL 60610                             3221     5/3/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                        $18.00                                                                             $18.00
Moyers, Hayley
48 Wakefield Drive
Atlanta, GA 30309                             3113    4/19/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                $84.24          $84.24
Mr. Hose, Inc
5574 E. Washington Bl.
Commerce, CA 90040                            802     3/15/2017         APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                          $0.00                                                                               $0.00
Mui, Coong
3821 Baldwin St.
Los Angeles, CA 90031                         1728    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Mui, Coong
3821 Baldwin St.
Los Angeles, CA 90031                         1754    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Mulhern, Whitney
85 John St
Apt 3N
New York, NY 10038                            3295    5/30/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                        $34.00                                                                             $34.00
Multnomah County-DART
P.O. Box 2716
Portland, OR 97208                             76     12/12/2016   APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                 $9,723.01                                          $9,723.01


                                                                                                       Page 124 of 202
                                                                                        Case 16-12551-BLS         Doc 2329      Filed 12/23/20     Page 125 of 202



                                                                                                                       Claim Register
                                                                                                     In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                                     Case No. 16-12551


                                                                                                                                                             Current General                                  Current 503(b)(9)
                                                                                                                                                                             Current Priority Current Secured                    Current Admin    Total Current
                 Creditor Name and Address                     Claim No. Claim Date                            Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                                              Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                                 Amount                                           Amount
Munoz, Ana
727 Matthews St
Los Angeles, CA 90023                                            2927    4/14/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Munoz, Ana
727 Matthews St
Los Angeles, CA 90023                                            2930    4/14/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Muse Management, Inc.
150 Broadway, Suite 1101
New York, NY 10038                                               985     3/23/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                                               $0.00
NAF Global Logistics Limited
Room 1505-1506 Stelux House
698 Prince Edward Road East
San Po Kong, Kowloon
Hong Kong                                                        757     3/13/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                $0.00            $0.00
NAF GLOBAL LOGISTICS LIMITED
ROOM 1505-1506, STELUX HOUSE
698 PRINCE EDWARD ROAD EAST
SAN PO KONG, KOWLOON
HONG KONG                                                        758     3/13/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                         $3,846.45                                                                           $3,846.45
Naftalis, Sarah
1125 Park Avenue, Apt. 7B
New York, NY 10128                                               640      3/7/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $82.00                                                                             $82.00
NAGARAJAN KARPAGAM & R VASUDEVAN
1206 MEADOW GLEN DR.
FRANKFORT, KY 40601                                              3304     6/5/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                        $0.00                                                                               $0.00
NAGARAJAN KARPAGAM & R VASUDEVAN
1206 MEADOW GLEN DR.
FRANKFORT, KY 40601                                              3305     6/5/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                        $9.99                                                              $9.99          $19.98
NAGARAJAN KARPAGAM & R VASUDEVAN
1206 MEADOW GLEN DR.
FRANKFORT, KY 40601                                              3307     6/5/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                                               $0.00
Nakash, Claudia
1225 Club View Dr
Los Angeles, CA 90024                                            1998    4/11/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $80.00                                                                             $80.00
NAPCO MEDIA
ATTN: CHERYL PATTERSON
1500 SPRING GARDEN STREET
SUITE 1200
PHILADELPHIA, PA 19130                                           2202    4/10/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                                               $0.00
NAPCO MEDIA
ATTN: CHERYL PATTERSON
1500 SPRING GARDEN STREET
SUITE 1200
PHILADELPHIA, PA 19130                                           3394    12/15/2017        APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                                               $0.00
NAPCO Media
Attn: Cheryl Patterson
1500 Spring Garden Street
Suite 1200
Philadelphia, PA 19130                                           3396    12/19/2017        APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                                               $0.00
Nassau, Natalie
1115 5th St #302
Santa Monica, CA 90403                                           1163    3/31/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                       $49.28                                                                             $49.28
National Commercial Recovery, Inc., a California corporation
d/b/a Blair Smith and Associates
Glenn A. Besnyl, Esq.
750 N. Diamond Bar Blvd., Ste. 104
Diamond Bar, CA 91765                                             75     12/8/2016         APP Winddown, LLC (f/k/a American Apparel, LLC)                        $47,264.98                                                                          $47,264.98
Natural Energy Lab
4417 Bellingham Ave
Studio City, CA 91604                                            261     1/30/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $400.00                                                                            $400.00

                                                                                                                        Page 125 of 202
                                                                               Case 16-12551-BLS          Doc 2329      Filed 12/23/20       Page 126 of 202



                                                                                                              Claim Register
                                                                                            In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                            Case No. 16-12551


                                                                                                                                                    Current General                                  Current 503(b)(9)
                                                                                                                                                                    Current Priority Current Secured                    Current Admin    Total Current
               Creditor Name and Address            Claim No. Claim Date                              Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                                     Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                        Amount                                           Amount
Naves, Blanca N
1616 W 36th Place
Los Angeles, CA 90018                                 1678    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Naves, Blanca Nicolasa
1616 W 36th Pl
Los Angeles, CA 90018                                 1666    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Nawn, Andrew
312 West 76th St. Apt 5F
New York, NY 10023                                    482     2/22/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $15.46                                                                             $15.46
Neal, Ivy
12 Harness Lane
Levittown, NY 11756                                   3194    4/28/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                            $0.00                                              $0.00
NEEDLE, INC
14864 PONY EXPRESS ROAD
BLUFFDALE, UT 84065                                   237     1/30/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                    $22,293.00                                          $1,694.95                       $23,987.95
Neiger, Roslyn
17 Manchester Drive
Spring Valley, NY 10977                               500     2/23/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                   $36.00                                                                             $36.00
NEMAN BROTHERS & ASSOC., INC.
C/O LAW OFFICES OF NICO N. TABIBI, APC
9454 WILSHIRE BLVD., PH
BEVERLY HILLS, CA 90212                               2247    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                         $0.00                                                                               $0.00
NEMAN BROTHERS & ASSOC., INC.
C/O LAW OFFICES OF NICO N. TABIBI, APC
9454 WILSHIRE BLVD., PH
BEVERLY HILLS, CA 90212                               3430    1/15/2019          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
Nemanim, Tatiana
1138 Stanford st
Santa Monica, CA 90403                                1896    4/11/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                    $9.70                                                                               $9.70
Neri, Philip
23035 Mehden Ave
Carson, CA 90745                                      384     2/13/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $106.82                                                                            $106.82
Neugass, Shane
8265 Fountain Ave. #101
West Hollywood, CA 90046                              228     1/30/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                         $9.81                                                                               $9.81
Neugass, Shane
8265 Fountain Ave. #101
West Hollywood, CA 90046                              898     3/21/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $9.81                                                                               $9.81
Nevada Power Company dba NV Energy
P.O. Box 10100
Reno, NV 89520                                        295      2/3/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                $2,501.08                                                                           $2,501.08
New Jersey Turnpike Authority
Mark Schneider, Esq.
581 Main Street, P.O. Box 5042
Woodbridge, NJ 07095                                  142      1/9/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $63.40                                                                             $63.40
New Jersey Turnpike Authority
Mark Schneider, Esq.
581 Main Street, P.O. Box 5042
Woodbridge, NJ 07095                                  3256     5/9/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $63.40                                                                             $63.40
NEW YORK STATE DEPARTMENT OF TAXATION & FINANCE
BANKRUPTCY SECTION
PO BOX 5300
ALBANY, NY 12205-0300                                 3128    4/20/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                       $0.00            $0.00
New York State Department of Taxation and Finance
Bankruptcy Section
PO Box 5300
Albany, NY 12205-0300                                 213     1/24/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                    $0.00                                                               $0.00




                                                                                                               Page 126 of 202
                                                                               Case 16-12551-BLS          Doc 2329      Filed 12/23/20       Page 127 of 202



                                                                                                              Claim Register
                                                                                            In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                            Case No. 16-12551


                                                                                                                                                    Current General                                  Current 503(b)(9)
                                                                                                                                                                    Current Priority Current Secured                    Current Admin    Total Current
                Creditor Name and Address           Claim No. Claim Date                              Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                                     Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                        Amount                                           Amount
New York State Department of Taxation and Finance
Bankruptcy Section
PO Box 5300
Albany, NY 12205-0300                                 318      2/6/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                    $0.00                                                               $0.00
New York State Department of Taxation and Finance
Bankruptcy Section
PO Box 5300
Albany, NY 12205-0300                                 3334    7/10/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                       $0.00            $0.00

NEW YORK STATE DEPARTMENT OF TAXATION AND FINANCE
BANKRUPTCY SECTION
PO BOX 5300
ALBANY, NY 12205-0300                                 3401    1/19/2018    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                       $0.00            $0.00
NEWMAN, ALLISON
18 MCINTOSH DR
LOCKPORT, NY 14094-5013                               1240     4/3/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
NEWSOME, TOMMIE
PO BOX 71102
NEWNAN, GA 30271                                      131      1/9/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                         $17,000.00                                                                          $17,000.00
Ng, Amy
208 Elizabeth Ave
Monterey Park, CA 91755                               1002    3/26/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
Ng, Amy
208 Elizabeth Ave
Monterey Park, CA 91755                               1156    3/31/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
Ng, Amy
208 Elizabeth Ave
Monterey Park, CA 91755                               1187    3/31/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
Ng, Moon Chun Li
11255 Frankmont Ct.
El Monte, CA 91732                                    2206    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Ng, Rui Xin
4914 Druid St
Los Angeles, CA 90032                                 3069    4/18/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Ng, Rui Xin
4914 Druid St
Los Angeles, CA 90032                                 3070    4/18/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Ng, Siu Chun
358 S. Willard Ave
San Gabriel, CA 91776                                 2963    4/15/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Ng, Siu Chun
358 S. Willard Ave
San Gabriel, CA 91776                                 2971    4/15/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Ng, Suk Fun
741 New Depot St.
Los Angeles, CA 90012-1609                            1457     4/7/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Ng, Suk Fun
741 New Depot St.
Los Angeles, CA 90012-1609                            1458     4/7/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Nguyen, Joyce
13781 Cherry St. #5
Westminster, CA 92683                                 363     2/13/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $58.21                                                                             $58.21
Nguyen, Joyce
13781 Cherry St. #5
Westminster, CA 92683                                 633      3/6/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $58.21                                                                             $58.21
Nguyen, Lanny
81 Christina Cir
Wheaton , IL 60189                                    3345     8/3/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $68.36                                                                             $68.36




                                                                                                               Page 127 of 202
                                                                                     Case 16-12551-BLS          Doc 2329      Filed 12/23/20       Page 128 of 202



                                                                                                                    Claim Register
                                                                                                  In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                                  Case No. 16-12551


                                                                                                                                                          Current General                                  Current 503(b)(9)
                                                                                                                                                                          Current Priority Current Secured                    Current Admin    Total Current
                Creditor Name and Address                 Claim No. Claim Date                              Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                                           Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                              Amount                                           Amount
Nguyen, Michele
3242 Prospect Ave
Rosemead, CA 91770                                          643      3/7/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $111.18                                                                            $111.18
Nguyen, Tam
8391 Beverly Blvd 258
Los Angeles, CA 90048                                       3275    5/22/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                        $63.22                                                                             $63.22
Nicklos, Katherine
Katie Sue Nicklos
100 Atlantic Ave # 2N
Brooklyn, NY 11201                                          178     1/23/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $92.00                                                                             $92.00
Nieto, Margarita A
555 W Cesar Chavez Av # 109
Los Angeles, CA 90012                                       2056    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Nieto, Margarita A
555 W Cesar Chavez Av # 109
Los Angeles, CA 90012                                       2212    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Nikkhoo, Tara
130 North Westgate Avenue
Los Angeles, CA 90049                                       1251     4/3/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                $36.46          $36.46
Nili, Ali
5225 Pooks Hill Rd, Apt 1701S
Bethesda, MD 20814                                          240     1/30/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $25.00                                                                             $25.00
Nili, Ali
5225 Pooks Hill Rd, Apt 1701S
Bethesda, MD 20814                                          1362     4/6/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $25.00                                                                             $25.00
Nobles, Rosemilia
911 W. 48th St
Los Angeles, CA 90037                                       2064    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Nobles, Rosemilia
911 W. 48th St
Los Angeles, CA 90037                                       1948    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Nonoal, Vitaliano
611 W 42nd Pl
Los Angeles, CA 90037                                       2395    4/12/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Nonoal, Vitaliano
611 W 42nd Pl
Los Angeles, CA 90037                                       2726    4/12/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Norlaine, Inc.
1449 West Industrial Park Street
Covina, CA 91722                                            2158    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                          $3,856.63                                                                           $3,856.63
North American Textile Company LLC
NATco
346 W. Cerritos Ave
Glendale, CA 91204                                           99     12/27/2016         APP Winddown, LLC (f/k/a American Apparel, LLC)                          $3,736.25                                           $493.00                         $4,229.25
Northeast Ohio Regional Sewer District
40 Severance Circle
Cleveland, OH 44118                                         3329    6/26/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $34.30                                                                             $34.30
Northern States Power Company, A Minnesota Corporation,
d/b/a Xcel Energy
Attn: Bankruptcy Department
PO Box 9477
Minneapolis, MN 55484                                        12     11/22/2016         APP Winddown, LLC (f/k/a American Apparel, LLC)                          $1,423.44                                                                           $1,423.44
NorthPark Partners, LP
James Billingsley
2950 N. Harwood St., Ste. 2100
Dallas, TX 75201                                            2304    4/11/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)               $20,052.58                                                                          $20,052.58
Noyes, Victoria
204 Spencer Ave
Chelsea, MA 02150                                           3365    10/9/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $50.00                                                                             $50.00


                                                                                                                     Page 128 of 202
                                                                              Case 16-12551-BLS          Doc 2329      Filed 12/23/20       Page 129 of 202



                                                                                                             Claim Register
                                                                                           In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                           Case No. 16-12551


                                                                                                                                                   Current General                                  Current 503(b)(9)
                                                                                                                                                                   Current Priority Current Secured                    Current Admin    Total Current
               Creditor Name and Address           Claim No. Claim Date                              Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                                    Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                       Amount                                           Amount
Nozar, Nicole
5359 Aura Ave
Tarzana, CA 91356                                    454     2/21/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $41.42                                                                             $41.42
NSTAR ELECTRIC COMPANY DBA EVERSOURCE ENERGY
HONOR HEATH, ESQ. EVERSOURCE ENERGY
107 SELDEN ST
BERLIN, CT 06037                                     141      1/5/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                          $1,012.94                                                                           $1,012.94
Nstar Gas Comapany dba Eversource Energy
Honor Heath, Esq.
107 Selden Street
Berlin, CT 06037                                     146      1/5/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $41.62                                                                             $41.62
NUNEZ, AARON
1315 PROSPECT AVE APT 5B
BRONX, NY 10459                                      615      3/5/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                         $15,545.20                                                                          $15,545.20
Nuñez, Ofelia
9160 Sonrisa St Spc 25
Bellflower, CA 90706                                 3213     5/2/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Nuñez, Ofelia
9160 Sonrisa St Spc 25
Bellflower, CA 90706                                 3220     5/2/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Nungaray, Rosa
5420 Van Ness. Ave.
Los Angeles, CA 90062                                2013    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Nungaray, Rosa
5420 Van Ness. Ave.
Los Angeles, CA 90062                                3045    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Nurenberg, Elizabeth
2260 West 20th
Los Angeles, CA 90018                                211     1/25/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $200.00                                                                            $200.00
NW NATURAL
PO BOX 6017
PORTLAND, OR 97228-6017                              735     3/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $101.00                                                                            $101.00
NYC Department of Finance
Catherine Leung
Supervisor
Bankruptcy & Assignment Unit
345 Adams Street, 10th Floor
Brooklyn, NY 11201                                   354      2/7/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                              $0.00                                                               $0.00
NYC Department of Finance
Tax, Audit and Enforcement Division
Attn: Bankruptcy Unit
345 Adams Street, 10th Floor
Brooklyn, NY 11201                                   712      3/2/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                          $1,723.03                                                           $1,723.03
NYC Office of Administrative Trials and Hearings
Simone Salloum
66 John St., 10th Fl.
New York, NY 10038                                   122      1/6/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                          $6,359.17                            $0.00                                          $6,359.17
NYE, MADDY
3833 OAKLAND AVE
MINNEAPOLIS, MN 55407-2512                           1553     4/8/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                   $78.00                                                                             $78.00
OAKLAND COUNTY TREASURER
1200 N. TELEGRAPH RD
DEPT 479
PONTIAC, MI 48341-0479                                38     11/28/2016         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                               $0.00                                              $0.00
O'Berry, Dan
PO Box 310573
Brooklyn, NY 11231                                   3199     5/1/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $100.00                                                                            $100.00
Ocean Blue Environmental Services, Inc.
925 West Esther St.
Long Beach, CA 90813                                 1504     4/7/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                         $0.00                                                                               $0.00

                                                                                                              Page 129 of 202
                                                                            Case 16-12551-BLS          Doc 2329       Filed 12/23/20      Page 130 of 202



                                                                                                           Claim Register
                                                                                         In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                         Case No. 16-12551


                                                                                                                                                 Current General                                  Current 503(b)(9)
                                                                                                                                                                 Current Priority Current Secured                    Current Admin    Total Current
                Creditor Name and Address   Claim No. Claim Date                                   Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                                  Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                     Amount                                           Amount
Oceana Master Fund Ltd.
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 Davis St.
Evanston, IL 60201                            2167    4/11/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                $0.00                  $218,727,784.00                             $0.00 $218,727,784.00
Oceana Master Fund Ltd.
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 Davis St.
Evanston, IL 60201                            2315    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
Oceana Master Fund Ltd.
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 Davis St.
Evanston, IL 60201                            2397    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
Oceana Master Fund Ltd.
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 Davis St.
Evanston, IL 60201                            2433    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                              $0.00            $0.00
Oceana Master Fund Ltd.
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 Davis St.
Evanston, IL 60201                            2446    4/11/2017              APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                          $0.00                  $218,727,784.00                             $0.00 $218,727,784.00
Oceana Master Fund Ltd.
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 Davis St.
Evanston, IL 60201                            2468    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                  $218,727,784.00                             $0.00 $218,727,784.00
Oceana Master Fund Ltd.
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 Davis St.
Evanston, IL 60201                            2469    4/11/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                    $0.00                  $218,727,784.00                             $0.00 $218,727,784.00
Oceana Master Fund Ltd.
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 Davis St.
Evanston, IL 60201                            2533    4/11/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                                                                                   $0.00            $0.00
Oceana Master Fund Ltd.
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 Davis St.
Evanston, IL 60201                            2535    4/11/2017           APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)                      $0.00                  $218,727,784.00                             $0.00 $218,727,784.00
Oceana Master Fund Ltd.
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 Davis St.
Evanston, IL 60201                            2542    4/11/2017           APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)                                                                                         $0.00            $0.00
Oceana Master Fund Ltd.
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 Davis St.
Evanston, IL 60201                            2552    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Oceana Master Fund Ltd.
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 Davis St.
Evanston, IL 60201                            2604    4/11/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                       $0.00            $0.00

                                                                                                            Page 130 of 202
                                                                   Case 16-12551-BLS         Doc 2329       Filed 12/23/20    Page 131 of 202



                                                                                                  Claim Register
                                                                                In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                Case No. 16-12551


                                                                                                                                        Current General                                  Current 503(b)(9)
                                                                                                                                                        Current Priority Current Secured                    Current Admin    Total Current
              Creditor Name and Address   Claim No. Claim Date                            Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                         Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                            Amount                                           Amount
Oceana Master Fund Ltd.
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 Davis St.
Evanston, IL 60201                          2672    4/11/2017       APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                                                                                             $0.00            $0.00
Oceana Master Fund Ltd.
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 Davis St.
Evanston, IL 60201                          2679    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                        $0.00                   $218,727,784.00                            $0.00 $218,727,784.00
Ochoa, Luis F.
1564 E 51st St
Los Angeles, CA 90011                       2492    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Ochoa, Luis F.
1564 E 51st St
Los Angeles, CA 90011                       2701    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Oganyan, Narine
300 E. Providencia Ave. #201
Burbank, CA 91502                           550     2/28/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $70.00                                                                             $70.00
OHIO BUREAU OF WORKERS' COMPENSATION
PO Box 15567
COLUMBUS, OH 43215-0567                     984     3/21/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $32.70       $5,194.36                                                           $5,227.06
Ojeda, Renato
2624 Maple Ave. Apt #7
Los Angeles, CA 90011                       2415    4/11/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                             $0.00                                                               $0.00
Ojeda, Renato
2624 Maple Ave. Apt #7
Los Angeles, CA 90011                       2417    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Olive, Kimberly
56 Harris Dr.
Oceanside, NY 11572                         573     2/27/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                       $18.43                                                                             $18.43
Olivier, Kimberly
1407 Gough St.
Apt. 5
San Francisco, CA 94109                     1140    3/31/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $50.00                                                                             $50.00
OLYMPIC WIRE & EQUIPMENT CO., INC.
PO BOX 3227
NEWPORT BEACH, CA 92659-0859                1288     4/4/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                                               $0.00
O'Neil Langan Architects
Daniel Metzger
15 W 37th Street, 15th Floor
New York, NY 10018                           47     12/5/2016         APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                                               $0.00
O'Neil Langan Architects
Daniel Metzger
15 W 37th Street, 15th Floor
New York, NY 10018                          626      3/6/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                         $1,200.00                                                                           $1,200.00
Onesimo, Simon Zamora
635 E 89th St
Los Angeles, CA 90002                       2800    4/12/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                $0.00            $0.00
Ong, Tiffany
1131 20th St. Apt. 3
Santa Monica, CA 90403                      477     2/22/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $89.79                                                                             $89.79
Ontario Refrigeration Service Inc.
635 S. Mountain Avenue
Ontario, CA 91762                           1053    3/27/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                         $2,166.00                                                                           $2,166.00
Onyx Ventures, LLC
Christopher R. Kaup
Tiffany & Bosco, P.A.
2525 E. Camelback Road, Seventh Floor
Phoenix, AZ 85016                           1839    4/11/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                       $148,532.03                                                                        $148,532.03

                                                                                                   Page 131 of 202
                                                                                             Case 16-12551-BLS          Doc 2329      Filed 12/23/20       Page 132 of 202



                                                                                                                            Claim Register
                                                                                                          In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                                          Case No. 16-12551


                                                                                                                                                                  Current General                                  Current 503(b)(9)
                                                                                                                                                                                  Current Priority Current Secured                    Current Admin    Total Current
                  Creditor Name and Address                       Claim No. Claim Date                              Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                                                   Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                                      Amount                                           Amount
Onyx Ventures, LLC
Christopher R. Kaup
Tiffany & Bosco, P.A.
2525 E. Camelback Road, Seventh Floor
Phoenix, AZ 85016                                                   1862    4/11/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)              $148,532.03                                                                        $148,532.03
Oppenheim, Emily
1073 Manhattan Ave
Apartment 2L
Brooklyn, NY 11222                                                  3137    4/24/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $53.07                                                                             $53.07
Oppenheim, Victoria
4459 Arizona St Unit 5
San Diego, CA 92116                                                 3347     8/4/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                   $72.34                                                                             $72.34
Oracle America, Inc., successor in interest to Maxymiser, Inc.
and its affiliate Oracle Credit Corpo
Shawn Christianson Esq.
Buchalter, A Professional Corporation
55 Second Street, 17th Floor
San Francisco, CA 94105                                             3355    8/30/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                        $158,000.00                                                                        $158,000.00
Oracle America, Inc., successor in interest to Maxymiser, Inc.,
Hyperion Solutions and ATG ("Oracle"
c/o Shawn M. Christianson
Buchalter, A Professional Corporation
55 2nd St., 17th Fl.
San Francisco, CA 94105                                             2496    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
Orange County Sanitation District
Attn: Angela Brandt
10844 Ellis Avenue
Fountain Valley, CA 92708                                           1114    3/29/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                         $82,092.22                                                                          $82,092.22
Orange County Tax Collector
PO Box 545100
Orlando, FL 32854-5100                                              776     3/13/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                 $7,285.46                                          $7,285.46
Orange County Tax Collector
PO Box 545100
Orlando, FL 32854-5100                                              784     3/13/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                 $5,766.41                                          $5,766.41
Orbuch, Iris
9600 Oakmore Road
Los Angeles, CA 90035                                               3129    4/22/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                   $76.00                                                                             $76.00
Orellana-Farias, Mercedes
2155 W. Sunset Blvd. Apt 207
Los Angeles, CA 90026                                               2434    4/12/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $60.00                                                                             $60.00
Orians, Miller
210 E 38th Street Apt 2C
New York, NY 10016                                                  545     2/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $110.00                                                                            $110.00

Orlando Outlet Owner LLC, a Delaware limited liability company
Simon Property Group, Inc.
225 W. Washington Street
Indianapolis, IN 46204                                              1701    4/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                              $0.00            $0.00

Orlando Outlet Owner LLC, a Delaware limited liability company
Simon Property Group, Inc.
225 W. Washington Street
Indianapolis, IN 46204                                              3232     5/5/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                        $194,050.82                                                          $1,586.50     $195,637.32
ORLANDO UTILITIES COMMISSION (OUC)
ATTN: BANKRUPTCY DEPT.
100 W. ANDERSON ST.
ORLANDO, FL 32801                                                   3034    4/17/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $665.77                                                                            $665.77
Ornelas Gomez, Ingrid G.
903 Conlon Ave.
La Puente, CA 91744                                                 562     2/28/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $89.00                                                                             $89.00

                                                                                                                             Page 132 of 202
                                                                           Case 16-12551-BLS         Doc 2329       Filed 12/23/20    Page 133 of 202



                                                                                                          Claim Register
                                                                                        In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                        Case No. 16-12551


                                                                                                                                                Current General                                  Current 503(b)(9)
                                                                                                                                                                Current Priority Current Secured                    Current Admin    Total Current
                  Creditor Name and Address       Claim No. Claim Date                            Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                                 Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                    Amount                                           Amount
Orozco, Gloria
8815 Elm St
Los Angeles, CA 90002                               2444    4/13/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Orozco, Gloria
8815 Elm St
Los Angeles, CA 90002                               2713    4/13/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Orta Anadolu Ticaret ve Sanayi isletmesi T.A.S.
Cumhuriyet Cad. No. 155/ Harbiye
Istanbul 34373
Turkey                                              1094    3/27/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                                               $0.00
Orta Anadolu Ticaret ve Sanayi Isletmesi T.A.S.
Cumhuriyet Cad. No: 155
Harbiye
Istanbul 34373
Turkey                                              1087    3/27/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                        $19,622.69                                                              $0.00       $19,622.69
Ortega, Jessica
2751 S Komensky
Chicago, IL 60623                                   1085    3/28/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $61.75                                                                             $61.75
Ortega, Jose
2102 E 110th St
Los Angeles, CA 90059                               1317     4/5/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Ortega, Jose
2102 E 110th St
Los Angeles, CA 90059                               1324     4/5/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Ortiz, Johnny
720 E 78 ST.
Los Angeles, CA 90001                               1772    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Ortiz, Johnny
720 E 78 ST.
Los Angeles, CA 90001                               2127    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
OSTROVSKIY, GENNADIY YEFIMOVICH
9425 ASHLYN CIR
OWINGS MILLS, MD 21117                              714      3/9/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                $0.00            $0.00
OSTROVSKIY, GENNADIY YEFIMOVICH
9425 ASHLYN CIR
OWINGS MILLS, MD 21117                              715      3/9/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                                               $0.00
Ovalles, Elena L
13037 Carolyn St
Cerritos, CA 90703                                  2009    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Ovalles, Elena
13037 Carolyn St
Cerritos, CA 90703                                  2189    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
P Monarch Recovery Ltd
c/o Monarch Alternative Capital LP
Attn: Andrew Herenstein
535 Madison Ave.
New York, NY 10022                                  2323    4/11/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                              $0.00            $0.00
P Monarch Recovery Ltd
c/o Monarch Alternative Capital LP
Attn: Andrew Herenstein
535 Madison Ave.
New York, NY 10022                                  2384    4/11/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                $0.00            $0.00
P Standard General Ltd.
Standard General L.P.
Attention: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                                  2677    4/11/2017       APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                                                                                             $0.00            $0.00




                                                                                                           Page 133 of 202
                                                                            Case 16-12551-BLS          Doc 2329       Filed 12/23/20      Page 134 of 202



                                                                                                           Claim Register
                                                                                         In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                         Case No. 16-12551


                                                                                                                                                 Current General                                  Current 503(b)(9)
                                                                                                                                                                 Current Priority Current Secured                    Current Admin    Total Current
                Creditor Name and Address   Claim No. Claim Date                                   Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                                  Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                     Amount                                           Amount
P Standard General Ltd.
Standard General L.P.
Attention: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                            2786    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                         $0.00                            $0.00                                              $0.00
P Standard General Ltd.
Standard General L.P.
Attention: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                            2792    4/11/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                                                                                   $0.00            $0.00
P Standard General Ltd.
Standard General L.P.
Attention: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                            2794    4/11/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                $0.00                            $0.00                                              $0.00
P Standard General Ltd.
Standard General L.P.
Attention: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                            2807    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                            $0.00                                              $0.00
P Standard General Ltd.
Standard General L.P.
Attention: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                            2823    4/11/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                    $0.00                            $0.00                                              $0.00
P Standard General Ltd.
Standard General L.P.
Attention: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                            2842    4/11/2017           APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)                      $0.00                            $0.00                                              $0.00
P Standard General Ltd.
Standard General L.P.
Attention: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                            2848    4/11/2017              APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                          $0.00                            $0.00                                              $0.00
P Standard General Ltd.
Standard General L.P.
Attention: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                            2854    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
P Standard General Ltd.
Standard General L.P.
Attention: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                            2880    4/11/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                       $0.00            $0.00
P Standard General Ltd.
Standard General L.P.
Attention: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                            2881    4/11/2017           APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)                                                                                         $0.00            $0.00
P Standard General Ltd.
Standard General L.P.
Attention: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                            2883    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
P Standard General Onshore LLC
c/o Standard General L.P.
Attn: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                            2667    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00

                                                                                                            Page 134 of 202
                                                                            Case 16-12551-BLS          Doc 2329       Filed 12/23/20      Page 135 of 202



                                                                                                           Claim Register
                                                                                         In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                         Case No. 16-12551


                                                                                                                                                 Current General                                  Current 503(b)(9)
                                                                                                                                                                 Current Priority Current Secured                    Current Admin    Total Current
                Creditor Name and Address   Claim No. Claim Date                                   Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                                  Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                     Amount                                           Amount
P Standard General Onshore LLC
c/o Standard General L.P.
Attn: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                            2692    4/11/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                    $0.00                            $0.00                                              $0.00
P Standard General Onshore LLC
c/o Standard General L.P.
Attn: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                            2798    4/11/2017              APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                          $0.00                            $0.00                                              $0.00
P Standard General Onshore LLC
c/o Standard General L.P.
Attn: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                            2802    4/11/2017           APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)                      $0.00                            $0.00                                              $0.00
P Standard General Onshore LLC
c/o Standard General L.P.
Attn: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                            2816    4/11/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                                                                                   $0.00            $0.00
P Standard General Onshore LLC
c/o Standard General L.P.
Attn: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                            2830    4/11/2017              APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                                                                                             $0.00            $0.00
P Standard General Onshore LLC
c/o Standard General L.P.
Attn: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                            2839    4/11/2017           APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)                                                                                         $0.00            $0.00
P Standard General Onshore LLC
c/o Standard General L.P.
Attn: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                            2840    4/11/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                $0.00                   $27,406,742.31                                     $27,406,742.31
P Standard General Onshore LLC
c/o Standard General L.P.
Attn: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                            2845    4/11/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                       $0.00            $0.00
P Standard General Onshore LLC
c/o Standard General L.P.
Attn: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                            2847    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                         $0.00                            $0.00                                              $0.00
P Standard General Onshore LLC
c/o Standard General L.P.
Attn: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                            2849    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                            $0.00                                              $0.00
P Standard General Onshore LLC
c/o Standard General L.P.
Attn: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                            2882    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Pablo Sanchez, Julia
167 N Herbert Ave
Los Angeles, CA 90063                         1882    4/10/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00




                                                                                                            Page 135 of 202
                                                                        Case 16-12551-BLS          Doc 2329      Filed 12/23/20       Page 136 of 202



                                                                                                       Claim Register
                                                                                     In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                     Case No. 16-12551


                                                                                                                                             Current General                                  Current 503(b)(9)
                                                                                                                                                             Current Priority Current Secured                    Current Admin    Total Current
                 Creditor Name and Address   Claim No. Claim Date                              Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                              Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                 Amount                                           Amount
Pablo Sanchez, Julia
167 N Herbert Ave
Los Angeles, CA 90063                          1887    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Pacheco, Cristina
2530 Grand Ave
Huntington Park, CA 90255                      2565    4/12/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Pacheco, Cristina
2530 Grand Ave
Huntington Park, CA 90255                      2745    4/12/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Pacific Bell Telephone Company
c/o AT&T Services, Inc. Karen A. Cavagnaro
One AT&T Way, Room 3a104
Bedminster, NJ 07921                           669      3/9/2017         APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                      $1,036.62                                                                           $1,036.62
Pacific Bell Telephone Company
c/o AT&T Services, Inc. Karen A. Cavagnaro
One AT&T Way, Room 3A104
Bedminster, NJ 07921                           670      3/9/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                          $3,902.83                                                                           $3,902.83
Pacific Continental Textiles, Inc.
18737 S Reyes Avenue
Rancho Dominguez, CA 90221                      66     12/13/2016         APP Winddown, LLC (f/k/a American Apparel, LLC)                        $154,304.26                                          $4,000.00                     $158,304.26
PACIFIC STEAM EQUIPMENT INC.
11748 SLAUSON AVE
SANTA FE SPRINGS, CA 90670-2227                958     3/21/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                          $1,920.00                                                                           $1,920.00
Pacificorp
PO Box 25308
Salt Lake City, UT 84125                       256     1/31/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                          $1,270.93                                                                           $1,270.93
Pack, Jessica
1234 Wilshire Blvd. #212
Los Angeles, CA 90017                          722     3/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                              $27.61                                            $27.61
Padilha, Stephanie
1990 S BUNDY DR STE 620
LOS ANGELES
, CA 90025-5690                                1451     4/6/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
PADILHA, STEPHANIE
C/O KEITH A. FINK & ASSOCIATES
1990 S BUNDY DR STE 620
LOS ANGELES, CA 90025-5690                     1433     4/6/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                         $0.00                                                                               $0.00
Padilha, Stephanie
c/o Keith A. Fink & Associates
1990 S BUNDY DR STE 620
Los Angeles, CA 90025-5690                     1446     4/6/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                    $0.00                                                                               $0.00
Padilla, Juana
222 E. 59 Pl
Los Angeles, CA 90003                          2557    4/13/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Padilla, Juana
222 E. 59 Pl
Los Angeles, CA 90003                          2581    4/13/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Padilla, Juana
6101 Marbrisa Ave #C
Huntington Park, CA 90255                      1410     4/6/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Padilla, Juana
6101 Marbrisa Ave #C
Huntington Park, CA 90255                      1411     4/6/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
PALAD, GHOLAMHOSSEIN
801-8 SMITHE MEWS
VANCOUVER, BC V6B 0A5
CANADA                                         963     3/21/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
Palermo, Swan
1402 3/4 Edgecliffe Dr.
Los Angeles, CA 90026                          3321    6/21/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $50.00                                                                             $50.00

                                                                                                        Page 136 of 202
                                                                       Case 16-12551-BLS          Doc 2329      Filed 12/23/20       Page 137 of 202



                                                                                                      Claim Register
                                                                                    In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                    Case No. 16-12551


                                                                                                                                            Current General                                  Current 503(b)(9)
                                                                                                                                                            Current Priority Current Secured                    Current Admin    Total Current
                Creditor Name and Address   Claim No. Claim Date                              Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                             Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                Amount                                           Amount
Palm Beach County Tax Collector
Attn.: Legal Services Department
PO Box 3715
West Palm Beach, FL 33402-3715                950     3/24/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                $2,878.48                                                           $2,878.48
Palm Beach County Tax Collector
Attn.: Legal Services Department
PO Box 3715
West Palm Beach, FL 33402-3715                993     3/24/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                $2,753.61                                                           $2,753.61
Pan, Yue Mei
855 Centennial St. #7
Los Angeles, CA 90012                         2711    4/13/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Pan, Yue Mei
855 Centennial St. #7
Los Angeles, CA 90012                         2744    4/13/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Panama, Francisca
5650 Cambridge Way #15
Culver City, CA 90230                         2811    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                         $0.00           $0.00            $0.00            $0.00                             $0.00
Panama, Francisca
5650 Cambridge Way #15
Culver City, CA 90230                         2758    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Pando, Ana M
204 Cedar Ct
Montebello, CA 90640                          1577    4/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
Pando, Ana M
204 Cedar Ct
Montebello, CA 90640                          1668    4/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                              $0.00                                                               $0.00
Panullo, Christina
51 7th Avenue South, Apt 2A
New York, NY 10014                            3156    4/24/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $78.00                                                                             $78.00
Pardee, Marina
34 Desbrosses St
Apt 800
New York, NY 10013                            518     2/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $40.00                                                                             $40.00
Parga, Amanda
37383 Fremont Blvd. Apt. #4
Fremont, CA 94536                             815     3/16/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $85.86                                                                             $85.86
Park, Elle
18 Elm Street
Woodbury, NY 11797                            1126    3/29/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $98.00                                                                             $98.00
Parker IV, Samuel
449 W. Knowlton Rd.
Media, PA 19063                               349      2/9/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $22.00                                                                             $22.00
Parra, Priscila
430 AUTUMN AVE
BROOKLYN, NY 11208-2903                       407     2/14/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $26.00                                                                             $26.00
Partipelo, Krista
1867 Madison St. Apt. 3L
Ridgewood, NY 11385                           1212     4/3/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $42.00                                                                             $42.00
Patel, Priya
737 W. Washington Blvd., Unit 2301
Chicago, IL 60661                             3362    9/28/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                        $50.00                                                                             $50.00
Patel, Tejal
2333 W SAINT PAUL AVE APT 314
CHICAGO, IL 60647-5394                        3177    4/26/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $45.89                                                                             $45.89
Patino, Ana Castellanos
10430 Annetta Ave
South Gate, CA 90280                          2400    4/12/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Patino, Ana Castellanos
10430 Annetta Ave
South Gate, CA 90280                          2423    4/12/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00

                                                                                                       Page 137 of 202
                                                                            Case 16-12551-BLS          Doc 2329       Filed 12/23/20      Page 138 of 202



                                                                                                           Claim Register
                                                                                         In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                         Case No. 16-12551


                                                                                                                                                 Current General                                  Current 503(b)(9)
                                                                                                                                                                 Current Priority Current Secured                    Current Admin    Total Current
                Creditor Name and Address   Claim No. Claim Date                                   Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                                  Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                     Amount                                           Amount
PAUL HASTINGS LLP
ATTN: MARC CARMEL
71 S WACKER DR. 45TH FLOOR
CHICAGO, IL 60606                             2008    4/10/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                    $21,377.76                                                                          $21,377.76
Paul Hastings LLP
Attn: Marc Carmel
71 S Wacker Dr. 45th Floor
Chicago, IL 60606                             2073    4/10/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                            $29,863.00       $29,863.00
Payami, Kimya
18872 Rockinghorse Lane
Huntington Beach, CA 92648                    3392    12/12/2017              APP Winddown, LLC (f/k/a American Apparel, LLC)                             $40.00                                                                             $40.00
Peco Energy Company
2301 Market Street, S23-1
Philadelphia, PA 19103                        1082    3/28/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                            $405.63                                                                            $405.63
Pedro, Candelaria Mateo
144 W. Colden Ave
Los Angeles, CA 90003                         1961    4/10/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Pedro, Maria Miguel
521 S Union Dr Apt 102
Los Angeles, CA 90017                         1547     4/7/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Pedro, Maria Miguel
521 S. Union Dr Apt 102
Los Angeles, CA 90017                         1459     4/7/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Pelland, Katherine
317 E Pointe Lane, Apt. #F5
East Lansing, MI 48823                        3320    6/20/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                   $59.36                                                                             $59.36
Pemberton, Karen Marcia
1579 17th Avenue
San Francisco, CA 94122                       217     1/26/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                            $197.47                                                                            $197.47
Pena Aleman, Merty Gonzalez
11932 SW 134th Ct
Miami, FL 33186                               3170    4/26/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                        $50.00                                                                             $50.00
Peng, Shuhuan
159 West 53rd Street Apt 26F
New York, NY 10019                            3265    5/17/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                            $144.11                                                                            $144.11
Peng, Yuanyun
664 Beaver Ct.
Naperville, IL 60563                          184     1/24/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                            $230.27                                                                            $230.27
Peng, Yuanyun
664 Beaver Ct.
Naperville, IL 60563                          1217     4/3/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
Pennsylvania Department of Revenue
Bankruptcy Division
PO Box 280946
Harrisburg, PA 17128-0946                     3014    4/17/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00           $0.00                                                               $0.00
Pennsylvania Department of Revenue
Bankruptcy Division
PO Box 280946
Harrisburg, PA 17128-0946                     3030    4/17/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                    $0.00           $0.00                                                               $0.00
Pentwater Event Driven Cayman Fund Ltd.
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 Davis St.
Evanston, IL 60201                            2228    4/11/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                $0.00                   $218,727,784.00                            $0.00 $218,727,784.00
Pentwater Event Driven Cayman Fund Ltd.
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 Davis St.
Evanston, IL 60201                            2303    4/11/2017           APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)                                                                                         $0.00            $0.00


                                                                                                            Page 138 of 202
                                                                            Case 16-12551-BLS          Doc 2329       Filed 12/23/20      Page 139 of 202



                                                                                                           Claim Register
                                                                                         In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                         Case No. 16-12551


                                                                                                                                                 Current General                                  Current 503(b)(9)
                                                                                                                                                                 Current Priority Current Secured                    Current Admin    Total Current
                Creditor Name and Address   Claim No. Claim Date                                   Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                                  Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                     Amount                                           Amount
Pentwater Event Driven Cayman Fund Ltd.
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 Davis St.
Evanston, IL 60201                            2476    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Pentwater Event Driven Cayman Fund Ltd.
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 Davis St.
Evanston, IL 60201                            2477    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
Pentwater Event Driven Cayman Fund Ltd.
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 Davis St.
Evanston, IL 60201                            2478    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                  $218,727,784.00                             $0.00 $218,727,784.00
Pentwater Event Driven Cayman Fund Ltd.
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 Davis St.
Evanston, IL 60201                            2515    4/11/2017              APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                                                                                             $0.00            $0.00
Pentwater Event Driven Cayman Fund Ltd.
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 Davis St.
Evanston, IL 60201                            2540    4/11/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                       $0.00            $0.00
Pentwater Event Driven Cayman Fund Ltd.
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 Davis St.
Evanston, IL 60201                            2544    4/11/2017           APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)                      $0.00                  $218,727,784.00                             $0.00 $218,727,784.00
Pentwater Event Driven Cayman Fund Ltd.
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 Davis St.
Evanston, IL 60201                            2546    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
Pentwater Event Driven Cayman Fund Ltd.
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 Davis St.
Evanston, IL 60201                            2554    4/11/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                    $0.00                  $218,727,784.00                             $0.00 $218,727,784.00
Pentwater Event Driven Cayman Fund Ltd.
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 Davis St.
Evanston, IL 60201                            2608    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                         $0.00                  $218,727,784.00                             $0.00 $218,727,784.00
Pentwater Event Driven Cayman Fund Ltd.
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 Davis St.
Evanston, IL 60201                            2654    4/11/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                                                                                   $0.00            $0.00
Pentwater Event Driven Cayman Fund Ltd.
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 Davis St.
Evanston, IL 60201                            2676    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                              $0.00            $0.00
Pentwater Event Driven Cayman Fund Ltd.
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 Davis St.
Evanston, IL 60201                            2684    4/11/2017              APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                          $0.00                  $218,727,784.00                             $0.00 $218,727,784.00

                                                                                                            Page 139 of 202
                                                                       Case 16-12551-BLS          Doc 2329      Filed 12/23/20       Page 140 of 202



                                                                                                      Claim Register
                                                                                    In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                    Case No. 16-12551


                                                                                                                                            Current General                                  Current 503(b)(9)
                                                                                                                                                            Current Priority Current Secured                    Current Admin    Total Current
                Creditor Name and Address   Claim No. Claim Date                              Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                             Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                Amount                                           Amount
Peoples Natural Gas Company LLC
S. James Wallace, P.C.
845 North Lincoln Avenue
Pittsburgh, PA 15233                          156     1/17/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $126.18                                                                            $126.18
Pepperjam, LLC
7 South Main St. 3rd Floor
Wilkes-Barre, PA 18701                        621      3/6/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                   $149,887.35                                                                        $149,887.35
Perez, Clara Luz
1600 N. Bronson Ave #4
Los Angeles, CA 90028                         1365     4/6/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Perez, Clara Luz
1600 N. Bronson Ave #4
Los Angeles, CA 90028                         1397     4/6/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Perez, Jorge
655 S. La Verne Ave.
Los Angeles, CA 90022                         3190    4/27/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Perez, Jorge
655 S. La Verne Ave.
Los Angeles, CA 90022                         3193    4/27/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Perez, Julia
9817 S San Pedro St
Los Angeles, CA 90003                         2641    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Perez, Julia C.
9817 S. San Pedro St
Los Angeles, CA 90003                         2694    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Perez, Lorena
2309 S Ridgeley Dr., Apt. 5
Los Angeles, CA 90016                         2050    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Perez, Lorena
2309 S. Ridgeley Dr.
Apt 5
Los Angeles, CA 90016                         2342    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Perez, Maria
1197 E. 33rd St.
Los Angeles, CA 90011                         1497     4/7/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Perez, Maria
1197 E. 33rd St.
Los Angeles, CA 90011                         1563     4/7/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
PERFINO, ESPERANZA
8171 7TH ST.
BUENA PARK, CA 90621                          3205     5/1/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
PERFINO, ESPERANZA
8171 7TH ST.
BUENA PARK, CA 90621                          3206     5/1/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Perkins, Elizabeth
#303 Division St.
Chicago, IL 60610                             924     3/21/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $160.60                                                                            $160.60
Perkins, Tiffany
77 N 46th Street
Philadelphia, PA 19139                        3326    6/29/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                   $54.90                                                                             $54.90
Perry, Martin
9722 Clearbrook Dr.
Huntington Beach, CA 92646                    3154    4/24/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $140.40                                                                            $140.40
Petermann, Kim
PO Box 2459
Edwards, CO 81632                             540     2/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $19.60                                                                             $19.60
Pforzheimer, Jesse
PO Box 40010
Studio City, CA 91614                         258     1/30/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $112.86                                                                            $112.86


                                                                                                       Page 140 of 202
                                                                      Case 16-12551-BLS          Doc 2329      Filed 12/23/20       Page 141 of 202



                                                                                                     Claim Register
                                                                                   In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                   Case No. 16-12551


                                                                                                                                           Current General                                  Current 503(b)(9)
                                                                                                                                                           Current Priority Current Secured                    Current Admin    Total Current
               Creditor Name and Address   Claim No. Claim Date                              Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                            Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                               Amount                                           Amount
Phimmasone, Janchira
12835 Farnell St
Baldwin Park, CA 91706                       2338    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Phimmasone, Janchira
12835 Farnell St
Balwin Park, CA 91706                        2153    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
PHOTO THROW
9 ELDORADO BLVD
PLAINVIEW, NY 11803-4608                     684      3/9/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                          $2,100.00                                                                           $2,100.00
PHOTO THROW, INC.
280 N MIDLAND AVE BLDG J1 STE 340
SADDLE BROOK, NJ 07663-5790                  713      3/9/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                          $2,000.00                                                                           $2,000.00
Phun, Kiu
20 North Fourth, #A
Alhambra, CA 91801                           2299    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
Phun, Kiu A.
20 N 4th St Apt. A
Alhambra, CA 91801                           2308    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
Phung, Sau Thi
2434 Stevens Ave.
Rosemead, CA 91770                           3094    4/19/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Pico Store Equipment Co.
200 West Pico Blvd.
Los Angeles, CA 90015                         72     12/15/2016         APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
Pico Store Equipment Co., Inc.
4800 Oakwood Ave.
Los Angeles, CA 90004                        923     3/21/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                          $2,925.25                                                                           $2,925.25
Pilkington, Hannah
11748 Mayfield Ave
Apartment 1
Los Angeles, CA 90049                        1330     4/6/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                   $24.00                                                                             $24.00
PIMENTEL, ARTEMIO
1865 E 51ST ST # 405
LOS ANGELES, CA 90058-1906                   954     3/21/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00           $0.00                                                               $0.00
Pimentel, Artemio
1865 E. 51st St. #405
Los Angeles, CA 90058                        918     3/21/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
Pimentel, Norma
3711 Wall St
Los Angeles, CA 90011                        2895    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                              $0.00                                                               $0.00
Pimentel, Norma
3711 Wall St.
Los Angeles, CA 90011                        2888    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
Pimentel, Victor
10611 Croesus Ave
Los Angeles, CA 90002                        889     3/20/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
Pimentel, Victor
10611 Croesus Ave
Los Angeles, CA 90002                        890     3/20/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                              $0.00                                                               $0.00
Pimentel, Victor
2818 Michigan Ave
Los Angeles, CA 90033                        2187    4/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
Pimentel, Victor
2818 Michigan Ave.
Los Angeles, CA 90033                        2038    4/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                              $0.00                                                               $0.00
Pina, Sonia
5 Maybury St
Boston, MA 02121                             3063    4/18/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                              $116.00                          $116.00




                                                                                                      Page 141 of 202
                                                                           Case 16-12551-BLS          Doc 2329      Filed 12/23/20       Page 142 of 202



                                                                                                          Claim Register
                                                                                        In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                        Case No. 16-12551


                                                                                                                                                Current General                                  Current 503(b)(9)
                                                                                                                                                                Current Priority Current Secured                    Current Admin    Total Current
               Creditor Name and Address   Claim No. Claim Date                                   Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                                 Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                    Amount                                           Amount
Pinecone + Chickadee
6 Free Street
Portland, ME 04101                           485     2/22/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                             $71.34                                             $0.00                           $71.34
Pineda, Gregorio
5661 Muller Street
Bell Gardens, CA 90201                       2750    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Pineda, Gregorio
5661 Muller Street
Bell Gardens, CA 90201                       2885    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Pineda, Sandra
160 W 47th St
Los Angeles, CA 90037                        3173    4/26/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                              $0.00                                                               $0.00
Pineda, Sandra
160 W 47th St
Los Angeles, CA 90037                        3174    4/26/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
Pinedo-Dongo, Walter A.
8 Gauguin Circle
Aliso Viejo, CA 92656                        2956    4/14/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Pinedo-Dongo, Walter A.
8 Gauguln Circle
Aliso Viejo, CA 92656-3858                   2962    4/14/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Pinilla, Vivian Camila
733 N. Adams Apt. A
Glendale, CA 91206                           554     2/28/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                             $85.02                                                                             $85.02
Pizano, Veronica
9529 Melita St
Pico Rivera, CA 90660                        2976    4/17/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                $0.00                             $0.00
Pizano, Veronica
9529 Melita St
Pico Rivera, CA 90660                        2981    4/17/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
PJ INTERNATIONAL
PO Box 10900
Westminster, CA 92685-0900                   656      3/8/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                                                                                   $0.00            $0.00
PJ INTERNATIONAL
PO Box 10900
Westminster, CA 92685-0900                   657      3/8/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                $0.00                                                                               $0.00
PlusUp LLC
164 Park Avenue
Palo Alto, CA 94306                           83     12/20/2016         APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                    $23,400.72                                                                          $23,400.72
POLARTEX AMERICA, INC.
14910 GWENCHRIS CT.
PARAMOUNT, CA 90723                           41     12/2/2016          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                    $25,977.05                                                                          $25,977.05
POLARTEX AMERICA, INC.
14910 GWENCHRIS CT.
PARAMOUNT, CA 90723                           42     12/2/2016              APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                          $0.00                                                                               $0.00
POLINSKY, LAUREN
5 BRANDYWINE DRIVE
WHITE PLAINS, NY 10605                       2007    4/10/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                   $22.00                                                                             $22.00
POLLOCK, RICHARD
24744 GILMORE ST
WEST HILLS, CA 91307                         1093    3/27/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
Pomerantz, Marcia
330 West 28th St #7D
New York, NY 10001                           708      3/9/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                      $58.00          $58.00
Pongkan, Patchara
397 Linden St.
Apt 1R
Brooklyn, NY 11237                           1014    3/26/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                $0.00                             $0.00




                                                                                                           Page 142 of 202
                                                                         Case 16-12551-BLS          Doc 2329      Filed 12/23/20       Page 143 of 202



                                                                                                        Claim Register
                                                                                      In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                      Case No. 16-12551


                                                                                                                                              Current General                                  Current 503(b)(9)
                                                                                                                                                              Current Priority Current Secured                    Current Admin    Total Current
                  Creditor Name and Address   Claim No. Claim Date                              Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                               Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                  Amount                                           Amount
Pontarelli, Mina
9907 Saint Andrews Drive
Marengo, IL 60152                               3121    4/21/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $20.00                                                                             $20.00
Portillo, Maria Guadalupe
2754 Fairmount St.
Los Angeles, CA 90033                           1933    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Portillo, Maria Guadalupe
2754 Fairmount St.
Los Angeles, CA 90033                           1977    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Portland General Electric (PGE)
7895 SW Mohawk St. / ERC
Tualatin, OR 97062                              257     1/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $647.25                                                                            $647.25
Portolano, Fabiana
225 East 57th Street
Apt 17H
New York, NY 10022                              3226     5/8/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $56.00                                                                             $56.00
POSTERGIANT, INC.
1205 E PIKE STREET, STE BB
SEATTLE, WA 98122                               1946    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                         $10,000.00                                                                          $10,000.00
Postmates Inc.
Rob Rieders
425 Market Street, 8th Floor
San Francisco, CA 94015                         135     1/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                          $1,476.03                                                                           $1,476.03
Potenza, Carissa
1325 Fifth Avenue, 4D
New York, NY 10029                              1295     4/5/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $45.00                                                                             $45.00
POULOPOULOS, PANOS
10937 WILKINS AVENUE
Apt 201
LOS ANGELES, CA 90024                           1513     4/8/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $32.00                                                                             $32.00
Powers-Figueroa, Kelly
14255 Dickens St.
Apt #5
Sherman Oaks, CA 91423                          3300     6/1/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                   $38.00                                                                             $38.00
Pownall, Pia
63 West 17th Street
Apt 4D
New York, NY 10011                              1141    3/30/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $171.40                                                                            $171.40
POZUELOS, ADAN DE JESUS
10624 STANFORD AVENUE
SOUTH GATE, CA 90280                            1695     4/8/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Pozuelos, Adan De Jesus
10624 Stanford Avenue
South Gate, CA 90280                            1696     4/8/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Pozuelos, Carlota
10624 Stanford Avenue
South Gate, CA 90280                            1471     4/8/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Pozuelos, Carlota
10624 Stanford Avenue
South Gate, CA 90280                            1485     4/8/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Pozuelos, Carlota
10624 Stanford Avenue
South Gate, CA 90280                            1486     4/8/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Pozuelos, Carlota
10624 Stanford Avenue
South Gate, CA 90280                            1487     4/8/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Pozuelos, Carlota
10624 Stanford Avenue
South Gate, CA 90280                            1489     4/8/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00


                                                                                                         Page 143 of 202
                                                                      Case 16-12551-BLS          Doc 2329      Filed 12/23/20       Page 144 of 202



                                                                                                     Claim Register
                                                                                   In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                   Case No. 16-12551


                                                                                                                                           Current General                                  Current 503(b)(9)
                                                                                                                                                           Current Priority Current Secured                    Current Admin    Total Current
               Creditor Name and Address   Claim No. Claim Date                              Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                            Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                               Amount                                           Amount
Pozuelos, Carlota
10624 Stanford Avenue
South Gate, CA 90280                         1491     4/8/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Pozuelos, Carlota
10624 Stanford Avenue
South Gate, CA 90280                         1509     4/8/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Praxair Distribution Inc.
c/o RMS (an iQor Company)
P.O. Box 361345
Columbus, OH 43236                           147     1/13/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $680.12                                                                            $680.12
Precision Window Tinting, LLC
Bryan Yamakawa
125 S Kenilworth Ave
Mount Prospect, IL 60056                      25     11/28/2016   APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                $3,176.00                                                                           $3,176.00
Premier Label & Zipper
Attn: Zeke Feigenbaum
1809 Harriman Lane #B
Redondo Beach, CA 90278                       54     12/7/2016          APP Winddown, LLC (f/k/a American Apparel, LLC)                          $4,577.20                                           $585.20                         $5,162.40
Price, Toni
2907 Piccadilly Circus
Pearland, TX 77581                           723     3/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $25.00                                                                             $25.00
PRIETO, MARIA
2312 JULIET ST
LOS ANGELES, CA 90007-1517                   917     3/21/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $576.00                                                                            $576.00
PRIETO, SALVADOR
2512 WABASH AVE
LOS ANGELES, CA 90033                        3016    4/17/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
PRIETO, SALVADOR
2512 WABASH AVE
LOS ANGELES, CA 90033                        3020    4/17/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Priindiville, Anne
1220 Sheridan Rd
Wilmette, IL 60091                           1712    4/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                             $88.49                                                             $88.49
Primary Color Systems Corp.
265 Briggs Ave.
Costa Mesa, CA 92626                         1023    3/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
PRIMARY COLOR SYSTEMS, CORP.
WALTER VOSS
265A BRIGGS AVE
COSTA MESA, CA 92626                         1044    3/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
Printfresh LLC
c/o Printfresh Studio
2930 JASPER ST UNIT 408
Philadelphia, PA 19134-3532                  1151    3/30/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                     $1,600.00                                                                           $1,600.00
Printful, Inc.
Attn: Zane Levsa
11025 Westlake Dr.
Charlotte, NC 28273                          521     2/24/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                         $12,170.69                                                                          $12,170.69
PROMOCorner
Attn: General Counsel
PO Box 505
Middleboro, MA 02346                         1552     4/7/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                     $5,530.66                                                                           $5,530.66
Protex Inc
42 Siu-Ro Danwon-Gu
Ansan-Si, Gyeonggi-Do 15436
Korea                                         17     11/22/2016    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                    $50,402.00                                                                          $50,402.00
PSEGLI
Special Collections
15 Park Drive
Melville, NY 11747                            96     12/27/2016   APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                $2,849.95                                                                           $2,849.95

                                                                                                      Page 144 of 202
                                                                                             Case 16-12551-BLS          Doc 2329       Filed 12/23/20      Page 145 of 202



                                                                                                                            Claim Register
                                                                                                          In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                                          Case No. 16-12551


                                                                                                                                                                  Current General                                  Current 503(b)(9)
                                                                                                                                                                                  Current Priority Current Secured                    Current Admin    Total Current
                 Creditor Name and Address                   Claim No. Claim Date                                   Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                                                   Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                                      Amount                                           Amount
Puac, Romelia
421 S Bixel St Apt 103
Los Angeles, CA 90017                                          1319     4/5/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Puac, Romelia
421 S Bixel St Apt 103
Los Angeles, CA 90017                                          1340     4/5/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Public Service of Colorado A Colorado Corporation dba Xcel
Energy
Xcel Energy att: Kimbra Seawright
PO Box 9477
Minneapolis, MN 55484                                           7      11/21/2016        APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                $1,465.29                                                                           $1,465.29
PUGH, DANIEL A
1608 W 79TH ST
LOS ANGELES, CA 90047-2829                                     991     3/23/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
PWCM Master Fund Ltd.
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 Davis St.
Evanston, IL 60201                                             2194    4/11/2017              APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                                                                                             $0.00            $0.00
PWCM Master Fund Ltd.
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 Davis St.
Evanston, IL 60201                                             2294    4/11/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                    $0.00                   $218,727,784.00                            $0.00 $218,727,784.00
PWCM Master Fund Ltd.
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 Davis St.
Evanston, IL 60201                                             2314    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                              $0.00            $0.00
PWCM Master Fund Ltd.
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 Davis St.
Evanston, IL 60201                                             2460    4/11/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                       $0.00            $0.00
PWCM Master Fund Ltd.
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 Davis St.
Evanston, IL 60201                                             2461    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
PWCM Master Fund Ltd.
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 Davis St.
Evanston, IL 60201                                             2497    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
PWCM Master Fund Ltd.
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 Davis St.
Evanston, IL 60201                                             2527    4/11/2017              APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                          $0.00                   $218,727,784.00                            $0.00 $218,727,784.00
PWCM Master Fund Ltd.
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 Davis St.
Evanston, IL 60201                                             2587    4/11/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                $0.00                   $218,727,784.00                            $0.00 $218,727,784.00
PWCM Master Fund Ltd.
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 Davis St.
Evanston, IL 60201                                             2605    4/11/2017           APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)                                                                                         $0.00            $0.00


                                                                                                                             Page 145 of 202
                                                                            Case 16-12551-BLS          Doc 2329       Filed 12/23/20    Page 146 of 202



                                                                                                           Claim Register
                                                                                         In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                         Case No. 16-12551


                                                                                                                                                 Current General                                  Current 503(b)(9)
                                                                                                                                                                 Current Priority Current Secured                    Current Admin    Total Current
                Creditor Name and Address   Claim No. Claim Date                                   Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                                  Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                     Amount                                           Amount
PWCM Master Fund Ltd.
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 Davis St.
Evanston, IL 60201                            2610    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                   $218,727,784.00                            $0.00 $218,727,784.00
PWCM Master Fund Ltd.
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 Davis St.
Evanston, IL 60201                            2627    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
PWCM Master Fund Ltd.
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 Davis St.
Evanston, IL 60201                            2640    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                         $0.00                   $218,727,784.00                            $0.00 $218,727,784.00
PWCM Master Fund Ltd.
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 Davis St.
Evanston, IL 60201                            2650    4/11/2017           APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)                      $0.00                   $218,727,784.00                            $0.00 $218,727,784.00
PWCM Master Fund Ltd.
c/o Pentwater Capital Management LP
Attn: Neal Nenadovic
614 Davis St.
Evanston, IL 60201                            2682    4/11/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                                                                                   $0.00            $0.00
Quach, Kien Tu
2445 W Repetto Ave
Montebello, CA 90640-3015                     1357     4/5/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
QUALITY MEDICAL SERVICE
17124 S. WESTERN AVE. #4
GARDENA, CA 90247                             893     3/20/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
Quandt, Karen
1516 Winchester Rd
Annapolis, MD 21409                           680      3/9/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                            $140.00                                                                            $140.00
Quintana, Maria Blanca
1301 W Court St. #108
Los Angeles, CA 90026                         2917    4/14/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
Quintanilla, Lorena
548 S 6th Street Apt C
Montebello, CA 90640                          2763    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Quintanilla, Lorena
548 S 6th Street Apt C
Montebello, CA 90640                          2812    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Quintero, Jose
5701 Gifford Ave #D
Maywood, CA 90270                             2968    4/17/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                              $0.00                                                               $0.00
Quintero, Jose
5701 Gifford Ave #D
Maywood, CA 90270                             2983    4/17/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
Quiroz, Maria
1314 E. 27th Street
Los Angeles, CA 90011                         1578    4/10/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
Quiroz, Maria
1314 E. 27th Street
Los Angeles, CA 90011                         1739    4/10/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
Quon, Hong L
345 West Acacia Ave Apt 17
Glendale, CA 91204                            1049    3/27/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00




                                                                                                            Page 146 of 202
                                                                           Case 16-12551-BLS          Doc 2329      Filed 12/23/20       Page 147 of 202



                                                                                                          Claim Register
                                                                                        In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                        Case No. 16-12551


                                                                                                                                                Current General                                  Current 503(b)(9)
                                                                                                                                                                Current Priority Current Secured                    Current Admin    Total Current
                 Creditor Name and Address      Claim No. Claim Date                              Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                                 Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                    Amount                                           Amount
Quon, Hong L
345 West Acacia Ave Apt 17
Glendale, CA 91204                                1165    3/31/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Quon, Hong L
345 West Acacia Ave Apt 17
Glendale, CA 91204                                1175    3/31/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Qwest Corporation dba CenturyLink QC
Centurylink Communications, LLC. - Bankruptcy
931 14th St
Denver, CO 80202-2994                             110     12/28/2016         APP Winddown, LLC (f/k/a American Apparel, LLC)                          $1,085.04                                                                           $1,085.04
Qwest Corporation dba CenturyLink QC
Centurylink Communications, LLC. - Bankruptcy
931 14th St
Denver, CO 80202-2994                             3367    10/17/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                               $229.49         $229.49
R&R Textile
Hyuk Jung
13747 Capistrano Rd
La Mirada, CA 90638                                51     12/6/2016          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
R&R Textile
Hyuk Jung
13747 Capistrano Rd
La Mirada, CA 90638                               812     3/15/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
R&R Textile (Hyuk Jung)
13747 Capistrano Rd
La Mirada, CA 90638                               813     3/15/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                     $7,978.86                                                              $0.00        $7,978.86
Rabin, Selma
167 E. 61st St Apt 22AB
New York, NY 10065                                1285     4/4/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                   $77.63                                                                             $77.63
Racquet & Jog Tyler's/ Tyler's
14250 FM Rd 344 West
Bullard, TX 75757                                 2426    4/13/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                         $0.00                                                                               $0.00
RAD, ELNAZ
4121 24TH ST APT 7H
LONG ISLAND CITY, NY 11101-3960                   3263    5/16/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                   $50.00                                                                             $50.00
Radoo, Danielle
600 S Spring St. Unit 902
Los Angeles, CA 90014                             432     2/16/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                            $350.37                           $350.37                          $700.74
Rajkovic, Adi
217 N Woodland Rd.
Pittsburgh, PA 15232                               70     12/15/2016    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                     $1,742.92                                                                           $1,742.92
Ramales, Eva Robles
124 1/2 E. 24th Street
Los Angeles, CA 90011                             2765    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Ramales, Eva Robles
124 1/2 E. 24th Street
Los Angeles, CA 90011                             2785    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Ramey, Anamaria
101 Belvedere Dr Apt 7
Mill Valley, CA 94941                             473     2/22/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $19.00                                                                             $19.00
Ramirez Rangel, Victoria
1347 W 103rd St
Los Angeles, CA 90044                             1899    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Ramirez, Catarina
820 S. Grandview St # 306
Los Angeles, CA 90057                             1412     4/6/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Ramirez, Catarina
820 S. Grandview St # 306
Los Angeles, CA 90057                             1413     4/6/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00




                                                                                                           Page 147 of 202
                                                                      Case 16-12551-BLS         Doc 2329      Filed 12/23/20     Page 148 of 202



                                                                                                     Claim Register
                                                                                   In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                   Case No. 16-12551


                                                                                                                                           Current General                                  Current 503(b)(9)
                                                                                                                                                           Current Priority Current Secured                    Current Admin    Total Current
                 Creditor Name and Address   Claim No. Claim Date                            Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                            Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                               Amount                                           Amount
Ramirez, Juliana
916 S. Georgia St. # 305
Los Angeles, CA 90015                          1918    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                        $0.00                                                                               $0.00
Ramirez, Juliana
916 S. Georgia St. # 305
Los Angeles, CA 90015                          1923    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Ramirez, Juliana
916 S. Georgia St. # 305
Los Angeles, CA 90015                          2419    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Ramirez, Juliana
916 S. Georgia St. #305
Los Angeles, CA 90015                          2265    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Ramirez, Michelle
10604 Telfair ave
Pacoima, CA 91331                              3186    4/28/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $18.00                                                                             $18.00
Ramos, Julio H.
3474 E. First St. #150
Los Angeles, CA 90063                          3098    4/19/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                             $0.00                                                               $0.00
Ramos, Pablo Jeremias
c/o Keith A. FInk & Associates
1990 S Bundy Dr Ste 620
Los Angeles, CA 90064-5690                     183     1/24/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                                               $0.00
Ramos, Rene
1990 S BUNDY DR STE 620
LOS ANGELES, CA 90025-5690                     199     1/24/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                                               $0.00
Ramos, Vilma
11242 S New Hampshire Ave
Apt 6
Los Angeles, CA 90044                          1598     4/7/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Ramos, Vilma
11242 S New Hampshire Ave
Apt 6
Los Angeles, CA 90044                          1619     4/7/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Rangel, Juana
2719 LANFRANCO ST
Los Angeles, CA 90033-4426                     1970    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Rangel, Juana
2719 LANFRANCO ST
Los Angeles, CA 90033-4426                     2190    4/10/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                             $0.00                                                               $0.00
Rangel, Manuel
913 W 82nd Street
Los Angeles, CA 90044                          1583    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Rangel, Manuel
913 W 82nd Street
Los Angeles, CA 90044                          1636    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Rangel, Maria Luisa
438 1/2 E 81st St
Los Angeles, CA 90003                          2709    4/13/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Rangel, Maria Luisa
438 1/2 E 81st St
Los Angeles, CA 90003                          2714    4/13/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Rangel, Victoria Ramirez
1347 W 103 Rd St
Los Angeles, CA 90044                          1953    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Ray, Amberly
6003 Redding Rd.
Houston, TX 77036                              250     1/31/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $67.12                                                                             $67.12
Raya, Agga
175 N. Ada St # 308
Chicago, IL 60607                              390     2/13/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $184.26                                                                            $184.26

                                                                                                      Page 148 of 202
                                                                                         Case 16-12551-BLS          Doc 2329      Filed 12/23/20       Page 149 of 202



                                                                                                                        Claim Register
                                                                                                      In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                                      Case No. 16-12551


                                                                                                                                                              Current General                                  Current 503(b)(9)
                                                                                                                                                                              Current Priority Current Secured                    Current Admin    Total Current
                 Creditor Name and Address                    Claim No. Claim Date                              Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                                               Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                                  Amount                                           Amount
Raymond Handling Solutions, Inc.
9939 Norwalk Blvd.
Santa Fe Springs, CA 90670                                      616      3/6/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                    $48,834.71                                                                          $48,834.71
Raymundo, Alberto
2714 So. Cloverdale Ave.
Los Angeles, CA 90016                                           2966    4/17/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Rayon P., Maria
1141 E. 28th St # 3
Los Angeles, CA 90011                                           2085    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Rayon P., Maria
1141 E. 28th St # 3
Los Angeles, CA 90011                                           2292    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Reasor, Makenzi Lee
9684 Legare Street
Fishers, IN 46038                                               607      3/3/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $115.83                                                                            $115.83
Refinery 29 Inc.
Attn: Accounting
225 Broadway
Floor 23
New York, NY 10007                                              795     3/15/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                         $25,000.00                                                                          $25,000.00
Refugio, Elvira
525 S Lorena St
Los Angeles, CA 90063                                           1684    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Refugio, Elvira
525 S Lorena St
Los Angeles, CA 90063                                           1845    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Regency Merdian, LLC (for premises known as 1504 6th Ave.,
Seattle, WA)
Leslie Heilman, Esq. c/o Ballard Spahr LLP
919 N. Market Street, 11th Floor
Wilmington, DE 19801                                            278     1/31/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)              $112,362.23                                                                        $112,362.23
Regency Meridian, LLC (for premises known as 1504 6th Ave.,
Seattle, WA)
c/o Leslie Heilman, Esq.
Ballard Spahr, LLP
919 N. Market Street, 11th Floor
Wilmington, DE 19801                                            288     1/31/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                       $0.00            $0.00
Rego Consulting
2115 N Main St
Centerville, UT 84014                                           599      3/3/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                    $10,330.00                                                                          $10,330.00
Reiss, Aaron
208 FORSYTH ST APT 9
NEW YORK, NY 10002-1379                                         564      3/1/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $65.12                                                                             $65.12
Resnick, Elizabeth
24 West 127
Apt #1
New York, NY 10027                                              559     2/28/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
Resnick, Susan K.
4031 Terrace Lane
Minnetonka, MN 55305                                            405     2/14/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $33.60                                                                             $33.60
Resource Logistics, Inc.
c/o Mark M. Billion
922 New Road
Wilmington, DE 19805                                             39     12/1/2016     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                    $51,600.00                                                                          $51,600.00
Retail Next, Inc.
c/o DLA Piper LLP
Attn: Eric Goldberg
2000 Avenue of the Stars, Suite 400N
Los Angeles, CA 90067                                           1924    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                        $2,836.57        $2,836.57


                                                                                                                         Page 149 of 202
                                                                                              Case 16-12551-BLS          Doc 2329      Filed 12/23/20       Page 150 of 202



                                                                                                                             Claim Register
                                                                                                           In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                                           Case No. 16-12551


                                                                                                                                                                   Current General                                  Current 503(b)(9)
                                                                                                                                                                                   Current Priority Current Secured                    Current Admin    Total Current
                  Creditor Name and Address                        Claim No. Claim Date                              Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                                                    Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                                       Amount                                           Amount
Retail Next, Inc.
c/o DLA Piper LLP
Attn: Eric Goldberg
2000 Avenue of the Stars, Suite 400N
Los Angeles, CA 90067                                                1963    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                    $96,037.52                                                                          $96,037.52
Retana, Max
16328 Skywood Ct
Moreno Valley, CA 92551                                              3130    4/21/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Retana, Max
612 Howard Ave Apt 29
Montebello, CA 90640-3438                                            3131    4/21/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                         $0.00                                                                               $0.00
Reyes, Cindy
6969 Collins Ave
904
Miami Beach, FL 33141                                                663      3/8/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                       $101.65                           $101.65                          $203.30
Reyes, Cindy
6969 Collins Ave, Apt 904
Miami Beach, FL 33141                                                297      2/6/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                            $101.65                           $101.65                          $203.30
Reyes, Rocio
651 E 38th St
Los Angeles, CA 90011                                                1935    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                         $0.00                                                                               $0.00
Reyes, Rocio
651 E 38th St.
Los Angeles, CA 90011                                                1907    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Reynolds, Peter
1934 Port Locksleigh Place
Newport Beach, CA 92660                                              3332    7/13/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                        $25.00                                                                             $25.00
Reynoso, Melesia
162 E 54th St.
Los Angeles, CA 90011                                                2924    4/14/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Reynoso, Melesia
162 E 54th St.
Los Angeles, CA 90011                                                2934    4/14/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
RH Management Resources
Robert Half / Attn: Karen Lima
PO Box 5024
San Ramon, CA 94583                                                  430     2/15/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                    $27,093.84                                                                          $27,093.84
Richard L. and Marie P. Moresco, individually and as Trustees of
Revocable Trust of December
Monique Jewett-Brewster, Esq.
c/o Hopkins & Carley, A Law Corporation
70 S. First Street
San Jose, CA 95113                                                   3289    5/25/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                        $270,850.00                                                                        $270,850.00
Richard L. Moresco and Marie P. Moresco, individually, and as
Trustees of a Revocable Trust of Decem
c/o Hopkins & Carley, A Law Corporation
Monique D. Jewett-Brewster, Esq.
70 S. First Street
San Jose, CA 95113                                                   3291    5/25/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)              $270,850.00                                                                        $270,850.00
Richardson, Herman
520 Wall St. Apt#312
Los Angeles, CA 90013                                                1225     4/3/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $64.66                                                                             $64.66
Richardson, William Mark
440 W. 21st Street
New York, NY 10011                                                   358      2/9/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $80.00                                                                             $80.00
Richmond, Ellen
99 Auburn St.
Concord, NH 03301                                                    848     3/17/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                   $47.96           $47.96                                            $95.92




                                                                                                                              Page 150 of 202
                                                                     Case 16-12551-BLS         Doc 2329      Filed 12/23/20     Page 151 of 202



                                                                                                    Claim Register
                                                                                  In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                  Case No. 16-12551


                                                                                                                                          Current General                                  Current 503(b)(9)
                                                                                                                                                          Current Priority Current Secured                    Current Admin    Total Current
                Creditor Name and Address   Claim No. Claim Date                            Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                           Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                              Amount                                           Amount
Ricoh USA Inc
3920 Arkwright Road Suite 400
Macon, GA 31210                                78     12/19/2016   APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                    $9,075.69                                                                           $9,075.69
Rimm, Harry
1633 Broadway
32nd Floor
New York, NY 10019                            3041    4/17/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                             $1.00                                                                               $1.00
Riordan, Kimberly A.
448 East 84th Street Apt 5B
New York, NY 10028                            1613    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                       $16.42                                                                             $16.42
Rios, Gilberta Gonzalez
229 1/2 W 54th St
Los Angeles, CA 90037                         2422    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Rios, Gilberta Gonzalez
229 1/2 W 54th St
Los Angeles, CA 90037                         2832    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Rios, Juan
8024 3rd St
Paramount, CA 90723                           1350     4/6/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Rios, Juan
8024 3rd St
Paramount, CA 90723                           1351     4/6/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Ripa, Rashelle
2019 Voorhies Ave
Brooklyn, NY 11235                            3400    1/18/2018         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $50.00                                                                             $50.00
Ritchie, Emily
577 5TH ST
OAKLAND, CA 94607-3555                        1815    4/10/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $53.60                                                                             $53.60
Rivas, Dinora
316 N Ave 57 # 6
Los Angeles, CA 90042                         1522     4/7/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Rivas, Dinora
316 N Ave 57 # 6
Los Angeles, CA 90042                         1564     4/7/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Rivas, Nelson W.
333 E. 81st
Los Angeles, CA 90003                         1914    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Rivas, Nelson W.
333 E. 81st St
Los Angeles, CA 90003                         1878    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Rivas, Raul
2888 Francis Av.
Los Angeles, CA 90005                         2437    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Rivas, Raul
2888 Francis Av.
Los Angeles, CA 90005                         2634    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Rivera Ochoa, Esperanza
4060 S. Hoover St #104
Los Angeles, CA 90037                         1966    4/10/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                             $0.00                                                               $0.00
Rivera Ochoa, Esperanza
4060 S. Hoover St #104
Los Angeles, CA 90037                         2060    4/10/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                $0.00            $0.00
Rivera, Juana
669 S. Union Ave
Apt 208
Los Angeles, CA 90017                         1191    3/31/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                             $0.00                             $0.00                             $0.00
Rivera, Juana
669 S. Union Ave
Apt 208
Los Angeles, CA 90017                         1194    3/31/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                $0.00            $0.00

                                                                                                     Page 151 of 202
                                                                       Case 16-12551-BLS          Doc 2329      Filed 12/23/20       Page 152 of 202



                                                                                                      Claim Register
                                                                                    In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                    Case No. 16-12551


                                                                                                                                            Current General                                  Current 503(b)(9)
                                                                                                                                                            Current Priority Current Secured                    Current Admin    Total Current
                Creditor Name and Address   Claim No. Claim Date                              Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                             Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                Amount                                           Amount
Rivera, Olga
3533 9th Ave
Los Angeles, CA 90018                         1378     4/6/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Rivera, Olga
3533 9th Ave
Los Angeles, CA 90018                         1379     4/6/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
RL US Group Inc
3416 Garfield Ave
Commerce, CA 90040                             8      11/21/2016         APP Winddown, LLC (f/k/a American Apparel, LLC)                         $22,480.00                                             $0.00                        $22,480.00
Roberts, Rynell
19004 Leapwood Ave
Carson, CA 90746                              180     1/23/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $25.00                                                                             $25.00
Robey, Adam
450 W 42nd St
Apt 21B
New York, NY 10036                            1530     4/9/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $150.00                                                                            $150.00
Robins, Avery
631 Southview Terrace
Santa Cruz, CA 95060                          293      2/3/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $400.00                                                                            $400.00
Robinson, Cindy
7905 Parsons Pine Drive
Boynton Beach, FL 33437                       881     3/21/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $50.00                                                                             $50.00
Robinson, Savannah
808 85th Ave N
Brooklyn Park, MN 55444                       3410    3/12/2018    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                      $50.00          $50.00
Robles De Camarena, Maria
11515 Adonis Ave.
Norwalk, CA 90650                             2394    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Robles De Camarena, Maria
11515 Adonis Ave.
Norwalk, CA 90650                             2759    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Rodriguez, Carlos
1443 E. 23rd St
Los Angeles, CA 90011                         2482    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Rodriguez, Carlos
1443 E. 23rd St
Los Angeles, CA 90011                         2733    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Rodriguez, Jose
1300 Waterloo St.
Los Angeles, CA 90026                         2412    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Rodriguez, Jose
1300 Waterloo St.
Los Angeles, CA 90026                         2563    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Rodriguez, Oscar M
4073 6th St
Los Angeles, CA 90023                         2134    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
RODRIGUEZ, OSCAR M
4073 6th St.
Los Angeles, CA 90023                         744     3/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
RODRIGUEZ, OSCAR M
4073 6th St.
Los Angeles, CA 90023                         745     3/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                              $0.00                                                               $0.00
Rodriguez, Oscar Mauricio
4073 6th St
Los Angeles, CA 90023                         2274    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                              $0.00                                                               $0.00
Rodriguez, Robert
1821 Berglund Dr
West Covina, CA 91792                         1223     4/3/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00




                                                                                                       Page 152 of 202
                                                                     Case 16-12551-BLS         Doc 2329      Filed 12/23/20     Page 153 of 202



                                                                                                    Claim Register
                                                                                  In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                  Case No. 16-12551


                                                                                                                                          Current General                                  Current 503(b)(9)
                                                                                                                                                          Current Priority Current Secured                    Current Admin    Total Current
              Creditor Name and Address     Claim No. Claim Date                            Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                           Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                              Amount                                           Amount
RODRIGUEZ, YVONNE A
9539 BARKERVILLE AVE
WHITTIER, CA 90605-2915                       1218     4/3/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                                               $0.00
RODRIGUEZ, YVONNE A
9539 BARKERVILLE AVE
WHITTIER, CA 90605-2915                       1220     4/3/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                $0.00            $0.00
Rogenstein, Melissa
6611 Lakeridge road
Los Angeles, CA 90068                         2907    4/14/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                              $40.00                           $40.00
Rogers, Brittany N.
17445 Delaware Ave.
Redford, MI 48240                             794     3/15/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $45.00                                                                             $45.00
Rojas, Moiria D.
1210 S. Gunlock Ave
Compton, CA 90220                             1245     4/3/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                $0.00            $0.00
Romero Monterrosa, Berta
10928 Mansel Ave.
Inglewood, CA 90304                           1336     4/5/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
ROMERO, JANETT
303 W. LINDA VISTA AVE UNIT 20
ALHAMBRA, CA 91801                            674      3/9/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                              $50.00                           $50.00
RONALD E STASKY & DOROTHY A STASKY JTWROS
3809 KIMBERLY DR
PEARLAND, TX 77581-4752                       756     3/10/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                         $1,119.90                                                                           $1,119.90
Rong, Xing Yuan
2318 Eastlake Ave
Los Angeles, CA 90031                         1506     4/8/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Rong, Yong Ji
2613 Earle Ave.
Rosemead, CA 91770                            852     3/20/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                             $0.00                                                               $0.00
Rong, Yong Ji
2613 Earle Ave.
Rosemead, CA 91770                            1688     4/8/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Rong, Yong Ji
2613 Earle Ave.
Rosemead, CA 91770                            1690     4/8/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Rosalva, Ramirez Ayala
469 Ezra St
Los Angeles, CA 90063                         2938    4/14/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                             $0.00                                                               $0.00
Rosas, Basilisa
8033 S Figueroa St.
Los Angeles, CA 90003                         1414     4/6/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Rosas, Basilisa
8033 S Figueroa St.
Los Angeles, CA 90003                         1422     4/6/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Rosas, leonides
8033 S Figueroa St
Los Angeles, CA 90003                         1382     4/6/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                             $0.00                                                               $0.00
Rosas, leonides
8033 S Figueroa St
Los Angeles, CA 90003                         1385     4/6/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                $0.00            $0.00
Rosen, Eric
5555 Ocean, Unit 106
Hawthorne, CA 90250                           517     2/27/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $34.88                                                                             $34.88
Rosenblum, David
221 E 33 St - 1G
New York, NY 10016                            224     1/27/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $34.00                                                                             $34.00
Rosenblum, David
221 E 33 St - 1G
New York, NY 10016                            3116    4/20/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $34.00                                                                             $34.00

                                                                                                     Page 153 of 202
                                                                         Case 16-12551-BLS          Doc 2329      Filed 12/23/20       Page 154 of 202



                                                                                                        Claim Register
                                                                                      In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                      Case No. 16-12551


                                                                                                                                              Current General                                  Current 503(b)(9)
                                                                                                                                                              Current Priority Current Secured                    Current Admin    Total Current
                  Creditor Name and Address   Claim No. Claim Date                              Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                               Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                  Amount                                           Amount
Rosenblum, David
221 E 33 St - 1G
New York, NY 10016                              3123    4/20/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                $34.00          $34.00
Rositas, Pablo
4312 Rosemead Blvd.
Pico Rivera, CA 90660                           3240     5/8/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Rositas, Pablo E.
4312 Rosemead Blvd.
Pico Rivera, CA 90660                           3243     5/8/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Rossell, Evan
1503 South Coast Drive
Suite 321
Costa Mesa, CA 92626                            577      3/1/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                       $100.00                          $100.00                                           $200.00
Roy, Derek
P.O. Box 1112
Boulder Creek, CA 95006                         515     2/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $64.16                                                                             $64.16
Royal Oak Properties LLC
c/o Slater Management Corp.
Attn: General Counsel
2950 W. Square Lake Rd.
Suite 110
Troy, MI 48098                                  2079    4/10/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                $7,689.67         $656.41                                                           $8,346.08
Royal Oak Properties, LLC
c/o Slater Mgmt. Corp.
Box 99699
Troy, MI 48099                                   48     12/6/2016          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00           $0.00                                                               $0.00
Royal Park USA, Inc.
920 West Gate City Blvd.
Greensboro, NC 27403                            625      3/6/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                    $19,253.35                                                                          $19,253.35
Royal, Jill
101 N Carmelina Ave
Los Angeles, CA 90049                           840     3/20/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $100.00                                                                            $100.00
Royce, Todd
464 Grant Ave.
Palo Alto, CA 94306                             238     1/30/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $34.80                                                                             $34.80
R-Pac International Corp
132 W. 36th Street 7th Fl.
New York, NY 10018                              946     3/20/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
RS JZ Bedford – N 6th, LLC
Law Offices of Douglas T. Tabachnik, P.C.
63 West Main Street, Suite C
Freehold, NJ 07728                              1791    4/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                               $0.00                                              $0.00
RS JZ Bedford – N 6th, LLC
Law Offices of Douglas T. Tabachnik, P.C.
63 West Main Street, Suite C
Freehold, NJ 07728                              1802    4/10/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                       $0.00            $0.00
RS JZ Bedford – N 6th, LLC
Law Offices of Douglas T. Tabachnik, P.C.
63 West Main Street, Suite C
Freehold, NJ 07728                              1810    4/10/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                     $0.00                                              $0.00
RS JZ Bedford – N 6th, LLC
Law Offices of Douglas T. Tabachnik, P.C.
63 West Main Street, Suite C
Freehold, NJ 07728                              3443    9/26/2019    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                    $0.00                       $69,599.00                                         $69,599.00
RS JZ Bedford – N 6th, LLC
Law Offices of Douglas T. Tabachnik, P.C.
63 West Main Street, Suite C
Freehold, NJ 07728                              3444    9/25/2019    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                    $0.00                            $0.00                                              $0.00




                                                                                                         Page 154 of 202
                                                                       Case 16-12551-BLS          Doc 2329      Filed 12/23/20       Page 155 of 202



                                                                                                      Claim Register
                                                                                    In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                    Case No. 16-12551


                                                                                                                                            Current General                                  Current 503(b)(9)
                                                                                                                                                            Current Priority Current Secured                    Current Admin    Total Current
                Creditor Name and Address   Claim No. Claim Date                              Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                             Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                Amount                                           Amount
RSGF Granada Building, LLC
c/o Jonathan Rose Companies
Attn: Millicent K. Cotto
551 Fifth Avenue, 23rd Floor
New York, NY 10176                            1404     4/6/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                       $0.00            $0.00
RSGF Granada Building, LLC
Millicent K. Cotto
Jonathan Rose Companies
551 Fifth Avenue, 23rd Floor
New York, NY 10176                            1368     4/6/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                     $0.00            $0.00                             $0.00
RSGF Granada Building, LLC
Millicent K. Cotto
Jonathan Rose Companies
551 Fifth Avenue, 23rd Floor
New York, NY 10176                            3244     5/8/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                  $46,989.72       $46,989.72
RSGF Granada Building, LLC
Millicent K. Cotto
Jonathan Rose Companies
551 Fifth Avenue, 23rd Floor
New York, NY 10176                            3247     5/8/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)              $124,217.88                      $150,000.00                                       $274,217.88
Rubin, Danielle
270 West 17th Street
Apt 6F
New York, NY 10011                            755     3/13/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $59.00                                                                             $59.00
Rubio, Bartolo
444 W. 66th St
Los Angeles, CA 90003                         2805    4/13/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
Rubio, Bartolo
444 W. 66th St
Los Angeles, CA 90003                         2939    4/13/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                              $0.00                                                               $0.00
Rubio, Isabel
855 111th Pl
Los Angeles, CA 90059                         3103    4/19/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
Rubio, Isabel
855 111th Pl
Los Angeles, CA 90059                         3106    4/19/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                              $0.00                                                               $0.00
Ruiz, Mario
1525 1/2 W. 59th Pl
Los Angeles, CA 90047                         1467     4/7/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Ruiz, Mario
1525 1/2 W. 59th Pl
Los Angeles, CA 90047                         1473     4/7/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Ruiz, Otilia
1525 1/2 West 59th Pl
Los Angeles, CA 90047                         1556     4/7/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Ruskey, David
1420 N Stanley Ave Unit 208
Los Angeles, CA 90046                         3319    6/20/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $21.83                                                                             $21.83
RUSSELL, GARY
PO BOX 403
NEW YORK, NY 10113-0403                       683      3/9/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                               $0.00                                              $0.00
RUSSELL, GARY
PO BOX 403
NEW YORK, NY 10113-0403                       685      3/9/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
RUTH, CLARENCE
2399 PARKLAND DR NE
UNIT T030
ATLANTA, GA 30324-3552                        864     3/20/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                    $0.00                                                                               $0.00




                                                                                                       Page 155 of 202
                                                                      Case 16-12551-BLS          Doc 2329      Filed 12/23/20       Page 156 of 202



                                                                                                     Claim Register
                                                                                   In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                   Case No. 16-12551


                                                                                                                                           Current General                                  Current 503(b)(9)
                                                                                                                                                           Current Priority Current Secured                    Current Admin    Total Current
               Creditor Name and Address   Claim No. Claim Date                              Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                            Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                               Amount                                           Amount
RUTH, CLARENCE
349 DECATUR ST SE STE 326
ATLANTA, GA 30312-4022                       865     3/20/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                       $0.00            $0.00
Rutherford, Emily
938 White Knoll Drive #3
Los Angeles, CA 90012                        911     3/21/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                   $10.62                                                                             $10.62
Ruvira, Jose
919 W. 65th St
Los Angeles, CA 90044                        1310     4/5/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                              $0.00                                                               $0.00
Ruvira, Jose
919 W. 65th St
Los Angeles, CA 90044                        1315     4/5/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Ryan, Brigit
12223 Rockledge Circle
Boca Raton, FL 33428                         3087    4/18/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                        $13.50                                                                             $13.50
S&S Supplies Corp.
17300 Railroad St.
City of Industry, CA 91748                   102     12/27/2016    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                    $55,795.43                                        $38,520.03                        $94,315.46
Sabel, Jennifer
368 Eastern Parkway #3E
Brooklyn, NY 11225                           439     2/17/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $65.25                                                                             $65.25
Sacher, Kirsten
1808 Hansaker St
Oceanside, CA 92054                          368     2/13/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $32.48                                                                             $32.48
Safavi, Lillian M
60 Flint Drive
Lake Barrington, IL 60010                    315      2/6/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                             $87.20                                                             $87.20
Safety Facility Services
c/o Pryor & Mandelup, L.L.P.
Attn: Anthony F. Giuliano, Esq.
675 Old Country Road
Westbury, NY 11590                           1149    3/30/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)               $68,057.22                                                          $1,963.62       $70,020.84
Safety Facility Services
c/o Pryor & Mandelup, LLP
Attn: Anthony F. Giuliano
675 Old Country Road
Westbury, NY 11590                           1132    3/30/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)              $115,695.75                                                                        $115,695.75
Salas, Transito
508 W. Colden Av
Los Angeles, CA 90044                        2686    4/12/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Salas, Transito
508 W. Colden Av
Los Angeles, CA 90044                        2740    4/12/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Salazar, Anastacia
226 Belmont Ave. Apt # 6
Los Angeles, CA 90026                        2729    4/12/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Salazar, Anastacia
226 Belmont Ave. Apt # 6
Los Angeles, CA 90026                        2732    4/12/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Salazar, Jackie
C/O Pedersen Law APLC
Attn: McKenzee D. McCammack
17910 Skypark Cir. Suite 105
Irvine, CA 92614                             789     3/14/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
Salesforce.com, Inc.
c/o Lawrence Schwab/Thomas Gaa
Bialson, Bergen & Schwab
633 Menlo Ave., Suite 100
Menlo Park, CA 94025                         1190     4/3/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                         $88,441.78                                                        $103,708.52     $192,150.30


                                                                                                      Page 156 of 202
                                                                        Case 16-12551-BLS          Doc 2329      Filed 12/23/20       Page 157 of 202



                                                                                                       Claim Register
                                                                                     In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                     Case No. 16-12551


                                                                                                                                             Current General                                  Current 503(b)(9)
                                                                                                                                                             Current Priority Current Secured                    Current Admin    Total Current
                 Creditor Name and Address   Claim No. Claim Date                              Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                              Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                 Amount                                           Amount
Salguero De Ruiz, Vilma
2888 Francis Ave
Los Angeles, CA 90005                          2831    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Salinas, Raul
1467 West 22nd St
Los Angeles, CA 90007                          1231     4/3/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Salinas, Raul
1467 West 22nd St
Los Angeles, CA 90007                          1232     4/3/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Salinas, Verona
1467 West 22nd St
Los Angeles, CA 90007                          1215     4/3/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Salinas, Verona
1467 West 22nd St
Los Angeles, CA 90007                          1216     4/3/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Salt Lake County Assessor
Personal Property Division
2001 S State St
PO Box 147421
Salt Lake City, UT 84114-7421                  3315    6/14/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                       $0.00            $0.00
Salzer, Athena
821 Pulley Dr.
Madison, WI 53714                              1864    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $67.52                                                                             $67.52
Sampedro-Perez, Irma
7815 Potrero Avenue
El Cerrito, CA 94530                           372     2/13/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $58.92                                                                             $58.92
San Francisco Media Company
835 Market St #550
San Francisco, CA 94103                        111     12/27/2016    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                     $3,000.00                                                                           $3,000.00
Sanchez Ortiz, Lucero P.
347 E 59th Pl
Los Angeles, CA 90003                          2719    4/13/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                              $0.00                                                               $0.00
Sanchez Ortiz, Lucero P.
347 E 59th Pl
Los Angeles, CA 90003                          2720    4/13/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
Sanchez, Fortino
2315 S. Flower St.
Apt. 304
Los Angeles, CA 90007                          1051    3/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                              $0.00                                                               $0.00
Sanchez, Fortino
762 E 45th St
Los Angeles, CA 90011                          1091    3/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
Sanchez, Gabina
14929 Flamenco Pl
Victorville, CA 92394-3705                     2781    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Sanchez, Gabina
38300 30th St Apt 410
Palmdale, CA 93550                             2657    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Sanchez, Jorge
651 S Eastman Ave
Los Angeles, CA 90023                          1976    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Sanchez, Jorge
651 S. Eastman Ave
Los Angeles, CA 90023                          2069    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Sanchez, Jose Medina
9554 Defiance Ave
Los Angeles, CA 90002                          2155    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Sanchez, Jose Medina
9554 Defiance Ave
Los Angeles, CA 90002                          2346    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00

                                                                                                        Page 157 of 202
                                                                             Case 16-12551-BLS          Doc 2329      Filed 12/23/20       Page 158 of 202



                                                                                                            Claim Register
                                                                                          In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                          Case No. 16-12551


                                                                                                                                                  Current General                                  Current 503(b)(9)
                                                                                                                                                                  Current Priority Current Secured                    Current Admin    Total Current
                 Creditor Name and Address   Claim No. Claim Date                                   Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                                   Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                      Amount                                           Amount
Sanchez, Jose Medina
9554 Defiance Ave
Los Ángeles, CA 90002                          662      3/8/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                              $0.00                             $0.00                             $0.00
Sanchez, Maria
249 E 46th Street
Los Angeles, CA 90011                          2665    4/13/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Sanchez, Maria
249 E 46th Street
Los Angeles, CA 90011                          2791    4/13/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Sanchez, Reina
134 1/2 W. 60th St
Los Angeles, CA 90003                          1306     4/5/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Sanchez, Rito
6163 Piedmont Ave
Los Angeles, CA 90042                          2018    4/10/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Sanchez, Rito
6163 Piedmont Ave
Los Angeles, CA 90042                          2028    4/10/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Sanders, Jatrean M.
901 Abernathy Road
Unit 4070
Sandy Springs, GA 30328-2610                   1358     4/6/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                        $45.36                                                                             $45.36
SANDOVAL, PLACIDO
1662 E. 83RD ST.
LOS ANGELES, CA 90001                          977     3/22/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                                                                                   $0.00            $0.00
SANDOVAL, PLACIDO
1662 E. 83RD ST.
LOS ANGELES, CA 90001                          983     3/22/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                                $0.00                                                               $0.00
Sandoval, Reyna
1662 E. 83rd St.
Los Angeles, CA 90001                          936     3/20/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                                                                                   $0.00            $0.00
Sandoval, Reyna
1662 E. 83rd St.
Los Angeles, CA 90001                          943     3/20/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                              $0.00                                                               $0.00
Sandoval, Reyna
1662 E. 83rd St.
Los Angeles, CA 90001                          2582    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Sandoval, Reyna
1662 E. 83rd St.
Los Angeles, CA 90001                          2603    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Santa Anita Shoppingtown LP
c/o LeClairRyan, PC
545 Long Wharf Drive, 9th Floor
New Haven, CT 06511                            3088    4/18/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)              $273,734.88                                                                        $273,734.88
Santa Anita Shoppingtown LP
c/o LeClairRyan, PC
Attn: Niclas A. Ferland, Esq
545 Long Wharf Drive, 9th floor
New Haven, CT 06511                            1573     4/7/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                    $0.00                                                                               $0.00
Santiago, Florida M.
37437 Gillett Road
Fremont, CA 94536                              539     2/27/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                             $46.76                                                                             $46.76
Santiago, Silvia
1756 S. La Brea Ave
Los Angeles, CA 90019                          771     3/13/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                              $0.00                                                               $0.00
Santiago, Silvia
1756 S. La Brea Ave
Los Angeles, CA 90019                          2439    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00




                                                                                                             Page 158 of 202
                                                                          Case 16-12551-BLS          Doc 2329      Filed 12/23/20       Page 159 of 202



                                                                                                         Claim Register
                                                                                       In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                       Case No. 16-12551


                                                                                                                                               Current General                                  Current 503(b)(9)
                                                                                                                                                               Current Priority Current Secured                    Current Admin    Total Current
                  Creditor Name and Address    Claim No. Claim Date                              Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                                Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                   Amount                                           Amount
Santiago, Silvia
1756 S. La Brea Ave
Los Angeles, CA 90019                            2440    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Santibanez, Candelaria
5533 Morgan Ave
Los Angeles, CA 90011                            1463     4/7/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Santibanez, Candelaria
5533 Morgan Ave
Los Angeles, CA 90011                            1475     4/7/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Santos Merlos, Isabel
374 Patton Street
Los Angeles, CA 90026                            1984    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Santos, Maria I.
2022 N Dern Ave
Los Angeles, CA 90059                            3209     5/1/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
Santos, Maria I.
2022 N Dern Ave
Los Angeles, CA 90059                            3216     5/1/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                              $0.00                                                               $0.00
SANTOS, MATEO
618 S BONNIE BRAE ST APT 207
LOS ANGELES, CA 90057-3755                       781     3/13/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                              $0.00                                                               $0.00
Santos, Mateo
618 S. Barnie Brae St., # 207
Los Angeles, CA 90057                            778     3/13/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
Santos, Nubia C
202 W 101th Street
Los Angeles, CA 90003                            2969    4/17/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Santos, Nubia C
202 W 101th Street
Los Angeles, CA 90003                            2979    4/17/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Santos, Sabrina Ortiz
5400 7th St NW Apt 205
Washington, DC 20011                             398     2/14/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $84.07                                                                             $84.07
Sarigul-Klijn, Nesrin
PO Box 1386
Dixon, CA 95620                                  1278     4/4/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                        $50.00         $375.00          $325.00          $375.00                         $1,125.00
Sarkany, Jenny
1441 3rd Avenue Apt 15B
New York, NY 10028                               611      3/4/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                  $240.00                                                                            $240.00
Sarmonpal, Art
6660 W Harts Rd
Niles, IL 60714                                  978     3/24/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $45.89                                                                             $45.89
Sassoon, Dawn
936 Palms Blvd.
Venice , CA 90291                                310      2/6/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $45.00          $45.00                                                             $90.00
SATOU, NANCY
29105 QUAIL RUN DRIVE
AGOURA HILLS, CA 91301                           1180     4/3/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $100.00                                                                            $100.00
Sauer Properties, Inc.
Wilcox Savage
Attn: Stephanie N. Gilbert
440 Monticello Ave. Ste. 2200
Norfolk, VA 23510                                3279    5/22/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                         $90,631.82                                                                          $90,631.82
Sauer Properties, Inc.
Willcox Savage, P.C. Attn: Stephanie Gilbert
440 Monticello Ave. Ste. 2200
Norfolk, VA 23510                                100     12/27/2016   APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                    $0.00                                                                               $0.00




                                                                                                          Page 159 of 202
                                                                          Case 16-12551-BLS          Doc 2329      Filed 12/23/20       Page 160 of 202



                                                                                                         Claim Register
                                                                                       In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                       Case No. 16-12551


                                                                                                                                               Current General                                  Current 503(b)(9)
                                                                                                                                                               Current Priority Current Secured                    Current Admin    Total Current
                  Creditor Name and Address    Claim No. Claim Date                              Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                                Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                   Amount                                           Amount
Sauer Properties, Inc.
Willcox Savage, P.C. Attn: Stephanie Gilbert
440 Monticello Ave. Ste. 2200
Norfolk, VA 23510                                104     12/27/2016         APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
Sauer Properties, Inc.
Willcox Savage, P.C. Attn: Stephanie Gilbert
440 Monticello Ave. Ste. 2200
Norfolk, VA 23510                                3278    5/22/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)               $90,631.82                                                                          $90,631.82
Savage, Kendra
1510 N Talman Ave. Apt 2
Chicago, IL 60622                                332      2/7/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                  $100.00                                                                            $100.00
Saylor, Amy
1800 Knoxville Avenue
Long Beach, CA 90815                             458     2/21/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $75.00                                                                             $75.00
SCG Church Street Plaza, LLC
Samuel R. Arden, Esq.
Hartman Simons & Wood
6400 Powers Ferry Road NW #400
Atlanta, GA 30339                                138     1/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                        $179,247.96                                                                        $179,247.96
Schelich, Jennifer
713 Classon Ave #102
Brooklyn, NY 11238                               466     2/22/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $50.00                                                                             $50.00
Schemmel, Drew
126 Whitewood Lane
Madison, MS 39110                                3114    4/19/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $25.00                                                                             $25.00
Scherr, Brian
77 Bleecker Street Apt 124
New York, NY 10012                               369     2/13/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $48.00                                                                             $48.00
Schlecht, Ryan
2510 W 23rd Ave. Apt 306
Denver, CO 80221                                 814     3/16/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $25.00                                                                             $25.00
Schmidt, Aileen
420 Berwyn Bapstist Road
Berwyn, PA 19312                                 171     1/23/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $30.50                                                                             $30.50
Schneider, Linda Z.
2 Shaw Lane
Irvington, NY 10533                              289      2/3/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $133.00                                                                            $133.00
Schoenfeld, Jill
322 East 39th St Apt 9B
New York, NY 10016                               3415    5/10/2018          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
Scholz, Antonia-Sophia
10 West 121 Street
New York, NY 10021                               330      2/7/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $116.80                                                                            $116.80
Schroeder, Lindsay
330 W Diversey Pkwy
Unit 1006
Chicago, IL 60657                                601      3/3/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $142.03                                                                            $142.03
Schulze, Donna L and Bryan D
12716 E 77th Circle North
Owasso, OK 74055                                 3330     7/4/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                               $0.00                                              $0.00
Schumacher, Seth
970 North High St apt 201
Columbus, OH 43201                               1176     4/3/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $36.12                                                                             $36.12
Sciarrillo, Nicole
220 25th St #405
Brooklyn, NY 11232                               1344     4/5/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $30.10                                                                             $30.10
SDI INDUSTRIES, INC.
13000 PIERCE ST.
PACOIMA, CA 91331                                1205    3/31/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00


                                                                                                          Page 160 of 202
                                                                     Case 16-12551-BLS         Doc 2329      Filed 12/23/20     Page 161 of 202



                                                                                                    Claim Register
                                                                                  In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                  Case No. 16-12551


                                                                                                                                          Current General                                  Current 503(b)(9)
                                                                                                                                                          Current Priority Current Secured                    Current Admin    Total Current
                Creditor Name and Address   Claim No. Claim Date                            Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                           Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                              Amount                                           Amount
Seabaugh, Katherine B
30 Palatine #240
Irvine, CA 92612                              1498     4/9/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $83.70                                                                             $83.70
Seav, My
2212 Johnston Street
Los Angeles, CA 90031                         2087    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Seav, My
2212 Johnston Street
Los Angeles, CA 90031                         2306    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Sedlack, Christine
614 Creek Lane
Flourtown, PA 19031                           987     3/23/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $74.00                                                                             $74.00
Seeto, Zhen Zhu
705 North Grand Ave Apt #1
Los Angeles, CA 90012                         1719    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Seeto, Zhen Zhu
705 North Grand Ave Apt #1
Los Angeles, CA 90012                         1934    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Segovia, Sonia Diaz
11535 Sylvan St Apt 3
N Hollywood , CA 91606-4037                   2712    4/13/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Segovia, Sonia Diaz
218 N. Ave. 55 Apt 7
Los Angeles, CA 90042                         2623    4/13/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Seguin, Romaine M.
7561 SW 56th Court
Miami, FL 33143                               312      2/6/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $110.64                                                                            $110.64
Seguin, Romaine M.
7561 SW 56th Court
Miami, FL 33143                               1078    3/29/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                      $110.62                                                                            $110.62
Seguin, Romaine M.
7561 SW 56th Court
Miami, FL 33143                               1080    3/29/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                         $110.62         $110.62
Segura, Maria
2203 Terrace Hgts
Los Angeles, CA 90023                         2593    4/11/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                             $0.00                                                               $0.00
Segura, Maria
2203 Terrace Hgts
Los Angeles, CA 90023                         2649    4/11/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                $0.00            $0.00
Sekhon, Manpreet
1543 Bay Drive
Yuba City, CA 95993                           2621    4/13/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $63.59                                                                             $63.59
Sellner, Joelle
608 N La Jolla Avenue
Los Angeles, CA 90048                         467     2/22/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $63.75                                                                             $63.75
Semis, Sasha
1980 Jefferson St #302
San Francisco, CA 94123                       476     2/22/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $71.78                                                                             $71.78
Semis, Sasha
1980 Jefferson St #302
San Francisco, CA 94123                       816     3/16/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $71.78                                                                             $71.78
Semis, Sasha
1980 Jefferson St #302
San Francisco, CA 94123                       826     3/16/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                               $71.78          $71.78
Semprun, Claudia
475 FDR Drive #L 1606
New York, NY 10002                            1873     4/7/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                             $150.00                          $150.00




                                                                                                     Page 161 of 202
                                                                       Case 16-12551-BLS          Doc 2329      Filed 12/23/20       Page 162 of 202



                                                                                                      Claim Register
                                                                                    In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                    Case No. 16-12551


                                                                                                                                            Current General                                  Current 503(b)(9)
                                                                                                                                                            Current Priority Current Secured                    Current Admin    Total Current
                Creditor Name and Address   Claim No. Claim Date                              Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                             Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                Amount                                           Amount
Senitron Corp.
6911 Topanga Canyon Blvd.
#103 B
Canoga Park, CA 91303                         2183    4/12/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
Serrano, Angelica
1990 S BUNDY DR STE 620
Los Angeles, CA 90025                         1445     4/6/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                         $0.00                                                                               $0.00
SERRANO, ANGELICA
C/O KEITH A. FINK & ASSOCIATES
11500 OLYMPIC BLVD., SUITE 316
LOS ANGELES, CA 90064                         1441     4/6/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                    $0.00                                                                               $0.00
Serrano, Angelica
c/o Keith A. Fink & Associates
1990 S BUNDY DR STE 620
Los Angeles, CA 90025-5690                    1444     4/6/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
Serrano, Delmy Judith
2406 Cole Pl
Huntington Park, CA 90255                     2425    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Serrano, Delmy Judith
2406 Cole Pl
Huntington Park, CA 90255                     2722    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Serrano, Jimmy
1708 S Lander St.
Seattle, WA 98144                             3399     1/2/2018          APP Winddown, LLC (f/k/a American Apparel, LLC)                                             $50.32                            $50.32                          $100.64
Serrano, Jose
9703 South Normandie Av Apt. C
Los Angeles, CA 90044                         1466     4/7/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Serrano, Maria C
3301 Tecumseh Ave Apt# E
Lynwood, CA 90262                             3284    5/23/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Serrano, Maria C.
3301 Tecumseh Ave
Apt O-E
Lynwood, CA 90262                             3285    5/23/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Servello, Michael
112 Trails Xing
Whitesboro, NY 13492                          435     2/16/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $259.20                                                                            $259.20
Session, Latisha J
815 E Via Wanda Building 9
Long Beach, CA 90805                          3424     1/1/2019          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
Seth, Daniel
PO Box 489
New York, NY 10101                            3286    5/24/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                        $30.60                                                                             $30.60
Sevilla, Maria
3101 Wynwood Lane #2
Los Angeles, CA 90023                         1738    4/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
Sevilla, Maria
3101 Wynwood Lane #2
Los Angeles, CA 90023                         2058    4/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
Sewerage and Water Board of New Orleans
625 St. Joseph Street, Room 140
New Orleans, LA 70165                         346      2/3/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $325.92                                                                            $325.92
SG Gaming LLC
Standard General L.P.
Attention: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                            2619    4/11/2017         APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                                                                                             $0.00            $0.00




                                                                                                       Page 162 of 202
                                                                             Case 16-12551-BLS          Doc 2329       Filed 12/23/20      Page 163 of 202



                                                                                                            Claim Register
                                                                                          In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                          Case No. 16-12551


                                                                                                                                                  Current General                                  Current 503(b)(9)
                                                                                                                                                                  Current Priority Current Secured                    Current Admin    Total Current
                 Creditor Name and Address   Claim No. Claim Date                                   Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                                   Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                      Amount                                           Amount
SG Gaming LLC
Standard General L.P.
Attention: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                             2690    4/11/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                                                                                   $0.00            $0.00
SG Gaming LLC
Standard General L.P.
Attention: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                             2698    4/11/2017              APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                          $0.00                            $0.00                                              $0.00
SG Gaming LLC
Standard General L.P.
Attention: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                             2736    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
SG Gaming LLC
Standard General L.P.
Attention: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                             2738    4/11/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                $0.00                            $0.00                                              $0.00
SG Gaming LLC
Standard General L.P.
Attention: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                             2773    4/11/2017           APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)                                                                                         $0.00            $0.00
SG Gaming LLC
Standard General L.P.
Attention: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                             2776    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                            $0.00                                              $0.00
SG Gaming LLC
Standard General L.P.
Attention: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                             2780    4/11/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                       $0.00            $0.00
SG Gaming LLC
Standard General L.P.
Attention: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                             2783    4/11/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                    $0.00                            $0.00                                              $0.00
SG Gaming LLC
Standard General L.P.
Attention: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                             2793    4/11/2017           APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)                      $0.00                            $0.00                                              $0.00
SG Gaming LLC
Standard General L.P.
Attention: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                             2799    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                         $0.00                            $0.00                                              $0.00
SG Gaming LLC
Standard General L.P.
Attention: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                             2806    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
Shahriari, Pegah
2460 Delisle Ct.
Glendale, CA 91208                             3072    4/18/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                             $14.00                                                                             $14.00




                                                                                                             Page 163 of 202
                                                                                        Case 16-12551-BLS          Doc 2329      Filed 12/23/20       Page 164 of 202



                                                                                                                       Claim Register
                                                                                                     In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                                     Case No. 16-12551


                                                                                                                                                             Current General                                  Current 503(b)(9)
                                                                                                                                                                             Current Priority Current Secured                    Current Admin    Total Current
                 Creditor Name and Address                   Claim No. Claim Date                              Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                                              Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                                 Amount                                           Amount
Shai-Tex, Inc.
11550 Wright Rd
Lynwood, CA 90262                                              710      3/9/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                         $48,362.57                                                                          $48,362.57
Shapiro, Lauren
16 Fuller St, Apt 4
Brookline, MA 02446                                            2511    4/13/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                         $0.00                                                                               $0.00
Sharifi, Lauren
950 Viera Avenue
Coral Gables, FL 33146                                         3026    4/17/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $73.95                                                                             $73.95
Shavalian, Jessica
2328 Westridge Road
Los Angeles, CA 90049                                          1601    4/10/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                   $91.35                                                                             $91.35
Shaw, Amy
532 Lakeview Way
Redwood City, CA 94062                                         457     2/21/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $19.58                                                                             $19.58
Shelton, Jennifer
931 Indian Wells Avenue
Sunnyvale, CA 94085                                            324      2/7/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $30.45                                                                             $30.45
Sheng, Weng Sheng
P.O. Box 1093
Monterey Park, CA 91754                                        2748    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Sheng, Weng Sheng
P.O. Box 1093
Monterey Park, CA 91754                                        2751    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Shenoy, Sudhir
416 Ivy St
Apt 3
Glendale, CA 91204                                             3357     9/8/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $23.98                                                                             $23.98
Sheppard, Mullin, Richter & Hampton LLP
Attn: Richard W. Brunette, Esq.
333 South Hope Street, 43rd Floor
Los Angeles, CA 90071                                          1766    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                         $0.00                                                                               $0.00
Sheppard, Mullin, Richter & Hampton LLP
Attn: Richard W. Brunette, Esq.
333 South Hope Street, 43rd Floor
Los Angeles, CA 90071                                          2418    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                    $14,003.06                                                                          $14,003.06

Shopping Center Associates, a New York General Partnership
Simon Property Group, Inc.
225 W. Washington Street
Indianapolis, IN 46204                                         1503    4/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                         $28,231.90                                                              $0.00       $28,231.90
Shops Around Lenox, L.L.C.
c/o Ballard Spahr LLP
Attn: Dustin P. Branch, Esq.
2029 Century Park East, Suite 800
Los Angeles, CA 90067-2909                                     235     1/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                              $0.00            $0.00
Shops Around Lenox, L.L.C.
c/o Ballard Spahr LLP
Attn: Dustin P. Branch, Esq.
2029 Century Park East, Suite 800
Los Angeles, CA 90067-2909                                     1922    4/11/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                       $0.00            $0.00
Shops Around Lenox, L.L.C.
c/o Ballard Spahr LLP
Attn: Dustin P. Branch, Esq.
2029 Century Park East, Suite 800
Los Angeles, CA 90067-2909                                     2123    4/11/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)              $261,337.20                      $186,384.04                             $0.00     $447,721.24
Shore, Kelley
48 Valley View Court
El Sobrante, CA 94803                                          443     2/17/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $100.00                                                                            $100.00


                                                                                                                        Page 164 of 202
                                                                        Case 16-12551-BLS          Doc 2329      Filed 12/23/20       Page 165 of 202



                                                                                                       Claim Register
                                                                                     In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                     Case No. 16-12551


                                                                                                                                             Current General                                  Current 503(b)(9)
                                                                                                                                                             Current Priority Current Secured                    Current Admin    Total Current
                 Creditor Name and Address   Claim No. Claim Date                              Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                              Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                 Amount                                           Amount
Shore, Kelley
48 Valley View Road
El Sobrante, CA 94803                          926     3/21/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                               $100.00         $100.00
Shumaker, Edward
3636 Courville St.
Detroit, MI 48224                              320      2/6/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                             $227.00                                           $227.00
Shumrick, Claire
7000 Convict Hill Road Apt 1304
Austin, TX 78749                               1169    3/31/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $60.62                                                                             $60.62
Siani, Nicole
429 W 46th St Apt 4e
New York, NY 10036                             1116    3/29/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $24.53                                                                             $24.53
Siani, Nicole M
429 W 46th St 4E
New York, NY 10036                             394     2/13/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $24.56                                                                             $24.56
Siani, Nicole M
429 W 46th St 4E
New York, NY 10036                             1119    3/29/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                              $24.53                                            $24.53
SIFERT, MONICA
5320 N 81ST PL
SCOTTSDALE, AZ 85250                           770     3/13/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                   $34.25                                                              $0.00          $34.25
Sigue, Jocelyn
926 French Street, NW
Washington, DC 20001                           3188     5/1/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $40.19          $40.19
SIlk, Sarah
1146 Oak Grove Ave.
Pittsburgh, PA 15218                           841     3/17/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $102.60                                                                            $102.60
Silva, Anthony
1933 Rodney Drive #101
Los Angeles, CA 90027                          818     3/16/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $51.96                                                                             $51.96
Silva, Ismelda
1310 Rio Vista Ave #1302
Los Angeles, CA 90023                          2252    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Silva, Ismelda
1310 Rio Vista Ave #1302
Los Angeles, CA 90023                          2254    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Silva, Maria
4831 Santa Ana St
Cudahy, CA 90201                               1076    3/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00           $0.00                             $0.00                             $0.00
Silva, Maria
4831 Santa Ana St
Cudahy, CA 90201                               1097    3/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
Silverstein, Scott
65 East 65th Street - 35th Floor
New York, NY 10022                             576      3/1/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $88.00                                                                             $88.00
Silvert, Jessica
172 Parnassus Ave, Apt 1
San Francisco, CA 94117                        567      3/1/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                  $124.49                                                                            $124.49
SIMPLEXGRINNELL
50 TECHNOLOGY DRIVE
WESTMINSTER, MA 01441                          1011    3/24/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                $1,004.49                                                                           $1,004.49
Simpson, Robert
302 David Hollowell Drive
243 B Independence Hall West
Newark, DE 19717                               3405     2/6/2018     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                        $50.00                                                                             $50.00
SiteHawk LLC
Flossie Holmes
709 Nissan Drive
Smyrna, TN 37167                               325      2/7/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                     $1,514.02                                                                           $1,514.02


                                                                                                        Page 165 of 202
                                                                      Case 16-12551-BLS         Doc 2329      Filed 12/23/20     Page 166 of 202



                                                                                                     Claim Register
                                                                                   In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                   Case No. 16-12551


                                                                                                                                           Current General                                  Current 503(b)(9)
                                                                                                                                                           Current Priority Current Secured                    Current Admin    Total Current
                 Creditor Name and Address   Claim No. Claim Date                            Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                            Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                               Amount                                           Amount
Situ, Alice
3356 Earlswood Dr
Rosemead, CA 91770                             1079    3/29/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                             $0.00                                                               $0.00
Situ, Alice
3356 Earlswood Dr
Rosemead, CA 91770                             1502    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Situ, Alice
3356 Earlswood Dr
Rosemead, CA 91770                             1723    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Situ, Mei Ying
2341 Altman St.
Los Angeles, CA 90031                          1521     4/8/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Situ, Yan
917 Marview Ave. # 1
Los Angeles, CA 90012                          2385    4/12/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Situ, Yan
917 Marview Ave. # 1
Los Angeles, CA 90012                          2389    4/12/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Sivalingam, Thulasi
c/o MSD
1204 Broadway, 4th fl
New York, NY 10001                             1018    3/27/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                       $20.42                                                                             $20.42
SJ DESIGNCRAFT, INC.
ATTN: SNAG JIN BAE
#203-1 WEST HALL
152, JUKJEON-RO
YONGIN-SI, GYEONGGI-DO
SOUTH KOREA                                    3258    5/12/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                        $0.00                                                                               $0.00
Skelley, Jennifer
120 Westlake Ave N, Apt 726
Seattle, WA 98109                              219     1/27/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $40.00                                                                             $40.00
Skinner, Jennifer
5008 N Idlewild Ave
Whitefish Bay, WI 53217                        459     2/21/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $200.00                                                                            $200.00
Sklov, Tyler
69 MAGNOLIA AVE
SAN ANSELMO, CA 94960-2607                     450     2/21/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $77.76                                                                             $77.76
Slater, Caitlinn
312 W. Republican St. #408
Seattle, WA 98119                              1031    3/27/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $63.51                                                                             $63.51
Slatter, Lauren
1000 Grand Concourse
Apt 8J
Bronx, NY 10451                                1455     4/7/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $58.00                                                                             $58.00
Smark Skus, dba INTURN
Attn. General Counsel
33 West 17th Street
New York, NY 10011                             1287     4/4/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                        $12,936.25                                                                          $12,936.25
Smartrac Technology Fletcher Inc
267 Cane Creek Road
Fletcher, NC 28732                              61     12/13/2016        APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                                               $0.00
Smeltzer, David
1817 Essex Road
Minnetonka, MN 55305                           233     1/31/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $100.00                                                                            $100.00
SMITH STREET HOLDINGS LLC
93 NINTH STREET
GARDEN CITY, NY 11530                          834     3/17/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                                               $0.00
SMITH STREET HOLDINGS LLC
93 NINTH STREET
GARDEN CITY, NY 11530                          845     3/17/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                         $6,089.68                                                              $0.00        $6,089.68

                                                                                                      Page 166 of 202
                                                                                          Case 16-12551-BLS          Doc 2329      Filed 12/23/20       Page 167 of 202



                                                                                                                         Claim Register
                                                                                                       In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                                       Case No. 16-12551


                                                                                                                                                               Current General                                  Current 503(b)(9)
                                                                                                                                                                               Current Priority Current Secured                    Current Admin    Total Current
                  Creditor Name and Address                    Claim No. Claim Date                              Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                                                Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                                   Amount                                           Amount
Smith, Chaka
1354 Pearl Street Apt. B
Alameda, CA 94501                                                3133    4/24/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $75.00                                                                             $75.00
Smith, Vanessa Joy
603 Isabel St.
Los Angeles, CA 90065                                            929     3/23/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
SML Intelligent Inventory Solutions LLC fdba Xterprise (USA)
L.L.C.
David A. Newby
1001 Warrenville Rd., Ste. 500
Lisle, IL 60532                                                  3414    3/26/2018          APP Winddown, LLC (f/k/a American Apparel, LLC)                         $45,000.00                                                                          $45,000.00
Snaif, Samira
940 Baker St. Apt 1
San Francisco, CA 94115                                          423     2/14/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $101.14                                                                            $101.14
SO. CA. IMMEDIATE MEDICAL CENTER
7300 ALONDRA BLVD STE 101
PARAMOUNT, CA 90723-4000                                         3102    4/18/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
Sobex, Inc.
614 East Main Street
Pilot Mountain, NC 27041                                         675      3/9/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
Solis, Nicole
721 Flushing Ave, Unit 4A
Brooklyn, NY 11206                                               3182    4/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $40.49                                                                             $40.49
Soliz, Domitila
1410 E 41 St #4
Los Angeles, CA 90011                                            2152    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Soliz, Domitila
1410 E 41 St #4
Los Angeles, CA 90011                                            2182    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Sommer, Allison
790 Lemon Street
Menlo Park, CA 94025                                             1575    4/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                               $36.98                           $36.98
Song, Jieun
43-60 Douglaston Parkway
Apt#113
Douglaston, NY 11363                                             3346     8/3/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $48.63                                                                             $48.63
Soodik, Lynn
409 Lincoln Blvd.
Santa Monica, CA 90402                                           307      2/6/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $100.00                                                                            $100.00
Soodik, Lynn
409 Lincoln Blvd.
Santa Monica, CA 90402                                           1121    3/29/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $100.00                                                                            $100.00
SooHoo, Nicole
1143 22nd St #4
Santa Monica, CA 90403                                           970     3/24/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                   $26.00                                                                             $26.00
SooHoo, Nicole
1143 22nd St #4
Santa Monica, CA 90403                                           971     3/24/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $26.00                                                                             $26.00
Sook, Brianna
2839 Colfax Ave. S.
Minneapolis, MN 55408                                            322      2/7/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $32.00                                                                             $32.00
Sook, Brianna
2839 Colfax Ave. S.
Minneapolis, MN 55408                                            766     3/13/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                        $36.00                                                                             $36.00
Sook, Brianna
2839 Colfax Ave. S.
Minneapolis, MN 55408                                            783     3/13/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $36.00          $36.00
Soria, Ma Ysabel
608 E 21 St Apt 1
Los Angeles, CA 90011                                            1842    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00

                                                                                                                          Page 167 of 202
                                                                             Case 16-12551-BLS          Doc 2329      Filed 12/23/20       Page 168 of 202



                                                                                                            Claim Register
                                                                                          In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                          Case No. 16-12551


                                                                                                                                                  Current General                                  Current 503(b)(9)
                                                                                                                                                                  Current Priority Current Secured                    Current Admin    Total Current
                Creditor Name and Address         Claim No. Claim Date                              Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                                   Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                      Amount                                           Amount
Soria, Ma Ysabel
608 E 21 St Apt 1
Los Angeles, CA 90011                               2115    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
SORIA, SALVADOR
608 E 21st Street #1
Los Angeles, CA 90011                               1883    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
SORIA, SALVADOR
608 E 21st Street #1
Los Angeles, CA 90011                               1889    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
SOSA, AIDA
1060 E. 41 Pl.
Los Angeles, CA 90011                               2909    4/14/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
SOSA, AIDA
1060 E. 41 Pl.
Los Angeles, CA 90011                               2912    4/14/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Sosa, Marta Clementina
319 North Mariposa Av Apartamento # A
Los Angeles, CA 90004                               2727    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Sosa, Marta Clementina
319 North Mariposa Apt #A
Los Angeles, CA 90004                               2768    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
SOTI INC.
5770 HURONTARIO STREET
SUITE 1100
MISSISSAUGA, ON L5R 3G5
Canada                                              1010    3/24/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                          $6,041.45                                                                           $6,041.45
SOTI INC.
5770 HURONTARIO STREET
SUITE 1100
MISSISSAUGA, ON L5R 3G5
Canada                                              1012    3/24/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
Soto, Andrea
1033 S. Bluff Rd.
Apt. 3
Montebello, CA 90640                                3168    4/26/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Soto, Andrea
1033 S. Bluff Rd.
Apt. 3
Montebello, CA 90640                                3169    4/26/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
South Carolina Electric & Gas Company ("SCE&G")
220 Operation Way, Mail Code C222
Cayce, SC 29033                                     345      2/8/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                $2,167.25                                                                           $2,167.25
South Dakota Department of Revenue
445 E Capital
Pierre, SD 57501                                    1045    3/27/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                   $40.00         $113.05                                                            $153.05
Southern California Edison
1551 W. San Bernardino Rd.
Covina, CA 91722                                     94     12/19/2016    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                    $67,698.44                                                                          $67,698.44
Southgate Business & Industrial Park Developers
c/o Nossaman LLP
Attn: Jennifer L. Meeker, Esq.
777 South Figueroa Street, 34th Floor
Los Angeles, CA 90017                               2136    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                          $8,096.89                                                              $0.00        $8,096.89
Southgate Business & Industrial Park Developers
Jennifer L. Meeker, Esq.
Nossaman LLP
777 S. Figueroa Street, 34th Floor
Los Angeles, CA 90017                               3187    4/28/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)              $607,260.00                                                                        $607,260.00




                                                                                                             Page 168 of 202
                                                                                             Case 16-12551-BLS          Doc 2329       Filed 12/23/20      Page 169 of 202



                                                                                                                            Claim Register
                                                                                                          In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                                          Case No. 16-12551


                                                                                                                                                                  Current General                                  Current 503(b)(9)
                                                                                                                                                                                  Current Priority Current Secured                    Current Admin    Total Current
                 Creditor Name and Address                   Claim No. Claim Date                                   Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                                                   Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                                      Amount                                           Amount
Southwest Airlines Co.
Amalgamated Financial Group C/O SWA Cargo
Mr. Jeffrey Lemberskie
105 White Oak Lane
PO Box 1006
Old Bridge, NJ 08857-1006                                      1264     4/4/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
Southwestern Bell Telephone Company
c/o AT&T Service, Inc. Karen A. Cavagnaro
One AT&T Way, Room 3A104
Bedminster, NJ 07921                                           682      3/9/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                            $600.82                                                                            $600.82
SP Display, Inc.
921 S. Crocker Street #C-1
Los Angeles, CA 90021                                           33     11/29/2016        APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)               $23,249.92                                                                          $23,249.92
Spaeth, Kristen
6 Sylvia Street
Glen Head, NY 11545                                            589      3/3/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                             $39.76                                                                             $39.76
Spectrum Pacific West, LLC f/k/a Time Warner Cable Pacific
West LLC, a subsidiary of Charter Communi
c/o Charter Communications, Inc.
Serena M. Parker
400 Atlantic Street, Room 407
Stamford, CT 06901                                             3431    1/14/2019              APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                                                                                             $0.00            $0.00
Spectrum Pacific West, LLC f/k/a Time Warner Cable Pacific
West LLC, a subsidiary of Charter Communi
c/o Charter Communications, Inc.
Serena M. Parker
400 Atlantic Street, Room 407
Stamford, CT 06901                                             3432    1/14/2019    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                                                                                   $0.00            $0.00
Spectrum Pacific West, LLC f/k/a Time Warner Cable Pacific
West LLC, a subsidiary of Charter Communi
c/o Charter Communications, Inc.
Serena M. Parker
400 Atlantic Street, Room 407
Stamford, CT 06901                                             3433    1/14/2019           APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)                                                                                         $0.00            $0.00
Spectrum Pacific West, LLC f/k/a Time Warner Cable Pacific
West LLC, a subsidiary of Charter Communi
c/o Charter Communications, Inc.
Serena M. Parker
400 Atlantic Street, Room 407
Stamford, CT 06901                                             3434    1/14/2019         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                       $0.00            $0.00
Spectrum Pacific West, LLC f/k/a Time Warner Cable Pacific
West LLC, a subsidiary of Charter Communi
c/o Charter Communications, Inc.
Serena M. Parker
400 Atlantic Street, Room 407
Stamford, CT 06901                                             3435    1/14/2019          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Spectrum Pacific West, LLC f/k/a Time Warner Cable Pacific
West LLC, a subsidiary of Charter Communi
c/o Charter Communications, Inc.
Serena M. Parker
400 Atlantic Street, Room 407
Stamford, CT 06901                                             3436    1/14/2019               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
Spera, Marcella
2025 OFarrell St
Apt 4
San Francisco, CA 94115                                        1137    3/30/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                             $39.40                                                                             $39.40
Sperry, Jason
1415 Lincoln Place
Brooklyn, NY 11213                                             1173     4/3/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                             $18.00                                                                             $18.00


                                                                                                                             Page 169 of 202
                                                                             Case 16-12551-BLS          Doc 2329      Filed 12/23/20       Page 170 of 202



                                                                                                            Claim Register
                                                                                          In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                          Case No. 16-12551


                                                                                                                                                  Current General                                  Current 503(b)(9)
                                                                                                                                                                  Current Priority Current Secured                    Current Admin    Total Current
                 Creditor Name and Address   Claim No. Claim Date                                   Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                                   Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                      Amount                                           Amount
Spicer, Robert
1194 Perry St
Columbus, OH 43201-3344                        2256    4/12/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
Spitaleri, Aliaksandra
215 E 11th Ave Apt D3
Denver, CO 80203                               558     2/28/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                             $20.00                                                                             $20.00
Spreadshirt Inc
1572 Roseytown Rd
Greensburg, PA 15601                           547     2/27/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                          $2,884.02                                                                           $2,884.02
Springwise Facility Management, Inc.
Thomas Lewis
1822 South Bend Ave
South Bend, IN 46637                            15     11/22/2016        APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)               $12,263.16                                          $1,135.00                       $13,398.16
Sprinklr, Inc.
Attn: General Counsel
29 W 35th Street, 8th Floor
New York, NY 10001                             2689    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                    $12,500.00                                                                          $12,500.00
Sprinklr, Inc.
Attn: Senior Counsel
29 W. 35th St., 8th Fl
New York, NY 10001                             2825    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                       $388.25                                                                            $388.25
Sprinklr, Inc.
Attn: Senior Counsel
29 W. 35th St., 8th Fl
New York, NY 10001                             2833    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                   $107,462.00                                                                        $107,462.00
SPRINT CORP.
ATTN: BANKRUPTCY DEPT
PO BOX 7949
OVERLAND PARK, KS 66207-0949                   416     2/14/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                          $3,833.83                                                                           $3,833.83
SPS Commerce, Inc.
333 South 7th St., Suite 1000
Minneapolis, MN 55402                          145     1/13/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                     $4,816.57                                                                           $4,816.57
Stafford, Veronica
38086 Lantern Hill Ct.
Farmington Hills, MI 48331                     544     2/27/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                             $25.44                                                                             $25.44
Standard Clothing LLC
Standard General L.P.
Attention: Joseph Mause
767 Fifth Avenue, 12th Floor
New York , NY 10153                            2631    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                     $15,253,150.68                            $0.00                                     $15,253,150.68
Standard General Fund L.P.
Standard General L.P.
Attention: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                             2643    4/11/2017              APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                          $0.00                            $0.00                                              $0.00
Standard General Fund L.P.
Standard General L.P.
Attention: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                             2659    4/11/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                $0.00                            $0.00                                              $0.00
Standard General Fund L.P.
Standard General L.P.
Attention: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                             2696    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
Standard General Fund L.P.
Standard General L.P.
Attention: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                             2761    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                            $0.00                                              $0.00

                                                                                                             Page 170 of 202
                                                                             Case 16-12551-BLS          Doc 2329       Filed 12/23/20      Page 171 of 202



                                                                                                            Claim Register
                                                                                          In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                          Case No. 16-12551


                                                                                                                                                  Current General                                  Current 503(b)(9)
                                                                                                                                                                  Current Priority Current Secured                    Current Admin    Total Current
                 Creditor Name and Address   Claim No. Claim Date                                   Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                                   Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                      Amount                                           Amount
Standard General Fund L.P.
Standard General L.P.
Attention: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                             2809    4/11/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                    $0.00                            $0.00                                              $0.00
Standard General Fund L.P.
Standard General L.P.
Attention: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                             2846    4/11/2017              APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                                                                                             $0.00            $0.00
Standard General Fund L.P.
Standard General L.P.
Attention: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                             2851    4/11/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                                                                                   $0.00            $0.00
Standard General Fund L.P.
Standard General L.P.
Attention: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                             2852    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                         $0.00                            $0.00                                              $0.00
Standard General Fund L.P.
Standard General L.P.
Attention: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                             2866    4/11/2017           APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)                                                                                         $0.00            $0.00
Standard General Fund L.P.
Standard General L.P.
Attention: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                             2868    4/11/2017           APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)                      $0.00                            $0.00                                              $0.00
Standard General Fund L.P.
Standard General L.P.
Attention: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                             2876    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Standard General Fund L.P.
Standard General L.P.
Attention: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                             2878    4/11/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                       $0.00            $0.00
Standard General L.P.
Attention: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                             2514    4/11/2017           APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)                                                                                         $0.00            $0.00
Standard General L.P.
Attention: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                             2625    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                         $0.00                            $0.00                                              $0.00
Standard General L.P.
Attention: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                             2688    4/11/2017              APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                                                                                             $0.00            $0.00
Standard General L.P.
Attention: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                             2821    4/11/2017           APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)                      $0.00                            $0.00                                              $0.00
Standard General L.P.
Attention: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                             2822    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                            $0.00                                              $0.00

                                                                                                             Page 171 of 202
                                                                             Case 16-12551-BLS          Doc 2329       Filed 12/23/20      Page 172 of 202



                                                                                                            Claim Register
                                                                                          In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                          Case No. 16-12551


                                                                                                                                                  Current General                                  Current 503(b)(9)
                                                                                                                                                                  Current Priority Current Secured                    Current Admin    Total Current
                 Creditor Name and Address   Claim No. Claim Date                                   Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                                   Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                      Amount                                           Amount
Standard General L.P.
Attention: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                             2827    4/11/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                $0.00                            $0.00                                              $0.00
Standard General L.P.
Attention: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                             2837    4/11/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                    $0.00                            $0.00                                              $0.00
Standard General L.P.
Attention: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                             2841    4/11/2017              APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                          $0.00                            $0.00                                              $0.00
Standard General L.P.
Attention: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                             2843    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
Standard General L.P.
Attention: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                             2850    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Standard General L.P.
Attention: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                             2860    4/11/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                                                                                   $0.00            $0.00
Standard General L.P.
Attention: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                             2871    4/11/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                       $0.00            $0.00
Standard General Master Fund L.P.
Standard General L.P.
Attention: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                             2597    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                $14,406,742.32                            $0.00                                     $14,406,742.32
Standard General Master Fund L.P.
Standard General L.P.
Attention: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                             2687    4/11/2017           APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)                      $0.00                            $0.00                                              $0.00
Standard General Master Fund L.P.
Standard General L.P.
Attention: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                             2746    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
Standard General Master Fund L.P.
Standard General L.P.
Attention: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                             2804    4/11/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                    $0.00                            $0.00                                              $0.00
Standard General Master Fund L.P.
Standard General L.P.
Attention: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                             2814    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                            $0.00                                              $0.00
Standard General Master Fund L.P.
Standard General L.P.
Attention: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                             2844    4/11/2017              APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                          $0.00                            $0.00                                              $0.00




                                                                                                             Page 172 of 202
                                                                                         Case 16-12551-BLS          Doc 2329       Filed 12/23/20      Page 173 of 202



                                                                                                                        Claim Register
                                                                                                      In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                                      Case No. 16-12551


                                                                                                                                                              Current General                                  Current 503(b)(9)
                                                                                                                                                                              Current Priority Current Secured                    Current Admin    Total Current
                 Creditor Name and Address               Claim No. Claim Date                                   Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                                               Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                                  Amount                                           Amount
Standard General Master Fund L.P.
Standard General L.P.
Attention: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                                         2858    4/11/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                                                                                   $0.00            $0.00
Standard General Master Fund L.P.
Standard General L.P.
Attention: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                                         2859    4/11/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                       $0.00            $0.00
Standard General Master Fund L.P.
Standard General L.P.
Attention: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                                         2861    4/11/2017              APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                                                                                             $0.00            $0.00
Standard General Master Fund L.P.
Standard General L.P.
Attention: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                                         2862    4/11/2017           APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)                                                                                         $0.00            $0.00
Standard General Master Fund L.P.
Standard General L.P.
Attention: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                                         2864    4/11/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                $0.00                            $0.00                                              $0.00
Standard General Master Fund L.P.
Standard General L.P.
Attention: Joseph Mause
767 Fifth Avenue, 12th Floor
New York, NY 10153                                         2879    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Stanley, Daisy
1405 5th St.
La Verne, CA 91750                                         1224     4/3/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                            $158.05                                                                            $158.05
Stanley, Jasmin
40 East 21st Street, #8
New York, NY 10010                                         1714    4/11/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                   $30.00                                                                             $30.00
STATE BOARD OF EQUALIZATION
SPECIAL OPS, MIC: 55
PO BOX 942879
SACRAMENTO, CA 94279-0055                                  126      1/6/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                                              $0.00                                                               $0.00
STATE BOARD OF EQUALIZATION
SPECIAL OPS, MIC: 55
PO BOX 942879
SACRAMENTO, CA 94279-0055                                  361     2/10/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                    $0.00                                                               $0.00
STATE BOARD OF EQUALIZATION
SPECIAL OPS, MIC: 55
PO BOX 942879
SACRAMENTO, CA 94279-0055                                  2808    4/13/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
State of California
Bankruptcy Section MS A340
Franchise Tax Board
PO Box 2952
Sacramento, CA 95812-2952                                  3426     1/4/2019              APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                                                                                         $1,881.46        $1,881.46
State of Connecticut / Department of Revenue Services
Collection & Enforcement Division / Bankruptcy Section
450 Columbus Boulevard
Suite 1
Hartford, CT 06103-1837                                    1787     4/7/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                       $0.00            $0.00




                                                                                                                         Page 173 of 202
                                                                       Case 16-12551-BLS          Doc 2329      Filed 12/23/20       Page 174 of 202



                                                                                                      Claim Register
                                                                                    In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                    Case No. 16-12551


                                                                                                                                            Current General                                  Current 503(b)(9)
                                                                                                                                                            Current Priority Current Secured                    Current Admin    Total Current
               Creditor Name and Address    Claim No. Claim Date                              Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                             Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                Amount                                           Amount
STATE OF NEVADA DEPARTMENT OF TAXATION
555 E. WASHINGTON AVE STE #1300
LAS VEGAS, NV 89101                            43     12/2/2016    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                $8,514.47      $48,883.62                                                          $57,398.09
Steckler, Sharon
53 Winslow Road, Apt. A
Brookline, MA 02446                           542     2/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                               $17.00                           $17.00
Stein, Karen
4174 Vanetta Dr
Studio City, CA 91604                         642      3/7/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                $39.24          $39.24
Steiner, Carley
1313 Valley View Rd #106
Glendale , CA 91202                           441     2/17/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $32.70                                                                             $32.70
Steiner, Carley
1313 Valley View Rd #106
Glendale, CA 91202                            1001    3/24/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $32.70                                                                             $32.70
Steiner, Carley
1313 Valley View Rd #106
Glendale, CA 91252                            1016    3/24/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                $32.70          $32.70
Steiner, Savannah
7124 Teesdale Ave.
North Hollywood, CA 91605                     3125    4/19/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $50.00                                                                             $50.00
Steinman, Hallie
303. E. 83rd Street, Apt 3D
New York, NY 10028                            1277     4/4/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $25.00                                                                             $25.00
Steinmetz, Cindi
500 East 83rd St Apt 2K
New York, NY 10028                            972     3/21/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                   $38.00                                                                             $38.00
Steinmetz, Cindi
500 East 83rd Street Apt 2K
New York, NY 10028                            386     2/13/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $38.00                                                                             $38.00
Steketee, Hunter Elizabeth
2160 Outpost Drive
Los Angeles, CA 90068                         1081    3/29/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                       $159.14                                                                            $159.14
STEPHENS, THORYN
1101 OCEAN FRONT WALK #15
VENICE, CA 90291                              1952    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                         $62,150.00      $12,850.00                                                          $75,000.00
Stern, Isabel
1800 Franklin St Apt 208
San Francisco, CA 94109                       823     3/16/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $9.57                                                                               $9.57
Stickmen Properties Ltd
22 E Gay St, Suite 800
Columbus, OH 43215                             6      11/21/2016         APP Winddown, LLC (f/k/a American Apparel, LLC)                          $8,685.00                                                                           $8,685.00
Strautz, Deborah
36142 Roycroft
Livonia, MI 48154                             3281    5/24/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $72.08                                                                             $72.08
Strickland, Savanna
22837 Ponderosa Drive
Boca Raton, FL 33428                          3127    4/21/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                  $108.12                                                                            $108.12
Su, Moi
2428 N Ditman Ave
Los Angeles, CA 90032                         1268     4/4/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                              $0.00                                                               $0.00
Sukhotski, Stanislau
127 16th Ave
Seattle, WA 98122                             3381    11/20/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                       $140.00                                                            $140.00
Swendseid, Alaina
15889 W 62nd Pl
Golden, CO 80403                              444     2/17/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $65.00                                                                             $65.00
Swift Delivery and Logistics, Inc.
10111 Martin Luther King, Jr. Hwy Ste 105
Bowie, MD 20720                                93     12/16/2016         APP Winddown, LLC (f/k/a American Apparel, LLC)                          $2,748.00                                                                           $2,748.00

                                                                                                       Page 174 of 202
                                                                       Case 16-12551-BLS          Doc 2329      Filed 12/23/20       Page 175 of 202



                                                                                                      Claim Register
                                                                                    In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                    Case No. 16-12551


                                                                                                                                            Current General                                  Current 503(b)(9)
                                                                                                                                                            Current Priority Current Secured                    Current Admin    Total Current
                Creditor Name and Address   Claim No. Claim Date                              Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                             Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                Amount                                           Amount
Swift, Lawrence
6530 Reflection Drive
#2270
San Diego, CA 92124                           546     2/28/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                  $100.00                                                                            $100.00
Swift, Liam
1466 Belle Ave
Lakewood, OH 44107                            489     2/23/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                   $38.00                                                                             $38.00
Szegedi, Juliet
438 North Gower Street
Los Angeles, CA 90004                         609      3/6/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $54.30                                                                             $54.30
Szeneri, Krystal
7731 24th Street
Westminster, CA 92683                         3404     2/2/2018          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $62.64                                                                             $62.64
Szeneri, Krystal
7731 24th St.
Westminster, CA 92683                         3403     2/2/2018          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                $62.64          $62.64
Szwarc, Katherine
34 N 7th Street Apt 5T
Brooklyn, NY 11249                            496     2/23/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $18.00                                                                             $18.00
Tabor Storage Solutions
121 W. Lexington Drive, Suite 630
Glendale, CA 91203                            362     2/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                       $981.44                                                                            $981.44
Tageos, Inc.
185 Alewife Brook Parkway Ste 210
Cambridge, MA 02138                           526     2/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
TAGTIME USA, INC
4601 DISTRICT BLVD.
VERNON, CA 90058                               73     12/15/2016    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                    $11,636.14                                                                          $11,636.14
TAGTIME USA, INC
4601 DISTRICT BLVD.
VERNON, CA 90058                               77     12/19/2016         APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
TAGTIME USA, INC.
4601 DISTRICT BLVD.
VERNON, CA 90058                              206     1/24/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
Taing, Kim
120 N. Avenue 23 #2
Los Angeles, CA 90031                         2244    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                         $0.00                                                                               $0.00
Taing, Kim
120 N. Avenue 23 #2
Los Angeles, CA 90031                         2246    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Taitt, Brittiany
70 East 108th Street #3F
New York, NY 10029                            148     1/17/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $60.00                           $60.00                                           $120.00
Takahashi, Mary Ann
3375 Jordan Rd
Oakland, CA 94602                             234     1/31/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $50.00                                                                             $50.00
Tam, Judy Yan
555 W. Cesar E Chavez Ave
Apt 409
Los Angeles, CA 90012                         849     3/18/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                              $0.00                                                               $0.00
Tam, Judy Yan
555 W. Cesar E Chavez Ave
Apt 409
Los Angeles, CA 90012                         1846    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Tam, Judy Yan
555 W. Cesar E Chavez Ave
Apt 409
Los Angeles, CA 90012                         1950    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00




                                                                                                       Page 175 of 202
                                                                       Case 16-12551-BLS          Doc 2329      Filed 12/23/20       Page 176 of 202



                                                                                                      Claim Register
                                                                                    In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                    Case No. 16-12551


                                                                                                                                            Current General                                  Current 503(b)(9)
                                                                                                                                                            Current Priority Current Secured                    Current Admin    Total Current
                Creditor Name and Address   Claim No. Claim Date                              Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                             Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                Amount                                           Amount
Tam, Siu Ling
6303 Aldama St.
Los Angeles, CA 90042                         1773    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Tam, Siu Ling
6303 Aldama St.
Los Angeles, CA 90042                         1844    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Tan, Miao
4929 Malta St
Los Angeles, CA 90042                         2048    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Tan, Miao
4929 Malta St
Los Angeles, CA 90042                         2166    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Tan, Putri
9 SAINT FELIX ST
Brooklyn, NY 11217-1205                       622      3/6/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                        $54.00                                                                             $54.00
Tanabe, Yayoi
8618 Appian Way
Los Angeles, CA 90046                         1004    3/25/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                        $38.00                                                                             $38.00
Tanabe, Yayoi
8618 Appian Way
Los Angeles, CA 90046                         1006    3/25/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $38.00                                                                             $38.00
Tang, Hung
1535 S. Stevens Ave # C
San Gabriel, CA 91776                         988     3/23/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
Tang, Hung
1535 S. Stevens Ave # C
San Gabriel, CA 91776                         990     3/23/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
Tang, Jacky
2 Northside Piers #9J
Brooklyn, NY 11249                            641      3/7/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $37.75                                                                             $37.75
Tashchyan, Tamara
12001 Burbank Blvd
Apt #2
Valley Village, CA 91607                      2088    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                               $185.30         $185.30
Tat, Sandy K
1405 Stevens Ave. Apt#2
San Gabriel, CA 91776                         847     3/20/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                              $0.00                                                               $0.00
TAYARA, ADNAN A.
1810 HIGHLANDER DR
ROWLETT, TX 75088                             3203     5/1/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                    $0.00                                                                               $0.00
TAYARA, ADNAN A.
1810 HIGHLANDER DR
ROWLETT, TX 75088                             3208     5/1/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                       $0.00            $0.00
Taylor, Kimberly
4309 Eagle Trace Court
Waldorf, MD 20602                             1221     4/3/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                    $121.04                          $121.04
Tayun, Jorge
1104 S Ferris Ave
Los Angeles, CA 90022                         2032    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Tayun, Jorge
1104 S Ferris Ave
Los Angeles, CA 90022                         2034    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Tayun, Obispo Tzanax
1325 Fraser Ave
Los Angeles, CA 90022                         3090    4/18/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
Tayun, Obispo Tzarax
1325 Fraser Ave
Los Angeles, CA 90022                         3104    4/18/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                              $0.00                                                               $0.00




                                                                                                       Page 176 of 202
                                                                     Case 16-12551-BLS          Doc 2329      Filed 12/23/20       Page 177 of 202



                                                                                                    Claim Register
                                                                                  In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                  Case No. 16-12551


                                                                                                                                          Current General                                  Current 503(b)(9)
                                                                                                                                                          Current Priority Current Secured                    Current Admin    Total Current
              Creditor Name and Address   Claim No. Claim Date                              Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                           Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                              Amount                                           Amount
Teamkit Far East Ltd.
33 Canton Rd Tsim Sha Tsui
Ste. 1713-14 17/F Tower 3
Kowloon, Hongkong City
Hong Kong                                   1146    3/30/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                         $0.00                                                                               $0.00
Teamkit Far East Ltd.
Suite 1713-14, 17/F., Tower 3
Hong Kong City, 33 Canton Road
Tsim Sha Tsui, Kowloon
Hong Kong                                   1182    3/30/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                    $45,783.26                                                              $0.00       $45,783.26
Tebalan, Elsa
225 S. Burlington Ave
Apt #17
Los Angeles, CA 90057                       3051    4/17/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Tebalan, Elsa E
225 S Burlington Ave.
Apt. 17
Los Angeles, CA 90057                       3039    4/17/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Technical Connections, Inc.
6701 Center Dr. W, Suite 825
Los Angeles, CA 90045                        14     11/21/2016    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                    $24,000.00                                                                          $24,000.00
TEKsystems, Inc.
Bruce Bragg
7437 Race Road
Hanover, MD 21076                           1253     4/4/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                    $23,000.00                                                                          $23,000.00
Tellez, Fernando
1505 W. 11th Pl.
Los Angeles, CA 90015                       1751    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Tellez, Fernando
1505 W. 11th Pl.
Los Angeles, CA 90015                       1987    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                         $0.00                                                                               $0.00
Tellez, Francisco
3269 Saturn Ave # B
Huntington Park, CA 90255                   2391    4/12/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Tellez, Francisco
3269 Saturn Ave # B
Huntington Park, CA 90255                   2624    4/12/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
TENNESSEE DEPARTMENT OF REVENUE
TDOR C/O ATTORNEY GENERAL
PO Box 20207
NASHVILLE, TN 37202-0207                    2543    4/11/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                    $0.00                                                               $0.00
TENNESSEE DEPARTMENT OF REVENUE
TDOR C/O ATTORNEY GENERAL
PO Box 20207
NASHVILLE, TN 37202-0207                    2567    4/11/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                    $0.00           $0.00                                                               $0.00
Terezakis, Evelyn
189 E 93rd Street
Apt. 3B
New York, NY 10128                          761     3/13/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $9.63                                                                               $9.63
Terezakis, Evelyn
189 E 93rd Street
Apt. 3B
New York, NY 10128                          762     3/13/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                    $9.63                                                                               $9.63
Terezakis, Evelyn
189 E 93rd Street
Apt. 3B
New York, NY 10128                          765     3/13/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                         $9.63                                                                               $9.63
Tesfandrias, Senayit
1416 Caroline St Apt #C
Alameda, CA 94501                           309      2/6/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                  $146.00                                                                            $146.00

                                                                                                     Page 177 of 202
                                                                                       Case 16-12551-BLS          Doc 2329      Filed 12/23/20       Page 178 of 202



                                                                                                                      Claim Register
                                                                                                    In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                                    Case No. 16-12551


                                                                                                                                                            Current General                                  Current 503(b)(9)
                                                                                                                                                                            Current Priority Current Secured                    Current Admin    Total Current
                 Creditor Name and Address                  Claim No. Claim Date                              Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                                             Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                                Amount                                           Amount
The A.J.D. Building LLC
Belkin Burden Wenig & Goldman, LLP
S. Stewart Smith, Esq.
270 Madison Avenue
New York, NY 10016                                            3292    5/26/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)            $1,368,640.46                                                                       $1,368,640.46
The Ally Coalition
63 Woodlawn
Boston, MA 02130                                               20     11/25/2016         APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
The Ally Coalition
63 Woodlawn
Boston, MA 02130                                              648      3/7/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                    $15,703.61                                                                          $15,703.61
THE BUTTON DEPOT
PO BOX 24949
LOS ANGELES, CA 90024-0949                                    646      3/7/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
The City of Philadelphia
City of Philadelphia Law Tax & Revenue
c/o Megan N. Harper
1401 JFK Blvd., 5th Floor
Philadelphia, PA 19102                                        3429    1/14/2019    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                       $0.00            $0.00
THE DISTILLATA COMPANY
1608 E 24TH ST
CLEVELAND, OH 44114-4212                                      857     3/20/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $136.38                                                                            $136.38
The Electric Company of Seattle, Inc.
PO Box 15269
Seattle, WA 98115                                             116     12/30/2016         APP Winddown, LLC (f/k/a American Apparel, LLC)                          $5,323.67                                                                           $5,323.67
The Illuminating Company
5001 NASA Blvd
Fairmont, WV 26554                                            317      2/6/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $466.28                                                                            $466.28
The Irvine Company LLC
c/o Bewley, Lassleben & Miller, LLP
Attn: Ernie Zachary Park
13215 E. Penn St., Suite 510
Whittier, CA 90602                                            494     2/21/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                        $168,180.10                                                                        $168,180.10
The Law Office of Scott A. Klion, PLLC
385 Burnt Meadow Road
Gardiner, NY 12525                                             68     12/13/2016         APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
The Law Office of Scott A. Klion, PLLC
385 Burnt Meadow Road
Gardiner, NY 12525                                            613      3/4/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                         $10,447.50                                                                          $10,447.50
THE MCKENZIE FAMILY TRUST
4550 E WILD COYOTE TRL
TUCSON, AZ 85739                                              947     3/21/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
The Ohio Department of Taxation
Bankruptcy
P.O. Box 530
Columbus, OH 43216                                            1148    3/30/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                         $83,932.00           $0.00                                                          $83,932.00
The Retail Property Trust, a Massachusetts Business Trust
Simon Property Group, Inc.
225 W. Washington Street
Indianapolis, IN 46204                                        1533    4/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                              $0.00            $0.00
The Retail Property Trust, a Massachusetts Business Trust
Simon Property Group, Inc.
225 W. Washington Street
Indianapolis, IN 46204                                        3233     5/5/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                      $1,081,859.76                                                         $80,690.76    $1,162,550.52
The Trustee of the University of Pennsylvania
David L. Pollack, Esq.
c/o Ballard Spahr LLP
1735 Market Street, 51st Floor
Philadelphia, PA 19103                                        2207    4/11/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                   $4,038.57        $4,038.57


                                                                                                                       Page 178 of 202
                                                                                             Case 16-12551-BLS          Doc 2329      Filed 12/23/20       Page 179 of 202



                                                                                                                            Claim Register
                                                                                                          In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                                          Case No. 16-12551


                                                                                                                                                                  Current General                                  Current 503(b)(9)
                                                                                                                                                                                  Current Priority Current Secured                    Current Admin    Total Current
                  Creditor Name and Address                       Claim No. Claim Date                              Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                                                   Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                                      Amount                                           Amount

The Trustee of the University of Pennsylvania, Philadelphia, PA
c/o Ballard Spahr LLP
Attn: David L. Pollack, Esq.
1735 Market Street, 51st Floor
Philadelphia, PA 19103                                              2472    4/11/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                $4,579.76                                                                           $4,579.76
The United Illuminating Co.
100 Marsh Hill Rd.
Orange, CT 06477                                                    252     1/26/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                  $287.32           $0.00                                                            $287.32
The United Illuminating Co.
100 Marsh Hill Rd.
Orange, CT 06477                                                    253     1/26/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                $1,011.69           $0.00                                                           $1,011.69
THERIAULT, MADELEINE
2741 TERESITA ST.
SAN DIEGO, CA 92104                                                 294      2/3/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $334.96                                                                            $334.96
Thomas P Penland DBA Quality Medical Service
17124 So. Western Ave #4
Gardena, CA 90247                                                   904     3/20/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
Thomas, Brandi
35 Overlook Ln
Richmond, VT 05477                                                  552     2/28/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $31.00                                                                             $31.00
Thompson, Amy Lund
717 N POINSETTIA PL
LOS ANGELES, CA 90046-7621                                          1056    3/28/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $40.00                                                                             $40.00
Thomson Reuters
Thomson Reuters-West
610 Opperman Drive
Eagan, MN 55123                                                     2532    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                     $3,084.99                                                                           $3,084.99
THONG, LINDA
3715 STRANG AVE
ROSEMEAD, CA 91770                                                  999     3/24/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                              $0.00                                                               $0.00
Thong, Linda
3715 Strang Ave
Rosemead, CA 91770                                                  2175    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Thong, Linda
3715 Strang Ave.
Rosemead, CA 91770                                                  1908    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Tiedt, Gina
3835 Peregrin Cir
Corona, CA 92881                                                    501     2/23/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                       $391.00                                                                            $391.00
TIME WARNER CABLE
7820 CRESENT EXECUTIVE DR
4TH FLOOR
CHARLOTTE, NC 28217                                                 1300     4/5/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                $3,692.72                                                                           $3,692.72
TIN, PEARL
388 BEALE STREET #1510
SAN FRANCISCO, CA 94105                                             737     3/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $150.00                                                                            $150.00
Tint Studio
Gilmer Ake
14209 Burning Tree Dr.
Victorville, CA 92395                                               101     12/27/2016   APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                $8,645.00                                                                           $8,645.00
Tioseco, James
2009 San Pablo Ave.
Berkeley, CA 94702                                                  409     2/14/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $99.93                                                                             $99.93
Tioseco, James
2009 San Pablo Ave.
Berkeley, CA 94702                                                  2491    4/13/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                   $99.93                                                                             $99.93
Tlayoa, Mary
1000 S Grandview St Apt #106
Los Angeles, CA 90006                                               1615     4/7/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00

                                                                                                                             Page 179 of 202
                                                                       Case 16-12551-BLS          Doc 2329      Filed 12/23/20       Page 180 of 202



                                                                                                      Claim Register
                                                                                    In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                    Case No. 16-12551


                                                                                                                                            Current General                                  Current 503(b)(9)
                                                                                                                                                            Current Priority Current Secured                    Current Admin    Total Current
                Creditor Name and Address   Claim No. Claim Date                              Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                             Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                Amount                                           Amount
Tlayoa, Mary
1000 S Grandview St Apt #106
Los Angeles, CA 90006                         1641     4/7/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
TM Wellington Green Mall LP
Ballard Spahr LLP
Dustin P. Branch, Esq.
2029 Century Park East, Suite 800
Los Angeles, CA 90067-2909                    1912    4/11/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)              $144,255.99                                                            $248.32     $144,504.31
TM Wellington Green Mall LP
c/o Ballard Spahr LLP
Attn: Dustin P. Branch, Esq.
2029 Century Park East, Suite 800
Los Angeles, CA 90067-2909                    1986    4/11/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                       $0.00            $0.00
To Plus Alpha
13404 La Jolla Cir. #201H
La Mirada, CA 90638                            29     11/28/2016    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                    $20,911.00                                                                          $20,911.00
Tobar, Evangelina Santos
838 East. 95th St
Los Angeles, CA 90002                         1776    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Tobar, Evangelina Santos
838 East. 95th St
Los Angeles, CA 90002                         1916    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Toledano, Anais
784 Columbus Ave, #40
New York, NY 10025                            336      2/7/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $46.00                                                                             $46.00
Tolete, Patricia
32-13 53rd Place
Woodside, NY 11377                            231     1/31/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $48.00                                                                             $48.00
Tolete, Patricia
32-13 53rd Place
Woodside, NY 11377                            672      3/9/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $48.00                                                                             $48.00
Tolete, Patricia
32-13 53rd Place
Woodside, NY 11377                            687      3/9/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                $48.00          $48.00
Tolete, Patricia
32-13 53rd Place
Woodside, NY 11377                            692      3/9/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $48.00                                                                             $48.00
Tomas, Jose Juan
521 S Union Dr Apt #102
Los Angeles, CA 90017                         1589     4/7/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Tomas, Jose Juan
521 S Union Dr #102
Los Angeles, CA 90017                         1469     4/7/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Tomlinso Management Group, INC.
15760 Ventura Blvd - Suite # 1920
Encino, CA 91436                              395     2/13/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                     $2,880.00                                                                           $2,880.00
TOMPKINS USA
ATTN MICHAEL M MOSHER
623 ONEIDA ST
SYRACUSE, NY 13202                            688      3/9/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
Toro, Melissa
1420 Noble Ave Apt 4U
Bronx, NY 10472                               3398    12/28/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                               $0.00           $50.00                           $50.00
Torres de Luna, Juana
1233 Elden Ave
Apt. 10
Los Angeles, CA 90006                         3312     6/9/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00




                                                                                                       Page 180 of 202
                                                                       Case 16-12551-BLS          Doc 2329      Filed 12/23/20       Page 181 of 202



                                                                                                      Claim Register
                                                                                    In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                    Case No. 16-12551


                                                                                                                                            Current General                                  Current 503(b)(9)
                                                                                                                                                            Current Priority Current Secured                    Current Admin    Total Current
                Creditor Name and Address   Claim No. Claim Date                              Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                             Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                Amount                                           Amount
Torres de Luna, Juana
1233 Elden Ave
Apt. 10
Los Angeles, CA 90006                         3313     6/9/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                         $0.00                                                              $0.00            $0.00
Torres de Ruiz, Otilia
1525 1/2 W 59 Pl
Los Angeles, CA 90047                         1590     4/7/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Torres, Guadalupe
9207 S San Pedro St
Los Angeles, CA 90003                         2693    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Torres, Guadalupe
9207 S. San Pedro St
Los Angeles, CA 90003                         1202     4/3/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
Torres, Guadalupe
9207 S. San Pedro St
Los Angeles, CA 90003                         1227     4/3/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                              $0.00                             $0.00                             $0.00
Torres, Guadalupe
9207 S. San Pedro St
Los Angeles, CA 90003                         2629    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Torres, Melanie
94-12 239th Street
Floral Park, NY 11001                         3163    4/25/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $81.61                                                                             $81.61
Torres, Molly
1373 COOLIDGE AVE
PASADENA, CA 91104-2002                       364     2/13/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $50.00                                                                             $50.00
Torres, Molly
1373 COOLIDGE AVE
PASADENA, CA 91104-2002                       1032    3/27/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                   $50.00                                                                             $50.00
Torres, Monica
262 E 45 St.
Los Angeles, CA 90011                         1959    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Torres, Monica
262 E 45 St.
Los Angeles, CA 90011                         2180    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Torres, Nicolasa
2518 Cass Pl
Huntington Park, CA 90255                     2490    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Torres, Nicolasa
2518 Cass Pl
Huntington Park, CA 90255-6704                2782    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Torres, Nicolasa
2518 Cass Place
Walnut Park, CA 90255                         1957    4/10/2017         APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                                                                                             $0.00            $0.00
Torres, Nicolasa
2518 Cass Place
Walnut Park, CA 90255                         2071    4/10/2017         APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                                          $0.00                                                               $0.00
Torres, Norma
1925 Park Grove Ave
Los Angeles, CA 90007                         2485    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Torres, Norma
1925 Park Grove Ave
Los Angeles, CA 90007                         2633    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Torres, Philip
265 Armstrong Ave.
Jersey City, NJ 07305                         1325     4/6/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                  $250.00                                                                            $250.00
TORRES, PIEDAD
C/O KEITH A. FINK & ASSOCIATES
1990 S BUNDY DR STE 620
LOS ANGELES, CA 90025-5690                    1424     4/6/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00


                                                                                                       Page 181 of 202
                                                                               Case 16-12551-BLS          Doc 2329      Filed 12/23/20       Page 182 of 202



                                                                                                              Claim Register
                                                                                            In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                            Case No. 16-12551


                                                                                                                                                    Current General                                  Current 503(b)(9)
                                                                                                                                                                    Current Priority Current Secured                    Current Admin    Total Current
                 Creditor Name and Address          Claim No. Claim Date                              Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                                     Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                        Amount                                           Amount
TORRES, PIEDAD
C/O KEITH A. FINK & ASSOCIATES
1990 S BUNDY DR STE 620
LOS ANGELES, CA 90025-5690                            1440     4/6/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                    $0.00                                                                               $0.00
Torres, Piedad
c/o Keith A. Fink & Associates
1990 S BUNDY DR STE 620
Los Angeles, CA 90025-5690                            1452     4/6/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                         $0.00                                                                               $0.00
Torres, Romela
6116 Broadway
Woodside, NY 11377                                    388     2/13/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                              $83.49                                            $83.49
Total Quality Logistics, LLC
Attn: Joseph B. Wells, Asst Corporate Counsel
4289 Ivy Pointe Blvd.
Cincinnati, OH 45245                                  267     1/30/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                    $17,793.90                                                                          $17,793.90
Toth, Laura
204 Livingston St Apt 3
Brooklyn, NY 11201                                    1197     4/3/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                   $28.92                                                                             $28.92
Tovar de Espinoza, Rita
12028 Nava Street
Norwalk, CA 90650                                     1355     4/5/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Town Center at Boca Raton Trust, a New York Trust
Simon Property Group, Inc.
225 W. Washington Street
Indianapolis, IN 46204                                1505    4/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                              $0.00            $0.00
Town Center at Boca Raton Trust, a New York Trust
Simon Property Group, Inc.
225 W. Washington Street
Indianapolis, IN 46204                                3224     5/5/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                      $1,542,540.25                                                        $123,319.21    $1,665,859.46
Trace
Tracey Liriano
2738 Bouck Avenue
Bronx, NY 10469                                       2243    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $42.60                                                                             $42.60
Tran, Jenny
8528 Jumilla Ave
Winnetka, CA 91306                                    922     3/21/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $250.00                                           $250.00                          $500.00
Tran, Jenny
8528 Jumilla Ave
Winnetka, CA 91306                                    383     2/13/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $250.00                                                                            $250.00
Tran, Jenny
8528 Jumilla Ave
Winnetka, CA 91306                                    913     3/21/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                               $250.00         $250.00
Tran, Jimmy
4807 Marionwood Dr. #403
Culver City, CA 90230                                 2826    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Tran, Jimmy
4807 Marionwood Dr. #403
Culver City, CA 90230                                 2828    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Tran, Joanne
11 Victorian Way
West Deptford, NJ 08096                               465     2/22/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $60.00                                                                             $60.00
Tran, Madeline
632 Via Vista
Newbury Park, CA 91320                                785     3/13/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $46.32                                                                             $46.32
Tran, Maggie
2054 S. Sprague Ln. Apt. #4
Anaheim, CA 92802                                     752     3/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $50.58                                                                             $50.58
Tran, Maple
2012 McGraw Ave
Bronx, NY 10462                                       373     2/13/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $70.00                                                                             $70.00

                                                                                                               Page 182 of 202
                                                                      Case 16-12551-BLS          Doc 2329      Filed 12/23/20       Page 183 of 202



                                                                                                     Claim Register
                                                                                   In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                   Case No. 16-12551


                                                                                                                                           Current General                                  Current 503(b)(9)
                                                                                                                                                           Current Priority Current Secured                    Current Admin    Total Current
               Creditor Name and Address   Claim No. Claim Date                              Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                            Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                               Amount                                           Amount
Tran, Phuong Khanh
1031 Bilton Way
San Gabriel, CA 91776                        1234     4/3/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
Tran, Phuong Khanh
1031 Bilton Way
San Gabriel, CA 91776                        1235     4/3/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
Transform, Inc.
Randa E. Minkarah
999 Third Avenue, Suite 700
Seattle, WA 98104                            311      2/6/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                   $115,711.00                                                                        $115,711.00
Trejo Santos, Blanca L
6848 1/2 Laurel Cyn Blvd
N. Hollywood, CA 91605                       1309     4/5/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Trejo, Blanca
6848 1/2 Laurel Canyon Blvd
North Hollywood, CA 91605                    1312     4/5/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Trejo, Dalila
C/O Pedersen Law APLC
Attn: McKenzee D. McCammack
17910 Skypark Cir. Suite 105
Irvine, CA 92614                             788     3/14/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
Trujillo, Ana V
3924 Langford St
Los Angeles, CA 90063                        1569    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Trujillo, Ana V
3924 Langford St
Los Angeles, CA 90063                        1667    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
TRUJILLO, DELFINO
1438 E 56TH STREET
LOS ANGELES, CA 90011-4924                   635      3/6/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00           $0.00                                                               $0.00
Trujillo, Nuyla
847 1/2 E. 78th St
Los Angeles, CA 90001                        2403    4/13/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Trujillo, Nuyla
847 1/2 E. 78th St
Los Angeles, CA 90001                        2453    4/13/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Trump Plaza LLC
Attn: Alex W. Cannon, Esq.
725 Fifth Avenue, 26th Floor
New York, NY 10022                           3191    4/27/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                       $0.00            $0.00
Trump Plaza LLC
c/o The Trump Organization
Attn: Alex W. Cannon, Esq.
725 Fifth Avenue, 26th Floor
New York, NY 10022                           3192    4/27/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)              $466,727.68                      $184,000.00                             $0.00     $650,727.68
TSAI, SUE
1052 S HUDSON AVE
LOS ANGELES, CA 90019-1815                   699      3/9/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
TSAI, SUE
1052 S HUDSON AVE
LOS ANGELES, CA 90019-1815                   702      3/9/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
Tsan, Linda
763 Treat Ave
San Francisco, CA 94110                      572     2/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $38.05                                                                             $38.05
Tuohy, Stephen Mark
101 S Kilkea Dr
Los Angeles, CA 90048                        471     2/22/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $112.76                                                                            $112.76
Tuohy, Stephen Mark
101 S Kilkea Dr
Los Angeles, CA 90048                        2020    4/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $112.76                                                                            $112.76

                                                                                                      Page 183 of 202
                                                                       Case 16-12551-BLS          Doc 2329      Filed 12/23/20       Page 184 of 202



                                                                                                      Claim Register
                                                                                    In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                    Case No. 16-12551


                                                                                                                                            Current General                                  Current 503(b)(9)
                                                                                                                                                            Current Priority Current Secured                    Current Admin    Total Current
                Creditor Name and Address   Claim No. Claim Date                              Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                             Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                Amount                                           Amount
Twin Dragon Marketing, Inc.
Law Offices of James S. Yan
James S. Yan, Esq.
980 S. Arroyo Parkway, Suite 250
Pasadena, CA 91105                            3419    10/22/2018         APP Winddown, LLC (f/k/a American Apparel, LLC)                        $100,000.00                                                                        $100,000.00
Twins Pleating & Stitching, Inc.
3659 Whittier Blvd.
Los Angeles, CA 90023                          2      11/18/2016    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                    $22,242.60                                                                          $22,242.60
Tyco Integrated Security, LLC
10405 Crosspoint Boulevard
Indianapolis, IN 46256                        214     1/23/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                         $11,322.35                                                                          $11,322.35
Tyco Integrated Security, LLC
10405 Crosspoint Boulevard
Indianapolis, IN 46256                        216     1/23/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                     $4,775.70                                                                           $4,775.70
Tyco Integrated Security, LLC
10405 Crosspoint Boulevard
Indianapolis, IN 46256                        433     2/13/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                $6,693.54                                                                           $6,693.54
U.S. Customs and Border Protection
Attn: Revenue Division, Bankruptcy Team
6650 Telecom Dr., Suite 100
Indianapolis, IN 46278                        1423     4/6/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
U.S. TelePacific Corp.
Office of General Counsel
515 S. Flower Street, 47th Floor
Los Angeles, CA 90071-2201                    2766    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                         $27,626.98                                                                          $27,626.98
Ueng, Jocelyn
450 Massachusetts Ave NW #912
Washington, DC 20001                          411     2/14/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $29.70                                                                             $29.70
Ueng, Jocelyn
450 Massachusetts Ave NW #912
Washington, DC 20001                          1328     4/6/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $29.70                                                                             $29.70
Ugarte, Mireya
25325 Frampton Ave
#5
Harbor City, CA 90710                         1329     4/5/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                              $0.00                                                               $0.00
Uhr, Tamara J.
151 Maono Place
Honolulu, HI 96821                            462     2/21/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $136.13                                                                            $136.13
Uhr, Tamara J.
151 Maono Place
Honolulu, HI 96821                            1230     4/3/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $136.13                                                                            $136.13
Uhr, Tamara J.
151 Maono Place
Honolulu, HI 96821                            1233     4/3/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                               $136.13         $136.13
Ulker, Meltem
101 Collins Ave #10
Miami Beach, FL 33139                         422     2/14/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                              $94.00           $94.00                          $188.00
Ulwick, Cassandra
1132 Dekalb Ave #3
Brooklyn, NY 11221                            932     3/23/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $204.45                                                                            $204.45
Ulwick, Cassandra
1132 Dekalb Ave
Brooklyn, NY 11221                            201     1/24/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
UNiDAYS Inc
Myunidays Limited
2 Castle Boulevard
Nottingham NG7 1FB
United Kingdom                                162     1/18/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                    $47,769.66                                                                          $47,769.66




                                                                                                       Page 184 of 202
                                                                        Case 16-12551-BLS          Doc 2329      Filed 12/23/20       Page 185 of 202



                                                                                                       Claim Register
                                                                                     In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                     Case No. 16-12551


                                                                                                                                             Current General                                  Current 503(b)(9)
                                                                                                                                                             Current Priority Current Secured                    Current Admin    Total Current
                 Creditor Name and Address   Claim No. Claim Date                              Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                              Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                 Amount                                           Amount
UNITED FABRICARE SUPPLY, INC.
1237 W. WALNUT STREET
COMPTON, CA 90220                              565     2/28/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                   $247,508.50                                             $0.00                      $247,508.50
UNITED FABRICARE SUPPLY, INC.
1237 W. WALNUT STREET
COMPTON, CA 90220                              3442    8/15/2019     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                         $0.00                                                                               $0.00
United Parcel Service, Inc.
Lawrence Schwab/Kenneth Law
Bialson, Bergen & Schwab
633 Menlo Ave., Suite 100
Menlo Park, CA 94025                           1699    4/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                         $97,348.36                                                              $0.00       $97,348.36
Universal Elastic and Garment Supply
2200 S. Alameda Street
Los Angeles, CA 90058                           31     11/28/2016    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                    $10,983.50                                                                          $10,983.50
UTAH STATE TAX COMMISSION
ATTN: BANKRUPTCY UNIT
210 N 1950 W
SALT LAKE CITY, UT 84134-9000                  649      3/7/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00           $0.00                                                               $0.00
UTAH STATE TAX COMMISSION
ATTN: BANKRUPTCY UNIT
210 N 1950 W
SALT LAKE CITY, UT 84134-9000                  887     3/20/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00           $0.00                                                               $0.00
UTAH STATE TAX COMMISSION
ATTN: BANKRUPTCY UNIT
210 N 1950 W
SALT LAKE CITY, UT 84134-9000                  894     3/20/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00           $0.00                                                               $0.00
V F MALL LLC
C/O LECLAIRRYAN, PC
ATTN: NICLAS A. FERLAND, ESQ.
545 LONG WHARF DRIVE, 9TH FLOOR
NEW HAVEN, CT 06511                            1630     4/7/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)              $216,575.11                                                                        $216,575.11
Vaccaro, Leanne
9706 161st Ave.
Howard Beach, NY 11414                         516     2/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $50.00                                                                             $50.00
Vaco Los Angeles, LLC
Attn: Leigh Caylor
5410 Maryland Way Ste 460
Brentwood, TN 37027                            3416    6/18/2018          APP Winddown, LLC (f/k/a American Apparel, LLC)                         $27,950.00                                                                          $27,950.00
Vaisnoraite, Giedre
49 Ludlow St, 5b
New York, NY 10002                             3147    4/24/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $58.00                                                                             $58.00
Valderrama, Maria B.
3125 Josephine St.
Lynwood, CA 90262                              1954    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Valderrama, Maria B.
3125 Josephine St.
Lynwood, CA 90262                              2128    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Valencia, Mariana
6329 Casitas Ave
Bell Gardens, CA 90201                         2263    4/12/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
Valencia, Mariana
6329 Casitas Ave
Bell Gardens, CA 90201                         2264    4/12/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
Valente, Guillermo
1150 Hicks Avenue
Los Angeles, CA 90023                          2222    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Valente, Guillermo
1150 S Hicks Ave
Los Angeles, CA 90023                          2177    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00


                                                                                                        Page 185 of 202
                                                                      Case 16-12551-BLS         Doc 2329      Filed 12/23/20     Page 186 of 202



                                                                                                     Claim Register
                                                                                   In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                   Case No. 16-12551


                                                                                                                                           Current General                                  Current 503(b)(9)
                                                                                                                                                           Current Priority Current Secured                    Current Admin    Total Current
                 Creditor Name and Address   Claim No. Claim Date                            Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                            Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                               Amount                                           Amount
Valles, Cecilia
2819 Independence Ave
South Gate, CA 90280                           1932    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Valles, Cecilia
2819 Independence Ave
South Gate, CA 90280                           1997    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Valles, Cecilia
2819 Independence Ave
South Gate, CA 90280                           2027    4/10/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                             $0.00                                                               $0.00
Valles, Cecilia
2819 Independence Ave
South Gate, CA 90280                           2214    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Vandeman, Barbara
1266 Calle de Sevilla
Pacific Palisades, CA 90272                    535     2/27/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $61.04                                                                             $61.04
Vaquero, Alicia
719 E 45th St
Los Angeles, CA 90011                          1200     4/3/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Vaquero, Alicia
719 E 45th St
Los Angeles, CA 90011                          1206     4/3/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Vargas, Blanca
2429 Sale Pl
Huntington Park, CA 90255                      1127    3/29/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                                               $0.00
Vargas, Blanca
2429 Sale Pl
Huntington Park, CA 90255                      1136    3/29/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                $0.00            $0.00
Vargas, Blanca
2429 Sale Pl
Huntington Park, CA 90255                      1370     4/6/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                             $0.00                                                               $0.00
Vargas, Blanca
2429 Sale Pl
Huntington Park, CA 90255                      1371     4/6/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                $0.00            $0.00
Vargas, Cira
743 E. 32nd St
Los Angeles, CA 90011                          2157    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                        $0.00                                                                               $0.00
Vargas, Cira
743 E. 32nd St
Los Angeles, CA 90011                          2502    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Vargas, Gabriela
7318 N. Lowell
Lincolnwood, IL 60712                          568      3/1/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $35.00                                                                             $35.00
Vargas, Graciela
3006 9th Avenue
Los Angeles, CA 90018                          1703    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Vargas, Graciela
3006 9th Avenue
Los Angeles, CA 90018                          1880    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Vasquez Gonzalez, Anna
2842 Leeward Ave
Los Angeles, CA 90005                          2920    4/14/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Vasquez, Jose A.
807 Fedora St. #207
Los Angeles, CA 90005                          689      3/9/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Vasquez, Jose A.
807 Fedora St. #207
Los Angeles, CA 90005                          707      3/9/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Vasquez, Luisa
3102 E 5th St.
Los Angeles, CA 90063                          1849    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00

                                                                                                      Page 186 of 202
                                                                      Case 16-12551-BLS         Doc 2329      Filed 12/23/20     Page 187 of 202



                                                                                                     Claim Register
                                                                                   In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                   Case No. 16-12551


                                                                                                                                           Current General                                  Current 503(b)(9)
                                                                                                                                                           Current Priority Current Secured                    Current Admin    Total Current
                 Creditor Name and Address   Claim No. Claim Date                            Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                            Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                               Amount                                           Amount
Vasquez, Luisa
3102 E 5th St.
Los Angeles, CA 90063                          1897    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Vasquez, Rebecca
404 E. 158th St. Apt 7A
Bronx, NY 10451                                619      3/6/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $107.60                                                                            $107.60
Vasquez, Ronald
50 Biscayne Blvd., Apt 2907
Miami, FL 33138                                541     2/27/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $40.02                                                                             $40.02
Vega, Rogelio
4544 Amber Pl.
Los Angeles, CA 90032                          1911    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Vega, Rogelio
4544 Amber Pl.
Los Angeles, CA 90032                          2197    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Velasco, Sonia
3762 E. Hammel St.
Los Angeles, CA 90063                          3093    4/19/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Velasco, Sonia
3762 E. Hammel St.
Los Angeles, CA 90063                          3097    4/19/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Velasquez, Ana
1515 Wilshire Blvd. #522
Los Angeles, CA 90017                          2777    4/11/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                                               $0.00
Velasquez, Higinia
1114 W 60th Pl
Los Angeles, CA 90044                          1799    4/10/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                $0.00            $0.00
Velasquez, Higinia
1114 W 60th Pl
Los Angeles, CA 90044                          1876    4/10/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                             $0.00                                                               $0.00
VELASQUEZ, RICARDA
1112 W 60TH PL
LOS ANGELES, CA 90044                          928     3/22/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                             $0.00                                                               $0.00
VELASQUEZ, RICARDA
1112 W 60TH PL
LOS ANGELES, CA 90044                          1765    4/10/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                             $0.00                                                               $0.00
VELASQUEZ, RICARDA
1112 W 60TH PL
LOS ANGELES, CA 90044                          2041    4/10/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                $0.00            $0.00
Velasquez, Socorro
1740 N. Rose Ave.
Compton, CA 90221                              2029    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Velasquez, Socorro
1740 N. Rose Ave.
Compton, CA 90221                              2036    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Velazquez, Olivia
10329 San Gabriel Ave
South Gate, CA 90280                           3238     5/8/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Velazquez, Olivia
10329 San Gabriel Ave
South Gate, CA 90280                           3239     5/8/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Veliz, Clara
517 West 113th St
Los Angeles, CA 90044                          1991    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Venegas, Altagracia
616 W 53rd St
Los Angeles, CA 90037                          1389     4/6/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Venegas, Altagracia
616 W 53rd St
Los Angeles, CA 90037                          1395     4/6/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00

                                                                                                      Page 187 of 202
                                                                                          Case 16-12551-BLS          Doc 2329      Filed 12/23/20       Page 188 of 202



                                                                                                                         Claim Register
                                                                                                       In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                                       Case No. 16-12551


                                                                                                                                                               Current General                                  Current 503(b)(9)
                                                                                                                                                                               Current Priority Current Secured                    Current Admin    Total Current
                  Creditor Name and Address                    Claim No. Claim Date                              Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                                                Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                                   Amount                                           Amount
Ventura, Catalina G.
10971 S. Main St
Los Angeles, CA 90061                                            1481     4/7/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Vera, Elena
1950 Leighton Ave
Los Angeles, CA 90062                                            1516     4/8/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Vera, Guillermina
3526 E 2nd. St.
Los Angeles, CA 90063                                            1588     4/7/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Vergara, Emily
19 Marion Ave.
Cold Spring, NY 10516                                            3252    5/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $35.12                                                                             $35.12
Verish, Angela
17275 Bard Lane
Brookfield, WI 53045                                             836     3/17/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                          $10.14                           $10.14
Verizon Business Global LLC, on behalf of its affiliates and
subsidiaries
William Vermette
22001 Loudoun County Pkwy
Ashburn, VA 20147                                                647      3/7/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                         $10,174.64                                                                          $10,174.64
Verizon Media fka Yahoo! Inc.
Stinson LLP
c/o Tracey Ohm
1775 Pennsylvania Ave NW
Suite 800
Washington, DC 20006                                             1211     4/3/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                          $1,358.99                                                                           $1,358.99
Verlagshaus Gruber GmbH
Attn: General Counsel
Max-Planck-St. 2
Eppertshausen 64855
Germany                                                          941     3/20/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
Verlagshaus Gruber GmbH
Attn: General Counsel
Max-Planck-St. 2
Eppertshausen 64855
Germany                                                          951     3/20/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
VERMONT DEPARTMENT OF TAXES
133 STATE ST
PO BOX 429
MONTPELIER, VT 05633                                             2964    4/17/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00           $0.00                                                               $0.00
Vermont Gas Systems, Inc.
85 Swift St
South Burlington, VT 05403                                       1345     4/5/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                   $51.57                                                                             $51.57
VERTICALSCOPE INC.
111 PETER STREET, SUITE 700
TORONTO, ON M5V 2H1
CANADA                                                           153     1/17/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                          $3,533.17                                                                           $3,533.17
VICE MAGAZINE PUBLISHING INC.
97 N 10TH ST APT 202
BROOKLYN, NY 11249-1825                                          1188    3/31/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                         $31,600.00                                                                          $31,600.00
Vice Media LLC
Attn: Jonathan Lutzky
49 South 2nd Street
Brooklyn, NY 11249                                               1189    3/31/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
VICTOR AUGUSTO APOLINARIO - Vendor Account: 109234
AVENIDA IPIRANGA, 1138
SAO PAULO, SP 01040-00
BRAZIL                                                           192     1/23/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                       $400.00                                                                            $400.00




                                                                                                                          Page 188 of 202
                                                                       Case 16-12551-BLS          Doc 2329      Filed 12/23/20       Page 189 of 202



                                                                                                      Claim Register
                                                                                    In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                    Case No. 16-12551


                                                                                                                                            Current General                                  Current 503(b)(9)
                                                                                                                                                            Current Priority Current Secured                    Current Admin    Total Current
                Creditor Name and Address   Claim No. Claim Date                              Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                             Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                Amount                                           Amount
VILCHIS, CIPRIANO
C/O KEITH A. FINK & ASSOCIATES
1990 S BUNDY DR STE 620
LOS ANGELES, CA 90025-5690                    1383     4/6/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
VILCHIS, CIPRIANO
C/O KEITH A. FINK & ASSOCIATES
1990 S BUNDY DR STE 620
LOS ANGELES, CA 90025-5690                    1420     4/6/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                         $0.00                                                                               $0.00
VILCHIS, CIPRIANO
C/O KEITH A. FINK & ASSOCIATES
1990 S BUNDY DR STE 620
LOS ANGELES, CA 90025-5690                    1425     4/6/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                    $0.00                                                                               $0.00
Villamar, Maria I
131 E 78th St
Los Angeles, CA 90003                         3023    4/17/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Villamar, Maria I
131 E 78th St
Los Angeles, CA 90003                         3035    4/17/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Villasana, Pascual
6327 Arlington Ave
Los Angeles, CA 90043                         2569    4/13/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Villasana, Pascual
6327 Arlington Ave
Los Angeles, CA 90043                         2716    4/13/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
VILLASENOR, JACOB S
12722 STANHILL DR
LA MIRADA, CA 90638-1936                      666      3/8/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                              $0.00                             $0.00                             $0.00
Villatoro, Irene
1720 W 43rd Pl.
Los Angeles, CA 90062                         1890    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Villatoro, Irene
1720 W 43rd Pl.
Los Angeles, CA 90062                         2049    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Villero, Roselia
23946 Welby Way
West Hills, CA 91307                          520     2/27/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                  $175.00                                                                            $175.00
Villero, Roselia
23946 Welby Way
West Hills, CA 91307                          536     2/27/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                          $175.00         $175.00
Violeta, Maria Elena Garcia
930 S. Bonnie Brae #232
Los Angeles, CA 90006                         1608     4/7/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
VITUCCI, JESSICA
2456 WOODLAND AVE
WANTAGH, NY 11793-4422                        677      3/9/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
Vivar, Luisa
2728 Wyglen Ln
Los Angeles, CA 90023                         1415     4/6/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Vivar, Luisa
2728 Wynglen Ln
Los Angeles, CA 90023                         1418     4/6/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Vivas, Arturo D
1742 W Lincoln Ave
Apt C3
Anaheim, CA 92801                             1593     4/7/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
VK Cutting Inc
Jeff Katofsky, Esq.
4558 Sherman Oaks Ave
Sherman Oaks, CA 91403                        136     1/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                         $18,452.54                                                                          $18,452.54


                                                                                                       Page 189 of 202
                                                                              Case 16-12551-BLS          Doc 2329      Filed 12/23/20       Page 190 of 202



                                                                                                             Claim Register
                                                                                           In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                           Case No. 16-12551


                                                                                                                                                   Current General                                  Current 503(b)(9)
                                                                                                                                                                   Current Priority Current Secured                    Current Admin    Total Current
                  Creditor Name and Address        Claim No. Claim Date                              Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                                    Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                       Amount                                           Amount
Vora, Sajni
58 Stratford Rd
Dumont, NJ 07268                                     3353    8/15/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                   $20.00                                                                             $20.00
Vuong, Hung
617 N. Bunker Hill #A
Los Angeles, CA 90012                                2404    4/12/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Vuong, Hung
617 N. Bunker Hill #A
Los Angeles, CA 90012                                2428    4/12/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Vuong, Li Hong
2516 Wetherhead Dr
Alhambra, CA 91803                                   1062    3/28/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
Vuong, Li Hong
2516 Wetherhead Dr
Alhambra, CA 91803                                   2940    4/14/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Vuong, Li Hong
2516 Wetherhead Dr.
Alhambra, CA 91803                                   1106    3/28/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
Waddell Ltd.
3rd Floor, 2 Arundel Street
London WC2R 3DA
United Kingdom                                       529     2/27/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                    $12,708.65                                             $0.00                        $12,708.65
Wallace, Dylan
13069 Loire Valley Dr.
Rancho Cucamonga, CA 91739                           321      2/6/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                             $100.00                                           $100.00
Walnut Capital Partners - Shadyside Retail, L.P.
Cohen & Grigsby, P.C.
Attn: William E. Kelleher, Jr.
625 Liberty Avenue
Pittsburgh, PA 15222-3152                            1727    4/10/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                    $0.00                            $0.00                                              $0.00
Walnut Capital Partners - Shadyside Retail, L.P.
Cohen & Grigsby, P.C.
Attn: William E. Kelleher, Jr.
625 Liberty Avenue
Pittsburgh, PA 15222-3152                            3290    5/26/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)              $178,482.85                       $14,787.00                                       $193,269.85
Walnut Capital Partners-Shadyside Retail
c/o Cohen & Grigsby, P.C.
Attn: William E. Kelleher, Jr.
625 Liberty Avenue
Pittsburgh, PA 15222-3152                            1983    4/10/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                  $741.60                                                          $2,078.29        $2,819.89
Walsh, Caroline
47 Woodbine Ave
Larchmont, NY 10538                                  357      2/9/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $87.67                                                                             $87.67
Wang, Huiya
1417 N. Broadway Apt 6
Los Angeles, CA 90012-1444                           2091    4/12/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Wang, Huiya
1417 N. Broadway Apt 6
Los Angeles, CA 90012-1444                           2094    4/12/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Wang, Xiaohua
225 W Santa Clara, Ste 600
San Jose, CA 95113                                   1257     4/4/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $40.00                                                                             $40.00
Wang, Xuan
9203 Whitney Ct
College Station, TX 77845                            360     2/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $99.59                                                                             $99.59
Wang, Xutong
2501 Lake Austin Blvd
Apt E204
Austin, TX 78703                                     724     3/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $22.74                                                                             $22.74


                                                                                                              Page 190 of 202
                                                                      Case 16-12551-BLS          Doc 2329      Filed 12/23/20       Page 191 of 202



                                                                                                     Claim Register
                                                                                   In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                   Case No. 16-12551


                                                                                                                                           Current General                                  Current 503(b)(9)
                                                                                                                                                           Current Priority Current Secured                    Current Admin    Total Current
               Creditor Name and Address   Claim No. Claim Date                              Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                            Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                               Amount                                           Amount
Wang, Yu-Hsuan
1747 Seville Way
San Jose, CA 95131                           391     2/13/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $101.84                                                                            $101.84
Warpas, Wiktoria
25 Boerum Street Apt. #16L
Brooklyn, NY 11206                           379     2/13/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $148.24                                                                            $148.24
WASHINGTON COUNTY OREGON
155 N 1ST AVE #130
HILLSBORO, OR 97124                          768     3/13/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                 $2,975.61                                          $2,975.61
WASTE MANAGEMENT
BANKRUPTCY DEPARTMENT
2625 W. GRANDVIEW RD. STE. 150
PHOENIX, AZ 85023                            1095    3/28/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                $3,540.79                                                                           $3,540.79
Watanabe, Kyoko
1717 Green St.
San Francisco, CA 94123                      571      3/1/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $56.55                                                                             $56.55
WE Energies
Attn Bankruptcy
333 W Everett St
Milwaukee, WI 53203                          701      3/9/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $855.13                                                                            $855.13
WEAVER, JOHN
4301 JACKSON AVE
CULVER CITY, CA 90232-3237                   651      3/7/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
Weber, Samuel
1401 Havenhurst Drive Apt 12
West Hollywood, CA 90046                     3427     1/7/2019          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
Weinhouse, Lori
821 3rd St. #202
Santa Monica, CA 90403                       1203    3/31/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                $24.15          $24.15
WEINHOUSE, LORI
821 3RD STREET, #202
SANTA MONICA, CA 90403                       344      2/8/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $24.15                                                                             $24.15
WEINHOUSE, LORI
821 3RD STREET, #202
SANTA MONICA, CA 90403                       1195    3/31/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $24.15                                                                             $24.15
Weiss, Vicki
2348 Bronson Hill Dr
Los Angeles, CA 90068                        168     1/23/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $226.98                                                                            $226.98
Weissman, Cara
29-12 Newtown Avenue
Apartment A1
Astoria, NY 11102                            3249    5/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                        $64.00          $64.00                                                            $128.00
Wen, Jin-Xiu
591 Wagon Hill Ln
Sugar Hill, GA 30518                         1673    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Wen, Jin-Xiu
591 Wagon Hill Ln
Sugar Hill, GA 30518                         1888    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Weng, Xing Zhen
867 Centennial St
Apt 8
Los Angeles, CA 90012                        3273    5/19/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Weng, Xing Zhen
867 Centennial St
Apt 8
Los Angeles, CA 90012                        3274    5/19/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Weng, Yan
4117 SHIRLEY AVE
EL MONTE, CA 91731-1715                      719     3/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00


                                                                                                      Page 191 of 202
                                                                                              Case 16-12551-BLS          Doc 2329       Filed 12/23/20      Page 192 of 202



                                                                                                                             Claim Register
                                                                                                           In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                                           Case No. 16-12551


                                                                                                                                                                   Current General                                  Current 503(b)(9)
                                                                                                                                                                                   Current Priority Current Secured                    Current Admin    Total Current
                 Creditor Name and Address                    Claim No. Claim Date                                   Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                                                    Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                                       Amount                                           Amount
Weng, Yan Er
4117 SHIRLEY AVE
EL MONTE, CA 91731-1715                                         718      3/9/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
WENG, YICI
3211 N MAIN ST
LOS ANGELES, CA 90031-3426                                      711      3/9/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
WENG, YICI
3211 N MAIN ST
LOS ANGELES, CA 90031-3426                                      717      3/9/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Westchester Fire Insurance Company
c/o Duane Morris LLP
Attn: Wendy M. Simkulak, Esq.
30 S. 17th Street
Philadelphia, PA 19103                                          1515     4/7/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                    $0.00                            $0.00                             $0.00            $0.00
Westchester Fire Insurance Company
c/o Duane Morris LLP
Attn: Wendy M. Simkulak, Esq.
30 S. 17th Street
Philadelphia, PA 19103                                          1603     4/7/2017           APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)                      $0.00                            $0.00                             $0.00            $0.00
Westchester Fire Insurance Company
c/o Duane Morris LLP
Attn: Wendy M. Simkulak, Esq.
30 S. 17th Street
Philadelphia, PA 19103                                          1605     4/7/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                $0.00                            $0.00                             $0.00            $0.00
Westchester Fire Insurance Company
c/o Duane Morris LLP
Attn: Wendy M. Simkulak, Esq.
30 S. 17th Street
Philadelphia, PA 19103                                          1638     4/7/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                         $0.00                            $0.00                             $0.00            $0.00
Westchester Fire Insurance Company
c/o Duane Morris LLP
Attn: Wendy M. Simkulak, Esq.
30 S. 17th Street
Philadelphia, PA 19103                                          1643     4/7/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                            $0.00                             $0.00            $0.00
Westchester Fire Insurance Company
c/o Duane Morris LLP
Attn: Wendy M. Simkulak, Esq.
30 S. 17th Street
Philadelphia, PA 19103                                          1645     4/7/2017              APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                          $0.00                            $0.00                             $0.00            $0.00
Westchester Mall, LLC, a Delaware limited liability company
Simon Property Group, Inc.
225 West Washington Street
Indianapolis, IN 46204                                          773     3/13/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                              $0.00            $0.00
Westchester Mall, LLC, a Delaware limited liability company
Simon Property Group, Inc.
225 West washington Street
Indianapolis, IN 46204                                          860     3/20/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                          $7,265.44                                                         $20,974.13       $28,239.57
Westco Spectra Color Inc.
12238 Hawkins St.
Santa Fe Springs, CA 90670                                       67     12/13/2016              APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
Western Disposal Services Inc.
5880 Butte Mill Rd
Boulder, CO 80301                                               1009    3/24/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                       $821.43                                                              $0.00         $821.43
Western Disposal Services, Inc.
Attn: General Counsel
PO Box 9100
Boulder, CO 80301                                               1017    3/24/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                       $821.43                                                                            $821.43
WESTERN NEON
2902 4TH AVE S
SEATTLE, WA 98134                                               434     2/16/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                          $1,906.93                                                                           $1,906.93

                                                                                                                              Page 192 of 202
                                                                             Case 16-12551-BLS          Doc 2329      Filed 12/23/20       Page 193 of 202



                                                                                                            Claim Register
                                                                                          In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                          Case No. 16-12551


                                                                                                                                                  Current General                                  Current 503(b)(9)
                                                                                                                                                                  Current Priority Current Secured                    Current Admin    Total Current
              Creditor Name and Address           Claim No. Claim Date                              Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                                   Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                      Amount                                           Amount
WESTFIELD TOPANGA OWNER LLC
C/O LECLAIRRYAN, PC
ATTN: NICLAS A FERLAND, ESQ.
545 LONG WHARF DRIVE, 9TH FLOOR
NEW HAVEN, CT 06511                                 1607     4/7/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                    $0.00                                                                               $0.00
WESTFIELD TOPANGA OWNER LLC
C/O LECLAIRRYAN, PC
ATTN: NICLAS A FERLAND, ESQ.
545 LONG WHARF DRIVE, 9TH FLOOR
NEW HAVEN, CT 06511                                 2000    4/10/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                       $0.00            $0.00
Westfield Topanga Owner LLC
c/o LeClairRyan, PC
Attn: Niclas A. Ferland, Esq.
545 Long Wharf Drive, 9th Floor
New Haven, CT 06511                                 3092    4/18/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)              $225,020.85                                                                        $225,020.85
WESTLAND GARDEN STATE PLAZA LIMITED PARTNERSHIP
c/o LECLAIRRYAN, PC
ATTN: NICLAS A. FERLAND, ESQ.
545 LONG WHARF DRIVE, 9TH FLOOR
NEW HAVEN, CT 06511                                 1647     4/7/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)              $464,798.16                                                                        $464,798.16
WESTLAND GARDEN STATE PLAZA LIMITED PARTNERSHIP
c/o LECLAIRRYAN, PC
ATTN: NICLAS A. FERLAND, ESQ.
545 LONG WHARF DRIVE, 9TH FLOOR
NEW HAVEN, CT 06511                                 1748    4/10/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                       $0.00            $0.00
Westside Properties 1, LLC
Attn: J. Condos
1244 Sixth St.
Santa Monica, CA 90401                              3314    6/13/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                    $0.00                                                                               $0.00
Wheaton, Asia
4627 Franklin Ave
Los Angeles, CA 90027                               2269    4/12/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $84.00                                                                             $84.00
Whitaker, Sarah
1222 N. Olive Dr. Unit 202
West Hollywood, CA 90069                            533     2/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $50.00                                                                             $50.00
Whitman, Colleen
156 Susan Drive
Westfield, MA 01085                                 504     2/24/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $78.00                                                                             $78.00
WIDEPOINT SOLUTIONS CORP.
7926 JONES BRANCH DR STE 520
MC LEAN, VA 22102-3371                               34     11/29/2016   APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                $3,000.00                                                                           $3,000.00
WIGMORE, WILLIAM J
6 KNOLL RD
HINGHAM, MA 02043                                   832     3/17/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
Wijaya, Miranda
244 West 64th St Apt 4D
New York, NY 10023                                  319      2/6/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $42.00                                                                             $42.00
WILENSKY, DOVI
9329 KINCARDINE AVE
LOS ANGELES, CA 90034                               799     3/15/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                          $1,074.95                                                                           $1,074.95
Wilkinson, Jesse
267 West 146th Street #7
New York, NY 10039                                  3309     6/9/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $145.20                                                                            $145.20
Willey, Ian
234 NE 3rd St Apt. 2002
Miami, FL 33132                                     493     2/23/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $90.00                                                                             $90.00
Williams, Aaron Michael
12871 LORETTA DR
SANTA ANA, CA 92705-1114                            1170    3/31/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                              $251.79                          $251.79


                                                                                                             Page 193 of 202
                                                                             Case 16-12551-BLS          Doc 2329       Filed 12/23/20      Page 194 of 202



                                                                                                            Claim Register
                                                                                          In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                          Case No. 16-12551


                                                                                                                                                  Current General                                  Current 503(b)(9)
                                                                                                                                                                  Current Priority Current Secured                    Current Admin    Total Current
                 Creditor Name and Address   Claim No. Claim Date                                   Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                                   Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                      Amount                                           Amount
Williams, Keta
455 Claxton Glen Ct
Dayton, OH 45429                               1143    3/31/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                   $78.00                                                                              $78.00
Wilmington Trust, National Association
Attn: Meghan H. McCauley
50 South Sixth Street, Suite 1290
Minneapolis, MN 55402                          2104    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                   $216,982,801.00                                    $216,982,801.00
WILSON, MARISA
C/O EISENBERG & BAUM LLP
ATTN: ERIC BAUM
24 UNION SQUARE EAST 4TH FL
NEW YORK, NY 10003                             2170    4/11/2017           APP Shipping Winddown, Inc. (f/k/a Fresh Air Freight, Inc.)                      $0.00                                                                                $0.00
Wilson, Marisa
c/o Eisenberg & Baum LLP
Attn: Eric Baum, Esq.
24 Union Sq E 4th Fl
New York, NY 10003-3201                        2173    4/11/2017              APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC)                          $0.00                                                                                $0.00
Wilson, Marisa
c/o Eisenberg & Baum LLP
Attn: Eric Baum, Esq.
24 Union Sq E 4th Fl
New York, NY 10003-3201                        2188    4/11/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                                $0.00
Wilson, Marisa
c/o Eisenberg & Baum LLP
Attn: Eric Baum, Esq.
24 Union Sq E 4th Fl
New York, NY 10003-3201                        2192    4/11/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                    $0.00                                                                                $0.00
Wilson, Marisa
c/o Eisenberg & Baum LLP
Attn: Eric Baum, Esq.
24 Union Sq E 4th Fl
New York, NY 10003-3201                        2356    4/11/2017    APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.)                $0.00                                                                                $0.00
Wilson, Marisa
c/o Eisenberg & Baum LLP
Attn: Eric Baum, Esq.
24 Union Sq E 4th Fl
New York, NY 10003-3201                        2358    4/11/2017          APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                         $0.00                                                                                $0.00
Winkel, Suzanne M.
1715 Linner Road
Wayzata, MN 55391                              1061    3/28/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                             $25.00                                                                              $25.00
Winslow, Andia
PO Box 30137
New York, NY 10011                             1158     4/2/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                             $53.75                                                                              $53.75
Winslow, Andia
PO Box 30137
New York, NY 10011                             2985    4/17/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                             $53.75                                                                              $53.75
Wisconsin Bell, Inc.
c/o AT&T Services, Inc Karen A. Cavagnaro
One AT&T Way, Room 3A104
Bedminster, NJ 07921                           665      3/9/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                            $198.09                                                                             $198.09
Wisconsin Department of Revenue
Special Procedures Unit
PO Box 8901
Madison, WI 53708-8901                         779     3/13/2017               APP Winddown, LLC (f/k/a American Apparel, LLC)                            $986.89                                                                             $986.89
Wisconsin Department of Revenue
Special Procedures Unit
PO Box 8901
Madison, WI 53708-0833                         790     3/13/2017         APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                    $0.00           $0.00                                                                $0.00




                                                                                                             Page 194 of 202
                                                                    Case 16-12551-BLS         Doc 2329      Filed 12/23/20     Page 195 of 202



                                                                                                   Claim Register
                                                                                 In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                 Case No. 16-12551


                                                                                                                                         Current General                                  Current 503(b)(9)
                                                                                                                                                         Current Priority Current Secured                    Current Admin    Total Current
               Creditor Name and Address   Claim No. Claim Date                            Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                          Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                             Amount                                           Amount
Wojack-West, Eleanor
2325 NE Halsey
Portland, OR 97232                           1718    4/11/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                                               $0.00
Wojtys, Jennifer
24 Van Dyke Street
Wallington, NJ 07057                         548     2/28/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $35.70                                                                             $35.70
Wolvek, Robin
11822 KIOWA AVE APT 2
LOS ANGELES, CA 90049-6022                   1318     4/5/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $150.00                                                                            $150.00
Wong, Jackson
6463 229th Street
Oakland Gardens, NY 11364                    436     2/16/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $18.70                                                                             $18.70
Wong, Julie
1837 La Loma Road
Pasadena, CA 91105                           377     2/13/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $37.96                                                                             $37.96
Wong, Karen
4310 CRESCENT ST
APT 2112
LONG ISLAND CITY, NY 11101-4268              654      3/7/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $48.00                                                                             $48.00
Wong, Lucy
621 NE Sumner St.
Portland, OR 97211                           331      2/7/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $28.00                                                                             $28.00
Wong, Lucy
621 NE Sumner St.
Portland, OR 97211                           3095    4/19/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $28.00                                                                             $28.00
Wong, Lucy
621 NE Sumner St.
Portland, OR 97211                           3096    4/19/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                               $28.00          $28.00
Woo, Mei Ling Guan
412 Elmgate St.
Monterey Park, CA 91754                      1335     4/5/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Woo, Mei Ling Guan
412 Elmgate St.
Monterey Park, CA 91754                      1339     4/5/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Wood, Monica Anne
239 Pacific St. Unit L
Santa Monica, CA 90405                       561     2/28/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $100.00                                                                            $100.00
Woot Services LLC
4121 International Parkway
Carrollton, TX 75007                         1736    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                        $0.00                            $0.00                                              $0.00
Workiva LLC
2900 University Blvd.
Ames, IA 50010                               1307     4/5/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                    $8,852.90                                                                           $8,852.90
Woyshner, Caroline Diane
11353 Wembley Road
Los Alamitos, CA 90720                       437     2/13/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $34.56                                                                             $34.56
Wright, Geraldine
6 Pan Ct.
Hungtington, NY 11746                        291      2/3/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $27.20                                                                             $27.20
Wright, Laura
1708 Sanborn Ave
Los Angeles, CA 90027                        1125    3/29/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                       $20.71                                                                             $20.71
Wu, Aiyao
149 N. Ave 25 Apt # 202
Los Angeles, CA 90031                        2445    4/12/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Wu, Aiyao
149 N. Ave 25 Apt # 202
Los Angeles, CA 90031                        2724    4/12/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00




                                                                                                    Page 195 of 202
                                                                     Case 16-12551-BLS         Doc 2329      Filed 12/23/20     Page 196 of 202



                                                                                                    Claim Register
                                                                                  In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                  Case No. 16-12551


                                                                                                                                          Current General                                  Current 503(b)(9)
                                                                                                                                                          Current Priority Current Secured                    Current Admin    Total Current
                Creditor Name and Address   Claim No. Claim Date                            Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                           Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                              Amount                                           Amount
Wu, Li-Jun
6400 Trelawney Ave
Temple City, CA 91780                         1468     4/7/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Wu, Li-Jun
6400 Trelawney Ave
Temple City, CA 91780                         1572     4/7/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Wu, Mary Qu
110 Dewey Ave
San Gabriel, CA 91776                         1560     4/8/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                $0.00            $0.00
Wu, Mary Qu
110 Dewey Ave
San Gabriel, CA 91776                         1771     4/8/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                             $0.00                                                               $0.00
Wu, Ruo Ling
467 Solano Ave
Los Angeles, CA 90012                         1692     4/9/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Wu, Tianshu
163 Flournoy St.
Daly City, CA 94014                           3407    2/12/2018         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $40.00                                                                             $40.00
Wu, Xiao
462 E. 28 Ave.
Los Angeles, CA 90031                         937     3/21/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                             $0.00                                                               $0.00
Wu, Xiao Lin
462 E Ave 28
Los Angeles, CA 90031                         3164    4/25/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Wu, Xiao Lin
462 E Ave 28
Los Angeles, CA 90031                         3178    4/25/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Wu, Xin Yun
8083 Minstead Ave
Hesperia, CA 92345                            1179    3/31/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                             $0.00                                                               $0.00
Wu, Xinyun
918 W. College St. #414
Los Angeles, CA 90012                         1177    3/31/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                $0.00            $0.00
Wu, Xinyun
918 W. College St. #414
Los Angeles, CA 90012                         1482     4/7/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Wu, Xinyun
918 West College Street
Unit 414
Los Angeles, CA 90012                         1542     4/7/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Wu, Xuena
1424 1/2 Portia St
Los Angeles, CA 90026                         1261     4/4/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                                               $0.00
Wu, Xuena
1424 1/2 Portia St
Los Angeles, CA 90026                         1272     4/4/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                $0.00            $0.00
WU, YUYANG
2370 VANCOUVER AVE
MONTEREY PARK, CA 91754                       1270     4/4/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Wyand, Tatiana
3600 SW Beaverton Hillsdale Hwy
Apt 9
Portland, OR 97221                            1186    3/31/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                            $36.39                                                             $36.39
Wycoff, Tori
1885 Pacific Ave.
 #303
San Francisco, CA 94109                       1070    3/28/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                       $89.08                                                                             $89.08
Xiao, Ang
200 Laird Ave Apt 203
Cliffside Park, NJ 07010                      425     2/15/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $553.00                                                                            $553.00

                                                                                                     Page 196 of 202
                                                                     Case 16-12551-BLS         Doc 2329      Filed 12/23/20     Page 197 of 202



                                                                                                    Claim Register
                                                                                  In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                  Case No. 16-12551


                                                                                                                                          Current General                                  Current 503(b)(9)
                                                                                                                                                          Current Priority Current Secured                    Current Admin    Total Current
                Creditor Name and Address   Claim No. Claim Date                            Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                           Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                              Amount                                           Amount
Xiao, Ang
200 Laird Ave Apt 203
Cliffside Park, NJ 07010                      1650    4/10/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                              $553.00         $553.00
Xiao, Ang
200 Laird Ave Apt 203
Cliffside Park, NJ 07010                      1675    4/10/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $188.00                                                                            $188.00
Xiao, Jin Mei
3801 Winston Dr
El Monte, CA 91731                            2551    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Xiao, Jin Mei
3801 Winston Dr
El Monte, CA 91731                            2721    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Xiao, Yu Mei
2338 Dorris Pl
Los Angeles, CA 90031                         1938    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Xie, Feng Zhu
740 Yale Street # 7
Los Angeles, CA 90012                         1526     4/7/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Xie, Feng Zhu
740 Yale Street # 7
Los Angeles, CA 90012                         1559     4/7/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Xie, Jinzhu
719 North Yale Street
Apt #408
Los Angeles, CA 90012                         1674    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Xie, Jinzhu
719 North Yale Street
Apt #408
Los Angeles, CA 90012                         1809    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Xu, Bing
5924 Loma Avenue
Temple City, CA 91780                         1055    3/28/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $50.00                                                                             $50.00
Xu, Feng Yi
3821 Gilman Rd. Unit C
El Monte, CA 91732                            691      3/9/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Xu, Feng Yi
3821 Gilman Rd. Unit C
El Monte, CA 91732                            696      3/9/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Xu, Feng Yi
3821 Gilman Rd. Unit C
El Monte, CA 91732                            1867    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Xu, Feng Yi
3821 Gilman Rd. Unit C
El Monte, CA 91732                            2318    4/13/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Xu, Feng Yi
3821 Gilman Road Unit C
El Monte, CA 91732                            1821    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Xu, Hui Yan
3307 Burton Ave
Rosemead, CA 91770                            1875    4/10/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                                               $0.00
Xu, Hui Yan
3307 Burton Ave
Rosemead, CA 91770                            1884    4/10/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                $0.00            $0.00
Xu, Mengdie
27 Foster Dr
Willimantic, CT 06226                         3223     5/4/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                       $54.45                                                                             $54.45
XU, MING
2301 Humboldt St Apt# 214
Los Angeles, CA 90031                         1028    3/27/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                             $0.00                                                               $0.00


                                                                                                     Page 197 of 202
                                                                      Case 16-12551-BLS         Doc 2329      Filed 12/23/20     Page 198 of 202



                                                                                                     Claim Register
                                                                                   In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                   Case No. 16-12551


                                                                                                                                           Current General                                  Current 503(b)(9)
                                                                                                                                                           Current Priority Current Secured                    Current Admin    Total Current
                 Creditor Name and Address   Claim No. Claim Date                            Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                            Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                               Amount                                           Amount
XU, SU MEI
703 N. Bunker Hill Ave. Apt #6
Los Angeles, CA 90012                          1037    3/27/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                             $0.00                                                               $0.00
Yakovleva, Lidia
7521 Hampton Ave #304
West Hollywood, CA 90046                       509     2/24/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $65.00                                                                             $65.00
Yang, Cindy
107 Manor Ave
Wellesley, MA 02482                            1249     4/4/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                      $150.00                                                                            $150.00
Yang, Jihye
526 Fano St Unit C
Monrovia, CA 91016                             1758    4/11/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                          $85.00          $85.00
Yang, Lily
15 Perkins Square #8
Boston, MA 02130                               3446    12/9/2020         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $300.00                                                                            $300.00
Yang, Suzy
107 University Place
New York, NY 10003                             3241     5/8/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                          $32.00          $32.00
Yang, Victoria
250-20 41st DR
Little Neck, NY 11363                          808     3/16/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $33.54                                                                             $33.54
Yang, Xiuyan
1533 W Montana St, Unit 3
Chicago, IL 60614                              413     2/14/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                         $2,461.28                                                                           $2,461.28
Yarrington Mills Corporation
James R. Yarrington
412 S. Warminster Road
Hatboro, PA 19040                              3409     3/8/2018         APP Winddown, LLC (f/k/a American Apparel, LLC)                             $0.00                                                                               $0.00
Yee, Brian
22610 22nd Place West
Brier, WA 98036                                2010    4/10/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $95.27                                                                             $95.27
Yee, Janet Peng
13945 Cagliero St.
La Puente, CA 91746                            859     3/20/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                             $0.00                                                               $0.00
YEE, JANET PENG
13945 CAGLIERO ST.
LA PUENTE, CA 91746                            1279     4/5/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Yee, Janet Peng
13945 Cagliero St.
La Puente, CA 91746                            1283     4/5/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Yee, Michelle
1115 W Remington Dr
Sunnyvale, CA 94087                            499     2/23/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $25.71                                                                             $25.71
Yeung, Anna
2821 Estara Avenue
Los Angeles, CA 90065                          1024    3/27/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                $0.00            $0.00
Yeung, Anna
2821 Estara Avenue
Los Angeles, CA 90065                          1048    3/27/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                             $0.00                                                               $0.00
Yeung, Anna
2821 Estara Avenue
Los Angeles, CA 90065                          1523     4/7/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Yip, Mimi
501 E 4th Street
Los Angeles, CA 90013                          410     2/14/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $87.48                                                                             $87.48
You, Stephanie
352 E 76th St
Apt #2RW
New York, NY 10021                             754     3/13/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                           $217.46                                                                            $217.46


                                                                                                      Page 198 of 202
                                                                       Case 16-12551-BLS         Doc 2329      Filed 12/23/20     Page 199 of 202



                                                                                                      Claim Register
                                                                                    In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                    Case No. 16-12551


                                                                                                                                            Current General                                  Current 503(b)(9)
                                                                                                                                                            Current Priority Current Secured                    Current Admin    Total Current
                  Creditor Name and Address   Claim No. Claim Date                            Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                             Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                Amount                                           Amount
Younes, Sarah
1924 Kilbirnie Drive
Germantown, TN 38139                            468     2/22/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $68.00                                                                             $68.00
Young, David
400 East 71st Street, Apt. 15D
New York, NY 10021                              676      3/9/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                       $44.88                                                                             $44.88
Yousif, Daniel
10 E Ontario St
Apt 2408
Chicago, IL 60611                               1507    4/10/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $18.00                                                                             $18.00
Yu, Cuiqiong
761 Yale St
Los Angeles, CA 90012                           1753    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Yu, Cuiqiong
761 Yale St
Los Angeles, CA 90012                           1755    4/10/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Yu, Flora
845 Centennial St
Los Angeles, CA 90012                           1323     4/5/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
Yu, Flora Wai Fong
845 Centennial St
Los Angeles, CA 90012                           1346     4/5/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Yu, Flora Wai Fong
845 Centennial St
Los Angeles, CA 90012                           1347     4/5/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                             $0.00                                                               $0.00
Yu, Flora WaiFong
845 Centennial St
Los Angeles, CA 90012                           1342     4/5/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Yu, Hui Ci
2245 Shoredale Ave
Los Angeles, CA 90031                           1537     4/7/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                           $0.00            $0.00
Yu, Hui Ci
2245 Shoredale Ave
Los Angeles, CA 90031                           1582     4/7/2017    APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                        $0.00                                                               $0.00
YU, JIE NONG
227 E. AVE 40
LOS ANGELES, CA 90031                           1376     4/6/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                $0.00            $0.00
YU, JIE NONG
227 E. AVE 40
LOS ANGELES, CA 90031                           1400     4/6/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                             $0.00                                                               $0.00
Yu, Jing
4709 Parsons Blvd.
Flushing, NY 11355                              188     1/24/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                           $100.00                                                            $100.00
Yu, Jing
4709 Parsons Blvd.
Flushing, NY 11355                              1069    3/28/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                           $100.00                                                            $100.00
YU, JING
722 CIPRIANO PL.
MONTEREY PARK, CA 91754                         244     1/31/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $20.00                                                                             $20.00
YU, JING
722 CIPRIANO PL.
MONTEREY PARK, CA 91754                         1092    3/29/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $20.00                                                                             $20.00
YU, JING
722 CIPRIANO PL.
MONTEREY PARK, CA 91754                         1110    3/29/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                               $20.00          $20.00
Yu, Lauren
269 Ashdale Place
Los Angeles, CA 90049                           3214     5/3/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                            $45.78                                                                             $45.78




                                                                                                       Page 199 of 202
                                                                       Case 16-12551-BLS          Doc 2329      Filed 12/23/20       Page 200 of 202



                                                                                                      Claim Register
                                                                                    In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                    Case No. 16-12551


                                                                                                                                            Current General                                  Current 503(b)(9)
                                                                                                                                                            Current Priority Current Secured                    Current Admin    Total Current
                Creditor Name and Address   Claim No. Claim Date                              Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                             Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                Amount                                           Amount
Yu, Xiu Ping
2212 Larch St
Apt A
Alahambra, CA 91801                           2974    4/17/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Yu, Xiuping
2212 Larch St
Apt A
Alhambra, CA 91801                            979     3/22/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                              $0.00                                                               $0.00
Yu, Xiuping
2212 Larch St
Apt A
Alhambra, CA 91801                            2973    4/17/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Yu, Yin Xing
2722 Manitou Ave
Los Angeles, CA 90031                         1174     4/3/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Yuan, Huanming
805 Cleveland St #2
Los Angeles, CA 90012                         2499    4/13/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Yuan, Huanming
805 Cleveland St #2
Los Angeles, CA 90012                         2585    4/13/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Zabell, Parker
25201 Chagrin Blvd.
Suite 130
Beachwood, OH 44122                           3108    4/19/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                   $45.26                                                             $45.26
Zacho, Sharon
9814 Easton Dr
Beverly Hills, CA 90210                       603      3/3/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                              $60.00                                            $60.00
Zadik, Christine
3 Woodside Dr
Greenwich, CT 06830                           1008    3/24/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $54.00                                                                             $54.00
Zadik, Christine
3 Woodside Drive
Greenwich, CT 06830                           208     1/24/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $60.54                                                                             $60.54
Zadik, Christine
3 Woodside Drive
Greenwich, CT 06830                           1003    3/24/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                $54.00          $54.00
Zafiris, Alexandra
460 Prospect Ave Apartment 4R
Brooklyn, NY 11215                            1869    4/11/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $73.61                                                                             $73.61
Zale, Madalene
200 W. Elm St. #1403
Conshohocken, PA 19428                        415     2/14/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                             $18.00                                                                             $18.00
Zambrano, Aurora
3704 1/2 Ruthelen Street
Los Angeles, CA 90018                         1949    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Zambrano, Aurora
3704 1/2 Ruthelen Street
Los Angeles, CA 90018                         2021    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Zamora Onesimo, Simon
635 E. 89th St.
Los Angeles, CA 90002                         2874    4/12/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                              $0.00                                                               $0.00
Zaragoza, Martina
4033 Adair St
Los Angeles, CA 90011                         1682    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Zaragoza, Martina
4033 Adair St
Los Angeles, CA 90011                         2217    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00




                                                                                                       Page 200 of 202
                                                                        Case 16-12551-BLS          Doc 2329      Filed 12/23/20       Page 201 of 202



                                                                                                       Claim Register
                                                                                     In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                     Case No. 16-12551


                                                                                                                                             Current General                                  Current 503(b)(9)
                                                                                                                                                             Current Priority Current Secured                    Current Admin    Total Current
               Creditor Name and Address     Claim No. Claim Date                              Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                              Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                 Amount                                           Amount
Zarate, Maria
429 Sur Loma Dr.
Los Angeles, CA 90017                          2001    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Zarate, Maria
429 Sur Loma Dr.
Los Angeles, CA 90017                          2145    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
ZARRABIAN, KAMRON
C/O WEISSMAN LAW FIRM
ATTN DONALD WEISSMAN
5567 RESEDA BLVD STE 118
TARZANA, CA 91356-2682                         1988    4/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
Zazueta, Luis
520 West Knoll Drive Apt I
West Hollywood, CA 90048                       1492     4/7/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                   $45.36                                                                             $45.36
ZELTZER, LINDSAY
623 NE 61ST ST #2
MIAMI, FL 33137                                274     1/31/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $180.00                                                                            $180.00
Zeltzer, Lindsay
623 NE 61st St #2
Miami, FL 33137                                277     1/31/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                            $200.00                                                                            $200.00
Zhang, Lin Ping
11715 Ramona Blvd
El Monte, CA 91732                             1022    3/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                              $0.00                                                               $0.00
Zhang, Lin Ping
11715 Ramona Blvd
El Monte, CA 91732                             3002    4/17/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Zhang, Lin Ping
11715 Ramona Blvd
El Monte, CA 91732                             3003    4/17/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Zhang, Shuzhen
122 W Ave 30
Apt # C
Los Angeles, CA 90031                          1377     4/6/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                              $0.00                                                               $0.00
Zhao, Yanbing
82 Passage
Irvine, CA 92603                               3370    10/25/2017         APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
ZHEJIANG YASHILIN NECKTIE & GARMENT CO LTD
BROWN & JOSEPH LTD
1 PIERCE PL STE 1225W
ITASCA, IL 60143-1218                          1290     4/4/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
Zhen Ma, Xing
1830 N Ditman Ave
Los Angeles, CA 90032                          2961    4/14/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Zheng, Hui Xia
870 N. Bunker Hill Ave # 1
Los Angeles, CA 90012                          1837    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Zheng, Hui Xia
870 N. Bunker Hill Ave # 1
Los Angeles, CA 90012                          1929    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Zhong, Anne
1765 Mozart Street
Los Angeles, CA 90031                          2268    4/12/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Zhong, Anne
1765 Mozart Street
Los Angeles, CA 90031                          2270    4/12/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
ZHOU, JINGYI
2514 JACQUELINE DR
APT C18
WILMINGTON, DE 19810                           1655    4/10/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                             $101.00                                           $101.00


                                                                                                        Page 201 of 202
                                                                        Case 16-12551-BLS          Doc 2329      Filed 12/23/20       Page 202 of 202



                                                                                                       Claim Register
                                                                                     In re APP Winddown, LLC (f/k/a American Apparel, LLC)
                                                                                                     Case No. 16-12551


                                                                                                                                             Current General                                  Current 503(b)(9)
                                                                                                                                                             Current Priority Current Secured                    Current Admin    Total Current
                 Creditor Name and Address   Claim No. Claim Date                              Debtor                                        Unsecured Claim                                   Admin Priority
                                                                                                                                                              Claim Amount Claim Amount                         Priority Amount   Claim Amount
                                                                                                                                                 Amount                                           Amount
Zhou, Julia
150 East 77th Street, Apt # 12A
New York, NY 10075                             498     2/23/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                        $22.00                                                                             $22.00
Zhu Lao, Rui
2123 Gates St.
Los Angeles, CA 90031                          2933    4/14/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Zhu, Xu Ming
2301 Humbold St Apt 214
Los Angeles, CA 90031                          1073    3/27/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                                                                                                 $0.00            $0.00
Zhu, Xu Ming
2301 Humbold St Apt 214
Los Angeles, CA 90031                          1628     4/7/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Zhu, Xu Ming
2301 Humboldt St Apt 214
Los Angeles, CA 90031                          1461     4/7/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Zhu, Yan
946 Yale St #29
Los Angeles, CA 90012                          2057    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Zhu, Yan
946 Yale St #29
Los Angeles, CA 90012                          2305    4/11/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00
Zimmerman, Sarah
1837 S. Gilpin St.
Denver, CO 80210                               1065    3/28/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                  $249.00                                                                            $249.00
Zimmerman, Sarah
1837 S. Gilpin St.
Denver, CO 80210                               1066    3/28/2017    APP Retail Winddown, Inc. (f/k/a American Apparel Retail, Inc.)                                                                                     $249.00         $249.00
Zimmerman, Sarah
1837 S. Gilpin St.
Denver, CO 80210                               461     2/21/2017          APP Winddown, LLC (f/k/a American Apparel, LLC)                              $0.00                                                                               $0.00
Zuniga, Margarita L.
851 1/2 E. 32 St.
Los Angeles, CA 90011                          2223    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                         $0.00                                                               $0.00
Zuniga, Margarita L.
851 1/2 E. 32 St.
Los Angeles, CA 90011                          2224    4/10/2017     APP USA Winddown, LLC (f/k/a American Apparel (USA), LLC)                                                                                            $0.00            $0.00




                                                                                                        Page 202 of 202
